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          EXHIBIT A
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COMMONWEALTH OF PENNSYLVANIA
OFFICE OF ATTORNEY GENERAL
EASTERN REGIONAL OFFICE
By: James A. Donahue, III
First Deputy Attorney General
Identification No. 42624
1600 Arch Street Sl1ite 300
Philadelphia, PA 19103
Telephone: (215) 560-2402




COMMONWEALTH OF                                       COURT OF COMMON PLEAS
PENNSYLVANIA                                          OF DELAWARE COUNTY
By MICHELLE A. HENRY,
Attorney General,
                               Plaintiffs,            No.
               V.

PROSPECT MEDICAL                                      CIVIL ACTION-LAW
HOLDINGS, INC.,
PROSPECT CROZER, LLC,
LEONARD GREEN AND PARTNERS,
SAMUEL LEE, Individually, and
DAVID TOPPER, Individually,
                           Defendants.



                                       NOTICE TO DEFEND

You have been sued in court. If yon wish to defend against the claims set forth on the following
pages, you must take action within twenty (20) days after this Complaint and Notice are served, by
entering a written appearance personally or by attorney and filing in writing with the court your
defenses or objections to the claims set forth against yon. You are warned that if you fail to do so
the case may proceed without yon and a judgment may be entered against you by the court without
further notice or any money claimed in the Complaint or for any other claim or relief requested by
the plaintiff. Y011 may lose money or property or other rights important to you.
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     YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE! IF YOU DO NOT
HAVE A LAWYER, OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET
FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.

     IF YOU CANNOT AFFORD TO HIRE A LAWYER, THE OFFICES BELOW MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER
LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDICED FEE OR NO FEE.


   LAWYER REFERRAL                                 PENNSYLVANIA LAWYER
          SERVICE                                    REFERRAL SERVICE
 DELAWARE COUNTY BAR                                      P.O. Box 1086
      ASSOCIATION                   OR                   100 South Street
    Front & Lemon Streets                             Harrisburg, PA 17108
        P.O. Box466                                 PA Residents Phone: 1-800-
      Media, PA 19063                                       692-7375
       (610) 566-6625
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COMMONWEALTH OF                                  COURT OF COMMON PLEAS
PENNSYLVANIA                                     OF DELAWARE COUNTY
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LEONARD GREEN AND PARTNERS,
SAMUEL LEE, Individually, and
DAVID TOPPER, Individually,
                     Defendants.


                                 SCHEDULING ORDER


       AND NOW, this_ _ _day of _ _ _ _ _ _ _2024, it is hereby ORDERED

and DECREED that a hearing with counsel is scheduled for _ _ _ _ _ _ _ _at

- - -, at the Delaware County Courthouse, located at 201 W. Front Street, Media, PA, 19103.




                                                        BY THE COURT:




                                                                                         J.
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EASTERN REGIONAL OFFICE
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COMMONWEALTH OF                                      COURT OF COMMON PLEAS
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By MICHELLE A. HENRY,
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PROSPECT MEDICAL                                     CIVIL ACTION-LAW
HOLDINGS, INC.,
PROSPECT CROZER, LLC,
LEONARD GREEN AND PARTNERS,
SAMUEL LEE, Individually, and
DAVID TOPPER, Individually,
                          Defendants.

                                             COMPLAINT

       The Commonwealth of Pennsylvania acting as parens patriae through its Attomey

General, Michelle A. Hemy, files this instant complaint to sustain healthcare in Delaware

County through: seeking Preliminary Injunctive Relief, redressing Prospect Medical Holdings

breach of contract; revoking the corporate franchise of the defendant Prospect Crozer, LLC;

appointing a receiver over the assets of the said defendant; and providing funding for the

operational costs of Prospect Crozer throughout the receivership. In support, the Commonwealth

respectfully offers the following:
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                                       BACKGROUND
       In 2016, this Court approved the sale of the assets of the nonprofit, charitable Crozer

Keystone Health System ("CKHS") based upon the commitments of Prospect Medical Holdings

set forth in the January 8, 2016, Asset Purchase Agreement (the "APA") to continue the mission

ofCKHS in providing access to affordable medical care to the c01nm1mity. A trne and correct

copy of the APA is attached as Exhibit "A." Instead of managing the health care system in a

commercially reasonable mam1er, however, Prospect Medical Holdings funded the distribution

ofat least $457 million in dividends to its investors through a $1.12 billion dollar loan. Prospect

Medical Holdings then proceeded to engage in the sale and lease-back of the system's real estate

holdings. The resulting additional lease obligations contributed to the Prospect Medical

Holdings' financial instability and Prospect Crozer's shuttering a variety of program service

lines; closing two of the former CKHS's hospitals; failing to pay lease obligations; failing to

timely pay real estate taxes; failing to timely pay its staff and vendors, failing to fully fund and

terminate the system's pension obligations; failing to maintain major service lines without

support from other systems in the area; and the losing of accreditation of the surgical residency

program. Moreover, the dividend was made despite the system's insolvency and unjustly

enriched Leonard Green and Partners, Samuel Lee, and David Topper, at the public's injury and

expense as the intended third-party beneficiary of the AP A.

       Prospect Crozer LLC has indicated that its financial problems may result in the reduction

of other available critical services at its Crozer-Chester Medical Center. Further suspension of

services and closure of its facilities will violate the obligations of Prospect Medical Holdings

pursuant to the APA.




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                                          JURISDICTION

        1.        This Comt has jurisdiction over this action and the Defendants pursuant to 42 Pa.

C.S. § 93 l(a).

                                               VENUE

        2.        Venue rests in this Coult pursuant to 42 Pa. C.S. § 931(c); Paragraph 14.6 of the

APA which provides that, "any dispute arising out of this Agreement shall be the state or federal

courts of the Commonwealth of Pennsylvania;" and the presence of Prospect Medical Holdings

and Prospect Crozer LLC ("Defendants Prospect").

                                              PARTIES

        3.        Plaintiff is the Commonwealth of Pennsylvania acting as parens patriae through

its Attorney General, Michelle A. Hemy ("COMMONWEALTH"), with its pertinent office at

1600 Arch Street, Suite 300, Philadelphia, PA 19103.

        4.        Defendant Prospect Medical Holdings ("HOLDINGS") is a Delaware Corporation

with its principal office located at 3415 Sepulveda Blvd., Los Angeles, CA 90034.

        5.        Defendant Prospect Crozer, LLC ("PROSPECT CROZER") is a Pennsylvania

limited liability company with its principal place of business located at 100 West Sproul Road,

Springfield, PA 19064.

        6.        Prospect Crozer is comprised of four hospitals: Crozer-Chester Medical Center

("Crozer-Chester"), located at 1 Medical Center Blvd., Chester, PA 19013, Delaware County

Memorial Hospital (DCMH"), located at 501 N. Lansdowne Avenue, Drexel Hill, PA 19026,

Springfield Hospital ("Springfield"), located at 100 W. Sproul Road, Springfield, PA, 19064,

and Taylor Hospital ("Taylor"), located at 175 E. Chester Pike, Ridley Park, PA 19078.




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        7.     Defendant Samuel Lee ("LEE") serves as HOLDINGS' Chief Executive Officer

and has served as Chairman of HOLDINGS' Board of Director's since HOLDINGS' purchase of

CKHS.

        8.     Defendant David Topper ("TOPPER") is the Co-Chief Executive Officer of

HOLDINGS and President of Alta Hospital Systems, LLC.

        9.     Defendant Leonard Green & Partners ("PARTNERS") operates as a private

equity firm located at 1111 Santa Monica Blvd., Suite 2000, Los Angeles, California, 90025.

                                             FACTS

                 A. Prospect's Acquisition of the Crozer Keystone Health System

        I 0.   Paragraphs 1 through 9 are incorporated herein as if fully set forth.

        11.    HOLDINGS acquired its interests in CK.HS through the January 8, 2016 APA

approved by this Court on June 28, 2016. See Order Exhibit "A"

        12.    HOLDINGS pledged to maintain important health care services in the community

by keeping all CKHS hospitals open for at least a ten (10) year period.

        13.    Under Paragraph 11.15 of the APA, entitled "Availability of Services,"

HOLDINGS agreed that "Buyers shall: (a) for as long as buyers own and operate one or more of

the hospitals, use commercially reasonable efforts to ensure the residents of Delaware County,

Pennsylvania have access to a full range of healthcare services including primary, secondary and

tertiary care, specialty and hospital-based services, and emergency and urgent care facilities to

support the needs of the community .... " A true and correct copy of the APA is attached as

Exhibit "B", pgs. 58-59.

        14.     Pursuant to Paragraph 11.16 of the APA entitled, "Future Sale or Closing,"

HOLDINGS agreed not to close any ofCKHS's hospitals offering general acute care services for




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a period of ten (10) years without obtaining consent from the Local Advisory Board and

Foundation. See Exhibit B, pg. 59.

       15.     Pursuant to Paragraph 2.4 of the APA entitled, "Pension Funding," HOLDINGS

agreed to assume the CK.HS Employees Retirement Plan. See Exhibit B, pgs.14-15.

       16.     On May 4, 2016, the Commonwealth convened a public hearing in Upland, PA,

during which public comments were made by HOLDINGS officials which included Tom

Reardon, who at the time was President of Prospect East. Mr. Reardon publicly stated in

discussing the pension plan, "We have also committed to te1minate the plan within five years of

the acquisition of Crozer-Keystone and fully fund 100 percent of the benefits in accordance with

applicable laws after the termination - normally within 12 to 18 months." A true and correct copy

of the public hearing transcript is attached as Exhibit "C", pg. 17.

       17.     At the public hearing Mr. Reardon further stated, "We've also committed to the

critical service lines, such as emergency department, trauma, behavioral health, maternity, and

pediatrics who will remain in place or expand. We are an expansion company, not a contraction

company." See Exhibit C, pg. 17.

       18.     The Commonwealth reviewed the terms of the APA prior to the sale and, based

upon the representations and commitments made by the HOLDINGS, did not raise any

objections.

       19.     Thereafter, following an evidentiary hearing, this Comt entered the June 28, 2016

Order approving the sale. The Order further allowed "After payment of the debts and liabilities

of the Crozer-Keystone Health System, Crozer-Keystone Health System is authorized to transfer

to Crozer-Keystone Community Foundation ("the Foundation") the net proceeds and cash or

investments assets remaining from the sale proceeds." See Exhibit A.




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       20.     Subsequently, on June 30, 2016, the parties to the APA agreed to a Third

Amendment. A trne and correct copy of the same is attached as Exhibit "D".

       21.     Section 7(c) of the Third Amendment to the APA, entitled "Post-Closing

Commitment" provides:

               "Within five (5) years after the Effective Time and subject to
              applicable filing and authorization by the applicable Government
              entity, Buyers shall adopt a plan amendment to terminate the DB
              Pension Plan effective within such five (5) year period and
              thereafter, in accordance with applicable law, shall liquidate fully
              fund and satisfy, and pay all benefits owed to participants and
              beneficiaries of, the DB Pension Plan by providing for lmnp sum
              distributions to participants, purchasing annuities for participants
              who do not elect for a lump sum distribution or otherwise in
              accordance with the terms, conditions and provisions of the DB
              Pension Plan (as in effect at the Effective Time) and with applicable
              law."

       22.     The section goes on to defer the termination for up to two years depending upon

whether the discount rate of the Internal Revenue Service fell below 4.12% during ce1tain time

periods. See Exhibit "D", pgs. 3-4.

       23.     In September 2024, the Pension Benefit Guaranty Corporation (PBGC) asserted a

lien against HOLDINGS for failing to pay into Prospect Crozer's employees' pension plan, for

an amount totaling approximately $12 million dollars.

       24.    To date, HOLDINGS has not yet fulfilled its pension obligation commitment

pursuant to the AP A.

               B. HOLDJNGS's Debt Recapitalization and Rhode Island Findings

       25.    In 2018, HOLDINGS borrowed $1.12 billion dollars, secured by HOLDINGS'

prope1ties owned in Pennsylvania, Califomia and Connecticut.




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         26.   Upon information and belief, HOLDINGS then distributed $457 million in

dividends to its private shareholders and executives, including distributions to LEE and

TOPPER, of which at least $90 million was distributed to LEE.

         27.   Upon information and belief, during the time that PARTNERS had an ownership

interest in HOLDINGS, PARTNERS received over $600 million in dividends and management

fees.

         28.    Upon information and belief, to repay the 2018 $1.12 billion loan, HOLDINGS

sold properties in its California, Connecticut and Pennsylvania healthcare systems to Medical

Properties Trust ("MPT").

         29.   The sale of these properties saddled PROSPECT CROZER with excessive

monthly rent liabilities it could not afford to sustain. In the case of the Crozer hospitals, that

rental payment was approximately $3 5 million per year. According to reports filed with the

Pennsylvania Healthcare Cost Containment Council, Crozer Health System has had negative net

patient revenue in almost every year since 2016. See Table 1.

                                       TABLE 1
                                NET AMOUNTS IN MILLIONS

                                        PATIENT          OPERATING
  YEAR            HOSPITAL              REVENUE           EXPENSES          PROFIT/LOSS
   2023          Crozer-Chester           $427              $559               $-132
   2022          Crozer-Chester           $429              $520               $-91
   2021          Crozer-Chester           $511              $524               $-13
   2020          Crozer-Chester           $499              $508                $-9
   2019          Crozer-Chester           $521              $517                 $4
   2018          Crozer-Chester           $496              $537               $-41
   2017          Crozer-Chester           $542              $527                $15
   2016          Crozer-Chester           $488              $490                $-2

   2023              DCMH                    $30               $55                $-25
   2022              DCMH                    $56              $113                $-57
   2021              DCMH                   $150              $140                $10




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   2020              DCMH                   $133              $144                $-11
   2019              DCMH                   $141              $154                $-13
   2018              DCMH                   $129              $163                $-34
   2017              DCMH                   $157              $168                $-11
   2016              DCMH                   $153              $162                 $-9

   Source: Pennsylvania Cost Containment Council Hospital Financial Reports


        30.    Not only was the Crozer Health System not generating enough surplus revenue to

afford another $3 5 million in rent, it was not generating enough revenue for general capital

improvements, replacement of equipment like CAT scans and MRis and physician recruitment,

and was essentially insolvent.

        31.     In 2021, PARTNERS sold its approximate 60% share in HOLDINGS for $12

million to LEE and TOPPER who had been minority owners. The money to buy back

PARTNERS' shares was paid by HOLDINGS.

        32.    In the recent Rhode Island Attorney General's action against HOLDINGS, the

Rhode Island court found that, "the 2018 [dividend] transaction substantially weakened the

balance sheet of [Respondent], benefitting the shareholders while providing minimal or no funds

to any of the local operating entities (citations omitted)." A true and correct copy of the Rhode

Island Court's June 12, 2024 Opinion is attached as Exhibit "E." See pgs. 5-6.

        33.    The Rhode Island court found that HOLDINGS has been "effectively using the

Hospitals' accounts payable as a line of credit to pay bills for its other hospitals around the

country" and prioritizing its California investments over other states citing testimony from

HOLDINGS' CFO who testified:

               "In the last year our regulator, the California regulators and the
               Depaitment of Managed Healthcare and our lenders have required
               us to replace our collateral into cash for what is being needed to meet
               [California Department of Managed Healthcare] requirements.... "
               Furthermore, Defendant states in order to meet regulatory



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                requirements for licensing by the California Department of
                Managed Healthcare, it must have over $130 million in cash or cash
                equivalents available.

See Exhibit E, pgs. 25-26.

        34.     HOLDINGS' representative testified that the company has total assets of $2

billion and total liabilities of $4 billion. See Exhibit "E," pg. 28.

        35.     HOLDINGS taking on $1.12 billion in debt, distributing $457 million in

dividends to its shareholders, and the subsequent funding of LEE and TOPPER'S purchase of

HOLDINGS' shares from Paitners, did not constitute "commercially reasonable efforts to ensure

the residents of Delaware County, Pennsylvania have access to a full range of health care

services ... " See Exhibit B, pgs. 58-59.

                        C. Dismantling of the Prospect Crozer Health Si's/em

        36.     As of the date of HOLDINGS' acquisition of CKHS in 2016, there were four

hospitals operating in the system: Crozer-Chester, DCMH, Springfield, and Taylor were operated

        37.     Despite HOLDINGS's contractual commitment to keep all of the CKHS's

hospitals open for ten (10) yeai·s, both Springfield and DCMH are now closed.

        38.     Upon information and belief, Prospect Crozer has been unable to properly

maintain and staff its critical service lines at Crozer-Chester without substantial outside

assistance from Temple Health, Jefferson Health, and Nemours Children hospital systems.

        39.     At Crozer-Chester, Temple Health is providing its medical services for kidney

transplant, cardiac surgery, and interventional pulmonary. Jefferson Health is providing its

medical services for neurosurgery. Nemours Children is providing its medical services for

neonatal intensive care unit and well-baby nursery.




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        40.    According to PROSPECT CROZER's website, all hospital-based services at

Springfield Hospital were temporarily suspended as of January 14, 2022. More than two years

later, the "temporary" suspension remains and the hospital has not reopened in violation of the

2016 APA. A true and correct copy of the Crozer Health Website Printout is attached as Exhibit

"F."

        41.    On or about September 21, 2022, PROSPECT CROZER announced that DCMH

would be converted from an acute care hospital to a behavioral health center without noticing the

Foundation nor receiving its consent as required under the APA.

        42.    On September 23, 2022, PROSPECT CROZER's Vice President of Human

Resources, Thomas Shull, issued a WARN Notice. The Notice stated that DCMH intended to

discontinue acute care service lines as of November 26, 2022, and 334 employees' jobs would be

impacted. A trne and correct copy of the WARN Notice attached as Exhibit "G".

        43.    Additionally, around this same time, HOLDINGS issued its health and

stabilization plan. The implementation of this plan would reduce the number of hospitals within

PROSPECT CROZER from four to two. A true and correct copy of the Health and Stabilization

Plan attached as Exhibit "H".

        44.    Prior to this announcement, PROSPECT CROZER had already eliminated several

key service lines at DCMH including the ICU, Labor and Delivery, and Pulmonology.

        45.    On September 28, 2022, the Foundation for Delaware County ("Foundation")

filed for a Preliminary inj1mction against Defendants HOLDINGS and PROSPECT CROZER to

stop the closure of DCMH.

        46.    On October 5, 2022 the Attorney General's Office filed ajoinder to the

Foundation's Petition.




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        47.    After an evidentiary hearing on the Foundation's petition, this Court entered an

Order on October 11, 2022 requiring that Defendants "shall maintain all services presently

offered at Delaware County Memorial Hospital and all present operations of Delaware County

Memodal Hospital and shall not directly or indirectly engage in any activity that would in any

way materially and adversely affect such services or operations."

        48.    On November 1, 2022, this Court denied HOLDINGS' motion to dissolve the

Preliminary Injunction, affirming its decision to prevent Defendants from closing DCMH.

        49.    On November 4, 2024, dne to inadequate radiological staffing, the Depmtment of

Health issued an Order suspending emergency department services and banning admissions,

which effectively closed DCMH until the violations could be cured.

        50.    On November 10, 2022, HOLDINGS filed its Application for an Expedited

Appeal to the Commonwealth Cou1t of this Court's preliminary injunction.

        51.    On December 8, 2022, the Commonwealth Court grm1ted HOLDINGS'

Application for a Stay of this Court's Preliminary Injunction

        52.    On December 20, 2023, the Supreme Comt granted the Foundation's Petition for

Allowance of Appeal of the Commonwealth Court's decision.

        53.    The Supreme Court has not yet issued its decision on whether the Commonwealth

Court erred in its decision to Stay the Preliminary Injunction.

  D. The Stay o(Litigation to Fiud a Successor Nouprofit Provider and Failed Sale Process

        54.    While the Comt' s decision was on appeal, all parties reached an agreement to stay

the underlying litigation for a period of 270 days to attempt to find a nonprofit buyer for the

assets of PROSPECT CROZER. The agreement was approved by this Court on February 1,

2024.




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          55.   The stay expired on Monday, October 28, 2024 and the sale process has now

failed.

          56.   The Commonwealth has been advised that Prospect will discontinue key service

lines at some point in the near future.

          57.   Crozer-Chester Medical Center is the only hospital within Delaware County with

Burn and Trauma services.

          58.   Crozer-Chester Medical Center's burn center is the only accredited burn center in

Delaware County. The next closest burn centers are: Temple Health (approximately 43 minutes

away), Jefferson Health (approximately 29 minutes away), Saint Christopher in Philadelphia (36

minutes away), Lehigh Valley in Allentown (1 hour 18 minutes away) and John Hopkins in

Baltimore, Maryland (1 hour 50 minutes away). Residents of Southern New Jersey do not have a

burn center and they likewise rely heavily on Crozer to treat their burn patients.

          59.   Crozer-Chester is the only accredited Level 2 trauma center in Delaware County.

The next closest trauma centers are: Penn Presbyterian Medical Center Level 1- Philadelphia (28

minutes away); Children's Hospital of Philadelphia Level I -Philadelphia (28 minutes away);

Lankenau Hospital Level 2 - Wym1ewood (36 minutes away); Paoli Memorial Hospital Level 2-

Paoli (42 minutes away); Thomas Jefferson University Level 1 - Philadelphia (29 minutes

away); Christiana Care Hospital Levell - Newark, DE. (32 minutes away); Nemours Children

Hospital Level 1 - Wilmington DE (23 minutes away).

          60.   These critical service lines play an essential role in providing timely and

specialized care that saves lives.

          61.   PROSPECT CROZER's critical service lines are vital not only for immediate

emergency care but also long-term recovery and rehabilitation.




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       62.      If Crozer-Chester Medical Center burn and trauma centers close, it would

immediately impact the health and safety of the residents of Delaware County and leave a

significant gap in these healthcare services.

       63.     The tln·eatened closure of critical services lines will also result in the public's loss

to accessible health care providers, and other adverse consequences, including, but not limited to:

               a.      Putting immense pressure on sun-ounding hospitals, leading to longer

                       response times in critical situations, including longer Emergency Room

                       waiting times, and ultimately jeopardizing the well-being of the entire

                       community;

               b.      Increasing demand for services at the nearest hospitals beyond their

                       abilities to absorb additional patients affecting not only the additional

                       patients but those already receiving care at those hospitals;

               c.      Diminishing the likelihood of good medical outcomes for impacted

                       patients;

               d.      Frustrating patient families without their own transportation to participate

                       in the care and treatment of their loved ones; and

               e.      Burdening EMS transports as they will require additional time to get to

                       hospitals located furthel' away.

       64.     In a statement published by the Delco Times in September 2024, PROSPECT

CROZER admitted that its Burn Center and Level II Trauma Center provides crucial lifesaving

services for the residents of Delaware County. It specifically states, "Our facilities provide the

essential medical care that can mean the difference between life and death." A true and correct




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copy of the statement contained on the Crozer Health website at www.crozerhealth.org is

attached as Exhibit "I".

           D. Need to transfer PROSPECT CR OZER back to nonprofit charitable entity.

       65.     HOLDINGS's intentional diminution of PROSPECT CROZER's ability to

function by prioritizing unwarranted, unlawful dividends to investors and insiders, as well as its

overall mismanagement has left PROSPECT CROZER little chance to continue as a going

concern.

       66.     PROSPECT CROZER is expected to provide emergency room services for more

than 65,000 thousand patient visits through 2024. A true and correct copy of the Statistics

Provided by Prospect Crozer's CEO's Anthony Esposito is attached as Exhibit "J."

       67.     PROSPECT CROZER operates a trauma unit and operates one of only 7 burn

units in Pennsylvania.

       68.     PROSPECT CROZER's closure of service lines will harm the citizens of

Pennsylvania generally and the citizens of Delaware County specifically.

       69.     Based upon the Commonwealth's experience, nearly every for-profit hospital

owner in Pennsylvania has eventually closed or sold back to nonprofit systems, and it is not in

the public's interest to allow PROSPECT CROZER to retain ownership and control of the

remaining assets of the former CKHS while it closes the service lines as alleged.

                                    CLAIMS FOR RELIEF

                          COUNTI-BREACHOFCONTRACT
  Contractual Violations of the Asset Purchase Agreement and Order Approving the Sale
               Commonwealth v. Holdings, Prospect Crozer, Lee, and Topper

       70.     Paragraphs l tlu·ough 69 are incorporated as if fully set fo1th.




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         71.      Pursuant to Section 5976 of the Nonprofit Corporation Law, 15 Pa.C.S. § 5976, it

is unlawful to sell property committed to charitable purposes if the sale will divert the assets

from the purposes to which the property was originally connnitted without an Order approving

the sale pursuant to 15 Pa.C.S. § 5547,

         72.      The June 28, 2016 Order granting the sale of CKHS to HOLDINGS and

PROSPECT CROZER found that the sale would not result in a diversion of charitable assets

based upon Prospect's connnitments and representations made to the Commonwealth, this Court,

and the public.

         73.      HOLDINGS and PROSPECT CROZER have since closed two of the four

hospitals in the former Crozer Health System, which has resulted in the elimination of acute care

service lines, mass employee layoffs, unpaid vendors, and extended travel times for emergency

care.

         74.      Prospect agreed not to "close any of the licensed Hospitals, including any campus

ofa licensed hospital providing inpatient acute care services as of the Effective Time [July 1,

2016], acquired as part of the transactions contemplated hereby unless consented to by the

Advisory Board and the FOUNDATION in advance." See Exhibit A Section 11. 16

         75.      Additionally, tmder the APA Section 2.4(a) entitled Pension Liability Prospect

agreed to become the sponsor of the Crozer-Keystone Health Systems Employees Retirement

Plan. See Exhibit A, pg. 14.

         76.      Under the Third Amendment to the APA Section 7(c) Prospect agreed that

"within five (5) years after the Effective Time and subject to applicable filing and authorization

by the applicable Government entity, Buyer shall adopt a plan amendment to terminate the DB

Pension Plan (the "Plan Termination Agreement") effective within such five (5) year period and




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thereafter, in accordance with applicable law, shall liquidate, fully fund and satisfy, and pay all

benefits owed to participants and beneficiaries of, the DB Pension Plan ("Pension") by providing

for lump sum distributions to participants, purchasing annuities for participants who do not elect

a lump sum distribution or otherwise in accordance with the terms, conditions of the DB Pension

Plan (as in effect at the Effective Time) and with applicable law." The amendment goes on to

allow for two one year extension if certain conditions are met. See Exhibit D, pgs. 3-4.

       77.       Not only has Prospect not fully funded the Pension but it is in default of its

ongoing obligations.

                           COUNT II - BREACH OF CONTRACT
                                Negligent Misrepresentation
              Commonwealth v. Holdings, Prospect Crozer, Lee, Topper, and Partners

        78.      Paragraphs 1 through 77 are incorporated as if fully set forth.

       79.       Defendants Holdings, Prospect Crozer Lee, Topper, Pmtners Holdings, Prospect

Crozer Lee, Topper, Partners knew or should have known that the representations made to the

Commonwealth, this Cmnt and the public were false.

       80.       "The four elements of a common law claim for negligent misrepresentation are: (1)

a misrepresentation of material fact; (2) made under circumstances in which the actor should have

!mown of its falsity; (3) with an intent to induce another to act on it; (4) thereby causing injury to

a party who justifiably relied upon the misrepresentation." See Gregg v. Ameriprise Financial Inc.

664 Pa. 567,581 (2021), citing Bortz v. Noon, 556 Pa. 489, 729 A.2d 555,560 (1999).

       81.       HOLDINGS has a history of taking out massive loans secured by hospital real

estate and saddling its hospital systems with unsustainable ongoing lease obligations.




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       82.      In 2018, only two years after purchasing CKHS, HOLDINGS took a loan resulting

in a $1.12 billion debt, secured by the physical assets of PROSPECT CROZER, along with

HOLDINGS other out-of-state hospitals.

       83.      To pay back this massive loan, HOLDINGS sold its properties in Pennsylvania,

Connecticut, and California to MPT, who leased it back to PROSPECT CROZER tln·ough a costly

lease agreement.

       84.      By 2020, after HOLDINGS distributed $457 million in dividends to its owners,

HOLDINGS' liabilities exceeded its assets by more than $1 billion, with assets totaling

$2,042,389,000 and liabilities totaling $3,102,004,000. See Rhode Island Court's June 12, 2024

Opinion, attached as Exhibit "E."

       85.      Following this lease agreement, PROSPECT CROZER was unable to pay its rent.

       86.      HOLDINGS and MPT have since converted the lease-back in Pennsylvania into a

mortgage in exchange for MPT acquiring an equity stake in ce1iain portions of HOLDINGS

California business interests.

       87.      HOLDINGS knew or should have known that the sale and lease-back transactions

burdened PROSPECT CROZER hospitals with new financial liabilities that they could not sustain

risked defaulting on HOLDINGS' obligations to operate a hospital system for 10 years.

                          COUNT Ill - UNJUST ENRICHMENT
             Commonwealth v. Holdings, Prospect Crozer, Lee, Topper, and Partners

       88.      Paragraphs 1 through 87 are incorporated as if fully set f01ili.

       89.      Unjust enriclnnent is an equitable doctrine. See Gutteridge v. .13 Energy Group,

Inc., Pa. Super. 2017165 A. 3d 908,916 (citing Styer v. Hugo 619 A.2d 347 (Pa. Super. 1993)).

       90.      The elements necessary to prove unjust enrichment are: (1) Benefits conferred on

defendant by plaintiff, (2) Appreciation of such benefits by defendant, and (3) Acceptance and




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retention of such benefits under such circumstances that it would be inequitable for defendant to

retain that benefit without payment of value. Id. at 917.

         91.     As alleged, HOLDINGS distributed $457 million in dividends to its private

shareholders and executives.

         92.     Upon information and belief, during the time that PARTNERS had an ownership

interest in HOLDINGS, PARTNERS received over $600 million in dividends and management

fees.

         93.     LEE, TOPPER and PARTNERS received the lion's share of those dividends.

         94.     This distribution was made despite HOLDINGS' obligations to operate the

PROSPECT CROZER hospitals for 10 years, an obligation that HOLDINGS could not meet

without the cash distributed for the dividends.

         95.     Upon information and belief, little of the $ l .12 billion loan secured by the sale of

the medical properties in Pennsylvania was reinvested in the PROSPECT CROZER health system

- on the contrary, PROSPECT CROZER was burdened with an additional amrnal lease and/or

mortgage obligation of$35 million which contributed to its financial unsustainability.

         96.     HOLDINGS and PROSPECT CROZER failed to operate the hospital system in a

commercially reasonable manner.

         97.     LEE, TOPPER, and PARTNERS unequivocally enriched themselves at the

expense of Delaware County residents and the Commonwealth.

                           COUNT JV - CONSTRUCTIVE TRUST
               Commonwealth v. Holdings, Prospect Crozer Lee, Topper, and Partners

         98.     Paragraphs 1 t!U'ough 97 are incorporated as if fully set forth.




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       99.      A constructive trust occurs whe11 a person holding the prope1ty's title is subject to

an equitable duty to convey it to another if that person would receive unjust emichment if that

property were retained. See Gray v. Leibert, 357 Pa. 130, 135 (1947).

        100.    HOLDINGS, PROSPECT CROZER, LEE, TOPPER, and PARTNERS acquired

enormous profits by stripping away the hospitals' main assets, saddling millions of dollars of

ongoing financial obligations upon PROSPECT CROZER, terminating acute care services, and

downgrading health care services to the Delaware county community.

        101.    HOLDINGS, PROSPECT CROZER, LEE, TOPPER, and PARTNERS engaged in

wrongful conduct in order to increase their profits while refusing to operate the hospitals in a

manner consistent with the representations made to the Commonwealth and this Comt and failing

to expend the capital necessary for the hospitals to operate and function properly.

        102.    HOLDINGS, PROSPECT CROZER, LEE, TOPPER, and PARTNERS are subject

to an equitable duty to convey the dividends to the Commonwealth for distribution to an

appropriate successor or successors to restore health care services to the local community and

public-at-large.

        103.    Accordingly, the Commonwealth asks this Comt to impose a constructive trust

upon the distribution of dividends made to HOLDINGS, PROSPECT CROZER, LEE, TOPPER,

and PARTNERS.

                     COUNT V -BREACH OF FIDUCIARY DUTY
             Commonwealth v. Holdings, Prospect Crozer, Lee, Topper, and Partners

        104.    Paragraphs 1 through 103 are incorporated as if fully set fmth.

        105.    Pursuant to 15 Pa.C.S. § 1712, Officers and Directors shall perform their fiduciary

duties in good faith and in a mam1er that is in the best interest of the corporation, with the

amount of care that a reasonable person would exercise.




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         106.   Upon information and belief, in 2018, HOLDINGS borrowed $1.12 billion to, in

part, fund $457 million in dividends to themselves, of which LEE, TOPPER, and PARTNERS

received large shares.

         107.   Upon information and belief, during the time that PARTNERS had an ownership

interest in HOLDINGS, PARTNERS received over $600 million in dividends and management

fees.

         108.   As officers and/or directors of PROSPECT CROZER, the individual Defendants

LEE and TOPPER violated their fiduciary duties when they engaged in the 2018 loan and

dividend distributions.

         109.   LEE, TOPPER, and PARTNERS, each of whom had a conflict of interest,

engaged in self-dealing and violated their fiduciary duties in receiving their shares.



  COUNT VI - REVOCATION OF CORPORATE FRANCHISE AND APPOINTMENT OF
                              RECEIVER
                      Commonwealth v. Prospect Crozer

         110.   Paragraphs 1 through 109 are incorporated as if fully set forth.

         111.   Section 503 of the Associations Code, 15 Pa.C.S. § 503, entitled Actions to

revoke corporate fra11c/1ises, provides:

                (a) General rule. - - The Attorney General may institute proceedings to
                    revoke the articles and franchises of a corporation if it:

                   (1) Misused or failed to use its powers, privileges or franchises;

                   (2) Procured its articles by fraud; or

                   (3) Should not have been incorporated under the statutory authority
                       relied upon.

                (b) Powers of court. - - In every action or proceeding instituted under
                    subsection (a), the court shall have power to wind up the affairs of and




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                   to dissolve the corporation in the manner provided in this part or as
                   otherwise provided by law.

        112.   As alleged, PROSPECT CROZER has misused the powers and privileges

bestowed npon PROSPECT CROZER.

        113.   Moreover, PROSPECT CROZER violated its representations to the public and

within the AP A as to its commitments to provide essential healthcare in the community.

        114.   As such, the corporate franchise of PROSPECT CROZER should be revoked and

entity's assets placed under receivership for distribution to one or more successors to restore the

public's access to health care.

  COUNT VII -FUNDING TO SUPPORT TRANSITION TO NONPROFIT SUCCESSOR
               Commonwealtlt v. Holdings, Lee. Topper, and Partners

        115.   Paragraphs 1 through 114 are incorporated as if fully set forth.

        116.   As alleged, based on the Commonwealth's experience, the transfer to one or more

nonprofit charitable successor(s) will provide the best chance to enable what remains of the

former CK.HS system to develop clinical relationships with other credible health care providers

and restore confidence in the system's employees as well as the public.

        117.   Toward that end, funding is required to maintain the operational costs of

PROSPECT CROZER in order to effectuate the transfer to one or more nonprofit systems.

        118.   HOLDINGS has a contractual obligation to provide that funding and should be

ordered to maintain PROSPECT CROZER's operations until a transition to one or more

appropriate nonprofit successors has been achieved.

        119.   Likewise, Defendants LEE, TOPPER, and PAR1NERS should be ordered to

repay the imprudent and illegal dividends they have received which contributed to the financial

demise of PROSPECT CROZER as alleged.




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                                    PRAYER FOR RELIEF

         WHEREFORE, the Commonwealth respectfully requests this Honorable Court enter an

order:

         A.    Declaring Defendants' HOLDINGS, PROSPECT CROZER, LEE, TOPPER, and

               PARTNERS conduct described herein to be in violation of the terms of the APA

               and contrary to the material representations relied upon by the Cmmnonwealth

               and this Court in approving the sale resulting in the unjust emichment of

               Defendants TOPPER, LEE, and PARTNERS;

         B.    Enjoining Defendants HOLDINGS, PROSPECT CROZER, LEE, TOPPER, and

               PARTNERS and all other persons acting on their behalf directly or indirectly,

               from engaging in any future violations;

         C.    Imposing a constructive trust on the dividends paid out to TOPPER, LEE, and

               PARTNERS;

         D.    Requiring TOPPER, LEE, and PARTNERS to pay back all of the unlawful

               dividends received to be used proportionally by Pennsylvania, Connecticut,

               Rhode Island, and California to fund health care initiatives in the communities

               impacted by the actions complained of;

         E.    Requiring HOLDINGS to fund the operating costs of PROSPECT CROZER

               during the sale/transition to one or more nonprofit charitable successors;

         F.    Revoking the franchise of PROSPECT CROZER and placing its assets in

               receivership for distribution to one or more successors to restore the public's

               access to health care;




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      G.    Directing Defendants HOLDINGS, PROSPECT CROZER, LEE, TOPPER, and

            PARTNERS to pay the Commonwealth's costs of investigation and attorneys'

            fees incurred in this matter; and

      H.     Granting such other relief as this Court deems necessary and appropriate.



                                                    Respectfully submitted,


                                                    MICHELLE A. HENRY
                                                    ATTORNEY GENERAL

                                                By: ls/James A Donahue III
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                                                    First Deputy Attorney General
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                                                    Rosalind M. Karlin
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                                                    Attorney l.D. 308417

                                                    Pamela S. Fingerhut
                                                    Senior Deputy Attorney General
October 28, 2024                                    Attorney I.D. 84079




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                                      VERIFICATION



       I, James A. Donahue, III, hereby state that I am the First Deputy Attorney General with

the Office of the Attorney General for the Commonwealth of Pennsylvania. I verify that the

averments made in the foregoing Complaint are true and correct to the best of my knowledge,

information, and belief. I understand that the statements therein are made subject to penalties of

18 Pa. C.S. § 4904 relating to unsworn falsification to authorities.




                                                        Isl James A. Donahue, III
Dated: October 28, 2024                                 James A. Donahue, III
                                                        First Deputy Attorney General




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COMMONWEALTH OF                                      COURT OF COMMON PLEAS
PENNSYLVANIA                                         OF DELAWARE COUNTY
By MICHELLE A. HENRY,
Attorney General,
                  Plaintiffs,                        No.
           v.

PROSPECT MEDICAL                                     CIVIL ACTION-LAW
HOLDINGS, INC.,
PROSPECT CROZER, LLC,
LEONARD GREEN AND PARTNERS,
SAMUEL LEE, Individually, and
DAVID TOPPER, Individually,
                    Defendants.


                             CERTIFICATE OF COMPLIANCE
       I certify that this filing complies with the provisions of the Public Access Policy of the

Unified Judicial System ofPennsylvania Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently from non-confidential

information.




                                                     Respectfully submitted,.
                                                     MICHELLE A. HENRY
                                                     ATTORNEY GENERAL

                                              By:     Isl James A. Donahue, III
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October 28, 2024
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    EXHIBIT A
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                         COMMONWEALTH OF PENNSYLVANIA
                              DELAWARE COUNTY

IN THE ORPHANS COURT DIVISION                         No. 0342-1997

OF THE COURT OF COMMON PLEAS

OF DELAWARE COUNTY, PENNSYLVANIA


                  IN THE MATTER OF ACQUISITION OF ASSETS OF
                       CROZER-KEYSTONE HEALTH SYSTEM

                                       FINAL DECREE

       AND NOW, TO WIT, this        d &T\~ay of -JJ (\)t,, , 2016, upon consideration of
the Petition for Court Approval of the Acquisition of the Assets of the Crozer-Keystone Health

System, and a response by the Attorney General of the Commonwealth of Pennsylvania and any

other party, and following a public hearing duly advertised and held pursuant to the Review

Protocol for Fundamental Change Transactions Affecting Health Care Nonprofits conducted by

the Attorney General of the Commonwealth of Pennsylvania, on May 4, 2016, and following a

hearing held before the Court on the 27th day of June, 2016, it is hereby ORDERED and

DECREED that the prayer of the Petition for Court Approval of the Acquisition of the Assets of

the Crozer-Keystone Health System be, and the same is hereby, GRANTED, and the Cmut

makes the following findings of fact and conclusions of law:

       1.     This Comt has jurisdiction over the within Petition and the Petitioner pursuant to

Sections 314, 5547(a) and (b) and 5930 of the Pennsylvania Nonprofit Law of 1988, as amended

(the "NCL"), 15 Pa. C.S.A. §§ 314, 5547(a) and (b) and 5930; imder Section 711(21) of the

Pennsylvania Probate, Estates and Fiduciary Code, (the "PEF Code"), 20 Pa. C.S.A. § 711 (21);

and nuder Rule 2156 of the Pennsylvania Rules of Judicial Administration.
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       2.      Pursuant to Section 726 of the PEF Code, 20 Pa. C.S.A. § 726, venue of the

Petition is proper in Delaware County, Peruisylvania.

        3.     The sale of the assets of the Crozer-Keystone Health System to Prospect Crozer,

LLC, and the payment of proceeds to the Crozer-Keystone Health System pursuant to the Asset

Purchase Agreement ("Agreement") an<l as described in the Petition, is approved,

        4.     After payment of the debts and liabilities of the Crozer-Keystone Health System,

Crozer-Keystone Health System is authorized to transfer to the Crozer-Keystone Community

Foundation ("the Foundation") the net proceeds and cash or investment assets remaining from

the sale proceeds.

        5,     The assets to be sold pursuant to the Agreement do not include restricted

charitable assets; accordingly, the sale will not result in a diversion of assets committed to

charitable purposes from the objects for which such assets were donated, granted or devised, and

the sale is not subject to the provisions ofl5 Pa. C.S.A. §5547(b).

       6.      The sale of assets pursuant to the Agreement will not result in any prohibited self-

dealing or inurement of charitable assets for the benefit of private individuals.

       7.      As a condition of this Decree, Prospect shall submit Status Reports to the Office

of Attomey General, Charitable Trusts and Organizations Division providing infmmational

accounting of satisfying its $200 million commitment to modernize facilities and improve

services, accounting of Prospect's charity care, and Prospect's initiatives to promote wellness,

health education and other community programs, to be submitted on a yearly basis for five years

post Closing Date.

       8.      As a condition oflhis Decree, Crozer-Keystone Health System and/or the

Foundation shall provide Status Reports to the Office of Attorney General, Charitable Trusts and
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Organizations Division, providing informational accounting of the distribution of the proceeds of

the sale and any transfer or use of restricted funds on or before September 30, 2017.

        9.      As a condition of this Decree, the Crozer-Keystone Community Foundation shall

submit Status Reports to this Court and the Office of Attorney General, Charitable Trusts and

Organizations Division providing informational accounting of the Foundation's charitable

activities on the 1st, 4th, 7'h and l 0th anniversary of the Closing Date.

        I 0.    In the event that future bequests or donations are made to Crozer-Keystone Health

System, Prospect and/or the Foundation will request that the donor direct the bequest to the

Foundation.

         11.    Without admitting liability and without waiving any defenses, the Petitioner or

Foundation shall set aside and maintain sufficient funds to settle or satisfy any judgment in the

pending tax appeals by Chester-Upland School District vs. Crozer-Chester Medical Center and

any additional transfer tax liability of Crozer-Keystone Health System arising as a result of the

instant transaction (the "Restricted Tax Fund"). The Petitioner or Foundation shall maintain the

Restricted Tax Fund until final resolution of the litigation.

        12. The purpose clause of the Amended and Restated Atiicles of Incorporation of the

Crozer Keystone Community Foundation shall read as follows:

        The Corporation is organized, and may undertake any activities authorized, under

        the provisions of the Nonprofit Corporation Law of 1972, as amended,

        exclusively for charitable, scientific and educational purposes withln the meaning

        of Section 50l(c)(3) of the Intemal Revenue Code of 1986, as the same may be

        amended and modified or replaced by any futnre United States Internal Revenue

        Law (the "Code"), or for any purpose pursuant to comt order. The purpose of the
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        Corporation is to build a better conurnmity through the support of healthcare

        education, healthcare-related social service and healthcare initiatives and

        programs in Delaware County,

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                                       ATTACHMENT B

                               AMENDED AND RESTATED
                             ARTICLES OF INCORPORATION

                                                OF

                            CROZER-CHESTER FOUNDATION

In compliance with all the requirements of 15 Pa. C.S. Section 5915 (relating to articles of
incorporation), the undersigned, desiring to amend and restate its Aiticles of Incorporation,
hereby certifies that:

        I.     Name.      The name of the Coqioration is Crozcr-Kcystonc Community
Foundation.

       2.     Principal Office. The location and post office address of the registered office of
the Co1poration in this Commonwealth is One Medical Center Boulevard, Upland, PA 19013,
Delaware County, PA.

          3.     Purposes and Powers. The Corporation is organized, and may undertake any
activities authorized, under the provisions of the Nonprofit Corporation Law of 1972, as
amended, exclusively for charitable, scientific and educational purposes within the meaning of
Section 501(c)(3) of the Intemal Revenue Code of 1986, as the same may be amended and
modified or replaced by any future United States Internal Revenue Law (the "Code"), or for any
purpose pursuant to court order, The purpose of the Corporation is to build a better community
through the suppo1t of healthcare education, healthcare-related social service and healthcare
illitiatives and programs in Delaware County.

        Notwithstanding any other provision of these Articles, the Corporation shall not engage
directly or indirectly in any activity which would prevent it from qualifying, and continuing to
qualify, as a Corporation described in Section 50 l (c)(3) of the Code (hereinafter referred to in
these Articles as an "exempt organization"), or as a Corporation contributions to which are
deductible under Section l 70(c)(2) of the Code, No substantial part of the activities of the
Corporation shall be devoted to the canying on of propaganda, or othen\lise attempting to
influence legislation (except as otherwise provided in Section 501(h) of the Code), and the
Corporation shall not participate in or intervene in (including the publishing or distributing of
statements) any political campaign on behalf of or in opposition to any candidate for public
office,

        4.     Resh·ictcd Funds. Unless otherwise subject to donor specific restrictions, any
funds transferred to the Corporation in connection with the merger of Delco Memorial
Foundation, with and into the Co1poration, and the proceeds received from Crozer-Keystone
Health System in connection with its sale to Prospect Medical Holdings, Inc,, (such funds
collectively hereinafter referred to as the "Transferred Restricted Funds"), shall be restricted lo
solely support the purposes set forth in paragraph 3 above, The Corporation may support other
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charitable pmposes, as dete1mined by its Board of Directors, through any funds that are not
Transferred Restricted Funds and that are not otherwise subject to donor"specific restrictions.

         5.     Nonprofit Status. The Corporation does not contemplate pecuniary gain or
profit, incidental or otherwise and is organized on a nonstock basis.

       6.      Term. The term for which the Co1poration is to exist is pe11iet1ml.

       7.      Members. The Corporation shall have no members.

        8.      Amendment. These Aiiicles of Incorporation and the Bylaws of the Corporation
may be reconnnended for amendment, restatement, or repeal, or new Bylaws or Aiiicles of
Incorporation may be recommended upon the approval of the Board of Directors. No provisions
of the Articles oflncorporation or Bylaws of the Corporation shall vest any property or contract
right in any person.

        9.      No Private Inurement. Notwithstanding any other provision of these Articles,
no pati of the net earnings of the Corporation shall inure to the benefit of or be distributable to
its, Directors, officers, or any other private individual; provided, however, that the Cmporation
shall be authorized and empowered to pay reasonable compensation for services rendered to the
extent that such payments do not prevent it from qualifying, and continuing to qualify, as an
exempt organization and to make such lawful payments and distributions in furtherance of the
purposes set forth in Aiiicle 3 hereof as may from time to time be either required or petmitted by
Section 50l(c)(3) of the Code.

         10.     Dissolution. Upon the dissolution or liquidation of the Corporation, whether such
be de iure or de facto, in whole or in pmt, after paying or making provision for the payment of all
of the liabilities of the Corporation, any remaining assets of the Corporation shall be distributed
to one or more organizations organized and operated exclusively for charitable, educational,
religious, or scientific purposes as shall at the time qualify as exempt organizations under
Section 50l(c)(3) of the Code, as amended, as the Board of Directors of the Corporation shall
determine, subject to the Jaws of the Commonwealth of Pe1111sylvania. No private individual
shall share in the distribution of any Corporation net assets upon dissolution of the Corporation.

        11.    Code References. References in these Articles to a section of the Code shall be
construed to refer both to such section and to the regulations promulgated thereunder, as they
now exist or may hereafter be amended, m1d to the corresponding provisions of any foture
federal tax code and the regulations thereunder.
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    EXHIBIT B
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                                                          Ex.eoution Version




                              ASSET PURCHASE AGREEMENT
                                   BY AND AMONG
                      CROZER-KEYSTONE HEALTH SYSTEM

                                         AND
                                PROSPECT CROZER, LLC

                                         AND

                       PROSPECT MEDICAL HOLlJINGS, INC.




                                     January 8, 2016




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Buyer/Buyers                                        Heading

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Crozer Members                                        Heading
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                              ASSET PURCHASE AGREEMENT

        TlllS ASSET PURCHASE AGREEMENT (the "Agreement") is made and entered into
as of January 8, 2016 (the "Execution Date"), by and among CllOZER-KEYSTONE
HEALTH SYSTEM, a Pennsylvania nonprofit corporation ("Crozer"), on behalf of itself and its
health system members listed on ExhibitA hereto ("Crozet Members"· with Crozer and the
Crozei Members collectively referred to as "Sellers" and with each Crozer Member and Croze1·
individually referred to as a "Seller"), PROSPECT MEDICAL HOLDINGS, INC., a Delaware
co!'poratlon ("PMH"), and PROSPECT CROZER, LLC, a Pennsylvania limited liability •
company ("Prospect") on behalf of itself and its wholly-owned affiliates listed on Exhibit B
hereto ("Prospect Members") (PMH, Prospect, !11ld Prospect Members are collectively refo11•ed to
as "Buyers" and individually referred to as a "Buyer"). (Sellers and Buyers shall each be
referred to individually herein as a "Party" and, collectively, as tbe "Patties,")
                                           RECITALS:
        A.      Sellers operate an integrated health cat·e delivery system which includes two
(2) licensed hospitals (the "Hospitals") with multiple campuses, multiple outpatient centers, a
fully integrated network of employed primary care physicians, speciallst physicians and other
providers, medical office buildings and other facilities and interests in various other
organizations and joint ventures (collectively, the "System") in furtherance of its mission of
providing health care sel'Vices to the members of its community located primarily in Delaware
County, Pennsylvanla.
       B.       Crozer-Chester Foundation, a Pennsylvania nonprofit corporation ("Crozer
Foundation'') and Delco Memorial Foundation, a Pennsylvania nonprofit corporation ("Delco
Foundation") accept gifts and bequests, !'eceive grants and engage in :fundraislng activities for the
sole benefit of the Hospitals, and, prior to closing, Sellers will cause Delco Fo!ll1datlon to merge
with and into Crozer Foundation, with. Crozer Fm1ndation to be the surviving organization and
renamed "Crozer-Keystone Community Foundation'' (tbe "Foundation,")
        C.     PMR operates a comprehensive network of hospitals, outpatient centers, clln!cs
and aftillated medical groups in several parts of the cmmtty and provides coordinated regional
health care services designed to meet the needs of its patients.
        D.    Sellers desire to sell to Buyers and Prospect and the Prospect Members have been
formed by PMH to purchase from Sellers all oftbe business and assets owned by Sellers (other
than the Excluded Assets) on the terms and conditions set forth in this Agreement.
       E.      The Parties seek to enter into the above-described transaction to support their
shared vision to deliver patlent-eentered, quality care in an efficient, cost-effoctivc and caring
manner, meeting the health needs of the community, Specifically, the Parties lz1tend to:
          • i.      Continue the mission and commltinent of Sellel's by providing key services to
                    vulnerable . populations, extending community benefits, and supporting
                    medical education;
                                                 1
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            ii.      Deliver high value care to the community through a colll.lllltment to practicing
                     evidence"based medicine and protocols;

            iii.     Provide exceptional growth and leadership opportunities for Sellers' exlsting
                     employees;

             iv.     Support strategic needs and initiatives to ensure future growth and
                     sustainabillty;

            v.       Continue strong medical staff relationships, improve physician practice
                     management, further ol!nical and economic alignment with physiclans, and
                     lmprove physician access;

            vL       Grow healthcare service offerings in the community;

             vii.    Further value-based accountable care infrastructure and capabilities; and

             viii.   Ensure ongoing input from the community in the strategic direction of the
                     delivel'y ofliea1thcare,                          •

         NOW, TlmREFORE, in consideration of the premises and the agreements, covenants,
 representations, &nd warranties hel'einafter set forth, and intending to be legally bound hereby,
 the Parties agree as follows:

    1.       ASSET PURCHASE.
          1.1. Assets, S11bject ~o the terms and conditions of this Agreement, as of the Closing
  (as defined in Section 3.1 hereof), each Seller agrees to sell, convey, transfer, assign and deliver
  (and to cause Foundation to sell, convey, transfer, assign and deliver, as applicable) to the
  respective Buyer, as designated on Exhibit B hereto, and each such B1,1yer agrees to pllJ'chase,
  acquire and accept, all of such Seller's (or Foundation's, as applicable) right, title and interest ln
  and to all of the assets owned or used by such Seller (01· Foundation, as applicable), other than
  the Excluded Assets (hereinafter defined) (the ":Assets"), which Assets shall include, without
• limitation, the following:

                  (a)     the owned real property described on Schedule 1.l(a) hereto, including all
 bulldirigs, str•JCtl\res and facilities thereon, together with all lmprovements and :fu.iures, any
 construction in progress, and all rights, privileges and easements appurtenant thereto
 (collectively, the "Owned Reiil Property"); the real property, buildings, structures and/or
 factllties which are leased by any of the Sellers as the tenant (or subtenant or equivalent) thereof
 and d,:,scribed on Schedule 4.1 l(e) hereto (the "Tenant Leased Real Property'.'); and the real
 pl'operty, buildings, structures and/or facilities which are leased by any of the Sellers as the
 landlord (or sublandlard or equivalent) thereof and described on Schedule 4.1 l(f) hereto (the
 "Landlord Leased Real Propetty" and collectively wltb the Owned Real Property and the Tenant
 Leased Real Pro!J.el'ty, the "Real Property");


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              (b)     all personal property of Sellei·s, including all items of fixed or movable
medical equipment, infol'matlon systems (including computers, servers, data storage centers,
telecommunications systems (includh1g all switches, telephones and related equipment), office
equipment (including copiers and printers), furniture, furnishings, Sellers' inventory of medical
and office supplies, and :vehicles, the current list and geuernl location of which are- set faith on
Schedule Ll(b) hereto;
                (c)     all accounts receivable (including patient receivables ansmg from
rende!'lng of services to System patients, and other receivables, including "<lisproportionate share
payments," "meaningful use" payments, graduate medical educatio_n payments, periodic interim
paymeuts and other forms of governmental, payer and other third parly reimbursement or
subsidies, including, without limitation, capitation payments, incentive payments under managed
care contracts and cost report receivables), hilled and unbilled, recorded or unrecorded, with
collection agencies or otherwise, ·accrued and existing in respect of items or services rendered up
to the Effective Time (collectively, the "Accounts Receivable") and all hank accounts,
depository accounts, safety deposit boxes, post office boxes 01· lockboxes associated therewith
                                                                                                        I
(but not including cash or investment assets as excluded by Section 1,2(a});
               (d)     all prepaid expenses and deposits related to the System, including prepaid
lease expense, lease/security deposits, utility deposits, all medical staff fund balances (to be held
for the benefit of and/or transferred to the medical staffs of the Hospitals), and all other
assumable deposits and claims for refunds in connection with the System, a list of which is
attached hereto as Schedule U(d):
                (e)     all present and future claims, causes of action, and judgments in favor of
each Seller relating to the Assets and, to the extent assignable by Sellers, all manufucturers and
vendors' warranties (e;,q,ress or implied) and tights and claims assertable by (but not against)
Sellers related to the Assets;
             (t)    all rights and interests of the applicable Seller in the. contracts,
commitments, leases and agreements listed pn Schedule 1, 1(1) or otherwise liste<l on
Scheduk4.J l(e) or Schedule4,ll(:f) hereto (the "Contracts");
                (g)       all patient lists, demogrnphic information, patient credit information and
histories, charts, files, medical recor<ls (whether maintained·in hard copy or via e!eotl'Onio health
record ("EHR") system), X-rays and other :imaging records (regardless of medium) and other
documents and records generated In connection wlth the System's patients (the "Patient
Records");
                 (It)   all books, records, files, reports, minute books and other doomnents of
Sellers of whatever nature and wherever located (whether in hard oopy or stored or maintained
electronically) that relate to the Assets or the operation of the System, including financial,
b1.1Siness a!ld aocountiug l'ecords, medical staff 1·ecords, personnel recor<ls, only the rncords of
those Benefit Plans that are expressly assumed hereunder by Btiye1\ records relating to union
collective bargaining agreements, records relating to System physicians and other providers and
the System's suppliers or vendors, equipment records, medical and adrulnistrative libraries,
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catalogs, operating manuals, and policies and procedures (the "Books and Re-0ords," and
collectively with tho Patient Records, the "Records");

                (i)    to the exte11t assignable 01· transferable, all Licenses (as that term is
defined in Section 4,6 hereof) held by any Seller relating to the ownership, development, or
opel'ation of the Assets or the System (including any pending governmental approvals);

             (I)     to the extent assigMble, all Medicare part!clpation agreements and related
provider numbers of Sellers;

               (k)     all of Sellers' intellectual property, including the tradename, "Crozet~
Keystone Health System," and eacl1 other Seller's trade name, and any variations thereof,
together with all othet trademarks, service marks, logos or symbols, trade secrets, know-how,
processes and all inventions, patents, copyrights, research results, discoveries, and any royalties
therefrom, and website domaln names, telephone and facsimile numbers, and all applications and
registrations with respect to any of the foregoing, all computer programs and software, !t10luding
source codes (where transfenable) and access codes thereto, and all other items of intellectual
property owned or registered by the Sellers, including the intellectual property listed on
Schedule 1. l(k) hereto (the "Intellectual Property");

                (I)     to the t'xtent not included above, the "deferred tax asset (Healthplex)" and
all other assets reflected on the Sellers' Financial Statements (as de:fined in Section 4,4), and any
additions thereto up through the Effective Time, less assets sold or consumed in the ordinary
course of business;

               (m) all research and other grants from any governmental entity or third party,
including those of the Foundation, except those that require non"proflt status or other
rnqulrements imposed by the grantor that Buyer cannot satisfy, ill as set forth on·
Schedule J. lfm);

              (ll)  the interest of any Seller in all property of the foregoing types, arising or
acquked in the otdinary coUl'se of the business of Sellers between the date hexeof and the
Effective Time;

                (o)    all of the stock, limited liability company ("LLC") membership,
partnership or other ownership, control or beneficial interests held by one or more of the Sellers
in Sellers' for profit Affillates (as ·defined in Section 14, 16 below), joint ve11tnres with third
parties or . other non-wholly owned affiliated organlzatlons all as specifically listed on
Schedule Ll(o), which shall include any stock or other rights or interests in Cassatt Insurance
Company, Ltd, and Cassatt RRG Holding Company (collectively "Cassatt");

                (p)      to the extent assignable, all rights and interests of any Seller under the
Environmental Permits (defined below) listed in Schedule4,15 and all pending applications
therefor or renewals thereof issued to any Seller by any Government Entity (defined below) or
other jurisdiction Ol' instrumentality;

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               (q)      all graduate medical education ("GMB") programs, including those set
 forth on Schedule 1.1 (g) hexeto (collectively, the "Residency Programs");
                 (r)    -all goodwill associated with the System and the Assets;
                 (s)    all rights and interests to all assets held for and under each Benefit Pilln
 that is exptessly assumed by Buyers hereunder as set forth on Schedule l, 1(s): &nd .
                  (t)     all other tangible and intangible assets, other than the Excluded Assets, of
. •every ldnd, character or description owned by each Seller, whether or not reflected on the
   Financial Statements, wherever located and whether or not similar to the items specifically set
   forth above, and all other businesses and ventures owned by each Seller.          •
        Each Seller shall convey its Assets to the appropriate Buyel' :free and clear of all claims,
 assessments, security interests, Hens, restrictions and encumbrnnoes of any kind, other than the
 Permitted Encumbrances (as hereinafter defined), the Assumed Liabillties (as hereinafter
 defined) or taxes, assessments or other sums being prorated at Closing pursuant to this
 Agreement.
        1.2. Excluded Assets. Notwithstanding anything to the contrary herein, including
 Section l, l hereof, those assets of Sellers described below shall be retained by Sellers or one or
 more Affiliates of Sellers as the case may be (collectively, the "Excluded Assets") and shall not
 be conveyed to any of the Buyers:
               (a)    cash and in.vestment assets, other than the medic&l staff fund balances
 refewnced in Section 1.l(d);
                (b)     board-designated, temporarily and permanently restricted and endowment
 funds, other donoNestr.icted assets, beneficial interests in chal'itable trnsts, debt service reserve
 funds aml other assets limited as to use and accrued earnings on all of the foregoing;
                 (c)     deferred financing costs and workers' compensation deposits;
                  (d)    all Seller records relating to the Excluded Assets and Excluded Liabilities
  (as defined below) to the extent that any Bnyei· does not need the same in connection with the
  ongoing activities of the System, the Assets, or tbe Assumed Liabilities (as defined below), the
  records of those Benefit Plans that are not expressly assumed hereunder by Buyer, as well as all
  records which by law, Sellers are required to maintain in their possession, including, but not
  limited, to personnel records for those employees of Seller who do riot become Bited Employees
  or who do not accept an offer of employment with Buyer;
                 (e)     all rights and interest to the assets of all Benefit Plans not expressly
  assmned by Buyers hereunder, including any right or interest [11 future credits, rebates, returned
  deposits, refunds or other retums of assets, whether attributable to activity prior to, or after, the
  Closing Date;

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                (f) the assets of or any rights or interests with respect to the Crozer
Foundation and Delco Foundation, each a Pennsylvania nonprofit corporation, except as set forth
in Seotion l .l(m);
                (g:)    the assets of or any rights or interests with respect to The Donaldson
Trust;
                (h)     any rights or interests Jn VHA, Inc. and its Affiliates to the extent not also
Affiliates of Seller;
                (I)     the assets, properties and rlghts speci:fically set forth Jn Schedule 1.2/1):

                (j)     the   contracts,   commitments,      leases ·and agreements          listed     on
Schedule l .2(j) hereto;
               (k)    all research and other grants from any governmental entity or third party
listed on Schedule 1.2(k) that require non-profit status or other requirements imposed by the
grantor that Buyers cannot satisfy; and

                (I)     any rights or interests in Noble Health Alliance, LLC.

       1.3. Assumed Liabilities, In connection with the conveyance ofthe Assets to Buyers,
Buyers agree to assume, as of the Effective Time, the future payment and performance of the
following liabilities (the ''Assumed Liabilities") of Sellers:

              (a)    all obligations accruing, arising or to be p,:,1·formed after the Effective
Time with respect to the Contracts assigned to and assumed by Buyers, but only to the extent
such Contracts are listed on Schedule 1.l(f), and subject to Buyers' rlghts to htive Sellers
reasonably amend, terminate or otherwise not assign atty such Contract prior to Closing;

               (b) the capital/financing lease obligations set forth on Schedule l.3(b) hereto
(which shall include the ounent portion thereof), and the leases associated with the Broomall
prnject ·referenced in Section 11.17. which shall be included on Schedule 4.1 l(e) or
Schedule 4.11(£) as applicable;

                (c)    all obligations accruing, arising or to be performed on or after the
EffectJve Time with respect to the leases of any of the Tenant Leased Real Property (such leases
being referred to as the "Sellers Tenant Leases" and being set forth on Schedule 4.1 l(e) hereto)
and all obligations accrning, ar-islug or to be performed on or after the Effective Time with
respect to the leases of any of the Landlord Leased Real Property (such leases being referred to
as the "Sellers Landlord Leases" and being set fo1th on Schedule 4.ll(f) hereto), which shall
include leases associated with the Broomall project referenced in Section I 1.17, but subject to
Buyern' rights to have Sellers reasonably amend, terminate or otherwise not assign any such
Sellers Tenant Leases or Sellers Landlord Leases;

               (d)   the DB Pension Plan and Net l'enslon Liability (as both terms are defined
herein) determined pursuant to and subject to the requirements and limitations of Section 2.4;
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              (e)    accounts payable and accrued expenses of Sellers, but only to the extent
such accounts payable and accrued expenses are included in Net Working Capital and subject to
the Net Working Capital adjustment as provided in Section 2.2(/l):
               (I)    obligations and liabilities as of the Effective Time with respectto accrued
paid time off ("PTO") of the Hired Employees, but only to th~ extent such PTO is included in
Net Wol'king Capital and' subject to a Net Working Capital adjlJStment··as provided ·in
Section 2.2(a) and accrued sick time and provided that Buyers would not be required under any
applicable law or otherwlsi:, to pay out such PTO or accrued sick time to the Hired Employees at
or on account of Closing;                          •                                             •
                (g)     all liabilities and obligations under the Benefit Plans (witb tbe exception
of ~e DB Pension Plan which is covered in Section 1.3(d)) expressly assumed by Buyers
hereunder arising on or after the Effective Time other than those resulting from negligence of
Sellers or Sellers' officers, directors, employees or agents prior to Closing, all provided tbat: (i)
Buyers will not assume, before, on or after th\l Closing Date, any Benefit Plans that are intended
to satisfy section 401(a), 401(k), 403(b), 457, or 409A of the Code, or any rights, duties,
obligations or liabilities thereunder, nor shall Buyers become a successor employer or be
responsible in any way for Sellers' (or· their Affiliate's) participation in or obligations or
responsibilities with respect to any such Benefit Plans, other than th\l DB Pension Plan which is
covered in Section l.3(d): (ll) all of the Seliers' Benefit Plans (which shall expressly not include
the DB Pension Plan which is covered in Section 1.3(4)) that are intended to satisfy sections
401 (k), 403(b), 457(b), 409A (uicluding the supplemental executive retirement plans) and 401 (a)
of the Code as defined contl'ibutlon plans shall be frozen as of the Effective Time and, to the
extent permitted by applicable Jaw, terminated within 180 days thereafter; and (iii) the Buyers'
40l(k) plan shall accept rollover contributions :from the Sellern' 40l(k) and 403(b) and defined
contribution plans (excluding outstanding loans);
              (b)     all liabilities and obligations under the union collective bargaining
agreements or contracts assumed by the Buyers here11nder, if any, that arise from events aftt'r the
Effective Time, and including any event that tesults in withdrawal liability with respect to the
Pension Fund identlfied in Section 11.25;
               (i)     all liabilities and obtigatlons under the Sellers' severance policies,
including c>Xecutive severance and change-in-control arrangements for payment of severance or
termination benefits to executive / management employees, as set fortb on Schedule 1.3(i)
hereto, provided fi.uiher that such arrangements were ln effect prior to June 30, 2015 have not
been matwlally amended since June 30, 2015, and provided that Buyers woUld not be required
under any applicable law or otherwise to pay out any such benefits at or on account of Closing,
except for any such employee not hired by Buyer as of Closing;
              O)      all liabilities and oblig&tions under the Environmental. Permits transferl'ed
to Buyer pursuant to Section 1, l(p) arising after the Effective Time (but excluding any liabilities
and obligations arising from or related to any breach by any Seller that occmred prior to the
Effective Time);

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               Q,)    all liabilities aud obligations fol' the executive retention bonuses and any
other retention bonuses accrued m_ the normal course of business but only to the extent of such
amounts set forth on Schedule L3Gc) and applicable to the employees identified thereon, subject
to the Net Working Capital acijusttnent as provided ln Section 2,2(a) which will include any such
retention bonuses accrued on a monthly basis up to the Effective Time, as consistent with
Section 6,2(m):
                  (I)     1he following assumed liabilities: (i) those liabilities specifically identified
on Sellers' Financial Statements (defined below) under the category of (A) "Current Liabilities":
"Due to third parties" (i.e., associated with Sellers' cost repo1·ts) and (B) "Long Term Liabilities/
Other Liabilities": (ii) those liabilities associated-with Sellers' "Other Postretirement Benefits
(FAS 106)" (other than the DB Pension Plan), "Long-term lease incentive", "Long-tenn accrued
sick pay" and "Other Liabilities" (to the extent specified), and (iii) any liabilities or obligations
to former employees of any Seller and their dependents for ongoing continuation coverage under
the CoJJsolidated Omn.ibus Budget Reconciliation Act of 1985, llll amended ("COBRA'') existing
under or with respect to the Sellers' grmip health plan as of the Closing Date, provided that in
each case above, Buyers are only assuming such llabllitles to tb.e extent specifically set forth on
Schedule 1JQ) (collectively, "01her Assumed Liabilities") and subject to the assumptions,
li.lllitations and conditions stated therein; and
               (m) all employment related liabilities and obligations it1.Cmred by Buye1·s after
the Effective Time, including but not limited to any liability resultlug from Buyer's termination
of any employees or other employment-related action ofBuye1·.
        1,4, Excluded Liabilities. Except for the Assumed Liabilities, Buyers shall not
assume and under no circumstances shall B,uyers be obligated to pay 01· nssume, and none of the
assets of Buyers shall be or become liable for or subject to any liability, indebtedness,
commitment, 01· obligation of Sellers, whether known or unknown, fixed or contingent, recorded
or unrecorded, currently existing or hereafter arising or otherwise (collectively, the "Excluded
Liabilities"), including the following Excluded Liabilities, which shall not, in any C'Ase, include
any liabilities that are subject to the Net Working Capital adjustment set forth ln Section 2.2:
                (a)     any obligations or liability under any tax exempt or 0th.er bonds or any .
other debt, note, obligatloJJ, expense or liability that is not an Assmned Llabillty;
               (b)    liabilities with respect to claims 01· potential claims for medical
malpractice, premises liability, directors and offtcers llabllity, general liability or other claims to
the extent arising out of events occurring prior to the Effective Time, subject to Buyers'
obligation to maintain certain insurance coverage as further described in Section 11.23 and
provided thatBuyers shall not be liable for any liabilities not covered by such insurance;
                (c)     those claims and obligations (if any) specified in Schedyle 1.4(c) hereto;
               (d) any liabilities or obligations to the extent arising out of or otb.erwise
associated with any of the Excluded Assets, lnoluding among others, the research and other
grants constituting Excluded Assets undet Section 1,200:
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                                                                                                           i•,·




                (e)    those liabilities and obligations ofany Seller in excess of what is included
in the calculation of Net Working Capital, as described further in Section 2.2 of this Agreement,
and with respect to any period prior to the Effective Tlme arising under the terms of the
Medicare, Medicaid, CHAMPUSITRICARE, Blue Cross, or other third party payor programs
including any liabilities wlth respect to CMS Recovery Audit Contractor actions, and other
billing and/or compliance matters involving other audit'review agencies and organizations;

               (f)    federal, state or loC¼!l tax liabilities or obligations of' any Seller with
respect to periods prior to the Effective Titne or resulting from the consummation of the
transactions contemplated herein, including any income tltx, any franchise tax:, any tax: recapture,
any FICA, FUfA, workers' compensation and any and all other taxes or amounts due and
payable as a result of the exercise by its employees of such employee's right to vacation, sick
leave, and holiday benefits accrued while in the employ of Sellers;

                (g)   llability for any and all claims by or on behalf of any employee or former
employee (including any retiree) of Sellers to the extent al'ising out of or related to acts,
omissions, events or occurrences prior to the Effective Time, including liablllty (other than those
expressly -assumed pursuant to Section 1.3) for any pension or profit sharing plans, deferred
compensation, supplemental executive retirement plan, group health, life insura11ee, disability
insurance or any other employee health and welfarn benefit plans, liability for any EEOC claim,
ADA claim, _FMLA claim, wage and hour clann, unemployment compensation claim, or
workers' compensation claim, and any liabilities or obligations to former employees of any
Seller under COBRA (provided, however, that this Section 1.4(g) shall not apply to any
employee benefits claims or obligatlo11s constitutlng Assumed Liabilities under Section 1J
hereof);

                (11)    MY obligation m· !iabllity accrulng, to the extent arising out of, or relating
to any federal, ·state or local investigations of, or claims or actions against, any Seller 01· any of
such Seller's Affiliates or any of its employees, medical staff, 01· agents with respect to acts or
omissions occurring prlor to the Effective Time, including, without limitation, with respect to
federal 340B prescript/on drug program audits imd investigations by Health Resources and
Service Adminlstratlon, Office of Pharmacy Affairs;

                 (i)     any civil or criminal obligation or liability accruing, to the extetit arising
out of, or relating to any acts or omissions of any Seller, its Affiliates or their directors, officers,
employees and agents claimed to violate any constitutional provision, statute, ortllnance or other
law, rule, 1-egulation, interpretation 01· order of any Government Entity; •

               (j) . liabilities or obligations to the extent arising as a result of any breach by
any Seller at any time of any contract or commi1ment that is not assumed by any Buyer, or any
breach by any Seller prior to the Effective Time of any Contract assumed by Buyers;

               -(I,)   any obligation or liability asserted under the federal Hill-Burton program
or other restricted grant and loan programs with respect to the ownership or operation of the
System 01· the Assets;

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                (J)     any obligations or any liability under any tax exempt or other bonds or any
othel' debt, obligation, expense, or liability of any Seller arising out of or incurred solely as a
result of any transaction of such Seller occurring after the Effective Time; and

               (m) any other liabilities 01· obllgations with respeot to claims, actions, suits,
proceedings, or investigations against or 1·elated to any Seller, the System or the Assets, at law or
in equity, before or by any federal, state or municipal court or other governmental agency,
department, commission, boartl, bweau or instrumentality wherever located wi!h respect to acts
or omissions occurring prior to the Effective Time;

                 (n)    any obligation or liability with respect to (i) any proceeding relating to the
compliance or noncompliance with Environmental Laws (defined below); (ii) the presence,
generation, rnanagement, storage, disposal, release (or threatened telease), escape, seepage,
leakage or clean-up of any Hazartlous Substroices at, on, in, emanating from or under all or a
portion of any part of the Assets or Real Property in violation of any Environmental Laws;
(iii) the migration of any Hazardous Substance from any of the Assets or Real Property to any
other property or onto the Real Prnperty from any property or area adjacent to the Real Property;
(iv) the past treatment, removal, disposal, storage, decontamination or clean-up of any Hazardous
Substances or the transportation of any Hazardous Substances onto or from the Assets or Real
Property; (v) the incorporation, of any Hazardous Substances into the Real Property; and (vi) any
activity carried on or unde1taken_ on the Real Prope1ty in connection with the treatment,
elimination and removal .of any Hazardous Substance, in each case regartlless of whether any
claim was caused by action or inaction of the Sellers, a prior owner of the Real Property, or any
othel' pe1·son whatsoever, except for any claim relating solely and exclusively to Hazardous
Substances first introduced to the Real Property by the actions of Buyers or, Haza.dons
Substances that did not exist or occur at the Real Propertypriorto the Effective Time; and

               (o)    all liabilities and obligations of any Seller relating to any oral agreements,
oral contracts or otal understanmngs with any referral sources including, but not limited to,
physicians, unless reduced to writing and expressly assumed as part of the Contracts.

   2,       PURCHASE PRICE.

        2.1.    Purchase Price.

                 (a)    Purchase Price. The purchase price (the "Pu.t:chase Price") for the Assets
shall be Three Hundred Million Dollars ($300,000,000.00), with the following adjustments:
(i) plus the amount of the Final Net Working C!lpita!, as defined in Section 2.2(b) below, as of
the Effective Time; (ii) minus the amount of any capital/financing lease obligations that are
assumed by an.y Buyer and identified on Schedule 1.3(b) hereto (excluding any portion of such
liabilities inclutled in the Net Wol'ldng Capital calculation); (iii) minus One Hundred Twenty
Million Dollars ($120,000,000.00) if the Net l'enslon Liability assumed by any Buyer pursuant
to Section 2.4(a) eq_uals or exceeds One Hundred Ten Million Dollars ($110,000,000.00),
provided that if the amount of the Net Pension Liability as ofth.e Effective Tim~ is less than One
Hundred Ten Million Dollars ($110,000,000.00), tben the deduction under this subsection (iii)
shall be equal to One Hundred Twenty Million Dollars ($120,000,000,00) less 50% of the
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amount by which the actual Net Pension Liability as of the Effective Time is less than One
Hundred Ten Million Dollars ($110,000,000,00); (iv) mltrus the amount of Other Assumed
Liabilities that are assumed by any Buyer and identified on Schedule 1.30}: (v) minus a
deduction offlfteen Million Dollars ($15,000,000.00) for Buyers costs to obtain the "prior acts"
professional and gene!'al liability insurance coverage referenced in Section 11.23 below; (vi)
minus the additional <leductions J!sted on Schedule 2.l(a); and (vii) minus any credits against the
Purchase Price issued pursuant to the terms of Section 8.3(ru or Section 8,3(d). As part of the
Purchase P11ce, Buyers shall also assume the Assumed Liabilities.- The Purchase l'tice shall
initially be oalcu!ated as of the Closing ("Estim11ted Purchase Price") based upon the Estimated
Net Working Capital (as defined in Section 2.Z(b)) and Estimated Other Adjustments (as defined
in Section 2,3), subject to adjustment after -the Closing ln accordance with Section 2,2(b) to
reflect the Final Net Working Capital (as defined In Section 2.2(b)) and in accordance with
Section 2.3 to reflect the Final Other Adjustments (as defined in Section 2.3). Buyers shall pay
the Estimated Purchase Price to Sellers at the Closing by wire transfer of immediately available
funds to an account designated by Sellers, subject to l3uyers' direct funding at Closing of Sellers'
pension liabflitles pursuantto Section 2.4(b).

               (b)     Restricted Fund, At Closing, Sellers shall cause the Foundation's
governlng body to set aside and maintain at least Fifteen Million Dollars ($15,000,000,00) (the
"Restricted Fund") to secure Sellers' and Foundation's obligations to Buyers, which Restricted
Fund shall not be reduced, transferred, expended or otherwise utilized except as expressly
permitted pursuant to this Section 2.1, and which Restricted Fund amount shall not be construed
as a cap or other limitation on Sellers' and/or Foundation's indemnification or other liability to
Buyers, Without limiting llllY of Buyers' rights or other-legal 01· equitable remedies, the Buyers
shall have the right to, upon prior written notice to the Foundation, request payment from the
available Restricted Fund of any liablllties of one or more Sellers with respect to any matter
which is subject to ihe Sellers' indemnification obligations, pursuant to the procedures and
provisions of Article 13, whether arising before or after the Effective Time and irrespective of
when asserted or finally determined,

                (c)    -S1msettlng of.Restricted Funds. Except as otherwise provided below, at
the expiration of the first anniversary of the Effective Titne, the unapplied balance of the
Restricted Fund shall be reduced to Ten Million Dollars ($10,000,000.00); at the expiration of
the second anniversary of the Effective Time, the unapplied balance of the Restricted Fund shall
be reduced to Five Million Dollars ($5,000,000.00); and attlie expiration ofihe third anniversary
of the Effective Time, the unapplied balance of the Restricted Fund shall be reduced to Zero
DoJJai·s ($0.00); provided, however, that if any claim by Buyers that is wlthin the coverage of the
Restricted Fund is in dispute between the Buyers and Sellers with respect thereto and has not
been resolved by the expiration of any anniversary of the Effective Time subsequent to the filing
of such claim, then the Sellei·s shall cause the Foundation to continue to maintain the unapplied
balance of the Restricted Fund on each such anniversary date to the extent of such claim until
llnal tesolution of such dispute. During the pendency of any resolution of such·dispute, no other
claims may be made against the Restricted Fund afte1· the expiration of the tbird annlversaty of
the Effective Time, For the avoidance of doubt, recognlzlng that the Restricted Fund balance
may be insufficient to satisfy Buyers' claims for indemnification or any other liability of-Sellers'

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  and/01· Foundation to Buyers, Buyers may pursue claims at any time against the Foundation
  and/or Sellers and their respective remaining assets (other than restricted endowments) as
  appHcable, subject to SeQtlon 13.6 below,
         2,2,    Net Working Capital, Estimates and Audits,

                  (a) . Net Working Capital. As used herein, the term "Net Working Capital"
   shall mean (D the sum of the following "current assets" of Sellers, as such terms are defined on
   Sellers' Flnancial Statements: an accounts receivable including patient receivables (less
   accounts deemed uncollectible), supplies, Inventories and prepaid expenses (but excluding any         l'
   Excluded Assets that would otherwise be included in the foregolng), (ii) minus accounts payable       j:
   and accrued expenses of Sellers that aie assumed by any Buyer pursuant to Section 1.3(e) hereof       I
   (excluding any Excluded Liabilities that would otherwise be included in accounts payable and          l
   accrued expenses), all as determined in accordance with general1y accepted accounting principles
   ("GAAP"), For purposes of the computation of Net Working Capital, the current portion of
   accrued paid time off and sick time benefits with respect to the Hired Employees that are
   assumed by any Buyer under Section l.3(f) shall be included .in acco!lllts payable and accrued
.. expenses.
                 (b)     Net W01'king Capital Estimates and Final Adjustments,
  Schedule 2,2(b) sets forth a sample cltlculation of Net Working Capital using Sellets' most
  recent audited Fin!lllcial Statements as of June 30, 2015, all determlned in accordance with
  GAAP and consist<:mt with past practice, Not more than ten (10) but 1n no event less than :five
  (5) business days prior to the Closing, Sellers shall deliver to Buyers a good faith estimate of the
  Net Working Capital as oftbe Effective Time following the same principles, speoifloa!!ons and
  methodologies used to determine tl1e foregoing sample calculation of Net Working Capital as set
  forth on Schedule 2,2{b). based on the most recent Iuterim Statements (the "Estimated- Net
  Worklng Capital'') except with respect to counting and valuing inventory and supplies, as
  described in more detail below, The Estimated Net Working Capital shall be used for purposes
  of calculating the Estfmated Purchase Price payable as of the Closlng •and shall be subject to
  prior good faith review and comment by Buyers. No later than ninety (90) days afte1· the
  Closlng, Buyers shall dellver to Sellers their determination ofthe final Net Worklng Capital as of
  the Effective Time (following the same principles, specifications and methodologies .used to
  detennine the Estimated Net Working Capital) (the "Final Net Working Capital"), Sellers shall
  have :full access to Buyers' Books and Records pertalning to the Assets and the System to
  confirm or audit the Final Net Working Capital computatiollB, In the event Sellers disagree with
  Buyers' detel'lnlnation of Final Net Working Capital, Sellers shall notify Buyers within sixty
  (60) days after Buyers' delivery ofthelr detennination of Final Net Working Capital. ff Sellers
  and Buyers fail to agree within thirty (30) days after Sellers' delivery of notice of disagreement
  on the amount of Final Net Working Capital, such disagreement shall be resolved in accordance
  with the procedure set forth in Section 2.2(c) which shall be the sole and exclusive remedy for
  resolving accounting disputes relative to the determination of Final Net W01·klng Capital. The
  Purchase Price shall be: (i) increased to the extent of the positive difference of Final Net
  Working Capital minus Estimated Net Worldng Capital; or (ii) decreased by the absolute value
  of the negative difference of Final Net W01·king Capital minus Estimated Net Working Capital,

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 and within :five (5) business days after determination thereof any increase Jn the Purchase Pl'ice
shall be paid in cash by Buyers to Sellers, and any decrease in the Purchase Price shall be paid in
 cash by Sellers to Buyers, Notwithstanding the foregoing, the portion of Net Working Capital
 constituting the value of inventol'y and supplies shall be determJned based on· a physical co@t
 conducted by Sellers on a date not more than five (5) business days before the Closing
 Date. Sellers shall give Buyers at least five (5) business days prior notice of the date of the count
 and permit Buyers to monitor the count Seilers shall count the usable items of inventory and
 supplies tbat are not damaged, obsolete, or slow moving, and that are of a type, quality and
 quantity that may be used in the ordinary course ofb!lslness of the Sellers (having due regard for
 the services offered by the Sellers), Sellers shall .conduct the count in the same manner that
 Sellers conducted the count. of, and will count the same classes and categories of items that
 Selle1·s counted to detetmine the value of, inventory and supplies· in the most recent audited
 Financial Statements. Upon completion of the count, Sellers shall determine the value. of the
 invent01y and supplies (determined by the lower of cost or market on a first in, first out basis). If
 the results of the count and the resulting value of inventoty and supplies are available by
 Closing, then, fm' purposes of the Estimated Net Working Capltal calculation, the portion of Net
 Working Capital attributable to inventory and supplies will be the value determined pursuant to
 the count (updated for actual usage and purchases between the date of the count and the Closing
 Da.te). If the results of the count or the resulting value of inventory and supplies are not available
 by Closlng, then for purposes of1he Estimated Net Working Capital calculation, the value of the
•inventory and supplies will be the amount set forth in the most recent Interim Statements and the
 value of the inventory and supplles determined pu1·suant to the count (updated for actual ·usage '
 and purchases between the date of the count and the Closing Date) will be utillzed for• purposes
 of detenniriing Final Net Working Capital.

               (c)     Dispute of Adjustments, In the event tliat Sellers lllld Buyers are not able
to agree on the Final Net Working Capital within thirty (30) days after Sellers' delivery of notice
of dlsagreement, Sellers and Buyers shall each have the right to require tb_at such disputed
determination be submitted to CliftonLarsonAllen LLC (the "Accounting Firm"), for
computation or verification in accordance with the provisions of this Agreement. The
Accounting Firm shall· review the matters in dispute and, acting as arbitrators, promptly shall
decide the proper amount<; of such disputed entries (which decision shall also include a final
calculation of the Final Net Working Capital). The submission of the disputed matter to the
Accounting Firtn shall be the exclusive remedy for resolving accounting disputes relative to the
determination of Net Working Capital. The Accounting Firm's determination shall be binding
upon Sellers and Buyers. The Accounting Firm's fees and expenses shall be borne equally by
Sellers and Buyers,                                                              ••

         2.3. Other Adjustments, Estimatea and Audits. Schedule 2.3 sets forth a sample
calculatlo11 of:

               (a)    the capital/financing lease obligations that are assumed by any Buyer and
identified on Schedule 1.3(b) hereto (excll!ding any portion of such liabillties included in the Net
Working Capltal caiculation);


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                (b)    the amount of Net Pension Liability assumed by any Buyer pursuant to
 Section 2.4(a) and the related deduction under Section 2.J(a)(iii) subject to the limits and
 modifications thereunder; and
                (c)    the amount of other Assumed Liabilities that are assumed by any Buyer
 and identified on Schedule l .3(l),
  (collectively, the "Other Adjustments"), all using Sellers' most recent audited Financial
  Statements as of June 30, 2015 and all dete1mined ln accordance wlth GAAP and consistent with
  past practice. Not more than ten {10) but in no event less than five (5) business days prior to the
  Closing, Sellers shall deliver to Buyers a good faith estimate of the Other Adjustments as of the
  Effective Time following the same principles, specifications and methodologies used to
  determine the foregoing sample calculation of the Other Adjustments as set forth an
  Schedule 2.3, and where actuarially determined, based on the most recent Intei·im Statements
  (the "Estimated Other Adjustments;'). The Estimated. Other Adjustments sh11ll be used for
  purposes of calculating the Estimated Purchase Price payable as of the Closing and shall be
. subject to prior good faith review and comment by Buyers. No later than ninety (90) days after
  the Closing, Buyers shall deliver to Sellers their determination of the final Other Adjustments as
• of the Effective Time (following the same principles, specitlcations and methodologies used to
  determine the Estimated Other Adjqstments) (the "Final Other Adjustments"). Sellers shall have
  foll. access to Buyers' Books and Records pertaining to the Assets and the System to confirm or
  imdit the Final Other Adjustments computations. In the event Sellers disagree with Buyers'
   determination of Final Other Adjustments, Sellers shall notify Buyers within sixty (60) days after
  Buyers' delivery oftheir determination of Final Other Adjustments, If Sellers and Buyers fail to
   agree within thirty (30) days after Sellers' delivery of notice of disagreement on the amount of
  Final Other Adjustments, such disagreement shall be resolved in accordance with 1he same
  procedures as set forth ln Section 2.2(c) for resolving Net Working Capital disputes, which shall
  be the sole and exclusive remedy for resolving accounting disputes relative to the determination
   of Final Other Adjustments. The Purchase Price shall be: (i) decreased to the extent of the
   positive difference of Final other Adjustments minus Es(imated Other Adjustments; or
 . (ii) increased by the absolute value of the negative difference of Final Othe1· Adjustments minus
   Estimated Other Adjustments, and wlthin five (5) business days after determination thereof any
   increase in the Purchase Price shall be paid in cash by Buye1·s to Sellers, and any decrease in the
   Purchase Pdce shall be p&id in cash by Sellers to Buyers.
         2.4.    Pension Funding,

                  (a)    Pension Liability. Buyers agree to become the sponsor of, and assume,
  as of the Effective Time, the Crozer-Keystone Health System Employees Retirement Plan, an
  employee non-contributory, defined benefit pension plan (the "DB Pension Plan") and therewith
  all of the assets and the liability, less the Selle!'s' Pension Plan Contl'lbution defmed 1n
  Section 2.4/b) below (''Net Pension Liabllity"), all subject to the specific actuarial assun'iptions
  and all other terms, conditions and provisions as speoifioally set forth on Schedule 2.4 hereto.
               (b)    Funding by Sellers. At Closing and subject to sui:,h contribution being
 permissible under the Code without giving rise to penalties or othe!' adverse consequences to
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Sellers, Sellers shall pay, out of the Purchase Price, One Hundred Million Dollats
($100,000,000.00) to fund, in part, the undetfunded DB Pension Plan liability then outstanding
("Pension Plan Contribution"). Such Pension Plan Contribution shall be deslgnated as a
ptefun4ing payment. 1f Sellers reasonably detem1ine such payment would result in penalties or
other advei•se consequences to Sellers under the Code, then Sellers shall malce such payment
directly to Buyers outside the DB Pension Plan. Upon reasonable pl'ior notice from Buyers to
Sellers, ai1d absent timely objection by Sellers, Buyers may <'llect to pay Sellers' Pension Plan
Contribution directly, on Sellers'. behalf, at Closing out of the Purchase P1•ice payable to Sellers,
               (c)     Post-Closing Commitment. Within five (5) years after the Effective
Time and subject to applicable filing and authorization by the applicable Government Entity,.
Buyers shall adopt a plan amendment to terminate the DB Pension Plan effective within such
five (5) year period and thereafter, in accordance with applicable law, shall liquidate, fully fund
and satisfy, and pay all benefits owed to participants and beneficiaries of, the DB Pension Plan
by provl.ding for lump sum distributions to participants, purchasing annuities for participants
who do not elect a lump sum distribution or othetwise in accordance with the terms, conditions
and provisions of the DB Pension Plan (as in effect. at the Effective Time) and with applicable
law.
               (d)    PBGCMatters. Sellers attdBuyers agree to coop\'>rate in connection with
any pre-Closing inquiry, investigation, audit or other proceeding of, or by, the Pension Benefit
Guaranty Corporation ("PBGC"), including without -limitation formulating and implementing
any ainendments to this Agreement as may be required by the PBGC ln connection with the
assignment, assumption, funding and termination of the DB Pension Plan. Sellers shall be
responsible for any pension costs associated with any of the foregoing matters,
        2.5. Tax Prorations. Subject to Section 14.9/iii), all real property Taxes, personal
property Taxes, or ad valotem obligations or assessmentg and any similar Taxes or fees on the
Assets and Assumed Liabilities for taxable periods ending prior to the Effective Time shall be
pald fur by Sellers. All real property Taxes, personal property Taxes, or ad valorem obligations
or assessments and any similar Taxes or fees 011 the Assets and Assumed Liabilities for taxable
periods beginning on or before, and ending on or after, the Effective Time, shall be prorated
betws:en Buyer and Sellers based on the number of days of such taxable period up to and
including the Closing Date (which shall be for the account of Sellers) and. the number of days of
such taxable period after the Closing Date (which shall be fur the account of Buyer). All real
property Taxes, personal property Taxes, or ad valorem obllgaHons or assessments and any
similar Taxes or f;:;es on the Assets and Assumed Liabllities for taxable periods commencing on
the Effective Time shall be paid for by Buyer. Any real property Taxes, personal property
Taxes, or ad valorem obligations or assessments and any similal' Taxes or fees on the Assets and
Assumed Liabilities which are due and payable in installments on or after the Effective Date
shall be paid fot· by Buyers. Any real property Taxes, personal property Taxes, or ad valorem
obligations or assessments and any similar Taxes or fees on the Assets and Assumed Liabilities
which are due and payable in installments prior to the Effective Date shall be paid for by Sellers,
provided any which are fo1· the installment period i11 which Closing occurs, shall be prorated
between Buyers and Sellers for such Jnstalhnent period. The foregoing provisions shall only

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apply to Real Property which is Owned Real Property. Notwithstanding anything the contrary
herein, this Section 2.S and the prorations describ,ed herein shall not apply to any Taxes,
obligations, assessments or fees to the extent included in Net Working Capital and subject to the
adjustments described in Section 2.2.

        2,6, Net Operating Loss Reconclliatiou. To the extent Buyers acquire the stock,
shares or other ownel'shlp or beneficial interest in any for profit Affiliates of Sellei:s as listed on
Schedule l.l(o) that have net opei·ating loss· carryovers ("NOLs") as qf the· Effective Titne,
Buyers shall pay to Sellers as additional Purchase Pl'ice an amount equal to fifty percent (50%)
of the reduction in federal income tax liability attributable to deductions taken on account of the
NOLs of such for profit Affiliates of Sellers that were in ex!stenc<, as of the Effective Time.
Such payments, if any, shall be made by Buyers to Sellers within one hundred and eighty (180)
days of filing of the federal income tax return wherein such NOL deductiom are taken,

        2.7. Allocation of Purchase Price, The Purchase Price shall be allocated among the
Vllrious classes of Assets in accordance with und as pi'ovided by S~ctlon 1060 of the Internal
Revenue ·code (the "Code"). At least sixty (60) days pdor to the Closing, Buyers shall provide
Sellers with a preliminary allocation of the Purchase Price for Sellers' review and approval. The
Pruiies agree that any tax returns or other tax information they may file or cause to be flied with
any Government Entity shall be prepared and filed consistently with such agreed upon allocation.
In this regard, the Paities agree that, to the extent requited, they will each pl'operly prepare and
timely file Form 8594 in accordance with Section 1060 of the Code.

        2,8, Sellers Tenant Leases Rent Prorations, Any rent, additional rent or other sums
payable or paid in or for the mouth 1n which Closing occurs under or pursuant to any Sellers
Tenant Leases shall be protated between Buyers and Selle1•s as of the Effective Time on a per
diem basis for such month, After Closing, if any additional sums are due :from the tenant to the
landlord llllder any Sellers Tenant Lease or to the tenant from the landlord under any Sellers
Tenant Lease for a period of time during which the Closing occurred, then such amount shall be
prornted between Buyers and Sellers as of the Effective Time with Buyers obligated to pay, 01·
entitled to receive, such sums from and after the Effective Time and Sellers obligated to pay, or
entitled to receive, such sums pl'lor to the Effective Time. If the landlord gives a credit against
future rent or other sums payable under any Sellers Tenant LellSe, any portion of which belongs
to Sellers pursua11t to the foregoiug; Buyers shall be obligated to pay such sum to Sellers in cash.
Any and all such sums due to or from one Party to another, shall.be paid in ten (10j business
days from the receipt of written demand for the same. The terms hereof shall survive Closing,
Notwithstanding anything the contral'y herein, this Section 2.8 and the .prorations described
herein shall not apply to any rent, additional rent or other sums payable to the extent included ln
Net Working Capital and subject to the adjusttnents described in Section 2,2.

   3.       CLOSING,

        3.1. Closing. Subject to the terms and conditions of this Agree1nent, the
consummation of the transactions contemplated by this .Agreement (the "Closing") shall take
place on the last day of the month immediately after all of the conditions precedent to Closing set
forth herein are either satisfied or waived (other than conditions which, by their nature, are to be
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satisfied on thll Closing Date), but no later than sixty (60) days after (•eoeipt of all necessary
regulatory approvals as set forth herein, or on such other date as Sellers and: Buyers may
mutually agree ill Wl'iting, The date on w,hich the Closing is to occur is herein referred to as the
"Closing Date," Subject to the satisfaction on th<:i Closing Date of all conditions which, by their
nature, are to be satisfied on the Closing Date, including payment of the Purchas"' Price by
Buyers as described in Section 3,3, the Closing shall be effective as of 12;00:01 a,m., Eastel'n
Time, on the first oalendat· day of the month immediately following the Closing Date (the
"Effective Time").
       3.2. Actions of Sellers at Closing. At the Closing and unless otherwise waived in
writing by _Buyers, Sellers shall deliver to Buyers the following;

               (11)    Deeds containing •speoi11l warr&nty of title, fully executed by the
appropriate Seller in recordable form,' coo.veying to the appropriate Buyer fee title to the Owned
Real Ptoperty pursuant to the terms of Section 8.3 ofthis Agreement;

               (b)    A General Assignment, Conveyance and Bill of Sale in substantially the
form attached hereto as Exhibit C. fully executed by the appropriate Seller, as applicable.
conveying to the appropriate Buye1· title to all assets wblch are a pru·t oftbe Assets;

               (c)     An Assignment and Assumption Agreement in substantially the form
attached h~reto as Exhibit D (the "Assignment and Assumption Agreement"), fully executed by
the appropriate Seller, conveying to the appropriate Buyer such Seller's interest in the Contracts
(other thM the Real Property Leases);

               (d)    An Assignment and Assumption of Leases in substantially the form
attached hereto as Eldlibit E (the "Lease Assignment and Assumption Agreement"), fully
executed by th\l appropriate Seller, conveying to the ap{:ltoprlate Buyer such Seller's interest in
all Sellers Tenant Leases and aJl Sellers Landlord Leases (Sellers Tenant Leases and Sellers
Landlord Leases collectively, the "Real Property Leases");

                (e)    An Assignment and Assumption of Licenses in substantially the form
attached hereto as Exllibit F (the ·"License Assignment and Assumption Agreemenf'), fully
executed by the appropriate Seller, conveying to the appropriate Buyer such Seller's interest In
all assignable Licenses (as defined in Section 4.6 hereof);

               (t)    An Assignment and Assumption o:I; Pension Plan Obligations in
substantially the form attached hereto as Exhibit G (the "DB Pension Plan Assignment and
Assumption Agreement''), fully executed by the appropriate SeHer, conveying to the appropriate
Buyer such Seller's Interest in all of the assets and liabilities of the DB Pension Plan;

               (g)    An Assignment and Assumption of Benefit Plan Oblig~tians (other than
the DB Pension Plan) in substantially fue form attached hereto as Exhibit H (the "Benefit Plan
Assignment and Assumption Agreement"), fully executed by the appropriate Seller, conveying
to tbe appropriate Buyer such Seller's interest in all of the assets and certain liabilities of the
assignabfo Benefit Plans (other than the DB Pension Plan) assumed by Buyers hereunde1·;
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                                                                                                     II


                (h)    The 'Transition Services Agreement in substantially the form attached
hereto as Exhibit l (the "Transition Services Agreement"), fully executed by the appropriate
Seller(s) (as described in Section 11.11 hereof);

               (I)     AH instruments and documents re_asonably and oustomadly required by
the Title Company (as defined ln Section 8.3 hereof) to lssue fue Title Policy (as defined ln
Section 8,3 hereof) as described ln and provided by Section 8.3 hereof;

                (j)   Copies of resolutions duly adopted by the Boat·d of Directors or other
governing body, as applicable, of each of the Sellers, authorizing and approving its performance
of the transactions contemplated hereby and the execution and delivery of this Agreement and
the documents described herein on such Sellers' behalf, certified as true and of full force as of
the Closing, by the appropriate officers of each Seller;

                (k)     Certificates of the Chief Executive Officer, President or a Vice President
of each Seller, certifying that each covenant and agreement of such Seller to be performed prior
to 01· as of the Closing pUl'suant to this Agreement has been performed in all 'material respects
and each representation and warranty of such Seller is true, accurate and complete in all material
respects on the Closing Date, as if made on &nd as of the Closing;

               (l)     Certificates of incumbency fut• the respective officers of each Seller
executing this Agreement (or the Jndemnificatlon Agreement attached heteto as Exhibit K) or
making certifications for the Closing dated as of the Closing Date;

                (m) Certificates of existe11ce and good standing of each Seller from the state in
which it is incorporated, dated the most recent practical date prior to the Closing;

               (n)    All forms required for the termination of any assumed names of each
Seller used in the operation of the System and registered with the Commonwealth of
Pem1sylvania, fully executed by the appropriate Seller;

               (o)    Documentation of all Material Consents (as defined in Section 8.7);

               (p)    All certificates of title and other ,documents evidencing an ownership
interest conveyed as part of the Assets;

               (q)    the Indemnification and Restrictive Covenant Agreement attached hereto
as Exhibit K fully executed by the Foundation and complete copies of the Statement of Merger
and Plan of Merger (with all attachments thereto) associated with the merger of Delco
Foundation into Crozer Foundation pursuant to Seotion 6.13; and

               (r)      Such other instruments and documents as any Buyer reasonably deems
necessru·y to effect the transactions contemplated hereby,




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                                                                                                          '·';);'.
                                                                                                                '




       3,3, Actions of Buyers at Closing. At the Closing and unless otherwise waived in
writing by Sellern, Buyers shall deliver to Sellers the following:

                 (a)    An amo11nt equal to the Estimated Purchase Price in :immedlately available
funds to an accoiuit (or accounts) designated by Sellers prior to Closing, subject to Buyers'
election to di.rectly pay Seller's DB Pensiot1 Plan Contribution in accordance with Section 2.4(b};

               (b)     An Assignment and Assum.ption Agreement, fully executed by the
appropriate Buyer, pursuant to which such Buyer shall assume the futute performance of the
Contracts as herein provided;

              (c)    A Lease Assignment and Assumption Agreement, fully executed by the
appropriate Buyer, pursuant to _which such Buyer shall assume the future perfortnatJce of the
Real Property Leases as heroin provided;                                •

               {d)    A L!cetJse Assignment and Assumption Agreement, fully executed by the
appropriate Buyer, pursuant to which such Buye,r shall assutne the future performance of the
Licenses as herein provided;                                                •

                 (e)    A DB Pension Plan Assigmnent and Assumption Agreement in
substantially the fortn attached hereto as Exhibit G, fully executed by the Buyers, pursuant to
which such Buyers shall assume such Seller's interest and obligations in all of the assets and
liabilities of the DB Pension Plan;

               (f)     A Benefit Plan Assignment and Assumption Agreement (other than the
DB Pension Plan) in substantially the form attached hereto as Exhibit H, fully executed by the
Buyers, conveying to the appropriate Buyer the interests of Sellers' in all assignable Benefit
Plans (other than the DB Penslon Plan) assumed by Buyers hereunder;

              (g)     The Transition Services Agreement in substantfally the form attached
hereto as Exhlbit I, fully executed by the appropriate Bu.yer(s) (as described in Section 11.11
hereof);

                  (h)    Coples of resolutions duly adopted by the governing bodies of each of
Prospect and PMH, authorizing and approving its performance of the transactions contemplated
hereby and the execution and delivery of this Agreement and the documents described herein,
certified as ti:ue and in full force as of the Closing, by the appropriate officers of each of Prospect
andPMH;

                (i)      Certificates of an executive office!' of Buyers certifying that each covenant
 and agreement of each Buyer to be performed prior to or as of the Closing pwsuant to this
.Agreement has been performed in all material respects and each representation and warranty of
 each Buyer is tl'Ue, accurate and complete in all material respects on the Closing Date, as if made
 on and as of the Closing;



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                (j)   Certificates of incumbency for the respective officers of each of Buyers
executing' this Agreement or making certifications for the Closing dated as of the Closing Date;
               (l,)   the Indemnification and Restrictive Covenant Ag1'eement attached hereto
as Exhibit K fully executed by PMH and Prospect; and
               (])     Such other instruments and documents as any Seller reasonably deems
necessary to effect the transactions contemplated hereby,
 . 4.      REPRESENTATIONS AND WARRANTIES OF SELLERS,

        As of the date hereo~ as updated pursuant to Section 11.1. and as of the Closing Date,
Sellers jointly and severally represent and warrant to each ofthe Buyers the following:
        4,1. Existence and Capacity. Each Seller is valldly existing in good standing under
the laws of the Commonwealth of Pennsylvania, in the corporate fonn and taxable or tax"exempt
status specified on Schedule 4.1. Each Seller has all req1.1isite power and authority to enter into
this Agreement, to perform its obligations hereunder and to conduct its business as now bein:g
conducted in each jurisdiction where such business is conducted.
         4.1,. Powers; Consents; Absence of Conflicts With Other Agreements, Etc. The
(;}Xeoution, delivery, and performance of this Agreement by each Seller, and all other agreements
referenced herein, or ancillary hereto, to which any Seller is a party, imd .the consummation of
the traMactions contemplated herein by each Seller:
                (a)  are within its corporate powers, are not in contravention of law or of the:
terms of its organizational documents, and have beeh duly authorized by all appropriate
coJ'porate action;
                (b)   except as provided in Section 6.4 and Section 6.5 below, do not req~ire
any approval or consent o:t; 01· filing with, any Govermnent Entity or authority bearing on· the
validity of this Agreement which is required by law or the regulatlons of any such agency or
authority;
               (c)    except as set forth on Schedule 4.2, will neither corrflict with, nor result in
any breach or contravention of, or the cr1Jation of any lien, charge, or encumbrance under, any
indenture, agreement, lease, instrument or understanding to which it is a party ·or by which it is
bound;
               (d)    will not violate any statute, law, rule, or regulation of any Government
Entity to which any Seller or the Assets may be subject; and
                (e)  will not violate any judgment, decree, writ Ol' injunction of any court or
Government Entity to which any Seller or the Assets may be subject.
       4.3, Dimling Agreement. This Agreement and all agreements to which any Seller
will become a party pursuallct hereto are and will constitute the valid and legally binding
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obligations of each sttch Seller, and are and will be enforceable against each Seller in accordance
with the respective terms hereof or thereof.

       4.4.    Financial statements.
              (a)     Sellers have delivered to Buyers copies of the following financial
statements cf or pertaining to Sellers ("Financial Statements"), which Financial Statements are
maintained on an aocrnal basis, and copies of which ate attached hereto as S2hedule 4.4(a):
                        (i)    Audited Consolidated Balance Sheets, Income Statements, and
        Statements of Cash Flows for Sellers for the fiscal years ended June 30, ZO 15 (the
        "Balance Sheet :Oate"), June 30, 2014, and June 30, 2013, together with the notes thereto
        and the audit report thereon by Sellers' independent auditors;         '

                    (ii)   Unaudited Consolidated Balance Sheets for the Sellers, dated as of
       November 30, 2015; and
                      (ill)Unaudited   Consolidated Income Statements for Sellers for the
        five-month period ended on November 30, 2015.
                 (b)      The Flnanoial Statements are true, accurate and complete and present
fail:ly in all material respects the financial condition and results of operations of Sellers as of the
dates indicated thereon, and for the periods indicated therein. The Finanolal Statements have
been prepared in accordance with GAAP, applied on a consistent basis throughout the periods
indicated, except as may be specified in Schedule 4.4(b). The Selkrs have heretofore provided
Buyers with copies of all annual lllallilgement letters with respect to the Sellers from their
independent certified public accountants for each of the last three fiscal years to the extent
issued.
                (c)     Except as set forth :in Schedule 4.4(c), all Accounts Receivable of Sellers
reflected on the Financial Statements constitute bona fide receivables resulting from a bona fide
sale to a patient or customer in the ordinaiy course of business, 1he amount ofwhich was actually
due on the date thereof and has boon collected, or which Sellers, as of the Effective Time, are
using reasonable effoi-ts to collect, in the ordinary course of business, The Books and Records of
the Sellers state correctly the facts wlth respect to each of the Accounts Receivable of Sellers imd
the balance due thereon. Each payment reflected in such Books and Records as having been
made on each such Account Receivable was made by the respective account debtor and not
directly 01· indirectly by any director, officer, employee or agent of any of the Sellel's. Each
document and instnµnent evidencing, secu!'ing or relating to each Account Receivable,
including, without limitation, each insurance policy, cei'ilftcate, ·bill er statement, is correct and
complete in all respects, is genuine ruid valid and is enforceable in accordance with its
terms, There are no defenses, claims of disabilities, counterclaims, offsets, refusals to pay or
other rights of setoff against any Accounts Receivable and there ls no threatened, intended or
proposed defense, claim of disability, counterclaim, offset, rnfusal to pay or other right of setoff
with respect thereto. Each Account Receivable, each document and instrument and eacli
transaction underlying or relating thereto conforms in all material respects, including, without
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limitation, in !'espeot of interest rates charged, notices given and disclosures Dll!de, to the
requirements and pl'Ovisions of each applicable law, rule, regulation or order relating to credit,
consumer credit, credit practices, credit advertising, credit reporting, retail installment sales,
credit cards, collectiotrn, usury, interest rates and trutb.-ln•lendiug, including, without limitation,
the Federal Truth in Lending Act, as amencled, Md Regulatl01i-Z issued by the Board of
Governors of the Federal Reserve System thereunder. Accounts Receivable reserve allowances
have been establislied on the basis of historical experience in accol'dance with GAAP
consistently applied (whtch reserves and allowances are set forth in Schedule 4.4(c)).
                 (d)     Except as set fo1th in the Financial Statements, or as otherwise set forth on.
Schedule 4.4(d), there are no contingent or other llabilitl('ll or obligations which have, or with
reasonable foreseeability may have, a Material Adverse Effect (as defined Jn Section 14.17) on
any Selle!' or their respective business or operations.
        4,5, Certain Post-Balance Sheet Results. Except as set forth in Schedule 4.5 hereto,
since June 30, 2015 thern has not been a11y:
                (a)     material damage, destruction, or loss (whethel' or not covered by
insurance) a:ffecting the System or the Assets;
               (b)   any event, change or occorrence which has er could reasonably be
expected to have a Material Adverse Effect;
               (c)    threatened employee strike, work stoppage or labor dispute within the
System, as further described in Section 4.18(a), except as set forth on Schedule 4.18(a):
              (d)    sale, assignment, transfer, or disposJtion of any item of property, plant 01·
equipment included in the Assets having a value in excess of Two Hundred Fifty Thousand
Dollars ($250,000.00) (other than supplies), except in the ordhwy course of business or with a
comparable replacement thereof;                                                •
                 (e)    general increases in the compensation payable by any Seller to any of its
employees or any general increase in, or general insiitntion of, any bonus, insurance, pension,
profit-sharing or other employee benefit plan, remune!'ation or arrn11gement~ made to, for or wlth
such employees, other than those incteases in compensatiol! or the general i11stltutlon of any
bonus, insurance, pension, profit-sharing arrangement, other employee benefit plan,
rem1,111eratlon or arrangement required under any collective bargaining agreement or otherwise
made in the ordinary course of business by any Seller;
               (f)    changes in the composition of the medical staffs of the two licensed·
Hospitals or other facilities opernted by Sellers, other than normal turnover ocoui·ring in the
ordinary course of business;
                (g)      changes 1n the rates charged by the Hospitals, its physicians or other
providers for th.eir services, other than changes made in the ordinary course of business;

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              (h)     changes in the accounting methods or practices employed by Sellers or
changes in depreciation or amortization policies; or

                (i)    transactions pertaining to the Hospitals or any of the other Assets by any
Seller outside the ordinary course of business (other than those contemplated by this Agreement),

        4.6. Licenses. Crozet-Chester Medical Center ("CCMC") is duly Hcensed by the
Pennsylvania Department of Health as a11 acute care hospital with foul' campuses: (a) the Crozer
Medical Center campus ("Crozer Campus"), a tertiary care teaching facility with 300 licensed
and 260 staffed beds in Upland,· Pennsylvania; (b) Taylor Hospital (''Taylor''), an acute care
fucility with 105 licensed and staffed beds in Ridley Parle, Pennsylvania; (c) Springfield Hospital
("Spl'lngfield"), an acute care facility with 25 licensed and staffed beds in Springfield,
Pennsylvania; and (d} Community Hospital ("CH"), an outpatient :facility that coordinates a full
range of outpatient behavioral and communi1y health services in Chester, Pennsylvania. In
addition, Delaware County Memorial Hospital ("DC:M.H") is separately •licensed by the
Pennsylvania Department of Health as a general acute caw hospital with approximately
168 liceru;ed and staffed beds. The pharmacioo, laboratories and all other anciHary departments
or other healthcare services located at the Hospitals or Sellers' other facilities which a1·e required
to be specially licensed are so duly licensed by the appropriate licensing agency" pursuant to the
laws of the Commonwealth of Pennsylvania. Sellers have all other licenses, registrations,
permits, certificates, ac.creditatioru;, authorizations m1d approvals which are required by law to
operate the Assets and the System (collectively, the "Licenses"), Schedule 4,6 sets forth of all
such Licenses, owned or held by Sellers relating to the ownership or operation of the System or
the Assets, all of which are in good standing, and none of the foregoing has been revoked or
limited, or, to Sellers' knowkdge, has been threatened to be revoked or limited.

        4.7.   Co11ditlm1 of Assets. The Assets constitute the assets which are owned by Sellers
or held or used by Sellers in the conduct of the business and operation of the System Jn the
manner conducted as of the date of this Agreement. Sc!i,edule 4. 7 lists any material defects
(which shall include for this purpose all known noncompliance with applicable building and
safety codes and all known life safety issues) in the buildings, structures, fucilities and major
equipment. The for.nit\l.l'e, fixtures, machine1·y, equipm~nt, vehicles and othe1· items of tangible
personal ·prope1ty currently owned or leased by Sellers are sufficient for the continued conduct of
Sellers' business after the Effective Time in substantially the same ma!lller as oonduoted prior to
the Effective Time and constitute substantiaHy all of the rights, property and assets necessary, to
conduct the business of Sellers as currently conducted,

        4,8.    Medicare l'articipation/Accreditation~egistration,

               (a)     The Hospitals, the employed physicians and other providers within the
System, as applicable, lll'e qualified for participation in the Medicare, Medicaid/Medical
Assistance and CHAMPUS/I'RICARE prngrams, have current and valid provider n\llllbers and
contracts with such programs, ~re in compliance with the conditions of participation in such
programs, and have received all apprnvals or qualifications necessary fur reimbursement. The
Hospitals are duly acci-edited, -with no contingencies, by The Joint Commission. A copy of the
most recent accreditation letter from The Joint Commission pertaining to each ]fospital has been
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provided to B11yers, All billing practices of Sellers with l'espect to the Hospitals, its emplo)'.ed
physicians and other providers for all third party payors, including the Medicare, Medicaid and
CHAMPUS/TRICARE programs and private conunercial insurance companies, have been in
compliance with all applicable laws, regulations and policies of such third party payors and the
Medicare, Medicaid and CHAMPUS/TRICARE programs, and no Seller has billed ot received
any payment 01· rnimbursement in excess of amounts allowed by law. No· Selle1, Hospital,
employed physician or other provider has been excluded from pmiicipation in the Medicare,
Medicaid or CHAMPUStrRICARE programs, nor to Sellers' knowledge is any such exclusion
threatened, None of the officers, directors or employee·s of Seller have been exolU'ded from
participation in the Medicare, Medicaid or CHAMPUStrRlGARE programs. Except as set forth
in a writing delivel'ed by Sellers to Buyers and &et forth on Schedule 4.8(a), Seller has not
received any written notice from any of the Medicare, Medicaid or CHAMPUStrRICARE
programs, or any other third party payor programs of any pending or threatened investigations or
surveys.

                  (b)     Each Seller required to be registered (each, for purposes of this pal'l1graph,
  a "Registered Seller") has registered with My Quality Net (formerly QNet Exchange) and 811.f
  other quality reporting data exchanges as requited by The Centers for Medicare and Medicaid
  Services ("CMS") under its quality repol'ting programs (the "Quality Programs"). Each
 Registered Seller has submitted all quality data required under the Quality Programs to CMS or
  its agents, and all quality data required under the ORYX Core Measur_e Performance
  Measurement System ("ORYX") to The Joint Cotninisslon, for all reporting periods concluded
  prior to the date of this Agreement, except for any reporting period fm which the respective
 reporting deadlines have not yet expired. All such submissions of quality data have been made
  in accordance with applicable reporting deadllnes and in the form Md manner required by CMS
  and The Joint Commission, respectively. Sellers have made available to Buyers the "validation
, results" for all reporting periods concluded prior to the date of thls Agreement, eKcept for any
 reporting pe!'iod for which the respective reporting deadlines have not yet expired, Except as set
  forth on Schedule 4.S(b), no Registered Seller has received notice of atty reduction in
 reimbursement under the Medicare program resulting from its failure to report quality data to
  CMS 01· !ts agent as required under the Quality Pl'ograms.

        4.9.. Compliance with Laws. Except as set forth in a writing delivered by Sellers to
Buyers and set forth on Schedule 4.9, Sellers are in compliance in all material respects with all
applicable statutes, rules, regulations, and requil'ements of the Government Entities having
jurisdiction over the System and the Assets. As used herein, "Government Entity" means any
government or any agency, bureau, board, directorate, commission, court, department, official,
political subdivision, tribUhal or other instrumentality of any government, whether federal, state
or local. Each Seller has timely filed all reports, data, and other information required to be :filed
with the Government Entities. No Seller, or any of Sellel"s employees have committed a
violation of federal Ol' state laws regulating healthcare and/or .healthcare fralJ-d, including but not
limited to the following laws: the Federal (Title X!X of the Social Security Act) and state
Medicaid programs and their implementing regulations, the Medicare Program (Title XVI!I of
the Social Security Act) ITTJd its implementing regulations; the Federal False Claims Act _
(31 u,.s.c. §§ 3729 et seq,); the Federal Health Care Pl'ogramAnti-Kickbaok Statute (42 U.S.C.
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§ 1320a 7b(b)); the Federal Physician Self-Referral Law (42 U.S.C. § 1395nn); th.e Federal
Administrative False Claims Law (42 U,S,C. § 1320a 7b(a)); the Federal Cqnfidentl!1lity of
Alcohol and Dmg Abuse Patient Records Act (42 U.S.C. 290ee 3); the RehablHtation Act, the
Americans with Disabilities Act, the Occupational Safety and Health Admmistration statutes and
regulations fur blood borne pathogens and workplace risks, and any state and local laws that
address the same or similar subject matter. Without limiting the generality of the foregoing,
Sellers ate in compliance in all material respects with the Health }nsurance Portahi!ily and
Accountability Act of 1996 ("HIPAA"), including the electronic data interchange regulations and
the health care privacy regulations, and including the applicable rnks and regulations
promulgated under HIPAA pursuant to 45 CPR Patts 160, 162, and 164 (subpmt,A, D and E)
and the changes thereto imposed by the Health Infunnation Technology for Economic Clinical
Health Act, Division A, Title XIII§ 1301 et seq. of the American Recovery and Reinvestment
Act of 2009, all as oftlie applicable effective dates for such requirements.
       4,10, Equipment. Schedule 4.10 sets forth a depreciation schedule as of the Balance
Sheet Date which takes into consideration all the equipment constituting any part of the System
and the Assets having a book value greater than Ten Thousand Dollars ($10,000.00).
       4,11. Real Propel'ty, Based solely on the Title Commitments (as defined in
Section 8.3 below), each Seller owns good, marketable, and indefeasible fee simple title to the
Owned Real Property and good, valid and subsisting leasehold title tci the Insured Leases (as
defined in Section 8,3 below), subject only to the Permitted Encumbrances (as defined in
Section 8.3 below). With respect to the Owned Real Property or the Insured Lease Parcels (as
defined in Sectio114,11/c) below):                                           •
               (a)     To the knowledge of the applicable Seller which is the record title owner
of the applicable Owned Real Property or the Seller which is the tenant under the applicable
Insured Lease, such applicable Seller has not received during the past three (3) years written
notice of a violation of any applicable ordinance or other law, ordet·, regulation, or requirement
of any governmental authority applicable to rmch Owned Real Property or Insul'ed Lease Parcel
that has not been co1•rected or compiled with;
               (h)    To Sellers' knowledge, except as described on Schedule4.ll(b), the Real
Property and its operation are in material compliance with all applicable zoning ordinances, and,
to the knowledge of Seller, subject to Seller's satisfactioi1 of the terms of Section 14.26 below, as
may be applicable, the consul11!l1ation of the transactions contemplated herein will not result in a
violation of any applicable zoning ol'dinance or the termination of any applicable zoning
variance now existing;
                (e)    Based solely on the Title Commitments and subject to the Permitted
Encnmbrances and any fact which current and accurate surveys of the Owned Real Property
and/or the parcels of land leased pursuant to the Insured Leases (such parcels being referred to as
the "Insured Lease Parcels" or individually as an "Insured Lca.se Parcel") would disclose, to the
knowledge of Sellers, neither the Owned Real Property ttOI' the Insured Lease Parcels am subject
to any easements, restrictions, ord(na11ces, or other limitations on title so as to make the same
unusable for its current use;
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                 (d)      To the !91owledge 'of Sellers, the Owned Real Property and the Insured
  Lease Parcels are in compliance in fill material respects with the applicable provisions of the
  Rehabllltation Act of 1973, Title llI of the Americans with Disabilities Act, and the provisions of
  any comparable state statute relative to &ccessibility, and there is no pending, or written threat of
  litigation, administrative action or complaint (whether :from state, federal or local government or
• from any other person, group or entity) relating to compliance of any pf the Owned Real
  Property or the Insured Lease Parcels with the Rehabilitation Act of 1973, Title III of the
  Americans with Disabilities Act or the provisions of any comparable state statute relative to
  accessibility;                                                                     •

                (e)   The only real pl'operty leases to which any of the Sellers is a tenant are the
 Sellers Tenant Leases described in Sqhedyle 4.11 (e), and no tenant has paid rent in advance for
 more than one month and no improvemeut credit or other tenant allowance of any nature is owed
 to any tenant, nor is any landlord hnprove:rri.ent work required, except as described on
 Schedule 4.1l(e):

                 (l)    Attached to Sohedyle 4.1 l{f) is a "rent roll" which sets forth all Sellers
 Landlord Leases where a Seller ls landlord: (l) the names of then current tenants; (ii) the rental
 payrnetits for the then current month under each ofihe Sellers Landlord Leases; (iii) a list of all
 then delinquent rental payments; (iv) a list of a11 concessions granted to tenattts; (v) a list of all .
 tenant deposits and a description of My application thereof, and (vi) a list of all uncured matel'ial
 defaults under the Sellers Landlord Leases known to the appropriate Seller;

                  (g)    To  the lmowledge of Sellers, during the past three (3) years, no Seller of
 any of the Owned Real Property nor as tenant of any of the Insured Leases has. teceived written
 notice from any governmental authori1y or any agent of any governmental a\lthorlty, of any
 existing or proposed eminent domain proceeding of such governmental authority that would
 result in the taldng of either (!) all of any parcel constituting a part of the Owned Real Property
 or the Insured Lease Parcels or (li) a part of any of parcel constituting a part of the Owned Real
 Property or the Insured Lease Parcels that would advel'sely affect the current use of mch parcel
 ofthe Owned Real Property or Insured Lease Parcels;

                 (h)    Except as set forth on Schedule 4.1 l/h). to the knowledge of Sellers,
 none of the Owned Real Property ot Insured Lease Parcels are located within a one hundred year
 flood plain or an area identified by the Secretary ofHouslng and Urban Development as having
 "special flood hazards," as such term ls used in the National Flood Insuratice Act of 1968, as
 amended and supplemented by The Flood Disaster Protection: Act of 1973, and iu regulations,
 interpretations and mlings thereunder; and

                  (i)    The Owned Real Property and Jnsured Lease Parcels are supplie<l with
 utilities and other services sufficient for the operation thereof as are currently being operated. To
 the knowledge of the Seller, except as set forth on Schedule 4.1 l(l), the buildings, plants and
 structures, lncludlng heating, ventilation and air conditioning systems, roo:t; foundation and
 floors, of the Owned Real Property and Insured Lease Parcels are in good operating condition,
 subject to ordinary wear and tear.

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                                                                                                           I



        4.12. Title, As of the Closing, Sellers shall own and hold good and valid title to all of
the Assets, and at the Closing Sellers shall assign and convey to Buyers good, valid and
marketable title to all of the Assets, 01· any part thereof, subject to no mortgage, lien, pledge,
security interest, conditional sales agt'eement, right of first refusal, option, restriction, liability,
encumbrnnce, or charge other than the Permitted Encumbrances and the Assumed Liabilities, or
mortgages, liens, pledges, security interests or the-like being paid off, satisfied or released as of
Closing. As to the Owned Real Property and the Sale/Lease Back Leased Real Property the terms
of this Section 4.12 are subject to the terms of Section 4.1 Ha) and Section 8.3,

        4.13. Employee Benefit Plans. Except as set forth on Schedule 4.13 liereto:
                                                                                                           I
                 ·(a)    Sellers do not sponsol' or pmticlpate in, nor have they, within the last five
(5) calendar years including the calendar year that includes 1he Effective Time, sponsored or
participated in any pension, profit-sharing, stock bonus, deferred compensation, or other
1·etlrement plans as would be defined as an "employee pension benefit plan" in Section 3(2) of
the Employee Retirement Iucome Security Act of 1974, as amended ("£RISA"), including any
Code Section40l(a), Sectlon403(b) or Section 457 plans; "employee welfare benefit plans," as
would be de:flned in Section 3(1) of BRISA includhig group health, life, disability or similar
plans; fringe benefit, cafeteria, flexible benefit, or tuition assistance plans; executive
compensation agreements, bonus, or incentive plans; retention or severance plans; vacation,
holiday, sick-leave, paid-time-oft; or other employee compensation plans, programs, payroll
practices, policies, or agreements; or any annuity contL·acts, custodial agreements, trusts or ·other
agreements related thereto (all collectively, the "Benefit Plans"), With respect to such Benefit
Plans appeal'ing on Schedule 4.13, Sellers have delivered to Buyers accurate and complete copies
of the Benefit Plans that have written instruments and, for those that do not, general sUllllnaries
or explanations (includlng descriptions from employee handbooks and other materials);
insurance contracts 01· any other funding instrnments; governmental correspondence issued
within the last five (5) calendar years including the calendar year that includes the Effective
Tlme; determination, advisory, noti,fication, or opinion letters -issued within the last five
(5) calendar years including the calendar yeai· that includes the Effective Time; currently in
effect as of the Effective Time contracts with tbird-party administrators and other independent
contractors; and summary pl!\U descriptions, modifications, memoranda, employee handbooks,
and other material written communications. Except as may be set forth on Schedule 4. 13: all
returns, reports, disclosure statements, and premiutn payments relating to the Benefit Plans
appearing on Schedule 4.13 have been timely filed, delivered, or paid, or appropriate extensions
obtained, as applicable and as required by applicable law. For the purposes of Section-4.13,
 Sellers shall refer to Sellers and any entity required to be aggregated with Sellers pursuant to the
contmlled group rules under Code Section414(b), (c), (m) and (o),

               (h)     Other than as set forth on Schedule 4.13, with respect to such Benefit
Plans, Sellers do not currently and have not pruticipated ln or sponsored, contributed to, or had
au obligation to contribute to a multlemployer plan (as defined in ERISA), multiple employer
plan (as defined in ERISA), 01· single employer plan to which at. least two or more of the
contributing sponsors are not part of the same controlled group (as determined it1 accord1111oe
with the controlled group rules under Code Section 414(b), (o), (m) and (o)); sponsored ot

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participated in any benefit plan that is self..insured or is a self-funded multiple emplcyet· welfare
arrangement; participated ln, engaged in, or been a party to any prohibited transaction for which
there is no statutory exemption; had asserted against them any cfoim for any excise tax, intero&t,
or penalty; or committed a mate!'lal breach of any responsibilities or obligations imposed upon
fiduciaries under ERISA. 0th.er than as set forth. in Schedule 4. B or expressly assumed by one
or more Buyers p1,rsuant to provisions of this Agreement (including but not limited to
Sections 1.1 and Ll), Sellers do not have any llability under any Benefit Plan for which Buyers
have or wlll have any Ii.ability, contingent or otherwise, under Parts I or IV of ERlSA, the Code,
or othe1· applicable law.
                (c)     Other than as set forth on Schedule 4.13, each Benefit Plan that is a
pension or other retirement plan and each related trust agreement, annuity contract, or 0th.er
funding instrument is and has been since its inception qualified and tax-exempt under the
provisions of Sections 40!(a), 403(b), 457 or 501(a) of the Code appllcable to such Benefit Plan;
each Benefit Plan is and has been since its inception in material compliance with. its terms and,
both as to form and in operation, with the t·equirements prescribed by any and all Jaws that are
applicable to such Benefit Plan; does not have and has not had since its Inception any unfunded
accrued llabllity;-to the best knowledge of Sellers, has not experienced MY reportable events (as
such term is defined in BRISA Section 4043); has not had any accumulated funding deficiencies
or liquidity sh01ifalls (both as defined under the Code); does not have any liabilities required to
be disclosed that have not been disclosed; -and has not been partially or fully terminated, nor has
any Government Entity instituted or threatened a proceeding to terminate any suoh Benefit Pllln
or to appoint a trustee, Each Benefit Plan that is not a pension, or other retirement, plan not
included Jn the preceding sentence ls In matexlal compliance with its terms and, both as to form
and operation, with the requirements prescribed by any and all laws that are applicable to such •
Benefit Plan. Sellers have no knowledge of any material noncompliance with applicable Jaws
with respect to any Benefit Pfan that would create any liability for Buyers.
                 (d)    Except as set forth on Schedule 4.13, no Benefit Plan is currently or has
been within the last five (5) calendar years including the calendar year that includes the Effective
Tlme under audit, inquiry, or investigation by the ally Government Entity, and to Sellers'
knowledge, ther~ are no outstanding issues with reference to the Benefit Plans pending before
any Government Entity. Other than routine claims for henefits, there are no actions, mediations,
audits, arbitrations, suits, claims, or investigations pending or, to Sellers' knowledge, threatened
against or wlth respect to any of the Benefit Plans or their assets, and there are no threatened or
pending claims by or on. behalf of.the Benefit Plans or by any participants ln the Benefit Plans
alleging a breach of fiduciary duties or violations of law nor, to Sellers' knowledge, is there any
basis for such claims,
        4.14. Litigation or Proceedings. {lchedule4.14 lists all pending litigation 01·
proceedings to which any Seller is a perty or which otherwise involve the System or any of the
Assets. No Seller .is in default under any order of any court or federal, state, tnuniclpal, or other
governmental department, co1nmisslon, board, bureau, agency Ol' instrumentality wherever
Jooated. Except as set foi'th on Schedule 4.14, there are no claims, actions, suits, proceedings, or
inYestigations pending, or to the knowledge of Sellers, threatened against or related to any Seller,

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the System or the Assets, at law or ln equity, or before or by any federal, state, municipal, or
other govemmental department, commission, board, bureau, agency, 01· instrumentality wherever
located,
         4.15. Envir<mmental Laws. Except as set forth 011- Schedule 4.15 hereto, to the
knowledge of Selle1·s (i) the Real Property is llOt subject to any matel'ial environmental hazards,
risks, or liabilities, (ii) no Seller is in material violation of any federal, state or local statutes,
regulations, laws, orders or common law pertaining to the protection of human health and safety
or the environment (collectively, "Environmental Laws"), including the Comprehensive
Environmental Response Compensation and Liability Act, as amended ("CERCLA"), the
Pennsylvania Solid Waste Management Act, as amended, the Pennsylvania Hazardous, Sites
Cleanup Act, as amended, the Pennsylvania Infectious and Chemotherapeutic Waste Law, as
amended, the Clean Air Act, as amended, the Clean Water Act, as amended, the Solid Waste
Disposal Act, as amended, ,md the Resource Conservation and Recovery Act, as amended
("RCRA'') and (iii) no Seller has received any 11otice alleging or asserting either a violation of
any Environmental Law or a legal obligation to investigate, assess, remove, or remedlate any
property that ls an Asset under this Agreement, including, but not limited to, the Real Property,
under or pursuant to any Environmental Law. Except as set forth on Schedule 4.15 hereto, no
"Hazardous Substances" (which for purposes of this Agreement shall mean and include
polyohlorinated biphenyls, asbestos, and any hazardous substances, materials, constituents, or
wastes which are regulated by any Environmental Law, including CERCLA and RCRA) have
been possessed, stored, managed, processed, treated, released, handled, discharged, disposed of
on or released or discharged from or onto, or threatened to be released from or onto, the Real
Prnperty (including groundwater) by any Seller, 01· to Sellers' knowledge, any third party, in
material violation of any applkable Envh'onmental Law. Except as set forth 011 Schedule 4.15
hereto or the documenis referenced thereon, to the knowledge of Sellers, neither radon nor !lllY
radon p1·ogeny is present in any enclosed and occuPied structure present on any area of the
 Owned Real Property in excess of four (4) picocuries/liter. Except as set forth on Schedule 4, 15
 hereto, to the knowledge of Sellers, the physical planis constituting a portion ofthe Assets do not
 contain regulated, friable asbestos-containing material. Without limiting the generality of the
foregoing, to the knowledge of Sellers: (i) all current or former underground storage tanks
 located on the Real Property and-all information in Sellers' possession relating to the capacity,
 uses, dates of installation and contents of such tanks located on the Real Property are identified
 in 'Schedule 4.15; (il) there are no, nor have there ever been, any colleotibn dumps, pits, and
 disposal facilities or surface impoundments located on the Re,il Property for the containment of
 Hazardous Substances except as identified in Schedule 4.15 or in the documents referenced
 thereon; and (iii) ail existing undetground storage tanks located on the Real Property have been
 maintained in material compliance with all Environmental Laws. To the knowledge of Sellers,
 except as set forth on Schedule 4.15 hereto, no Seller has tl'ansported or atl'anged for the
 transportation of any Hazardous Substance to any location not owned, operated or leased by any
 Seller that_ ls the subject of an action by any Govemrnental Entity 01· any other third party that
 would reasoni\bly be expected to result ln a claim against any Seller. Coples of all
 envl!'onmental investigations, studies, audits, tests, reviews or other analyses (collectively, the
 "Environmental Reports") conducted by, or that are in the possession oJ', Sellers relating to the
 System or Real Prope1ty have been made available to Buyer and all such Envlronm()ntal Repmts
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al'e listed on Schedule 4,!5, Selfors have all Environmental l'ermlts required under applicable
Environmental Laws for Sellers to use the Real Property and any equipment located thereon as
currently used by Sellers; all such Environmental Pe11nlts are valid and in effect; Sellers are in
compliance in aU material respects with all such Environmental Pel1Uits and all such
Envil'Dnmental Permits are listed on Schedule 4.15,

        4.i6, Hill-Burton and Otlter Liens. Except as set forth on Schedule 4.16 hereto, 110
Seller has received miy Joans, grants or loan gUarantees pmsuant to the Hill-Burton.A9t program,
the Health Professions Educational As~lstance Act, the Nurse Training Act, the National Health
Planning and Resources·Development Act, and the Commm)ity Mental' Health Centers Aot, as
amended, or similar laws or acts relating to healthcare facilities, The transactions contemplated
hereby will not result in any obligation on any Buyer to repay any of such loans, grants or loan          j
guarantees, nor subject any Buyer or the.Assets to any lien, restl'lction or obligation, inchiding
any requirement to provide uncompens.ated care,

        4.17, Taxes,

                (a)    During the last five (5) tax years, each Seller has filed all federal, state and
local tax returns required to be ftled by it (all of which are tl'\le and correct in all 1nate1ial
respects) and has duly paid or made provision for the payment of all taxes (including any interest
or penalties and amo4nts due state u11employment authorities) which are due and payable to the
appropriate tax authorities, During the last five (5) calendar years, each Seller has withheld
proper and accurate amounts from its employees' compensation in complfanoe with all
withholding and similar provisions of the Code, including employee withholding and social
security taxes, and miy and ail other applicable laws. No deficiencies for any of such taxes have
been asserted or threatened in writing, mid no audit on any such returns is currently under way or
threatened in writing. There are no outstanding agreements by any Seller for the extension of
time for the assessment of any such taxes. No Seller has taken any action in respect of any
federal, state or local taxes (including any withholdJngs-· 1·equired to lie made in ·respect of
empJoyees) which may have an adverse lmpact upon the System or tne Assets as of or
subsequent to Closhig. Thel'e are no liens for delinquent taxes on miy of the Assets.
                                                                                           I
                (b)     Fo1· purpose of the Agreement, "tax" or "taxes" means (i) all federal, state,
local or foreign taxes, charges, fees, imposts, contributions, levies or other assessments,
including all net income, alternative minimum or add-on minimum tax, gross income, profits,
gross receipts, :franchise, capital, paid-up capital, capital stock, sales, use, value-added, ad
valorem, property, inventory, transfer, license, withholding, payroll, employment, social security,
unemploywent, excise, severance, stamp, occupation, business privilege, mercantile, estimated
taxes, envlronmental, windfall profits, customs duties, fees, or other like assessments and
charges of any kind whatsoever, (ii) all interest, penalties, fines, additions to tax or additional
amounts imposed by any taxing authority in connection with any item described in clause (i), and
(iii) any transferee liability in respect of any Items described in clauses (i) and/or (ii) payable by
reason of contraat, assumption, trnnsferee liability, operation of law, or otherwise, in each case
whether or not displlted, For purpose of the Agreement, "tax return" means any rettll'n, repmt 01·
statement filed or required to be filed with 1·espect to any tax (including any attachments thereto,

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                                                                                                       i


and any amendment thereof) including any infonnation return, claim for refund, amended l'eturn
ot declaration of estimated tax.

       4.18. Employee Relations.
                (a)    Except as set forth on Schedule 4.1S(a), all employees of the System are
employees of one of the Sellers. Except as set forth on Schedule 4.18(a), there is not presently
pending or, to Sellers' knowledge within the last three (3) calendar years including the calendar
year that includes the Effective Time, threatened, and no event has occurred that could provide
any reasonable basis for any strike, slowdown, picketing, work stoppage, or employee grievance
process, or any proceeding against or affecting any Seller relating to an alleged violation of any
legal requirements pettaining to labor relations, including &ny charge, complaint, or unfair labor
practices claim filed by an employee, union, or other person with the National Labor Relations
Board or any comparable Government Entity, organizational activity, or other labor dispute
against or affecting any Seller or the System. Except as set forth on Schedule 4.l8(a). with
respect to the employees of each Selle1~ no collective bargaining agreement exists or ls currently
being negotiated by Seller; to Sellers' knowledge hO application for certification of a collective
bargaining agent ls pending; no written demand has been made for recognition by a labor
organization; to Sellers' knowledge, no union reptesetttation question exists; to Sellers'
knowledge, no union organizing activities are taking place; and no employee of any Seller is
represented by any labor union or organization,

               . (b)    Each Seller has complied in all material respects with a1I legal
requirements relating to employment; employment practices; terms and conditions of
employment; equal employment opportunity; nondiscrimination; lmmigratiDn; wages; hours;
payment of employment, social security, and similar payroll taxes; occupational safety and
health; and plant closing, No Seller is liable for the payment of any compensation, damages,
taxes, fines, penalties, interest, 01· other amounts, however designated, for failure to comply with
any of the foregoing legal requirements. Except as set forth in Schedule 4.18(b), there are no
pending 01·, to Selfors' knowledge, threatened claims before the Equal Employment Opportunity
Commission (or comparable state agency), complaints before the Occupational Safety and
Health Administration (or comparable state agency), wage and hour claims, unemployment
compensation claims, workers' compensation claims, or the like.

                 (c)    Sellers have made available to Buyers the personnel records of all of the
employees of each Selle!' and the salary oi· wage records for such employees including records
reflecting sick or extended illness, paid time off, vacation and holiday benefits that, as of the
Effective Time, are accrued or credited but unused or unpaid. Sellers have made available to
Buyers copies of each employment, consulting, iudependeut contractor, bonus, retention or
sevei-ance agreement to which any Sell~!' is a party, Schedyle 4.18(c) sets fotth the employees
who had an "employment loss," as such term is defined in the Worker Adjustment and
Retraining Notification Act (the "WARN Act"), within the ninety (90) days preceding the
Closing; in relation to the foregoing, Sellers have not violated the WARN Act or any similar
state or local legal requirements. To Sellers' knowledge, 110 employee of any Seller is bound by
any .contract that purpol'ts to limit the ability of such employee to engage in or contillne or
perform any conduct, activity, dutles 01· practice relating to the business of any Seller,
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               (d)      All necessary visa ol' work authorization petitions required to be filed by
Sellers have been timely and projJerly filed on behalf of any employees of any Seller requiring a
visa stamp, I-94 status document, employment authorization document, or any other immigration
docutnent to legally work for Sellers in the United States. and all papmwork retention
requirements with respect to such applications and petitions have been met. To the knowledge of
Sellers, no current employee of any Seller has ever worked for such Seller without employment
authorization from the Department of Homeland Sec11rlty or any other Government Entity that
must authorize such employment. I-9 Forms have been timely and properly completed by
Sellers for all current employees of Sellers. I-9 Forms have been lawfully retained and
re-verified by Selle!'s, There are no claims, lawsuits, actions, arbitrations, administrative or other
proceedings, or to Sellers' knowledge, goverrnnental -lnvestigations or inquiries pending or
threatened against any Seller relating to such Seller's compliance with immigration laws: There
have been no letters received by any Seller :from the Social Security Administration ("SSA")
regarding the failure of such Seller's employee's Social Secutity number to match their name in
the SSA database.
        4,19, Contracts and Commitm~nts.
                (a)    Sohequle 4.19 sets forth an accurate list of all matet'ial written
commitments, contJ:acts, leases,' and. agreements, which materiaily affect· the System or the
Assets, to which any Seller is a party or by which any Seller, the System or the Assets are bound,
and which involve future payments, performance of servloes or delivery of goocls to or by Seller
in an amount or value in excess of One Hundred Thousand Dollars ($100,000.00) per contract 011
an an11ual basis, which have tetms (including renewal options and rights) in excess of one
(1) year, or which involve a contract with a physician, physician organization or other referral
source ("Material Contracts"), including; (a) agreements with individual physicians or physician
groups and any other agreements with potential referral sources; (b) agreements with health
insmance payors, health maintenance organizations, _preferred _providet' organizations,
accountable care organizations; cllnicaUy integrated networks, or other altemative delivery
systems; '(o) Joint venture or partnership agl'eements; (d) employment contracts or any other
contracts or commitments with illdlvldual employees or agents; (e) contracts·or. commitments
materially affecting ownernhip 04 title to, use of or any interest in the Real Property (including
the Real Property Leases); (f) equipment leases; (g) equipment maintenance agreements;
(h) agreements with municipalities; (i) collective bargaining agreements or other contracts or
commitments with any labor unions, labor organizations, or othe1· employee representatives or
groups of employees; G) loan agreements, bonds, mortgages, liens, or other security agreements;
(k) patent licensing agreements or any other agreements, licenses, or commitments with respect
to patents, patent applications, trademarks, trade names, service marks, technical assistance,
copyrights, or other like terms affecting the System or the Assets; (1) contracts· or commitments
providing for payments based in an.y manne1· on the revenues or profits of the System or the
Assets; and (m) agreements, licenses, or commitments relating to data processing programs,
software, or source codes utilized in connection with the System or the Assets.
              (b)   Sellers have niade available to Buyers, subject to applfoable law, true,
accurate and complete copies of all of the Contracts, including, among others, the Material

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Conttacts, Sellers represent and warrant with respect to each Contract, including Materlal
Contracts, that:

                       (i)    Such Contract constitutes the valid and legally binding obligation
       of the Seller which is a party thereto and is enforceable against such Seller in accordance
       with its terms;

                      (ii)     Such Contract constitutes the entire agreement by and between fue
       respective pa1ties thereto with respect to the subject matter thereof;

           .           (iii)All   obligations required to be performed by the Seller under the
       terms of s1.1ch Contract have been performed in all material respects, no act or omission
       bi the Seller has ocmmed or failed to occur which, with the giving of notloe, the lapse of
       time or both would constitute a default under the Contract, and such Contract is in full
       force and effect without default on the part of the Seller;

                        (iv) Except as expressly set forth on Schednle 4.19, the Contract does
       not reql.lire consent to the assignment and assumption of such Contract by the appropriate
       Buyer;

                       (v)     Except as expressly set forth on Schedule 4.19, the assignment of
       the Contract to and assumption of such .Contract by the app1·opriate Buyer does not
       require any fee and will not result in any penalty or premium, breach, default, termination
       or variation of the rights, remedies, benefits or obligations of any Party thereunder; and

                      (vi) Bach Contract ls in compliance in all material respects with all
       applicable federal, state and local laws, 1·egnlations,judicial and administrative decisions.

       4,2,0, Unclaimed l'roperty.

                (a)    Each Setler is, and at all time has been, in compliance with the applicable
state laws i·egarding abandoned or unclaimed property or escheat in all material respects. Bach
Seller has reported and remitted to each state as required by 1,aw all amounts held, dne or owing
by Seller remaining unclaimed or 11npaid for a period of time such that they are presumed
abandoned under the appllcable state laws, No amounts which are, or would be, or would
become, unclaimed property 01· presumed abandoned under the applicable state laws regarding
abandoned or unclaimed property have been written off, written or reversed to income, or
otherwise Temoved or excluded from the Seller's Balance Sheet Liabilities.

              (b)    For purpose of the Agreement, "unclaimed property" melllls tangible and
intangible property held hy the Seller as custodlan for the apparent owner which ls deen1ed
abandoned or unclalrµed under applicable state laws.

       4.21. Inventory/Snpplies,         All the inventory of medical and office supplies
("Inventory") constituting any part of the Assets is substantially ofa quality and quantity 1.1aable
and salable in the ordinary course of business of the System. Obsolete items or inventory items

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greate1· tha11 one (1) year old have been written off the Financial Statements. The foventory is
carried at the lower of cost or market, on a first.in, first-out basis imd is properly stated in the
Financial Statements, The Inventory levels are based on past prnotioe.s of Sellers and are
reasonable and justified under the nonnal operations of the Sellers.
         4,22, Insurance,· Schedule 4.22 hereof /ists the insurance policies covering the
ownership and operations of the System and the Assets, which Schedule reflects the policies'
numbers, terms, Identity of Insurers, amounts, coverage, and loss experience for the last five
(5) years per policy. All of such policies are in full force and effect with no premium arrearage,
During the past five (5) years, Sellers have giveu ill a timely manner to their insurers all notices
required to be given under their insurance policies with respect to all of the claims and actions
covered by insurance, and no insurer has denied coverage of any such claims or actions, Except
as set. forth on_Schedule 4.22, atno tirne during the past five (5) years has any Seller (a) received
ai:ty written notice or other communication ffom any such insurance company citncelirig ··or
materially aniending any of such insurance policies, and, to Sellers' knowledge, no such
cancellation or amendment is threatened; or (b) failed to present any fil!\terial claim which ls still
outstanding under any of such policies with respect to the System or any of the Assets,
        4,23, Thil'il Party Payor Cost Reports. Each Seller required to file cost reports has
duly and timely filed all such required reports for all the fiscal years through and including the
most recently completed fiscal year, All ~f such cost reports completely and accurately reflect
the information required to be included thereon and such cost reports do not claim and no Seller
has received reimbursement in My arno\lllt in excess of the amounts provided by law or any
applicable agreement. Schedule 4.23 indicates which of such cost repo1ts have not been audited
and frnally settled and a brief description of any and all notices of prog!'am reimbursement,
proposed or pending audit adjustments, dlsallowances, appeals of disallowances, and any and all
other unresolved clainJs or disputes in respect of such cost repotts. Each Ss>ller has established
adequate reserves to cover any potential reimbursement obligations or other liabilities such Selle!'
may have in respect of any such third party cost reports pertaining to any periods pl'i01· to the
Effective Time, regardless of when such cost reports are :filed, and suoh reserves are set forth in
the Financial Statements.
         4,24, Medical Staff Matters, Sellers h!lve made available to Buyers true, correct, and
complete copies of the bylaws and rules and regulations of the medical staff of·each Hospital, as
well as a list of all current members of the medical staffs. Except as set forth on Schedule 4.24
hel'eto, there are no adverse actions pending with respect to any medical staff members of 1be
Hospitals or any current applioant thereto for which a medical staff member or cmTent applicant
has requested a judicial review hearing whicb has not been scheduled or has been schedu1ed but
has not been completed, and there ru·e no pending or, to the knowledge of Sellers, threatened
dlsputes with current applicants or medical staff members ofthe Hospi_tals,
        .4.25. Intellectual Pl'opei·ty; Compute1· Software. AH Intellectual P.roperty (whether
registered or common law) currently owned by Sellers is listed and described on Schedule l. l(k)
hereto, .No proceedings have heen instituted or are pending or, to the knowledge of Sellers,
threatened which challenge the valldity of the ownership by any Seller of such Intellectual
Property, and Sellers know of 110 basis 1berefor, No Seller has licensed anyone to use such
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 fntellectual Property a11d Sellers have no knowledge of the use or the infringement of any such
 Intellectual Property by any other person. Sellers, collectively, own (or possesses licenses or
 other- rights to use) all Intellectual Property, including all computer softwa1·e programs and
 similar systems used in the operation of the System and the Assets.
           4.26. Compliance Program, Sellers have made available to Buyers a copy of the
  current compliance program materials related to Sellers and the System, including all progrmn
  descriptions, compliance office!' and committee descriptions, and, to the extent they exlst, ethics
  and risk area policy materials, training m1d education materlals, auditing. and monitoring            L'
  protocols, reporting mechanisms, and disciplinary policies. Except as set forth ln a writing          i
                                                                                                        '
  delivered by Sellers to Buyers which specificB,lly makes reference to this Section 4,26 and set
  forth on Schedule 4.26, no Seller (a) is Party to any cut·xent, valid and binding Corporate
  Integrity Agreement with the Office of Inspector General of the Department of Health and
  Human Services, (b) has any current reporting obligation pursuant to any Settlement Agreement
  entered into with any Government Entity, (c) to Sellers' knowledge, has, at any time during the
  past five (5) years, been the subject of any Federal health care prograin investigation conducted
  by any federal or state enforcement ageMy, (d) to Sellers' knowledge, has, at any time during the
  past five (S)years, been a defendant in any qui tam/False Claims Act litigation, (e) has, during
• the past five (S) years, been served with or received any search warrant, subpoena, civil
  investigative demand, or contact letter from any federal or state enforcement agency (except in
  connection with medical services provided to third-parties who may be defendants or the subject
  of lnvestlgation lnto conduct unrelated to the operation of the healthcare businesses conducted by
  Sellers), and (:!) has, during the past :five (5) years, received any written complaints (or
  complaints thrnugh thelr compliance "hotline") from employees, independent contractors,
  vendors, physicians, or any other person that would indicate that Seller has violated any law 01·
  regi:ilation. Schedule 4,26 includes a description of each audit and investigation conducted by
  any Seller pursuant to lts compliance program during the last five (5) yeal's, For purposes of this
  Agreement, the term "oompli.ance pl'ogratn" refers to provide!' programs of the typo described ln
  the compliance guidance published by the Office of Inspecto1· General of the Department of
  Health and Human Services.
         4,27, Full D:iselosure, To the knowledge of Sellers, copies of all documents referred to
 ln any Schedule dellvered by Sellers hereto have been delivered or made available to Buyers and
 constitute true, accurate and complete copies thereof and include all amendments, exhibits,
 schedules, appendices, supplements or modifications thereto or waivers thereunde1·, unless noted
 on the relevant schedule. No representation or warranty made by Sellers herellllder contains an
 untrne statement of a material fact or omits to state a matedal fact requlred to be stated herein or
 necessary to make the statements contained herein not misleading.
    5.       REPRESENTATIONS A.c'ID WARRANTIES O:F BUYERS.
        As of the date hereof, as 11pdated pu1·suant to Seotion I 1, 1. and as of the Closing Date,
 Buyers jointly and severally represe11t and warrant to Sellers the followlng:
       5.1, Existence and Capacity. Each Buyer (other than PMH) is a limited liabilify
 company, duly organized and validly existing in good standing under the laws of the
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Commonwealth of Pennsylvania or such other jul'ls<liction where d~mesticated. Each Buyer has
the requisite power and authority to enter into this Agl'eement, to perform its obligations
hereunder, and to conduct its business as now being conducted in all material respects. PMH is a
corporation, duly organized and validly existing in good standing ~mder the Jaws of the State of
Delaware, PMH has the requisite power and authority to enter into this Agreement, to perform
its obligai1ons hereunder and to conduct its business as now being condwted, Each Buyer (other
than PMH) ls a direct Ol' an indirect, wholly-owned subsidiary of PMH,

        5.2. Powers; Conse1its; Absence of Conflicts witli Other Agreements, :Etc. The
execution, delivery and performance of this Agreement by each Buyer and all pther agreements
referenced herein, or ancillary hereto, to which each Buyer is a Party, and the consummation of
the transactions contemplated herein by each Buyel'.:

               (a)   are within its corporate powers, are not ln contravention of law or of the
terms of its organizational documents, and have been duly authorized by all appropriate
corporate action;

                (b)   except as provided in Section 7,1 and Section 7.2 below, do not require
any approval or consent of, or flllng witn, any Goveniment Entity or authority bearing on the
validity of this Agreement which is required by law or the regulations of any such agency or
authority;

               (c)   will neither conflict with, nor result in any breach or contraventlon of, or
the creation of any lien, charge or encumbrauce under, any indenture, agreement, lease,
ln~«·ument or understmding to which it is a party or by which it ls bo\md;

               (d)   will not violate any statute, law, rule, or regulation of ,any Govel'nment
Entity to which any Buyer may be subject; and

            (e)      will not violate any judgment, decree, writ, or lnjunction of any court or
Government Entity to which any Buyer may be subject,

       5.3. Binding Agreement. This Agreement and all agreements to which Buyers will
become a Party pursuant hereto are attd will constitute the valid and legally binding obligations
of each Buyer, respectively, and are and will be enforceable against each Buyer, respectively, in
accordance with the respeci1ve tenns hereof and thereof.

        5.4. Full Disclosure. Copies of all documents l'efexrea to in any schedule delivered by
Buyers have been delivered and made available to Sellers and constitute true, accurate and
complete copies thereof and include all amendments, exhibits, schedules, appendices,
suppfoments or modificatioJJs thereto. No representation or warranty made by Buyers hereunder
contains an untrue statement of a material fact or omits to state a material fact reql)ired to be
stated herein or necessary to make the statements contained herein not misleading. Without
limitation, the foregoing expressly includes all of the Title Committnehts 11nd any aud all
documents, instruments, easements, agreements, covenants or restrictions referred to therein.

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       5.5. • Litigatlon/Investigatioru. There ai·e no actions, proceedings, or investigations
pending or, to the knowledge of Buyers, threatened, that if determined adversely to Buyers
would have a materially adverse effect on Buyers' ability to consmnmate. the transactions
contemplated by thls Agreement,

       5,6.    Co1nplianciwith Laws.
                (a)    Generally. Except as disclosed in Schedule 5,6(a) hereto, to the
knowledge of Buyers, Buyers ate in material complianc'i: and have at all times within the past
three (3) years complied with all Laws with respect to Buyers' ownership, use and operation of
their business except fo1· noncompliance that would not have a materially adverse effect on
Buyers' ablllty to consummate the tl'ansactions contemplated by this Agreement. During the past
three (3) years, except as so disclosed, to Buyers' knowledge, Buyel's have: (i) properly filed all
material reports and other documents. requfred by any Governmental Entily; and (ii) not received
any notice from any Governmental Entity that any of its assets or business procedures or
practices fails to comply in any material respect with any applicable Laws; except for
noncompliance that would not have a materially adverse effect on Buyers' ability to consummate
the transactions contemplated by this Agreement.

               (b)     Health Care Laws. Iil the three (3) year period immediately preceding
the Execution Date hereof, to the knowledge of Buyers, neither Buyers nor any of Buyer's •
employees while an employee of Buyers has committed a violation of federal or state Laws
reguiating health care, including the Anti-Kickback Law, 42 U.S.C. Section 1320a (the
"Anti•I<ickbaok Law"), the Starlc1 and II Jaws, 42 U.S.C. Section 1395nn, as amended (the
"Stark Law"), and the False Claims Act, 31 U,S.C, Section 3729, et seq, (the "False Claims
Act"), except for violations that woitld 110t have a materially adverse effect on Buyers' ablllty to
consummate the transactions contemplated by thi.s Agreement, Neithei' Buyers nor any of their
employees or the physlolans on their medical staff; hiive been excluded from participation in
Medicare or any other federal health care program (as that term is defined in 4:2 U.S,C.
Section 1320a•7b(l)), subject to •sanction pursuant to 42 U.S.C. 1320a-7a or 1320a•8 or
convlcted of a criminal offense under the Anti•IGckback Law, except for exclusions, sanctions or
convictions that would not have a materially adverse effect on Buyers' ability to consummate the
transactions contemplated by this Agreement.

        5,7, Licenses/Permits, To the knowledge of Buyers, Buyers have lawful authority
and have, oi· will reasonably promptly obtain prior to or within a reasonable period of time aft()!'
the Closing Date, as applicable, all material federnl, state and local Licenses and Permits
necessary for or required to conduct their business operations where the failure to hold such
Licenses and Permits would have a materially adverne effect on Buyers' ablllty to consummate
the transactions contemplated by this Agreement. All such mate1'ials Licenses and Permits are or
will be. valid and in full force and effect. To the knowledge of Buyers, Buyers are in material
compliance with all such currently held Lice!llles and Permits and the terms and requirements of
all Governmental Entities wlth n;spect ther.,to except for noncompliance that would not have 11
materially adverse effe'ot on Buyers' ability to consummate the transactions contemplated by this
Agreement. 'To the k11owledge of Buyers, no notice from any authority in respect to the
revocation, termination, suspension, or limitation of any such Licenses or Permits has been
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issued or given, nor are Buyers aware of the proposed or tlireatel)ed issuance of any such notice,
except where such notice would not have a materially adverse effect on Buyers' ability to
conITT!lllmate ihe transactions contemplated by this Agreement,

  6.       COV)l)NANTS OF SELLERS PRIOR TO CLOSING.
       Between the Execution Date ofibis Agreement and the Closing:

        6,1.   Information. Sellet'S shall afford to the officets, authorized representatlves and
agents (which shall include accountants, attorneys, bankers, and other consultants) of Buyers full
and complete access <luring normal business hours to and the right to inspect, at Buyers' sole
cost and expense, the plants, properties, equipment, books, and records of the Sellers, and will
furnish Buyers with such additional financial and operating data and other lnfo1-mation as to the
business and properties of Sellers as Buyers may from time to time reasonably request without
regard to where such informatlon may be located. Buyers' right of access and inspection shall be
exercised in such a manner as not to interfere unreasonably wlth Sellers' operations.

       6,2,    Operations, Sellers s!Jall:

               (a)     oai1y on their business in substantially the same manner as presently
conducted and not make any material chmige outside of the ordinary course of business in
personnel, operations, finance, accounting policies, Real Property or personal prt>perty;

               (b)   maintain the Assets and fue System and all parts thereof in substantially
the same operating condition;

              (c)     maintain the Inventory at substantially the same levels as exist as of the
Execution Date of this Agreement;

               (d)    perform all ofthefr obligations under agreements relatit1g to or affecting
the System, the Assets or Sellers' operations;

               (e)    keep in full force and effect thelr present insurance policies ol' other
compai·able insurance;

              . (f)   use reasonable efforts to maintain and preserve their business
organizations intact, retain their present employees within the System, and maintain. their
relationships with physicians, suppliers, customers, and others having business relations with the
System;

               (g)     comply with all applicable laws in all material respects;

               (h)     keep, hold and maintain all Licenses reasonably necessary for the conduct
and operation of Sellers' business;

                (i)    use reasonable measures to avoid rendering any representation or warranty
oontai11ed in thls Agreement iuacourate or untt·ue as of the Closing;
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                 G)      promptly noti-fy Buyers in writing of any lawsuits, claims, administrative
actions or other proceedings' asserted or commenced against any of the Sellers or the ii' officers, •
directors or employees involving in any matel'ial way the ability of any such Seller to
consummate the transactions contemplateci or required by this Agreement, or materially affecting
such-Selle!'' s business, properties or its assets;
                 Q◊     promptly notify Buyers in writing of any facts or circumstances that come
to their attention and that cause, or thrnugh the passage of time could reasonably cause, any of
the representations and warranties made by Sellers and contained in this Agreement to be untrue
 or misleading at any time from the Execution Date through the Closing;
               (I)    continue to make (i) any and all required or other scheduled contributions
to the DB Pension Plan for the 2016 plan yea1· in the amounts set forth on-Schedule 6,20} hereto
(as may be increased or decreased pursuant to the January 1, 2016 DB Pension Plan actuarial
determination) on a pro-rata basis up to fue Closing Date (where such pro-ration shall be based
on the number of days occur!'ing between the start of the pro-ration period and the Closing Date),
and (Ji) the outstanding requfred contributions for the 2015 plan year in the amounts also set
forth on Schedule 6.20) (plus accrued interest, if any) (as such contributions may be increased or
decreased pursuant to the January 1, 2016 DB Pension Plan actuarial determination), provided
that if Closing occurs prior to Sellers' full payment of the contributions for the 2015 plE\n year,
Sellers shall pay the remaining balance of such contributions to the DB, Pension Plan on or
before the Closing Date; and Sellers shall pay PBGC premiums on a timely basis; and
               (m) continue to accrue any executive retention bonuses and any other retention
bonuses set forth 011 Schedule l .3(k) on a monthly basis up to the Effective Time in accordance
with past practice and in monthly amounts not less than have been historically accmed for such
bonuses,

       6.3.    Negative Covenants. Sellers shall not, without the pri01· written consent of
Buyers:
                 (a)     amend, renew or te1minate any of the Contracts, enter into any contract or
commitment, or lncu!' or agree to incur any liability which would constitute a Contract to the
extent such Contract: (i) is outside of the ordinary course of business of Sellers; (ii) involves
future payments, perfurmance of services or delivery of goods to or by Sellers in an amount 01·
value in excess of One Hundred Thousand Dollal'S ($100,000.00) on an annual basis; (iii) has
one or more physicians or physician organizations as a party and provldes for total annual
compensation (including any incentives, bonuses, benefits or other reimbursement) exceeding, ot
potentially exceeding, Five Hundred Thousand Dollars ($500,000.00); and/or (lv) ls not
terminable by Sellers without cause and without penalty upon pl'io1• notice of twelve (12) months
or less, all except as provlded herein or as set forth on Schedule 6,3(a):
                (b)    inci·ease compensation payable or to become payable 01· make any bonus,
incentive or severance payment to or otherwise enter into one or moi·e bonus, severance,
proiit-sharlng, deferred compensation, stock option, purchase, retainer, const1lting, retirement,
welfare or incentive plan Contracts (including any plan or agreement und1er which "fringe
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benefits" are afforded) with any employee of the Sellers, except in the ordinary course of
business ln accordance with eidsting personnel policies, consistent with past merit-based
practices in accordance with exlsting personnel policies 01· pursuant to Contract requirements in
force on the date of this Agreement;
               (c)    enter into (or materfolly amend existing) agreements for employment,
indemnity, retention, severance, change-ln-contwl, employee lease, deferred compensation, or
incentlve compensation with, or agreements regarding loans or advances to, Sellers' executive
management personnel as listed on Schedule 6.3(o):
               (d)   create, assume, or permit to exist any new debt, mortgage, pledge, or othei·
lien or encumbrance upon a11y of the Assets or System in excess of One Hundred Thousand
Dollars ($100,000), whether now owned or hereafter acquired;
              (e)    sell, assign, lease, or otherwise transfer or dispose of any properly, plant,
or equipment except in the ordinary course of business with comparable repl11cement thereof, if
appropriate;
             (f)     incur capital expenditures in an aggregate amount exceeding One Hundred
Thousand Dollars ($100,000) except.for expenditures identified on Schedule 6,3(f):
               (g)     adopt any plan of merge!', consolidation, reorganizatlo.n, liquidation or
dissolution or file a petition ln bankruptcy under any provisions of federal or state banla·uptcy
law or consent to the filing of any bankruptcy petition against it under any similar law;
                (h)    purchase or otherwise acquire any property or asset for an amount in
excess of One Hundred Thousand Dollars ($100,000), except fo1• purchases of inventory or
supplies in the ordinary course of business;
              (I)     take any material action outside the ordinary course of business of the
System, the Assets or Sellers generally;
              (j)    enter into any agreement, undertake any action or fail to take any action
that would have a Material Adverse Effect;
                (k)     amend any provision of the Hospitals' Medical Staff Bylaws or Medical
Staff rules and rngulatlons; or
               (l)    settle any third party payor or guvernmental claims or cost report appeals
01·related proceedings or any other billing and/or compliance matters •involving other
~udit/revlew agencies and organizations.
        6.4. Governmental Approvals. Sellers shall (i) use reasonable efforts to obtain all
governmental approvals (or exemptions therefro.m, including the Office of Attomey General of
1he Commonwealth of Pennsylvania and the Coutt of Conunon Pleas of Delaware County,
Pennsylvania, Orphans' Co111t Division) necessary or required to allow Sellers to perform theh·
obligations under this Agref.\lllent; and (i.i) assist and cooperate with Buyers and theil·
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representatives ll!ld counsel in obtaining all governmental consents, approvals, and licenses
which Buyers deem necessary or appropriate and in the preparation of any document or other
material which may be required by any Government Eritlty as .a predicate to or as a result of the
transactions contemplated herein.

        6.5. Hart-Scott-Jlodlno Notification. lfnot completed prior to the Execution Date of
ibis Agreement, Sellers shall, if and to the extent required by law, file all reports 01· othe1·
documents required or requested by the Federal Trade Commission (''FTC") or the United States
Department of Justice ("Justict> Department") under the Hart-Scott-Rodino Antitrust
Improvements Act of 1976 ("HSR Act''), and all regulations proiuulgated therel.lllde1~ concerning
the transactions contemplated hereby, and, as instructed by counsel, comply with any requests by
the FTC or Justice Department for additional information concerning such transactions, in an
effort to allow the waiting pel'iod specilletl ln the HSR Act to expire as soon !lB reasonably
posslble after the execution and delivery of this Agreement. Sellers shall furnish to Buyers such
information concerning Sellers as Buyers need to perfurm their obUgations under Section 7.2 of
this Agreement. Sellers and Buyers shall each pay one-half (1/2) of the filing fees required
under the HSR Act and all xegulations prnmulgated thereunder.
        6.6. Additional Financial Informatiol!, Within :five (5) business days after they are
created (but in any event no latet than twenty (20) days following the end of e_ach calendar
month prior to Closing), Sellers shall deliver to Buyers true, accurate and cotnplete copies of the
unaudited balance sheets and the related unaudited statements of income (collectively, the
"Interim Statements") o:t; or relatltJg to, the Selle1's for each month then ended, together with a
year-to-date compilation and the notes, if any, related thereto, which shall have been prepared
:from and in accordance with the Books and Records of Sellers, and shall fairly present in all
material respects the financial position and results of operations of the System as of the date and
for the period indicated, all in aocoJ'dance with GAAP consistently applled, except as set forth in
Schedule 4,4(b).                    ,

        6.7. Exclusivity. No Sellers or any of their respectiv~ representatives, agents,
directors, officers or employees, directly or indirectly, shall: (a) offer any of ihe Assets
described in this Agreement for sale, lease or otbet disposition to any person or entity other than
Buyers, except ln the ordlnat'Y course of business; (b) merge or conduct any business
combination of any sort involving Sellers or any Affiliate thereof with any other person or entity
except that any Seller may merge with any other Seller or tl'ansfer all or substantially all of its
assets to another Seller in connection with the transactions contemplated herein; (c) transfer the
membership, conttol or any ownership interest in any Seller or any Affiliate thereof (including
any Joint venture, LLC membership or partnership interests) to any othel' person or entity except
as required under a Joint venture, opetating or partnership agreement and necessary to meet a
closing condltion of un<!er this Agrnement that has not been waived by Buyer; (d) enter into a
partnership, LLC or any other joint venture involving any Seller or any Affiliates thereof;
(e) enter lnto any agreement with at1y person or entity other than Buyers with respect to any of
the matters set forth in (a) through (d) above; or (f) solicit, encourage (by way of furnishing
non-public information or otherwise), negotiate, hold discussions regarding, entertain, accept, or
take any other actions to facilitate, any offers rega1·dlng any of.the matters or actions set forth ln

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(a) thrnugh (e) above. Sellers will promptly communicate to Buyers the substance of any inquiry
or proposal concerning any such potential offet or transaction described above.             •
        6,8. Insurance Ratings, Sellers shall take all action reasonably requested by Buyers
to enable Buyets to succeed to the Workers' Compensation and Unemploynwl:!t Insurance
ratings, and other ratings for insurance ot· other purposes established by Sellers. Buyers shall not
be obligated to succeed to any such ratings, except as they may elect to do. so. At Buyer's
election and to the extent allowable under the Pennsylvania Unemployment Compensation Law,
one 01· more Sellers shall join in an application to trahSfer the whole or appropriate pa1t of such
Seller's Pennsylvania Unemployment Compensation experience record and reserve account
balance to Buyer and file with the Pennsylvania Department of Labor and Industry such
supporting schedules or other lnfo1:mati0l). with respect to s\ich experience record and reserve
account balance as said Depattment may require._
       6.9. Medical Staff Disclosure. Sellers shall deliver to Buyers a written disclosure
containing a brief descl'iption of all adverse _actions taken against medical staff members of the
Hospitals or appllcants thereof during the past three (3) years whlch could result in claims or
actions against any Seller and which are not disclosed in the minutes of the meetings of the
Medical Executive Committee of the medloal staff of the Hospitals, which have been made
available to Buyers,
        6,10.   Consent fo1• Assignment of Contracts.

                (a)      To the extent a Contract is not capable of being assigned without the
consent of a third paJty as set forth in Section 4.19 or if sue!; assignment or attempted assiglllUent
would constitute a breach thereof or a violation of any law (a "Non-Assignable Contract''),
nothing in this Agreement shall constitute an assignment ot an attempted assignment thereof
prior to the time at which all consents necessary for such assignment shall have been obtained
and all legal restrictions removed.                                                   •
               (b}    Sellers shall use commercially· reasonable efforts to obtain the consent to
the assignment of any Contl'acts hereunder, including Non-Assignable Contracts, and Buyers·
shall reasonably cooperate with their efforts. To the extent that any of such consents under
Material' Contracts are not obtained; (i) Buyers shall· not be required to consummate the
transactions described herein pursuant to Section 8.7; and (ii) if Buyers nevertheless elect to
waive the. condition to closing·under Section &.7 and consummate the transactions described
herein, then to the extent requested by Buyers, Sellers sball, durlng the term of the affected
Material Contract, use commercially reasonable efforts to (A) provide to Buyer the benefits
under any such Material Contract, (B) cooperate in any reasonable and lawful arrangement
designed to pl'Dvide such benefits to Buyers, and (C) enforce for the account of Buyers, any
rights of Sellers under the affected Material Contrnct (including the right to elect to terminate
such Matel'ial Contract in accordance with the terms thereof u.pon t_he written direction of
Buyers) and for the period that Buyers are receiving the benefit that would otherwise inure to
Sellers under the Material Contt·act, Buyet·s will be responsible for the obligations of Sel!e1·s
under the Material Contract relating to such period. Buyers shall cooperate with Sellers to

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enable Sellers to provide to Buyers the benefits contemplated by the lmmediately preceding
sentence.

              (c)     If assignment of any Contract requires any additional payment by Sellers
of any fees, expenses, premiums, expenditures, assessments or penalties in excess of One
Thousand Dollars ($1,000.00) In order to effect assignment (provided that such payments are not
contemplated in such Contract), Sellers shall promptly notify Buyers of such payment and
Buyers may elect to either pay such amounts due in excess of One Thousand Dollars ($1,000.00)
or not accept assignment of siich Contract, Sellers and Buyers shall reasonably cooperate in
negotiating with third parties any payments associated with assignment of any Contracts
hereunder.

        6,11, Co1•porate and Bulk Sales Clearance Certificate, Prior to Closing, Sellers shall
timely notify all Pennsylvania tax authorities, to the extent required by applicable law, of the
transactions contemplated by this Agreement in the furm and manner required by such tax
authorities. After Closing, Sellers shall file with the Pennsylvania tax authorities to receive
applic11-ble tax clearance certificates ("Tax Cleai·ance Certificates"). From and after Closing,
Sellers shall defend, Indemnify and hold harmless the Buyers having taken title to any of the
Assets from and against any and all of such Seller's tax liabilities which are imposed upon or
assel'ted against such Buyers or the Assets, including any fines, penalties or interest thereon,
solely as a result of, or with respect to, Sellers' fuilure to obtain and delivel' to Buyers any such
Tax Clearance Certificates prior to Closing,

       6.12, Unions. Prior to the Closing, Sellers shall keep Buyers reasonably apprised of,
and consult with Buyers, regarding the status of any negotiations (which sha1i include routine
pending grievances, arbitratio11s or similar complaints) regarding any collective bargaining
agreement or the demand for recognition of a1iy labor organization, Sellers shall not entel' into
any new collective bargaining agreement or extension of any existing collective bargainlng
agreement or recognize any labo1· organization without prior written consent from the Buyer.
Such consent sl1all not be required if Sellers reasonably detennlne and notify Buyers that it
would interfere with Sellers' bargaining or other obligations _under the National Labor Relations
"Act,                                                                                    •

       6,13. Foundation Merger. Prior to or simultaneous with the Closing, Sellers shall
cause Delco Foundation to merge with and into Cl'ozer Foundation with Crozer Foundation to he
the surviving •organization and successor in interest to all assets and liabilities of both
organizations, and re1rnmed "Crozer-Keystone Comtnunity Foundation." Upon effectuatlott of
such merger, Sellers shall cause Foundation to execute and deliver to Buyers the Tndemniflcation
Agreement attached hereto as Bxh:t'bit K and shall delivel' to Buyers complete copies of the
Statement of Merger and Plan of Merger (with all attachments thereto) associated with the
merger of Delco Foundation into Crozer Foll'.lldation.

         6.14, Consulting Agreement. Subject to compliance with applicable law~. as promptly
as practicable after the Execution Date but by no later than thirty (30) days after the Execution
Date, the Parties shall negotiate and finalize a consulting agreement pursuant to which Buyers
provldi;, operational support to Sellers' leadership. The consulting agreement shall not be
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executed or take effect until thirty (30) days after the Parties make their required filing pursuant
to the Hart-Scott-Rodino Act pursuant to the terms of this Agreement. The consulting fee
payable to Buyers under such consulting agreement shall be equal to 0,75% of "net patient
revenue" (as defined on Sellers' financial statements) of the System per month. Sellers agree to
reasonably consent to make recommended operational changes under the terms of such
consulting agreement, The consulting fees payable to Buyers would be deferred and would only
be payable to Buyers if the Closing does not occur as a result of a breach of this Agreement,
where such breach is willful and intentional by one or more Sellers and based on factors within
one or more Sellers' control.
   7,          COVENANTS OF BUYERS PRIOR TO CLOSING.

        B"tween the Execution Date of this Agreement and the Closing:
        7.1.     Governmental Approvals. B1iyers shall (i) use reasonable commercial efforts to
obtain all govemmental approvals (or exemptions therefrom) necessaxy or required to allow
Buyers to perform their obligations under this Agreement; and (ii) assist and cooperate wlth
Sellers and theh' representatives and cmmsel in obtaining all governmental consents, approvals,
and licenses which Sellers deem necessaty or appropriate l!lld in the prnparation of any document
or other material which may be required by any Government Entity as a predicate to or as a
result ofthe transactions contemplated herein.
        7.2, Hart-Scott-Roilino Notification, If not completed prior to the Execution Date,
Buytirs shall, if and to the extent requil'ed by law, file all reports 01· other documents required at
requested by the FTC or the Justice Department under the RSR Aot, and all regulations
promulgated thereunder, oonceming the n·ansactions cpntemplated hereby, and comply promptly
with any requests by the FTC or Justice Department for additional information concerning such
tt'ansactions, so that the waiting period specified in the HSR Act will expire as soon as
reasonably possible after the execution and delivery of this Agreement. Buyers ag1•ee to furnish
to Sellers such information concetning Buyers as Sellers need to perform their obligations under
Sectlon 6.5 of this Agreement, Sellers and Buyers shall each pay one half (1/2) of the filing fees
requlred under the HSRAct and all regulations promulgated thereunder,
        7.3. Unions, Buyers shall recognize the existing labor unions representing Sellers'
employees as such employees certified representative, Following approval by the Office of
Attorney Genernl of Pennsylvania, as set forth in Section 6.4, and not prior thereto unless
otherwise mutually agreed upon by Sellers and Buyers, Buyers and Buyers' representatives may
meet wlth each unlon to discuss the terms and conditions of employment fo1• the bargaining units
they represent subject to Buyers' obligations under Section 11.10 and Section 11.25. Buyers
shall keep Sel1ern apprised of such meetings and discussions.
   8.          CONDlTIONS PRECEDENT TO OBLIGATIONS OF BUYERS.

      Notwithstanding anything herein to 1he contrary, the obligations of BU:yers to
consummate the transactions described herein are subject to the fulfillmf.lnt by Sellers, on or prior

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to the Closing Date, of the following conditions precedent unless waived in writing by Buye1·s at
01• prior to the Closing:

        8.1, Representations/Warranties. The representations and warranties of Sellers
containe<l in this Agreement shall be true in all material respects when made and as of the
Closing Date as though such representatiolls and wammties had been rnade on and as of such
Closing Date. Each m1d all of the te!'lns, covenants, and conditions of this Agreement to be
complied with or performed by Sellers on or before the Closing Date pursuant to the terms
hereof shall have been duly complied with and peiformed in all materlal respects,
         8.2.    Pl'e-Closing Confirmations. Buyers shall have received documentation from the
 Selle!'$ 01· othe!' evidence satisfactmy to Buyel's in their reasonable discretion that Sellet'S have:
                 (a)    Received approval from all Gove1nment Entities whose approval is
  required to complete the transactions herein contemplated, provided that no such approval ls
  conditioned upon or otherwise lmposes any changes or additional requirements with respect to
  the transactions contemplated hereby that are not acceptable to Buyers, in Buyers' reasonable
. discretion;
                (b)    Received confirmatiotl from all applicable liceusnre agencies that upon the
 Closing all material Licenses required by law to operate the System and the Assets as currently
 operated and carry on Sellers' buslness will be transferred to, or issued or reissued in the name
 of, the appropriate Buyer;
                (c)    Obtained reasonable assurances that Medicare and Medicaid certification
 of tbe System and the Assets for their operation by Buyers will be effective as of the Closing and
 that Buyers may participate in and receive reimbutsemeut from such progtatns effective as of the
 Closing; and
                 (d)    Obtained such other consents and approvals as may be legally or
 contractually required for the consummation of the transactions described herein.
        8.3, Title Policy. For purposes of clarifioatiot1, the processes and othe1· actions
 described in this Section 8.3 shall have been completed in accordance with the terms and
 conditions hereof prior to the Closing Date as one of the conditions 1.lllder this Article 8 to
 Buyers' obligationB to consummate the transactions.
                 (a)   Attached to this Agreement as Schedule 8.3 is a list of ellcumbrances,
 agreements, easements and exceptions or objections to title pursuant to the title commitments of
 Commonwealth Land Title lllsurance Company (the "Title Compatiy") being so identified on
 Schedule 8.3. All encumbrances, agreements, easements, or exceptions on Schedule 8.3 are
 referred to as the "Permitted Encumbrnnces," and the title commitments are referr~d to as the
 "Tltle .Commitments" a.nd individually as a "Title Commitment" with respect to the
 corresponding Owned Real Property identified on Schedule 8.3 and the corresponding leases of
 the Leased Real Properly, as designated by Buyers, identified on Schedule 8.3 (such leases on
 Schedule 8.3 being referred to as the "lllsured Leases" and individually as an "Insured Lease").
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Buyers shall promptly following the execution of this Agreement obtain current as-built ALTA
surveys with respect to the Owned Real Property and the Insured Lease Parcels as designated by
Buyers (collectively, the "Surveys"). Buyers shall provide Sellers with a copy of the Sutveys as
and when tecelved, Buyers shall provide -written notice to Sellers ("Survey Notice") of any
matters shown on the Surveys which adversely affects Seller's title to 01· use and operation of the
Owned Real Property and/or the Insured Lease Parcels as currently being so used and operate<.\
(collectively, the "Survey Objections"), which are not satisfactory to Buyers In their reasonable
discretion and which the Title Company raises as an exception to coverage. In the event that
Buyers provide the Sellers with a Survey Notice, Sellers shall use commercially reasonable
efforts, during the Survey Objection Cure Period (as hereinafter defined), to cure to the
reasonable satisfaotion ofBuyei's (whlch Buyers agree shall be so satisfied if the .Title Company
agrees not to raise the same as an exceptiolt to coverage 01· insure over the same) the Swvey
Objections identified in the Survey Notice, As used in this Agreement, the term "Survey
Objection Cure Period" means the thirty (30) day period beginning on each date on which Selle1·s
receive a Survey Notice. Those matters disclosed on the Surveys to which Buyers do not object
shall be deemed Permitted Encumbrances, In the event that Sellers have not completed the cu!'e
of MY of the Survey Objections by 6:00 p.m., Ea.stem Standard Time, on the first business day
after the last day of a Survey Objection Cure Period, Buyers shall provide Sellei·s with a
reasonable estim&te of the dollar amo.unt of the claims, losses, liabilities, damages, taxes, costs
(including court costs and costs of appeal) and expenses (including reasonable attorneys' fees
and fees of expert consultants and witnesses) resulting from Seller's failure to cure all such
Survey Objections ("Survey Objection Cure Estimate"), If the aggregate amount of such Survey
Objections Cure Estimate and any New Title Objections Cure Estimate, as defined in Section
8,3(d) below (collectively, the "Cure Estimates"), does not exceed Five Million Dollars
($5,000,000,00), then Sellers shall grattt a cl'edit to Buyers against the Purchase Price in the
aggregate amount of Buyers' Cure Estimates and Buyers shall proceed to Closing subject to the
terms and conditions of this Agreement, If the aggregate amount of the Cure Estimates exceeds
Five Million Dollats ($5,000,000.00), Buyers shall have the right, to be exercised in Buyers' sole
and exclusive discretion, to terminate this Agreement upon written notice of the same being
given to Sellers, which termination shall be effective on the date which ls ten (10) business days
after the date such notice is received by Sellers, unless pl'ior to the expiration of said ten
(10) business day period, Sellers agl'ee, by written notice being sent to Buyers, to grant a credit to
Buyers against the Purchase Price in the aggregate amount of Buyers' Cure Estimates, at which
point Buyers shall proceed to Closing subject to the terms and conditions of this Agreement. In
the event this Agreement is terminated by Buyers pursuant hereto, neither party will thereafter
have any further rights, obligations or liability hereunder except with respect to provisions hereof
which by thell' exptess te1·1ns survive a termination of this Agreement.
               (b)    Subject to Buyers complying with all requirements, cottditlons and
obligations of Buyers under or pursuant to the Title Commitments, wlth respect to the Owned
Real Property, at the Closing, the Title Company shall be ready, willing a!!d able to issue a pro
forma policy of owner's tltle insurance pursuant to the Title Commitments (the "Owner's Title
Policy") or mark-up the Title Commitments, in an amount equal to the poriion of the Purchase
Price being allocated to the Owned Real Property and shall insure to Buyers good and
marketable, fee simple title to the Owned Real Property subject only to (i) the Penllitted
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Encumbrances i,ttributable to the same pursuant to Schedule 8.3, as the same may be amended
pursuant hereto, and (ll) taxes for the current year and subsequent years.
               (c)     Subject to Buyers complying with all wquirements,. conditions and
obligations of the Buyers under or pursuant to the T!tle Commitments, at the Closing, the Title
Company shall be ready, willing and able to issue a pro fonna. policy ofleasehold title insurance
pursuant to the Title Commitments (the "Leasehold Title Policy") or mark-up the Title
Commitments, ill an amount equal to the portion of the Purchase Price being allocated to the
Insured Leases and shall insure to Buyers good and marketable, leasehold title ta the Insured
Leases subject only to the Pennltted E11oumbrances, attributable to the same pursuant. to
Schedule 8.3, as the same may be amended pursuant hereto.
                 (d)     Prior to Closlng, Buyers may provide written notice to Sellers. ("New
'Matter Title Notice") of any new matters raised by the Title Company affecting or relating to
 title to the Owned Real Property or any Illsured Leases provided such new matters were (i) not
 previously listed on the Title Commitment for the same, (il) not pertaining to any of tlie Buyers
 or any requirements, conditions or obligatiorts of the Buyers and (iii) not already a Permitted
 Encumbrance (such new matters being collectively referred to as the "New Title Objections"),
 which are not satisfactory to Buyers in theit· sole and absolute discretio11. Buyers shall include
 with such New Matter Title Notice a copy of the updated Title Commitment referencing the New
 Title Objection and a copy of any suoh document, instrument, agreement, lien, encumbrance,
 easement or the like which is the basis of such New Matter Title Notice and New Title
 Objection. fu the event that Buyers provide Sellers with a New Matter Title Notice, Sellers shall,
 at Sellers' sole cost and expense, cure such New Title Objections to the reasonable satisfaction of
 the Title Company so that the Tit! e Compa11y shall either remove or insure over the same at
 Closing. ]n the event Sellers f&il to cure any New Title Objections pursuant hereto, Buyers shall
 provide Sellers with a wasonable estimate of the dollar amount of the claims, losses, liabilities,
 damages, taxes, costs (inclumng court costs and costs of appeal) and expenses (including
 reasonable attorneys' fees and fees of expert consultants and witnesses) resulting from Seller's
 failure to cure all such New Title Objections ("New Title Objections Cure Estimate"). If the
 aggregate amount of the Cure Estlmates, as defined in Section 8.3(a) above, does not exceed
 Five Million Dollars ($5,000,000.00), Sellers shall gt·ant a credit to Buyers against the Purchase
 Price in the aggregate amount of Buyers' Cure Estimates and Buyers shall proceed to Closing
 subject to the tel'ms and conditlons of this Agreement. If the aggregate amount of the Cure
 Estimates does exceed Five Million Dollars ($5,000,00D.OO), Buyers sha11 have the tight, to be
 exercised in Buyers' sole and exclusive disc!'etion, to terminate this Agreement upon ·written
 11otice of the same being given to Sellers, which termination shall be effective on the date which
 is ten (10) business days after the date such notice is received by Sellers, unless prior to the
 expiration of said ten (10) business day period, Sellei·s agree, by wdtten notice being sent to
 Buyers, to grant a .credit to Buyers against the Purchase Price in the aggregate amount of the
 Cure Estimates, at which poir1t Buyers shall proceed to Closlng subject to the terms and
 cb11ditions of this Agreeme11t, In the event this Agreement is terminated by Buyers pursuant
 hereto, neither patty will thereafter have any further rights, obligations or 1iabili1y hereundor
 except with respect to provisions hereof which by their express terms survive a termination of
 this Agreement.
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                (e)    Notwithstanding the foregoing, Sellers must discharge and satisfy, and
cause to be released of record at or prior to Closing any mortgage, judgment, construction lien or
monetary encumbrance (collectively, "Monetary Liens") secu!'ed by or otherwise encumbering
the Owned Real Properly or the tena11t' s le11Sehold interest in the Insiired Lease Pm·cels, except to
the extent the same pertain to Buyers. Sellers' obligation to cause the release of any such
Monetary Liens pursuant to the immediately preceding sentence shall survive the Closing. In the
event any Monetary Lien exists as of Closing which Sellers dispute, and the 'I'itle Company is
agreeable to insuring over the same, Buyers shall be obligated to proceed to Closing and the
terms of this Section 8.3(e) shall be deemed to be satlsfied.

                (i)      In the event that title to any of the Owned Real Property or the lns11red
Leases fa not as provided for in this Agreement as of the Closing, B11yers shall proceed to
Closing, in which event Sellers will remain liable, in accordance with Section 13 .2, fol' any and
all claims, losses, liabilities, damages, taxes, costs (including court costs and costs of appeal) and
expenses (including reasonable attorneys' fees and fees of expert consultants and witnesses) that
a Buyer Indemnified Party (as defined in Seotlqn 13.2) incurs as a result of or with respect to
such failure of title, subject to the llmitations of Section 133.

        8.4. Actions/Proceedings. No action or proceeding before a court or any other
Government Entity or body shall have been instituted or threatened to restrain or prohibit the
transactions herein contemplated, and no Government Entity shall have taken any other action
with respect to the-Sellers, Assets or the System as a result of which Buyers reasonably and in
good faith deem it lmpraoticable to proceed with the transactions hereunder.

        8.5. Adverse Change. Since the Execution Date, there shall not have occurred any
event, change or occ111Te11ce that has or could reasonably be expected to have a Material Adverse
Effect, and Sellers, collectively, shall not have suffered any o:hange, loss or damage to the Assets
or the System, whether or not covered by insurance, which would have a Material Adverse
Effect.

        8.6. Insolvency. Sellers, collectively, shall not (i) be in rGceivership or dissolution,
(ii) have· made any assignment for the benefit of creditors, (iii) have admitted in writing its
inability to pay its debts as they mature, (iv) have been adjudicated a bankrupt, or (v) have filed a
petition in voluntary bankruptcy, a petition or answer seeking reorganization, or an al'rangement
with creditors under the federal bankruptcy law or any other similar law or statute of the United
States or any state, nor shall any such petition have been filed against Sellers.

       8. 7. Material Consents. Sel1ers shall have obtained all consents, waivers and
estoppels-ofthird parties, lnoluding in connection wlth 11Ssignment ofcettain Material Contracts
and in connection with Btiyers' acquisition of interests in for profit Affiliates, joint ventures or
other affillated organizations of Sellers pursuant to Section 1.Ho), that are matel'ial to the
consummation of tl1e transactions contemplated in this Agreement (collectively, the "Material
Consents") as listed on Schedule 8.7. The Material Consents shall be in form and substance
reasonably satisfactory to Buyers.


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       8,8. Vestlng/Recordation. Sellers shall have furnished to Buyers, ln form and
substance reasonably satisfactory to Biiyers, assignments or other instrl.JJl1ents of trm1sfer and
consents and waivers by others, necessary or appmpl'iate to transfer to and effectively vest in
Buyers all right, title, and interest in and to the Assets, in _proper statutory form for recording if
such recording is necessary or appropriate.
        8,9. Snl'veys and Repm·ts. Promptly following the Execution Date, Buyers, in their
discretion and at their sole cost, may commission from one or more reputablo environmental
consulting or engineering firrns: (i) a Phase II environmental sampling and analysis of
environmental media at or beneath the Real Property, if deemed necessary or appropriate by
Buyers based 011 the results of Buyers' Phase I environmental assessments; and/or (ii) an
architectural and structural report on the Owned Real Property and the facilities situated thereon.
The scope, findings and conclusions of such reports sh~ll be reasonably satisfactory to Buyers.
        8.10.   Closing Deliveries. Sellers shall have made the deliveries required to be ma.le by
them under Section 3.2 hereof,
        8,11. Satisfaction ofludcbtednesa. Sellers shall have paid off or otherwise satisfied as
of Closing (including, as may be necessary, through payment of the Pul'Chase Price at Closing)
all indebtedness, including defeasance of any bonds, as is reasonably necessary for each Seller to
convey its Assets to the appropriate Buyer free and clear of all claims, assessments, security
interests, liens, restrictions and encumbrances of any kind, other than the Pertnitted
Encumbrances and the Assumed Liabilities and/or as otherwise necessary to carry out the
transactions contemplated hereby, an<l Sellers shall have delivered reasonabfo documentation
thereof to Buyers as may be requested,
       8,tl,. Pension Funding, . Sellers shall have satisfied their 'pension Plan Contribution
funding obligations set forth in Section 2.4(b).
        8.13. Delivery of Otl1cr·Agreements. Sellers shall have executed and deltvered all
other agreements determined by Buyers to he reasonably necessary or appropriate to.be entered
into prlor to the Closing to effect the transactions contemplated herein.
   9.       CONDITIONS PRECEDENT TO OBLIGATIONS OF SELLERS.

         Notwithstanding anything herein to the contrary, the obligations of Sellers to
consummate the transactions described herein are subject to the fulfillment by Buyers, on or
prioi· to the Closing Date, of the following conditions precedent unless waived in writing by
Sellers at ot· prior to the Closing:
        9.1. Representations/Warranties. The representations and warranties of Buyers
contained in this Agreement shall be trne in all material respects when made and as of the
Closing Date as though such representations and warranties had been made on and as of such
Closing Date, Each and all of the terms, covenants, and conditions of this Agreement to be
complied with or performed by Buyers on or before the Closing Date pursuant to the terms
hereof shall have been duly complied with and performed in all material respects.
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          9,2, Governmental Approvals, All mate1~al consents, authorizations, orders and
. approvals of (or filings or registrations wltb) any Govemment Entity or other Party required in
  connection with the execution, delivery and performance of this Agreement, as described in
  Section 7.1, slrnll hav~ been obtained or made by Buyers when so required, except for any
  documents required to be filed, or consents, authorizations, orders or approvals required to be
  issued, after the Closing Date.
         9.3. Actions!Pl'Oceedings. No action or proceeding before a court or any other
 Government Entity or body shall have been instituted or threatened to restrain or prohibit the
 transactions herein contemplated, and no Government Entity shall have taken any other action
 with respect to the Sellers, Assets or the System as a result of which Sellers reasonably and in
 good faith deem it impracticable to proceed with the transactions hereunder.

         9.4. Insolvency. Buyers, collectlvely, shall not (i) he in receivership or dissolution,
 (ii) have made any assignment for the benefit of creditors, (lii) have admitted in w11ting its
 inability to pay i1s debts as they mature, (hi) have been adjudicated a bankmpt, or (v) have filed a
 petitlou Ju voluntary bankruptcy, a petition or answer seeking reotganization, or an arrangement
 with creditors under the federal baukmptoy law or any other slmllar law or statute of the United
 States or any state, nor shall any such petition have been filed against Buyers.

         9.5. Closing Deliveries. Buyers shall have made the deliveries required to be madt>
  by them under Section 3.3 hereof.

    10.      RESTRICTIVE COVENANTS.
         10.1, Purchase Price Proceeds, As promptly as practicable after the C!oslng Date,
 Sellers shall, after reserving for and/or paying off Sellers' debt and other liabilities, transfer the
 net proceeds of the Purchase Price paid to Sellers and any other net cash or investmeut assets to
 the Foundation (the ''Foundatlon Funds"). The term "Foundation Funds" shall include any return
 on the investment thereof. A detailed description of Sellers' proposed use of the Purcliase Price
 proceeds and projected amon11t.ofFoundatlon Funds is set forth on Schedule l 0.1 hereto.

         10.2. Enforcement Authority; Annual Reports. For a period of ten (10) years after
 the Effective Time, Buyers shall develop and provide an annual report tQ the Foundation
 l'egarding ptogress in meeting its commitments and compllance with covenants as set forth in
 Sectious 2.4 and 11.12 through 11 .20 hereof, as applicable during such time period. S11bject to
 limltatious on remedies set forth in Section 14.21, Fouudation shall have authority to enforce, on
 behalf of Sellers, all legal and equitable rights and remedies of Sellers against Buyer pursuant to
 this Agreement.                                                            •

          10,3, Non-Compete." The Sellers hereby covenant and agree that, at all times dwing
  tbe period of ten (10) years after the Effective Time, neither the Sellers nor any of their
  respective Affiliates shall, directly or Indirectly, own, lease, manage, operate, control, or
  participate in any manner with the owneIShlp, leasing, managen:ient, operation or contl'ol of any
  business which offers healthcare services in competition with the Buyers, including but not
  limited to any acute care hospital, specialty hospital, rehabilitation facility, diagnostic imaging
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center, ambulatory or other type of surgery center, urgent care center, or physician clinic or
physician medical practice (any of such uses being referred to herein as a "Competing
Business"), within thirty-five (35) miles of any Hospital campus (the "Restricted Area''), without
Buyers' prior written consent (which Buyers may withhold in their sole and absolute discretion);
provided, however, that 110 Seller or any of theit Affiliates will be precluded from
(i) participating in community benefit activities that promote healthcare services for residents of
the communities historically served by Sellers and their Affiliates, or (il) providing financial
support to or on behalf of uninsured or underi11sured individuals in order for those it1dividuals to
access health care services (including from a Competing Business), so long as they do not
provide fin1111cial support to another .Competing Business within the Restricted Area.
                                                                                                        I
                                                                                                        '

         10,4, Non-Solicitation, The Sellers hereby ooven~nt and agree that, at all times·during
the pel'iod of five (5) ye&s after the Effective Time, neither the Seller nor any of their respective
Affiliates shall, directly or illdlrectly, recruit or solicit for hfre (other than through placing
adve11:isements or job postings in print or electronic media of general circulation) any officers 01·
executive management team members of any Buyer as listed on Schedule 10.4 ("Key
Management Personnel") or othel'wlse encourage o!' induce any such Key Management
Personnel to leave employment of Buyers, whether for business or other purposes, where such
conduct 01' actions would have a reasonable likelihood of ending, curtailing, reducillg or
lnterfedng . with the business or other relationship hetween the Buyers and such Key
Management Personnel.
         10.5. Remedies, 1n the event of Seller's breach. of this Article 10, Sellers recognlze
that monetary damages shall be inadequate to compensate Buyers and Buyers shall be enti tied,
without fue posting of a bond or sitnllar seomlty, to an injunction restrainltg such. bteaeh, with
the reasonable costs (including reasonable attorneys' fees) of securlng such injunction to be
borne by the breaching Seller or Affiliate, Nothing contained herein shall be construed as
prohibiting Buyers fl'om pursuillg any other remedy available to it for such breach 01· threatened
breach. All Parties hereto hereby aclrnowledge the necessity of protection against the
competition of Sellers and thei1' Affiliates and that the nature a11d scope of such protection u11der
tMs Article 10 has heen carefully considered by the Partiw. Sellers fatther aclmowledge a11d
agree that the covenants a11d provisions of this Article 10 form part of the con:sideration under
this Agreement and &e among the inducements for Buyers entering into and consummating the
transactions contemplated herein. The period provided, activities restricted and the area covered
are expressly represented and agreed to be fair, reasonable and necessary, The consideration
provided for hereln is deemed to be sufficient and adequate to compensate fur agreeing to the
restrictions contained in this Article 10. If, however, any court determines that the foregoing
restrictions are not reasonable, such restrk,tions shall be modified, rewritten or Jnterpreted to
include as much of their nature and scope as wlll rendel'them enforceable.
  11.       ADDITIONAL COVENANTS AND AGREEMENTS.
        11,1, Supplement to Schedules. From time to time pl'ior to the Closing Date, the
Parties shall supplement 01· amend with reasonable frequency, or promptly following the
i·easonable request of the other Party, the information contained in their respective disclosure
schedules with respect to any material matter arising after the Execution Datt', which, if existing
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or occuning on the Execution Date, would have been required to be set forth. or described in any
disclosure schedule: provided, however, that no such supplement or amendment by a Party shall
be deemed to modify its disclosure schedules for the purpose of, as the case may be, (!)
certifying the accuracy of any representation or warranty made by Sellers in this Agreement or in
the Officer's Ce1tificates under Seption 3,2(k) hereof, (ii) detei·mining whether any of the
conditions set forth ln Article 8 or Article 9 hereof have been satisfied, (iii) indellllllficatlon in
Article 13 hereof, and (iv) iJ1creasing the liabilities ot• obligations of Buyers. In the event that a
Party supplements 01· amends the information contained in one of more of its disclosure
schedules prior to Closing, the othel' Party may supplement or amend its schedules as it deems
reasonably necessmy with respect thereto (e.g., if Sellers add contracts requiring consent to their
list of Material Contracts on, or refetenced 0111 Schedule 4.19 prlOl' to Closing, Buyers may, in
their discretion, supplement or amend their list of Material Consents on Schedule 8.7 to add one
of more of such contracts).
         11.2. Termination Prior to Closing. Notwithstanding anythltlg herein to the contrary,
 this Agreement may be terminate<l at any time;
                (a)     on or prior to the Closing Date by mutual written agreem~nt of Sellers and
 Buyers;
                  (b)    on or priot to the Closing Date by Buyers following fon (10) days written
 notice, if satlsfuction of any condition to Buyers' obligations under Section 7 of this Agreement
 becomes impossible or impractical with ihe use of commercially reasonable efforts (unless the
 failure results primarily from one or more Buyers materially breaching any representation,
 warranty, or covenant herein} and such condition shall not have been waived by Buyers;

                  (c)    on or prior to the Closing Date by Sellers following ten (10) days written
 notice, if satisfaction of any condition to Sellers' obligations under Sectlcn 8 of this Agreement
 becomes impossible or hnprnctical with the use of commercially reasonable efforts (unless the
 failure results primarily from one ot more Sellers materially breaching any representation,
 wan·anty, or covenant herein) and such condition shall not have been waived by Sellers;
                   (d)    by Buyers or Sellel's if the Closing Date shall not have taken place on or
• befo)'e September 30, 2016 (which dafo m11y be extended by mutual agreement of Buyers and
  Seliers and which date may be extended by Buyers by up to ninety (90) days in the event that the
  docµmentation and approvals required by .Section 8.2 have not yet been provided); provided that
  the right to terminate this Agreement under this Section 11.2(d) shall not be available to any
  Pal'ty if fue failure of the Closing to take place by September 30, 2016 (as may be extended)
  results primarily from such Party's (or such Party's Affiliates) breach of any 1·epresentatlon,
  warranty or covenant herein;
                 (e)     by Sellers upon thirty (30) days' prior writte11 notloe if Buyel's have a
 change of control where more than fifty percent (50%) of Buyers' outstanding equity interest, o,
 substantially all of Buyers' assets, are to be transfened to a third party, but only if such thlrd
 party transferee is, or is owned 01· controlled by, a health system or health plan whose principal
 business ls operating hospitals m: health syste11.1s, provided that, ln addition to Sellers' right to
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te!'minate pursuant to this Section, Buyers shall also pay to Sellers Five Hundred Thousand
Dollars ($500,000.00), as liquated damages, to e-over the estimated costs incurred ln connection
with the Trnnsaction ("Liquidated Damages") with Buyers and Sellers aclrnowledging that the
Liquidated Damages set fotth herein are not intended to be a penalty -and have been determined
to be a reasonable and good faith estimate of the probable loss and costs suffered by Sellers if
this Agreement Is terminated by Sellers as a result of such a change of control; for the avoidance
of doubt and without limiting the generality of the foregoing, acquisition by a private equity firm
 or other investment firm of more than fifty percent (50%) of the outstanding voting equity
 lntel'est~ of Euyers, or substantially all of the assets of Buyers, shall !1Q! be considered a change
 of contt·ol triggeting Seiters' termination rights and rights to Liquidated Damages under this
Section 1l.2(e), even if such finn has investments In other health systems or health plans; or
                (f)    by Buye1·s immediately upon written notice to Sellers, if all of the
conditions to Buyers' and Seiters' obllgations to close as set forth In Article 8 ancl Article 9 have
been satisfied or waived except that Buyers, as of the Closing Date, are unable to pay, or
otherwise fail to pay, despite commerci111ly reasonable efforts to obtain financing on terms and
conditions that are acceptable to Buyers, in _their sole discretion, in accordance with
Section Z.l(a) and Section 3.3(a), in immediately available funds an amollnt equal to the
Estimated Purchase Price (a "Financing Failure"), If Buyers terminate this Agreement in
accordance with this Section 11.2(:!;) or for any other reason as a re:rult of a Financing Fi1ilt1re,
PMH shall pay to Ctozer, by no later than three (3) business days following the date of
termination, an amount equal to Three Million Dollars ($3,000,000.00) (fue "Termination
Payment"), The Termination Payment shall be secured by a letter of credit issued by City
National Bank no later than five (5) business days after the execution of this Agreement and
PMH shall take all reasonabli necessary steps to allow Crozer to draw ~pon such letter of credit
by no latex than the fourth (41 ) business day following terntination of the Agreement pursuant to
this Section 11.Z(f) if the Tenn.ination Payment has not been -previously paid by PMH,
Termination under this Section 11.2(.() and receipt of the Termination Payment shall represent
the sole and exclusive legal and/or equitable remedy available to Sellers under this Agreement,
or otherwise, with respect to or otherwise on account of a Financing Failme (which includes,
among other situations, any breach ot; inaccuracy with respect to, default under or failure to
satisfy or fulfill any covenant, obligation, representation, condition or warranty under· the
Agreem(ltlt with respect to or otherwise on account of a Financing Failure) and Buyers (including
PMH) shall be released by Sellers :from any and all claims related to such Financing Failure upon
receipt of the Tetminati.on Payment.                                              •
If this Agreement is terminated pursuant to this Section 1L2, this Agreement shall be null and
void and all rights and obligations of Sellers and Buyers hereunder shall terminate without any
liability of any Party to any other Party, except that with respect to a termination of this
Agreement under Sections 11.Z(a), (J,) or (c), nothing herein shall prevent any Party from
pursuing &ny of its legal rights or remedies that may be granted to any Party(ies) by Jaw against
the other Party(ies) to this Agreement as a result of any default by the other Party(ies) in the
observance or in the due and timely performance of such Party(ies) of any of the covenants
hei·ein contained.

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        11,3, Post-Closing Access to Information, Sellers and Buyers ackbowledge that
subsequent to Closing each Party may need access to information or documents (including but
not limited to pei·sonne1 files h1cluded in the definition of Assets above) in the control or
possession of tho other Party(les) for the purposes of, without limitation, ooncludlng the
transactions herein contemplated, audits, compliance with governmental requirements and
regulations, and the prosecution or defense of third party claims, Accordingly, Sellers and
Buyers agree that for a period of seven (7) yeai'S after Closing, each will make reasonably
available ta the othel'' s agents, independent auditors, counsel, and/or governmental agencies
upon written request and at the expense of the requesting Party such documents an4 information
as may be available relating to the Assets and the System for periods prior and subsequent to
Closing to tbe extent necessary to facilitate, without llmltation, concluding the transactions
herein contemplated, audits, compliance with governmental requirements and regulations, and
the prosecution or defense of chums,
        11.4. Pl'Cservation ,uid Access to Records after the Closing. After the Closing,
Buyers shall, in the ofdinary course of business ancl 'as required by law, keep and preserve in
their original form all Records of the System aud Assets existing as of the Closing, and which
constitute a pait of the Assets delivered to Buyers at the Closing. Buyers acknowledge that as a
result of enterh1g into this Agreement and operating the System they :will gain access to patient
and othet information which is subject to rules and regulations regarding con:fidentiality, Buyers
agree •to abide by any such rules and reguiations relating to the confidential information it
acquires, Buyers agree to maintain the Patient Recotds delivered to Buyers at Closing within the
System after Closing in accordance with applicable law (including, lf applicable,
Section 1861(v)(l)(l) of the Social Security Act (42 U,S,C. § 1395(v)(l)(i}), the privacy
requirements of the Administrative Simplification subtitle of HIPAA and applicable state
requirements with tespect to medical privacy and requil'ements of relevant insurance carriers, all
in a manner consistent with the maintenance of patient records generated within the Buyet'S'
system after Closing. Upon reasonable notice, during normal business hours, at the sole cost and
expense of Sellers and upon Buyel'S' receipt of appropriate consents and authorizations, Buyers
will afford to the representatives of SeJlel'S, including theil' counsel and accountants, full and
complete access to, and copies of, the Records transferred to Buyers at the Closing (including
access to Patient Records in respect of patients treated by Sellers within the System). Upon
reasonable notice, during norm!ll business hours and at the sole cost and expense of Sellers,
Buyers shall also make their officers and employees available to Sellers at reasonable tlmes and
places after the Closing, In addition, Sellers shall be entitled, at Sellers' sole risk, to remove any
such Patient Records from Sellers' facillties, but only for purposes of pendlng litigation
involving a patient to whom such records refor, as ce11:if1ed in writing prior to removal by
counsel retained by Sellers in connection with such litigation and only upon Buyers' l'eceipt of
appropriate consents and authorizations; provided that iftbe lltigation is brought by or on behalf
of the patient to whom the records relate, such patient shall be deemed to have consented to
dlsclosul'e and l1se in accordance with this Section, Any Patient Record so removed from the
 System shall be promptly returned to. Buyers following its use by Se!Jers. Any access to the
 System , the Recor& or Buyers' personnel granted to Sellers in this Agreement shall be upon the
 condition that any such access not materially interfere with the business operations of Buyers.

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        11.5. Ta;e and Medicare Effect. None of the ·Parties (nor such Patties' counsel ,or
accountants) has made or is making any representations to any other Party (11or such Party's
counsel or accountants) concerning any of the tax, Medicare, Medicaid or other relmbursement
effects of the transactions provided for in this Agreement as each Party hereto represents that
each has obtained, or may obtain, independent tilX, Medicare, Medicaid and reimbursement
advice with respect thereto and upon which it, if so obtained, has solely relied.
        ll.6. Reproduction of Documents. This Agreement and all documents relating
hereto, including: (a) consents, waivers and modifications which may hereafter be executed,
(b) the documents delivered at the Closing, and (c) financial stf\tements, certificates and other
information previously or hereafter furnished to Sellers or to Buyers, may, subject to the
provisions of Article 12 hereof, be reproduced by Sellers and by Buyers by any photographic,
photostatic, mlorofihn, micro,cal'd, miniature -photographic or other similar process and Selle1·s
and Buyers may destroy any original documents so reproduced. Sellers and l3uyers agree and
stipulate that any such reproduction shall be admissible in evidence as the odglnai itself in any
judicial, arbitral or administrative proceeding (whether 01· not fue original is in existence and
whether or not such reproduction was made by the Sellers or Buyers in the regular course of
 business) and that any enlargement, faoslniile 01· :fiirther reproduction of s\loh reproduction shall
likewise be admissible in evidence.
        11,'1. Cooperation on Tax Matters. Following the Closing, the Parties shall coop_erate
fully with each other and shall make available to the othe1·, as reasonably requested and at the
expense of the requesting Party, and to any taxlng authority, · all information, records or
docQ111e11ts wlating to tax llablllties or potential tax. llabiiitles of Sellers or Buyers and any
:information which may be relevant to determining the amount payable under this Agreement,
and shall preserve all such information, records and documents (to the extent a prut of the Assets
delivered to Buyers at Closing) at least until the expiration of aoy applicable statute of
limitations or extensions thereof,
        11,8. Cost Reports. As set forth in more detail in the Transition Seryices Agreement,
Sellers, at their expense, shall prepare and timely file all terminating aod other cost reports
required or permitted by law to be filed under the Medicare and Medicaid or other thJrd party
payer progi-ams and the State Health Agency for periods ending on or prior to the Effective
Time, or as a result of the consummation of the transactions· described herein ("Sellers Cost
Reports"). Buyers shall forward to Sellers any and all correspondence relating to Sellers Cost
Reports within fifteen (15) business days after receipt by Buyers. Sellers shall remit to Buyers
any receipts of funds relating to Sellers Cost Repo1ts within fifteen (15) business days after
receipt by Sellers. Buyers shall receive all rights to Sellers Cost Reports for any amounts
receivable and assume all liabilities with respect to Sellers Cost Reports for any amounts
payable, ln respect of such reports or reserves relating to such 1·eports, without limiting any of
Buyers' rights or 1·emedles hereunder. To the extent assignable and transferrable, Buyers' rights
shall include the !'ight to appeal any Medicare or Medicaid determinations relating to Sellers Cost
Reports, Sellers shall retain the originals of Sellers Cost Repotts, correspondence, work papers
and other docume1its relating to the Sellers Cost Reports. Sellers shall furnish copies of such
costrepot'l:s, correspondence, wo1·k papers and other documents to Buyers upon request.

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          11.9. Misdirected Payments, Etc, Sellers and Buyers covenant and agree to remit,
 with reasonable promptness, to the other any payments received, which payments are on or in
 l'espect of accounts ot· notes receivable owned by (or are otherwise payable to) the other
 (including any incentive payments, Meaoingful Use funds, etc,) pursuant to the terms hereof. In.
 addition, and without limitation, in the event of a determination by any. governmental or
 third-patty payor that payments to the Sellers t'esulted ln an overpayment or other determination
 that funds previously paid by ru;iy program or plan ro the Sellers n111st be repaid, Sellers shall be
 responsible for repayment of said monies (or defense of such actions) if such ove1'Payment or
 other repayment determination was for services rendered-prior to the Effective Time and Buyers
 shall be t·esponsible for repayment of said monies (or defense of such actions) if such
 overpayment or other repayment determination was for services rendered after the Effective
 Time. In the event that, following ihe Closing, Buyers suffer any offsets against reimbursement
 under any thlrd•party payor Ol' reimbursement programs due to Buyern relating to amounts owing
 under any such programs by Sellers, Sellers shall, within five (5) business days following
. demand from Buyers, pay to Buyers the amounts so bllled 01· offset. These obligations shall be
  Jn addition to any other remedies available herein.

        11.10. Employee Matters.
                (a)     As of the Closing Date, Sellers shall terminate all of their respective
employees and Buyers shall offer to hire all active employees of such Sellers who are ill good
standing as of the Effective Time (including the management team) (the "Hired Employees") in
positions and at compensation levels and health and welfal'e benefit levels substantially similar to
those being provided by Sellern as of the Closing Date, subject to the standard pre-employment
scree!ling process conducted by Buyets aud their Affiliates. For purposes of this subsection,
"active" employees shall mean those individuals on the employment rnlls who are i:eporting to
and attending work on a !'egular basis and shall also mean: (i) employees who are 011 maternity
or paternity leave and are entitled to reemployment rights under applicable law, (ii) employees
who are on leave pursuant to the Family and Medical Leave Act and are entltleq to
reemployment rights under such law, and (iii) employees who are on leave du~ to service in the
uniformed services pnrsuant to the Uniform Services Employment and Reemployment Rights
Act of 1994 and are entitled to reemployment rights under such law. An employee ln "good
standing" shall mean an employee who Seller indicates ls not suspended according to Sellers'
policies as of the Closing Date. Individuals who are not active employees due to long-term or
shott-term disability, workers compensation or other leaves of absence not mentioned hernln
shall not be an "active" employee until such time when they notify Sellet·s they are ready and
meet all requirements for rep01ting to work, at which time Sellers will notify Buyer and Buyer
then will consider them for employment as an active employee of Seller. Notwithstanding the
foregoing, Buyers reset:ve the right not to hire or contin11e the employment of aoy individual
employee for cause (j.e., with a legitimate reason with respect to such employee's job
performance or conduct) or based on staffing considerations, upon reasonable advance notice to
Sellers (if prior to the Closing) and the employee. Nothing herein shall be deemed to affect or
limit in any way normal management prerogatives of Buyers with respect to employees or to
create or grant to MY such employees fuird-party beneficiary rights or claims of any klnd 01·
nature, Within the period ofnlnety (90) days before the Closing, Sellers shall not take any action
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that would result iu WARN Act liability with respect to emplqyees of the System. With respect
to tenninations of employ<:es following the Closing, Buyers shall be responsible for any
notification required under the WARN Act. In respect of the Hired Employees, Buyers shall
provide such employees witli employee benefits as described in Schedule 11.lO(a), ptovided,
however, that for the remainder of the 2016 calendar year following the.Closing Date, the health
and welfat'e benefits levels shall be substantially similar to those benefits levels provided by
Sellers as of the Closing Date. Buyers shall recognize the existing seniority and service credit
with Sellers of all Hired Employees for benefits purposes in Buyers' retiremtlnt plans and shall
provide credit under such plans for purposes of determining eligibility and vesting and the rate of
benefit accrual (but not actual benefit accrual); provided, however, that no such credit need be
given 111 respect of any new plan commenced or participated in by l3uyers in which no prior
service credlt is given or recognized to or for other similarly-situated plan participants. In
providing benefits to Hired Employees under Buyers' welfare benefit plans; Buyers welfare
benefit plans shall waive pre-existing conditions llmitations, waiting periods, evidence of
insurability or othe1· exclusions or limitations in Buyers' welfare benefit plans which might
otherwise apply to such Hired Employees and shall recognize the existing seniority and service
credit with Sellers of all such Hired Employees to provide credit under such plans for the
purpose of deterJllining eligibility, except to the extent such Hired Employees have not satisfied
such limitations under the cwrent welfare benefit plans of Sellers or such waiver of pre-existing
conditions is requested of an insurer, but after diligent pursuit is not permitted under one or more
of Buyers' short-term ol' long-term disability plans provided through insurance contracts or
policies. Buyers shall give all Hired Employees credit for their years of service with Sellers for
the purpose of determining benefits under Buyers' vacation, sick pay and other paid-time-off
programs,
               (b)    Buyers shall give credit to all Hired Employees for their actual
accumulated and unused paid time off hours to the extent included in the calculation of Net
Working Capital. Buyers shall also give credit to all Hired Employees for their actual and
unused sick time hours for each Hired Employee. Such amounts shall not otherw\se be subject
to reduction, offset, or any other lhnitatlon under Buyers' sfok time benefits policies and
procedures. -
         11,11, Transition Services, Pursuant to the terms and conditions of the Transition
Services Agreement attached hereto as Exhibit I. following the Closing, the Buyers shall provide
Sellers with certain specified items and services as reasonably necessary ,to assist Sellers in
transitioning ownership and operation of the System and Assets and winding down operations,
aB upon reasonable and cu~tomary terms mutually agreed upon by the Parties.
        11,12, Local Advisory Board, Buyers and Sellers shall establish and appoint a local
advisory board (the "Advisozy Boru·d") to ensure ongoing, meaningfill input from local
community and physician leaders with respect to the Systetn. The Advisory Board shall be
comprised of nine (9) individuals, including local community and physician leaders, four {4) of
whom shall be appointed by Crozer' s Board of Directors subject to Bnyexs' prior approval,
whlch approval shall not be unreaso11ably withheld, and four (4) of whotn shall be appointed by
Buye1·s, with the remaining member selected by the Foundation from among its Board of

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Directol's to serve as a voting ex-officio member, The Advisory Board shfl.ll be self-pe1·petuating
with anmrnl elections conducted by the then current Advisory Board membel'S on a staggered
basis such that l'Oughly one-tbkd (1/3) of the members are subjeot to election each yea1', with the
exception of the slot for the Foundation bo!U'd member, who shall be selected and appointed by
the Foundation from time to time, p1•ovided that, at all times: (i) at least'fift:y percent (50%) of the
members shall be physicians on the active Medical Staff of one ot more of Buyers' Hospitals;
and (il) the Advisory Boal'd members shall reasonably attempt to maintain the same member
composition and representation described above, Fol' as long as Buyers own and opel'ate one or
U)ore of the Hospitals, the Advisory Board shall meet on a regular basis and have the following
responsibilities, all ofwhlch shall be advisory in nature and not binding with respect to Buyers;
(a) make recommendations and suggestions with respect to medical staff credentialing;
 (b) provide input on policies and clinical programs; (c) provide input in the development and
review of strategic plans; (d) prnvide input on operating and capital budgets; (e) provide input
 and support physician recruitment efforts; (:f) provide input on succession plans for executive
 leadership at the Hospitals; (g) promote community health initiatives; and (h) monitor the
 commitment to maintain and improve quality indicators. The initial list of Advisory Board
members (with their initial staggered temis) and the charter for the Advisory Board are attached
 as Exhibit r hereto prior to the Closing Date.
         11.13. Financial Assistance Policies, •For a period of at least five (5) years after the
Effective Time, Buyers shall: (a) adopt and maintain Sellers' charity care pollcies fo1· the
treatment and :fiuancial assistance of indigent patients of the Hospitals in accordance with
applicable law; (b) cause the Hospitals to tteat any patient presented to the emergency room who
has a medical emergency or who, in the judgment of a staff physician, has an hmnedlate
emergency need; (c) not turn away any such patient on account of age, race, gender or inability
to pay; and (d) ca\lse the Hospitals to continue to provide medically necessary services to
patients in the communities served by Sellel'S, including those unable to pay for emergent and/or
inedic&lly necessary care, subject to Sellers' charity care policies. This covenant shall be subject
in all respects to changes in governmental policy,
        11.14, Community Benefit, Education Programs and Affiliations, For as long as
Buyers own and operate one or more of the Hospitals, Buyers shall; (a) support the health and
well-being of residents in the commuu!ties served by Sellers through wellness, health education
and other community pmgrams; (b) malnta.in Sellers' graduate medical education pt·ograms in
existence as of the Closing provided that ihere are no material changes in the reimbursement or
clinical requirements for such programs; and (c) maintain a strategic alignment wiih ChesPenn
llealth Services, foe,, which operates a federally quallfied health center, in order to continue
providing critical primary care access to underserved and low socioeconomic, at-rlsk populations
in the communities served by Sellers, on commercially reasonable terms mutually agreed upo:11
by the Parties and.generally consistent with the pre-Closing rnlationship with Sellet·s.
        ll.15. Availability of Services. Buyers shall; (a) for as long as Buyers ow11 and operate
one or more of the Hospitals, \lSe commercially reasonable effo1'ts to ellSW'e that residents of
Delaw·are County, Pennsylvania have access to a full range of healthcare services including
pl'imary, secondary and tertiary care, specialty and hospital-based services, and emergency and

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urgent care facilities necessary to support the needs of the community; and (b) for a period of at
least five (5) years after the· Effeatlve Tlme, Buyers shall preserve key service lines within the
Systeni, including women's services (including obstetrics and neonatal intensive care services),
behavioral health, pediatrlcs, trauma (including burn), and emergency medicine, with a fut1her
commitment to maintain Emergency Access Points ln the communities served as of the Closing
Date. Buyers further agree to consult with the Advisory Board in advance of any significant
changes in such services listed in subsection (b) above after the five (5) year period after the
Effective Time,
        11.16, Future Sale or Closing. For a period often (10) years after the Effective Time,
Buyers shall not sell or close any of the licensed Hospitals, including any campus of a licensed
Hospital providing inpatient acute care sel'Vices as of the Effective Time, acquired as part of the
transactions contemplated hereby unless consented to by the Advisory Board and the Foundation
in advance, Notwithstanding anything herein to the contrary, the prohibition of this
Section 11.16 shall not apply to: (a) any sale or closul'e required hy a Government Entity;
(b) any merger, sale or other tranaaction that does not relate solely or principally to the Assets
purchased pursuant to this Agreement; or (c) any corporate-level transactions lnvolvlng Buyer's
stock or securities, including macl'O•level mergers, recapitalizations or reorganizations or other
changes of control of PMf[ or its parent. In the event of any transactions described in
subsections (b) and (c) above, or any other change in control of Buyers after the Effoctive Time,
any successor shall be required to comply wifu, and shall be bound by, the post-closing
covenants and other obligations of Buyers as set forth in this Agreement.
        11.17, Capital Expenditures. During the first five (5) years following the Effective
Time, Buyers shall invest, or entet· into binding commitments to invest, at least One Hundred
Million Dollars ($100,000,000.00) for routine capital needs of the System and f!ll additional One
Hundred Million Dollars ($100,000,000,00) for strntegic capital needs of the System, including
expenditutes ln connection with Sellers' current consttuction project involving an ambulatory
care center in Broomall, Pennsylvania, which project is in process as of the Execution Date and
the expenditures associated therewith are cmrently estimated to be about Twelve Million Dollars
($12,000,000,00). As used in this Section-11.17, ''capital needs" shall include new equipment,
equipment replacement, facility renovations, new facilities, medical office space, development of
new services, information systems, physician recruitment, physician practice acquisitions, and
other capital improvements, including •commitments incurred pursuant to operatlug or
capital/financing leases, or other off balance sheet financing mechanisms.       '
        11.18. Strategic Planning. As soon as possible following the Effective Time, Buyers
shall commence a strategic planning process (the "Sh:ategic Planning Pmcess"), which shall be
led by Buyers' local management team. The. Strategic Planning Process shall provide for the
evaluation of market data and projections, current and proposed regulatory environments,
operational and financial requlrements, and capital expenditures models in the markets in which
Sellers operated to best determine the use of the Buyers' invested capital pursuant to
Section 11.17. Without limiting tb.e generality of the foregoing, within twelve (12) months of the
Effective Time, as part of tb.e Strategic Plannlng Process, Buyers shall speoifioally review the
potential expanded strategic development on the Springfield Hospital campus,

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                                                                                                      i.
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        11.19. :Branding and Identity, For as long as Buyers own·and operate one or more of
the Hospitals, Hospimls and other provider organizations within the System shall retain thelt'
trade names as uti!lzed immediately pl'ior to the E:ffectlve Time, For a period of five (5) years
after Closing, Buyers, with the approval of the Advisory Board and the Foundatio11, may choose
to append to, or include in Hospitals' or System's trade name iu use immediately prior to the
Effective Time one or more ofBuyets', or Buyers Affiliates', existing corporate ot' trade names.
For a period of five (5) years after the Effective Time, Buyers shall not approve 01· adopt any
.branding plan, or materially modify any trade name usage, with respect to the Hospitals and
other provider organizations within the System without the prior approval of the Advisory Board,
as well as, in the case of branding plans, the prior approval of the Foundmion.

        11,20, Corporate Functiolls and Services. Promptly after the Effective Time, Buyers
shall provide the acquired System with full and complete corporate support from PMH and its
Affi!Jates with respect to the following: (a) comprehensive support and back office services, as
more fully descdbed in Schedule 11.20(a); (b) comprehensive physician infrastmcture and
alignment servlces, including the Coordinated Regional Care ("CRC") model; (c) expertise in
operational efficiencies; (d) inclusion in Prospect's group purchasing organization ("GPO")
arrangements; (e) programs, services and infrastructure that support the .transition and
advancement towar<ls value-based care (e.g., ACO's) and population health management; and
(f) quality and patient safety programs and infrastructure,

        11,21. Medical Staff and Physicians. As a result of the acquisition of the Assets by
Buyers, there will be no change or modification to the current staff privlleges for physicians on
the medical staff of the Hospitals who are in good standing. Buyers shall adopt the current
medical staff bylaws of the Hospitals as of the Effective Time. Buyers sha)l mainialn open
medical staffs at the Hospitals, except with respect to existing closed depattments thereof listed
on Schedule 11,21, and Buyers shall continue to work collaboratively with independent
physicians, All agreements between Sellers and physicians, inclilding employment agreements,
shall be included in the Contracts to be assigned to and w,sumed by Buyers to the extent
assignable and assumable by the terms of such contracts and under applicable law; provided
however, that Buyers may elect not to assume any of such agreements on 1·easonable notice to
Sellers prior to Closing should Buyers reasonably determine, based on Buyers' i-eview of
applicable federal 01· state laws or 1·egulations, that assumption thereof would be iu violation of
snch applicable federal or state laws or regulations. Following the Closing, Buyers shall
genetally make available to the employed and me4ical staff physicians such physician resources,
expertise, intellectual capital, entities and associated operational support functions as generally
available to Buyers' Affiliates.

       11.22. Qualify Repol'ting. Sellers shall submit all quality data required under the
Quality Programs to CMS or its agents, and all quality data required under ORYX to The Joint
Commission, for any reporting period with reporting deadlines between the date of this
Agreement and the Effective Time, If a reporting period ends prior to th.e Effective Time, but
the reporting deadline for such reporting period ends after the Effective Time, Sellel'S shall
prepare and submit the quality data for the System required under the Quality Programs and
ORYX in accordance with applicable filing deadlines and in the form and manner required by

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CMS and The Joint Commission, respectively, or, at the sole option of Buyers, S0llers shall
tr1U1smit such quality data to Buyers in a form mutually agreeable to Buyers and Sellers or allow
Buyers access to such data, to enable Buyers to submit quality data for the System required
under the Quality Programs a11d ORYX for such repo1ting period, If1he Effective Time falls
be1ween the first and last day of a repol'ting period, Sellers shall cooperate with Buyers to ensure
that all quality data required to be submitted fo1• the System under the Quality Programs and
ORYX for the portion of the reporting period during which Sellers owned the System can be
aggregated with the quality data for the portion of the reporting period during which Buyers
 owned the System, to enable Buyers and/or Selle!'ll to submit the quality data for the System
required under the Quality Programs and ORYX in accordance with applicable filing deadlines
and in the form and manner required by CMS and The Joint Commission, respectively.

         11.23, Continuation of Insurance, Except as otherwise provided in this Section 11.23,
from and after the date of this Agrnement through: (a) a date that is at least seven (7) yea1·s from
the Effective Time for claims-made policies, whethet· through the purohase of an extended
reporting endorsement/"tail" coverage or otherwise; and (b) the Effective Time for
occurrence-based policies, Sellers shall, at their sole cost and exJrnnse, maintain in effect without
material modification, all existing insurance coverage in effect as of the date hereof other than:
(i) p!'ofessional liability insurance for each of the Hospitals and Selle1·s' other institutional health
care providers in the System, as well as for all employed physicians and other' health care
profosslonal employees of Sellers for any claims related to the period priot· to the Effective Time;
and (ii) comprehensive general liability insurnnce and cybersecurlty insurance with respect to
Sellers' potential liability for any acts, omissions, events, chums or occurrences arising out of or
othe1wise related to the System, the Assets, Sellers' employees or the Sellers generally prior to
the Effective Time, all to the extent such excepted liabilities remain insured through Cassatt
and/or its Affiliates or otherwise as specified below, The insurnnce described above shall have
coverage levels equal to the levels maintained by Sellers immediately prior to Closit1g. Sellers
shall provide Buyers with at least thirty (30) dayi; pl'ior written notice of the cancellation,
reduction or termination of. any such insurance coverage. For a period of at least seven (7) years
from the Effective Time, Buye!'S, •thi-ough Cassatt and/or its Affiliates 01· otherwise, shall
maintain olaims-made policies, with coverage for "prior acts," for professional liability and
comprehensive general liability Insurance and cybersecu!'ity insurance set forth in subsections
(b)(i) and (b)(ii) above at coverage levels equal to the levels maintained by Sellel's immediately
prior to Closing.
        11,24, Cooperation on Payor Matters.. Following the Closing, the Sellers shall
oooperate with Buyers and afford Buyers the opportunity to reasonably participate in any third
parlypayor settlement and/or audit proceedings involving Sellers and/or pre-closing operation of
the System, including, wlthout limitation, matters and proceedings related to Medicare, Medicaid
and CHAMPUS!rRICARE cost reports and CMS Recovery Audit Contractor appeals or other
billing and/or compliance matters involving other audit'review agencies lllld organizations.
Sellers shall not si:ttle any claim, a1Jdit, proceeding or investigation concerning bllling and/or
compliance matters without the prior written consent of Buyers to the extent the terms of such
settlement lmpose any obligations or restrictions on Buyers.                     •


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         11.25. Section 4204 Sale of Assets. Buyers and Sellers each desire to have the
withdrawal llabillty exclusions of Section 4204 of BRISA apJJly to the sale of assets under this
                   a
Agreement. As condition of the Agreement and according to the terms. of Section 4204
ElliSA, Buyer has agreed to contribute. to the Pension Fund of Hospital and Healthcare
Employees of Philadelphia and Vicinity (1he "Pension Fll!ld") for substantially the same number
of contribution base units for which Sellers were obligated prlo1· to the Closing Date of the
Agreement. Sellers agree to be secondarily liable for any unpaid portion of withdrawal liability
to such Pension Fund that Buyer may incur. in the five year period followlng 1he Closing Date.
In the event of Sellers' distribution of assets or liquidation, then to the extent required in Section
4204(a)(3) of ElliSA, Sellers shall provide a bond or an atnount'in ·escrow equal to the present
value amount of the potential withdrawal liability owed to the Pension Fund, determined as of
the Closing Date of the Agreement. If lt should be required by the Pension Fund or otherwise
necessary in order to meet the requirements of Section 4204 ofERlSA, Buyers shall post a bond
 01· place an amount in escrow equal to the amount determined under Section· 4204(a)(l)(B) of
ElliSA or request a variance of such amoimt from the Pension Fund on or before the Closing
Date. Pursuantto the terms of this Section 11,25 of'the Agreement, the parties acknowledge that
the Pension Fund must ftrst approve any variance requests, and any bonding or esol'OW
arrangements entered into by the parties hereto, Buyers and Sellers, through their appropriate
officers and employee representatives, shall take any and all actions necessary and appropriate to
fulfill the spirit of this Section 11.25; to ensure that the requirements of BRISA Section4204 are
met; and to make certain that the sale of assets hereimder does not trigger an assessment of
 current withdrawal liability against the Sellers by the Pension Fund. These actions include, but
shall not be limited to, taking any steps necessary and appropriate to timely meet the bonding,
escrow and/or variance requirements under BRISA Section 4204 and obtaining any necessary
approvals from the Pension Fund,
       11.26, Environmental Matters. Sellers acknowledge that they al'e responsible for an
ongoing investigation and remediation of an oil discharge at the CCMC -prope1ty, which
discharge has alBo caused and continues to cause au oil discharge to Ship Creek adjacent the
CCMC property. For purposes of this Section 11.256, the prese11ce of petroleum hydrocarbons
in soil and/or groundwater at the CCMC property at such concentrations or under such
conditions as to require a responsive action under applicable Environmental Laws is hereinafter
refened to as the "Ship Creek Discharge." Sellers are conducting the investigation and
remediation of the Ship Creek Discharge in consultation with the Pennsylvania Department of
Environmental Protection ("PaDEP"), With respect to the Ship Creek Discharge, Sellers agree:
              (a)     Sellers' liability to perform an investigation and/or tetnecliation of the Ship
Creek Discharge is an Excluded Liability pursuant to Section 1.4(n):
                (b)     From and after the Closing Date, Sellers shall promptly undertake and
diligently p11rsue, at Sell_ers' sol~ cost and expense, an investigation a11d remediation of the Ship
Creek Discharge'in aooorclance with all applicable laws, including Environmental Laws, and to
obtain the cleann]l llablllty protection afforded undei- Section 501 of the Land Recycling and
E11vlronmental Remediation Standards Act ("Act 2"), 35 P,S, § 6026.501, for the Ship Creek
Discharge ln all affected environmental media, In connection with the performance of the

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 Sellers' obligations under this Section 11.26; Buyers, Sellers agree that the Sellers may
 demonstrate attainment with a remediation standard consistent with the use of the CCMC
 property for non-residential purposes in accordance with Act 2. The Sellers shall not rely on any
 activity and use limitations to attain or malntaln the cleanup standard without ,the p1ior written
 consent of Buyers, which consent shiul be atBuyets' sole discretion. Sellers shall use reasonable
 efforts to perform their obligations undet this Section 11.26 in a manner so as to mlnlmlze
 disruption to Buyers' buslness operations at the CCMC property, and (ii) coordinate with .
 Buyers, including, without limitation, providing Buyers with reasonable advance notice of
 upcoming remedial activities, so that disruptions to Buyers' business operations at the CCMC
 property are minimized.
                  (c)      Sellers shall have an ongoing duty to keep Buyers reasonably informed as
  to the progress of Sellers' perfo1-mance of their obligations under this Sectio11 11,26 and Sellers
  shall: (i) provide to Buyers a final draft of any e11vironmental teports or s11bstantive documents
  that refer or relate to the Ship Creek Discharge and provide to Buyers a meaningful opportunity
. to review and comment on such documents before they are submitted to the PabEP; (ii) consider
  Buyers' commenlll ln good faith; (Hi) provide Buyers wlth a complete copy of llllY environmental
  rep01ts or substantive documents submitted to the PaDEP, concurrently with their submittal to
  the PaDEP; and (iv) promptly provide Buyers with a complete copy of &ny correspondence
  1•eceived from the PaDEP that refers or relates to the Ship Creek Discharge or Sellers'
   performance of their obligations under this Section 11.25 ,
                (d)     Promptly following Sellers' receipt of PaDEP approval of a Final Report
 for the Ship Creek Discharge in accordance with Act 2, Sellers shall, at their sole cost and
 expense, promptly decommission, close and/or otherwise remove from the CCMC property (as
 the case may be) all monitoring wells and remedial equipment (if any) instaUed as pait of the
 investigation and/or remediation of the Ship Creek Dischai·ge in accordance with all applicable
 laws and restore the surface of the areas affected by such decommissioning, closure and/or
 removal.
                (e)    The provisions of this Section 11.25 shall survive the Closing of the
 transactions contemplated herein.
    12.      CONFIDENTIALITY,
         12.1. Confidential· Information, It is understood by the Parties hereto that the
 information, docµments, and instruments delivered to Buyers or Sellers and their agents and the
 information, documents, and instrnments delivered to Sellers by Buyers and their agents, as well
 as the terms and conditions of this Agreement, are of a confidential and proprietary nature (the
 "Confidential Information"). Each of the Parties hereto agrees that both prior and subsequent to
 the Closing it will maintain the strict confidentiality of all such Confidential Information and will
 only use such Confidential Information in connection with the negotiation of this Agreement 01·
 ill compliance with the tenus, conditions, and covenants hereof and will only disclose such
 Confidential Information to its duly authol'ized officers, members, directors, representatives, and
 agents (including consultants, attorneys, and accountants of each Party) and applicable
 Government Entities in connection with any required notification or application for approval or
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exemption therefrom. Each of the Parties hereto futiher agrees that lf the transactions
contemplated hereby are not co11summated, upon written request, it will return all such
documents and instruments and all copies thereof in its possession to the other Parties to this
Agreement. Each of the Parties hereto recognizes that any breach of this SQctlon 12.1 wollld
result ill lrreparable harm to the other Parties to this Agreement and their Affiliates and that
therefore either Sellers 01· B11yers shall be entitled to an injunction to prohibit any such breach or
anticipated breach, without the uecesslty of posting a bond, cash, or otherwise, in addition to all
of their other legal and equitable remedies. Not11ing ill this Section 12.1, however, shall prohibit
the use of suoh C,:,nfidential Information for such governmental tilings as in the opinion of
Sellers' counsel or Buyers' cquns~l are required by law. or governmental regulations_ or are
otherwise requlrl'd to be disclosed pursuant to applicable f,tate law. The Mutual Nondisolos:ure
aud Confidentiality Agree~ent, dated November 12, 2014, bet\Veen the Parties shall remain ln
full force and effoct.

        12.2. Public Announcements. No Party hereto shall prior to Closing release, publish,
01· otherwise make available to the publlc in any manner whatsoever any information or
announcement regarding the transactions herein contemplated without the pl'lor written consent
of the signatories to this Agreement, except for information and filh1gs reasonably necessary to
be directed to Government Entities to fully and lawfolly effect the· transactions herein
contemplated 01· l'equil'ed ln connection with securities and otber laws.

      13.      INDEMNJFICATION.
        13.1. Indemnification by Buyers. Subject to.the limitations set forth in Section 13.3
hereof, Buy~rs shall jointly and severally defend, indemnify and hold harmless Sellers and their
Affiliates, aud their respective officers, directors or employees (collectively, "Seller Inde=ifted
Parties"), :from and agalnst any and all claims, losses, liabilities, damages, taxes, unclaimed
property, costs (includlug coult costs and costs of appeal) and expenses (including xeasonable
attorneys' fees .and fees of expert consultants and witnesses) that such Seller Indemnified Party
incurs as a result oforwithrespectto:

                           (!)    any inaccuracy, misrepresentation or breach of a representation or
            war1·anty by Buyers under this Agreement;

                           (ii)  any breach by Buyers of, or any failnre by Buyers to perform, any
            covenant 01· agreement of, or required to be performed by, Buyers under this Agreement;_

                           (iii)any   of the Assumed Liabilities; or

                          (iv) operation of the Assets or System, as acquired by Buyers
            hereunder, on or following the Effective Time.

        13.2. Indemnification by Sellers. Subject to the limitations set forth in Section 13.3
hereof, Sellers shall jointly and severally defend, indemnify and hold harmless Buyers and their
Affiliates, and their respective officers, directors or employees (collectively, "Buyer 1ndemuifled
Parties"), from aud agalnst any and all claims, losses, liabilities, damages, taxes, unclaimed
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property, costs (including court costs and costs of appeal) and expenses (including reasonable
attorneys' fees and fees of expert consultants and witnesses) that such Buyer Indemnified Party
incurs as a result of 01· with respect to:
                     (i)     any inaccuracy, misrepresentation or breach of a representation or
       warranty by Sellers nnder this Agreement;
                     (ii)   any breach by Sellers of, or any failure by Sellers to perform, any
       covenant or agreement of, or requited to be performed by, Sellers under this Agreement;
                       (iii)any       of the Excluded Liabllities or Excluded Assets
                      (iv) the Shlp Creek Discharge or Sellers' acts or omissions while
        performing their obligations pursuantto Section l L26; or
                       (v)        operation of the System, the Assets or Sellers generally prior to the
       Effective Time,
         13.3, Limitations, Buyers and Sellers shall be Hable under ~ection 13,l(i) or
Section l3.2(i) (i.e., for inaccuracies, misrepresentations and breaches of warranties), as
applicable, only when the cumulative total of all indemnification claims exceeds Five Hundred
Thousand Dollars ($500,000,00) (the "Threshold Amount"), at which point Bnyers or Sellers, as
applicable, shall be liable for the full amount of such claims inc!t1ding the Threshold Amount
Notwithstanding anything to the conttaty herein, the indemnification obligations of Sellers with
respect to claims by Buyers arising under Section 13.2(j) and/or Section l3,2(ii), with respect to
any and all claims arising under any or all of Sections 4.11, 4.12 (only as relates to real property)
and 8.3, shall only apply when the cumulative total of any or all indemnification claims exceeds
the Threshold Amount, .at which point Sellers shall be liable for the full amount of
indemnification claims including the Threshold An1ount provided that the omnulative total of
liability arising under Section J3.2(1) and/or Section 13.2(il) with respect to any and all claims
al'lslng under any or all of Sections 4.11, 4.12 (only as relates to t·eal property) .aud 8.3 shall not
exceed, in the aggregate, the amount of Five MiJHon Dollm·s ($5,000,000.00), less any credit(s)
against the Purchase Price granted to Buyer by Seller for any Cure Estimates ("Indernnif1catlon
Cap"), For avoidance of doubt, the Threshold Amount shall only be applied once with respect to
any and all il1demnification olahns of Sellers and once with respect to any and all
indemlJiflcation claims of Buyers regardless of the natme of the underlying indemnification
claims, Notwithstanding anything to the contrary, none of the limitations contained in this
Section 13,3 shall apply to any ind()mnification claims arising under Section 13,I(i) .or
Section l3,2(i) as a tesult of the intentional misrepresentation or fraud of Buyers or Sellers,
respectively. Buyers agree that prior to asserting any claim arising under alJy or ail of
Sections 4.11, 4.12 (only as relates to real property) Md 8.3 which are in the natme of a title
claim, ·Buyers shall first file a claim and exhaust aWrights and remedies against the Title
Company under its Owners Title Policy or its Leasehold Title Policy, as applicable, Buyers
acknowledge and agree that they shall not have a claim under the warranty of title of the deeds,
which is separate and apart from the provisions and limitations of this Section 13.3.

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For avoidance of doubt, the parties acknowledge mid agree that notwithstanding anything to the
contrm'Y, there is an aggregate single monet'II)' cap of Five Million and no/100 Dollars
($5,000,000.00), being the Indemnification Cap described above, towards which Indemnification
Cap shall be counted: (A) any and all liabilities or obligations of Sdlers arising under or pursuant
to Section 13.2(1) and/or Section 13.2(ii) with 1·espect to Sections 4.11, 4.12, (only as relates to
real property) and 8.3; and (B) any and all credits provided to Buyers at Closing pursuant to
e_ither or both of Section 8,3(a). and Section 8,3(d), with 1·espect to miy •Cure Estimates.
Notwithstanding anything to the contraty, once the Indemnification Cap is re(!ched, whether as
of Closing or afterwards, and whether by payment of indemnification liabilities under
Section 13.2(i) and/01· Section 13.2(ii) with respect to Sectiona 4.11, 4. li (only as relates to real
property) and Jl.,l or by credit against the. Purchase Price pursuant to Section 8,3{a) and/or
Section 8,3(d), Sellers shall have no further liability or obligations to Buyers under
Section 13.2{1) and/at Section l3.2{ii). with respect to Sections 4. ( l, 4.12 (only as relate to real
property) and 8.3, except for claims m'.ising under Section 13.2(1) as a result of the intentional
misrepresentation or fraud of Sellers.

      · 13.4. Indemnification Procedures. All claims for indemnification by a Party entitled
to be indemnified under this Article 13 (an ''Indemni:fied Party") by Sellers or Buyer, as ihe case
may be (an "Indemnifying Party"), shall be asseited as follows:
               • (a)    Notice of Claim. If an Indemnified Party becomes aware of any breach of
this Agreement by the Indemnifying 1'arty, any olaim 01· liability asserted by a thil'd party against
an Indemnified Party or miy other basls for indelllilification under this Article 13, which equals
or exceeds ihe Th!'eshold Amount, if and as applicable, the Indemniiled Patty shall notify the
Jndetnnifying Party in writing of the smne within thirty (30) days after becoming aware of such
breach or receipt of such written assertion by a third party of a claim or liability, specifying in
detail the circumstances and facts which give rise to such alleged breach or claim and the amouo.t
or the estimated amount thereof to the extent then feasible, whlch estimate shall not be
conclusi"ve of the final amount of such breach or claim ("Claim Notice"); provided however, that
the failure to provide the Claim Notice wlll not reHeve the Indemnifying Party of liability, unless
and only to the extent that, such failure to provide the Claim Notice results in the loss of
substantive rights or defenses.                                                   •
                (b) • :Notice Period, Except as otherwise provided in Section 13.4(c) below,
the Indemnifying Party shall have thirty (30) days from the receipt of the Claim Notice (the
"Notice Period") to notify in-writing the Indenmilled Party whether or not the Indemnifying
Party (i) disputes the liability with respect to such claim 01· demand; (ii) acknowledges, assumes,
and satisfies the claim or demand by the Indemnified Patty; or (ill) with respect to claims or
obligations ass~ted by third parties, desires, at its sole cost and expense, ta defend the
Indemnified Party against such claim or demand pursuant to Section 13.4(c)·below; provided
however, that Indemnifying Party shall not-be entitled to assume the defense of the Indemnified
Party unless the Indemnifying Party agrees in writing to accept the obllgation to indemnify the
Indemnified Party, If the Indemnifying Party does not notify the Indelllllified Party within th"
Notice Period that it disputes its liabllity to the Indemnified Party, the Indemnified Party shall be

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liable for the amount of any liability described 01· estimated in the applicable Claim Notice, as
such estimates are :finally determined.

                (c)      Third l'arty Claims; Control of Litigation. Jf any claim or liability is
asserted in writing by a thil'd party against fill fudetnnlfied Pruiy which would give rise to a claim
under this A1ticle 13, which the Jndemnifying Party agrees to indemnify, the Indemnifying Patiy
shall have the right to defend suoh claim and control the defense, settlement, and prosecution of
any litigation. If the Indemnifying Pa1ty, within ten (10) days after notice of such claim, fails to
commence defense of such claim, the Indemnlfied Party shall (upon further wdtten notice to the
Indemnifying Party) have the right to undertake the defense, compromise, or settlement of such •
claim on behalf of and for the account and at the risk of the Indemnifying Party, subject to the
right of the I!ldemnifying Party to assume the defense of such claim at any time prior to
settlement, compromise, or final determination thereof. Anything ln this Section l3.4(c)
notwithstanding, (i) ifthere is a reasonable probability that a claim may materially and adversely
affect the Indemnified Party other than as a result of money damages or other money payments,
the Indemnified Party shall have the right, at lts own cost and expense, to defend, compromise,
and settle such claim, and (ii) the Indemnifying Party shall not, without the written consent of the
Indemnified Patty, settle or compromise any claim or consent to the entry of any judgment which
does not include as an llnconditional term thereof the giving by 1he claimant to the Indemnified
Party of a i·elease :from all liabillty ln respect of such claim, The foregoing tights and agreements
shall be limited to the extent of at\y requirement of any thil'd-party insurer or indemnitor. All
Parties agree to cooperate fully as necessary in the defense of such matters.

                (d)                                                        '
                         Mitigation. The Indemnified Party shall take all reasonable steps to
mitigate all liabilities and claims, including availlng itself as reasonably •directed by 1he
Indemnifying Party of any defenses, limitations, rights of contt'ibution, claims against third
pal'ties and other l'lghts at law, and shall provide such evidence and documentation of the nature
and extent of a11y liability as may be reasonably requested by the Indemnifying Party. The
amount of any indemnification hereundel' shall be reduced or reimbursed, as the oase may be, by
any amount received by the Indemnified Party under any insurance coverage or from any other
Party alleged to be responsible therefor. The Indemnilled P/ll'ty shall use reasoMble effo1ts to
collect any amounts available under such insurance coverage and from such other Party alleged
to have responsibility. If th_e Indemnified Party receives an amount under any such insurance
coverage or from such other Party subsequent to an indemnl:fication provided by the
Indemnifying Party pU!'suant to this Article 13, the Indemnified Party shall prnmptly reimburse
the Indemnifying Party for any payment made or expense incurred by the Indemnifying Patty in
connection with providing such indemnification up to such amount received by the Indemnified
Party, Each Party shall act iu a commercially reasonable manner in addressing any liabllitles that
may provide the basis for an indemui:fiable claim (that is, each Party sltall respond to such
Habillty in the same manner that it would respond to such liability in the absence of the
lndemnification provided for in this Agreement). •Any request for indemnification of specific
costs ~hall include lnvoloos and supporting documents containing reasonably detailed
Information about the costs or damages for which indemnification is being sought.



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        13.5. Exclusive Remedy; Set Off. The representations and wartanties contained in or
made pmsuf\llt to this Agreement shall be termlnated and ex.tingnished upon the eal'lie!' of the end
of the Survival Period (hereinafter defmed) or any termination· of this Agreement, Theteafter,
none of Sellers, Buyers or uny shareholder, partner, officer, dhector, ptinclpal 01· Affiliate of any
of the ptecedlng shall be subject to any liability of any nature whatsoever with respect to any
such representation or warranty. Moreover, the sole and exclusive remedy for any breach or
inaccuracy, or alleged breach or inaccuracy, of any representation and warranty ttiade by Sellers
or Buye1·s shall be tbe remedies provided by th[ij Article 13, Notwithstanding the foregoing, each
Buyer shall have the right to set off any amounts owed to it by ,my Seller under this Artlc!e 13
against any amounts owed by Buyers to. Sellers hereunder or against any other financial
obHgat!ons, oomm!tments or liabilities of Buyers hereunde1·; provided that Buyers shall first
provide wl'itten notice to Sellers of their intention to set off amo1,JJ1ts owed under this Article 13,
Notwithstanding anything to the contrary herein, Sellers sh(lll first exhaust all remedies against
Buyers (other than PMB) unde1· this Article l3 pl'ior to pursuing any action against PMH under
this Article 13 on account ofPMH's guaranty of Buyers' obligations pursuant to Section 14.24
or of any joint and several liability of PMH with other Buyers hereunder,
         13,6. Survival. All of the representatioJtS, warranties, covenants, and agreements made
 by the Parties in this Agreement or pursuant hereto ln any certificate, instrument, or document
 shall survive the consummation of the transactions described herein, and may be fully and
 completely relied upon by Sellers and Buyers, as the case may be, notwithstanding any
 investigation heretofore or hereafter made by any of them or on behalf of any of them, and shall_
 not be deemed merged into any instruments or agreements deliveted at the Closing or thereafter,
 Notwithstandillg anything in this Section 13,6 which may be to the contrary, any c1aim, demand,
 or cause of action with respect to a breach of any representation or warranty made in this
 Agreement (other than representatlpns or warranties contained in Section 4.1, Section 4.2,
 §s,ction 4,3, Section 4.12, Section S.1, Section 5.2 and Section 5,3. which shall survive
 indefinitely, and the repl'esentations or warranties contained in Section 4.8, Section 4,9,
 Section 4.13, Section 4.15, Section 4.17 and Section 4,23, which shall survive until fuur ·(4) years
 after the Effective Time), must be made or brought, if at all, within eighteen (18) months after
 the Effuctive Time, provided, however, that any claim, demand, or cause of action with respect
 to a breach of any representation or warranty made in this Agreement involving fraud or
•intentional misrepxesentation shall survive indefinitely, Notwithstandillg the foregoing, the
 representations and warranties related to the DB Pension Plan shall survive through the
 completion of the plan termination process described in Section 2.4(c) plus three (3) years. For
 the avoidance of doubt, this Section 13.6 shall not affect any rights to bring clalms after eighteen
 (18) months based on (x) any covenant 01· agreement of the Parties which contemplates
 performance after the Closing, (y) the obligations of Buyers under Section 13.l(ii),
 Section l3,1(ili) or Section 13.U!Y), or (z) the obligations of Sellers under Section 13.2(ii).
 Section 13.2(Hi). Section 13.2{lv) ot· Section 13.2(v}, The period from the date hereof until the
 laRt date on which a representation, warranty, covenant 01· other obligation sui-vives pursuant to
 this Section 13.6 shall be known as the "Survival Period."



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                                                       )
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  14.       MISCELLANEOUS.

        14.1. Schedules and Other Instruments.                 Each Schedule and •Exhibit to this
Agreement shall be considered a patt hereof as if set forth herein in full,
      14.2. Additional Assurances. The provisions of this Agreement shall be self.operative
and shall not requlre further agreement by the Parties except as may be herein specifjcally
provided to the contrary; provided, howevet', at the request of a Party, the other Party or Parties
shall execute such additional instruments and take such additional actions as the requesting Party
may deem necessru.-y to effootuate this Agreement, ln addition and from time to time after
Closing, Sellers shall execute and deliver such other instruments of conveyance-and transfer, and
take such othel' actions as Buyers reasonably may request, more effectively to convey and
transfer full right, title, and interest to, vest in, and place Buyers in legal and actual possession o:l;
any and icill.ofthe Assets and the System. Sellet'S shall also furnish Buyers with such information
and documents ln their possession or under theil' contl'ol, 01· which Sellers cau execute or cause to
be executed, as will enable Buyers to prosecute any and all petitlons, applications, claims, and
demands relating to or constituting a part of the Assets or the System, Additiona1ly, Sellers shall
cooperate and use theil' best efforts to have their present directors, officers, and employees
cooperate with Buyers on and after Closing in furnishing lnfotmatlon, evidence, testimony, and
other assistance in connection with any action, proceedlng, arrangement, or dispute of any nature
with respect to matters pertaining to all periods prior to Closing ln respect of the items subject to
this Agreement.
        14,3, Consented Assignment.             Anything contained herein to the contrary
notwithstanding, this Agreement shall not constitute an agreement to assign any claim, right,
contract, license, lease, commitment, sales order, or purchase order lf an attempted assignment
thereof without the coJJSent of the other Party thereto would constitute a breach thereof or in any
material way affect the rights of any Seller thereunder, unless such consent is obtained, Each
Seller aud Buyer shall use reasonable efforts to obtain any third party consents to the transactions
contemplated by this Agreement.
       14.4. • Consents, Approvals and Discretio11, Except as herein expressly provided to
the contrary, whenever this Agreement requires any consent or approval to be given by a Party,
or wheneve1· a Party must or may exercise discretion, the Parties agree that such consent or
approval shall not be unreasonably withheld or delayed and such discretion shall be reasonably
exercised.
        14.5. . Knowledge,
              (a)     The phrase "to the.knowledge of Sellers" and similar reforenoes to Sellers'
knowledge, as tLsed in this Agreement, shall encompass (i) all matters with respect to which any
Seller has received written notice (including by electronic transmission), (ii) the actual
knowledge of each Seller's officers and senior mauagement, after due inquiry, and (iii) the actual
knowledge of those persons listed on Schedule 14,S{a) hereto,


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              (b)     The phrase "to the knowledge of Buyers" and slmilar 1•eferenoes to
Buyers' knowledge, as 11sed in this Agreement, shall encompass (i) all matters wlth respect to
which any Buyers has received written notice (including by electronic transmission), (ii) the
actual knowledge of each Buyer's officers and senior management, after d11e inquiry, and (iii) the
actual knowledge of those persons listed on SchedJJle 14.S(b1 hereto.

        14,6, Choice of Law. The Parties agree that this Agreement shall be governed by and
construed in accordance with the laws of the Commonweal1h of Pennsylvan:la without regard to
conflict of laws principles. Exclusive venue for any dispute wising out of thls Agreement shall
be the state or federal courts of the Commonwea11h of Pennsylvanla,                            •

        14.7, Benefil/Assignment. Subject to provisions herein to the contrary, this Agreement
shall inure to the benefit of and be binding upon the Parties hel'eto and thelr respective legal
l'epresentatives, successors, and assigns. No Party may transfer or assign (via sale, change of
control of a Party, asset or stock purchase, operation of law or other method) this Agreement
without the prior written consent of the other Parties.

        14.8, No Brokerage, Except as set forth on Schedule 14.8, Buyers and Sellers each
represent and warrant to 1he other that such Parties have not engaged a broker ill connection with
the transactions described herein. Each Party agrees to be sCtlely liable for and obligated to
satisfy and discharge all !oss, cost, dmnage, or expense at/sing out of claims for fees 01·
commissions ofbrokers employed or alleged to have been employed by such Party. '

        14.9. Cost of Transaction. Except as otherwise specified herein, illcluding Section 6.5
and Section 7.2, whether or not the transactions contemplated hereby shall be consummated, the
Parties agree as follows: (i) Sellers shall pay the fees, expenses, and disbursements of Sellers
and their agents, representatives, accountants, and legal counsel incurred in connection with the
subject matter hereof and any amendments hereto; (ii) Buyers shall pay the fees, expenses, and
disbursements of Buyers and their agents, representatives, acco®tants and legal counsel incurred
ln oo!ll1ection with the subject matter hcreof and any amendments hereto; and (iii) Sellers and
Buyers shall each pay one-half (1/2) of any applicable real estate transfer taxes, sales taxes and
other state and local taxes J11cu11ed on account of the transfe1• of Assets hereunder, and Buyets
shall pay state and local recording fees and similar oosts with respect to the transactions
contemplated by this Agreement.

       14.10, Waiver of Brea~h. The waiver by any Party of a bre!lch or violation of any
ptovisian of this Agreement shall not pperate as, or be construed to constitute, a waiver of any
subsequent breach of the smne or any other provision hereof.




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        14.11. Notice, Any notice, demand, 01· communication requil'ed, permitted, or desired to
be given hereunder shall be deemed effectively given when person&lly delivered, when received
by t'eoeipted overnight delivery, or five (5) days after being deposited in the Unlted States mail,
with postage prepaid thereon, ce1tlfied or registered mail, return receipt requested, addressed as
follows:
Sellers:

Prior to the Effective Time:                      After the Effective Time:

Crozer-Keystone Health System                     Sellers will provide prior to Closing
Healthplex Pavilion II
100 Sproul Road
Springfield, Pennsylvania 19064
Attention: Joan K Richards
President and CEO

And

Crozer-Keystone Health System
Healthplex Pavilion II
I 00 Sproul Road
Springfield, Pennsylvania 19064
Attention: Donald Legreld, Esquire
Vice Ptesident and General Counsel

 With a simultaneous copy to;                      Buchanan Ingersoll & Rooney, P.C.
                                                   Two Llberty Place
                                                   50 8. 16th Street, Suite 3200
                                                   Philadelphia, Pennsylvania 19102-2555
                                                   Attention: John R. Washlick, Esquire
Buyers:

 Prospect Medical Holdings, Inc;
 1.0780 Santa Monica Blvd., Suite 400
•Los Angeles, California 90025
 Attention: Ellen J. Shin, Esquire
 General Counsel

 With a simultaneous copy to:                        Stevens & Lee, P.C,
                                                     620 Freedom Business Center Drive, Suite 200
                                                     King of Prussia, Pellllsylvania 19406
                                                     Attention: Thomas M. Tammany, Esquire


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                                                                                                           I

or to such other address, and to the attention of such other person or officer as any Party may
designate, with copies thereof to the respective counsel thereof as notified by such Party.

        14.12. Severabllity. ·In the event any provision of this Agreement is held to be lnvalid,
illegal or unenforceable for any reason and ln any respoot, such invalidity, illegality, 01·
unenfol'Ceabillty shall in no eve11t affect, prejudice, or d!stutb the validity of the remainder of this
Agi:eement, whloh shall be and remain in full force and effect, enforceable in accordance with its
terms.
       14.13. Interpretatio·n. As used in this Agreement, and unless the contelrt requires
otherwise:

                (a)     Refotences to A1ticles and Sootions are references to articles and sections
of this Agreement;

                (b)    The terms "hereto", "herewith", "he1dn", "hereby", "hereunder" and
derivative or similar words refer to this entire Agreement;

                (c)    References to "include" or "including" mean Jncluding but not limited to
or including without limitation;

             (d)     Bach Exhlblt and Schedule is incorporated in and made a part of this
Agreement by reference;

               (e)   The gender of all words herein include the masculine, feminine, and
neuter, and the number of all words herein include the singular and plural; and

               (I)      The terms "will" and "shall" are used interchangeably in this Agreement
and the use of eitlier term requires mandatory performance by the respective Party unless the
context clearly states otherwise.

       14.14. Divisions and Headings. The divisions of this Agreement into sections and
subsections and the use of captions and headings in connection therewith are solely for
convenience and shall have no legal effect in construing the provisions of this Agreement.

        14.15, Risi, of Loss. Notwithstanding any other p1·ovision hereof to the contrary, the
risk of loss in respect o:f casualty to the System or any of the Assets shall be borne by Sellers
prior to the Effective Time and by Bnyers thereafter.

       14,16, Affiliates. As used in this Agreement, the term "Affiliate" means, as to the entity
in question, any entity that directly or indirectly controls, is controlled by or is under common
control with, the entity in question, As used ln this definition, the term "control" means
possession, directly or indirectly, of the power to direct or cause the direction ofthe management
and policies of an entity, yihether through ownership of voting securities, membership interests,
by contract or otherwise.


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       14.17. Material Adverse JJ;ffect, . As used in this Agreement, the term "Material
Adverse Effect" means lU1 event, change or circumstance which, individually or together with
any other event, change or ch'cumstance would be -reasonably expected to have a materlal
adverse effect on the Assets (whether or not covered by insurance) 01· on the business,
operations, results of operations, prospects, 01· oondlt!on (financial or otherwise) of the Hospitals,
the business of, ot' the results of operations of, the System or the Sellers, but excluding any event,
change or circumstance attributable to: (i) general economic or political conditions; (il) either
Pruty's discussions or negotiations 1'egarding any' collective bargaining agl·eement or flllY demand
or reguest for recognition of any labor organization; (iii) any action required or pe1mitted by this
Agreement or any action taken (or omitted to be taken) with the written consent of or at the
written request of Buyers; or (iv) the acts or omissions of Buyers,
       14.18. AccoMting Date. The transactions contemplated hereby shall be effective for
accounting purposes as of 12:00;0l a.m,, Eastern Time, on the first calendar day of the month
immediately following the Closing Date, unless otherwise agreed to in writing by Sellers and
Buyers, &11 in accordance with Section 3. J.
        14.19. No Inferences, Inasmuch as this Agreement is the result of negotiations between
sophisticated pa1ties of equal bargaining power represented by counsel, no inference in favor of,
or against, either Party shall be drawn from the fact that any·pmtion of this Agreement has been
drafted by or on behiilf of such Party,
        14,20, No Third Party Beneficial'ies, Except as otherwise provided in Section 14,21 of
this Agreement, the terms and provisions of this Agreement are intended solely for the benefit of
Buyel's, Sellern and their respective permitted successors or assigns, and it is not the intention of
the Parties to confer, and this Agreement shall not confer, third-party beneficiary rights upon any
other person or entity,
        14.21. Enforcement of Agreement, The Parties hereto agree that irreparable damage
would occur in the event that any provision of this Agreement is not perfonned in accordance
with its specific terms or is otherwise breached. It is accol'dingly agreed that the Parties shall be
entitled to an injunction or injunctions (without the need to post bond or other security) to
prevent breaches of this Agreement and to enforce specifically the terms and _provisions hereof in
any court of competent jurisdiction, this being in addition to any other l'emedy to which they are
entitled at law or in equity. Without in any way limiting the remedies prescribed to the Parties
unde1· this Section 14.21, and for purposes of clarification, the Parties agree and acknowledge
that; while not a Party to this Agreement, the Foundation shall be entitled to an injunction 01·
injunctions and any other such remedies to which the Parties are entitled at law or in equity, but
only to prevent breaches of this Agreement and to enforce specifica\ly the terms and provisions
hereof.
       14,22, Force Majeure. Whenever a period of time ls prescribed herein for action to be
taken by either Seiters or Buyers, neither shall be liable or responsible for, and thel'e shall be
excluded from the computation for any period of time, any delays due to strikes, riots, acts of
God, shortages of labor 01· materials; Wat', governmental laws, regulations or restrictions, or any

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 other cause of any kind whatsoever which is beyond the reasonable control of either Sellers 01·
 Buyers, as the case may be,

         14.23, Entire Agreeme11t/Amendment. This Agreement supersedes all previollS
 contl·acts or understandings, i11cluding any offers, lett<::rs of intent, proposals m· letters of
 understanding, and constitutes the entire agreement of whatsoever kind or nature existing
 between. or among the Parties respecting the within subject matter, except with respect to that
 certain side letter (the "Side Letter") signed by the Parties of even date herewith pennitting the
 completion of certain Schedules within a specified tl1ne period after the Execution Date and
 which shall be considered part of this Agreement. As between or among the Parties, no oral
 statements or prior written material not specif1cally incorporated herein shall be of any force ancl
 effect. The Parties specifically acknowledge that in entering into and executing this Agreement,
 the Parties rely solely upon the representations 1111d agreements contained in fuiB Agreement and
 no others and no Party shall be entitled to benefits other than those specified herein. All prior
 representations or agreements, whether. written or verbal, not expressly incorporated herein are
 superseded, and no changes in or additions to this Agreement shall be recognized unless and
 until made in writing and signed by all Parties hereto. Notwithstanding anything to the contrary
 herein, on or pl'ior to the Closlng Date, Buyers shall be permitted to update, supplement, correct
 and/or revise Exhibit B from time to time upon notice to Sellers,

         14.24, PMH Guarnnfy. PMH hereby unconditionally and absolutely gQarantees the
 timely perfonnance and observat[qn of Buyers for each and every obligation, covenant and
 agreement ofBuyers arising out of, connected wi1h, or related to, this Agreement or any ancillat-y
 documents hereto and any extension, renewal and/or modification thereof. The obligation of
 PMH under this Section 14.24 is a continuing guaranty and shall remaill in effect, and the
 obligations of PMH shall not be affucted, modified or impaired upon the happening from time to
 time of any of the following events, whether or not wl1h notice to or consent of PMH:

              (a)     The compromise, settlement, rnlease, change, modification, amendment
 (except to the extent of such comprqmise, settlement· release, change, modification or
 amendment) of any or all of the obligations, duties, covenants, 01' agreements of any Buyer under
 this Agreement or any a11cillary documents hereto; or

                (b)    Th11 extension of the time for performance of payment of money pmsuant
 to this Agreement, or of the time :(or performance of any ot'he1· obligations, cov!lnants or
 agreements under ot· arising out of this Agreement or any ancillary do(mments hereto or the
 extension or the renewal thereof,

        14.25. Co1mtcl'palis, This Agreement may be executed in two or more counterparts,
. which may be delivered by facsimile or electronic transmission, each and all of which shall be
  deemed an original and all of which together shall constitute but one and the same instrument.

        •14.26. Municipal Resale Certificates. To the extent required by applicable law, at
 Closlng, Sellers, at Sellers' expense, shall deliver to Buyers any l'esale or similar cettification
 required by any municipality in connection with the sate and transfer of the Owned Real
 Property, To the extent n,quired by applicable
                                        ,         law and to the extent issued by, the m11nicipality
                                                 74
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in which an Owned Real Property is located, at Closing, Sellers, at Sellers' expense, shull deliver
to Buyers, a certification from the municipality in which the Owned Real Property is located as
to outstanding notices of violations of any appllcable laws, statutes, ordinances, and codes of
such municipality. Sellers shall be solely responsible for co11·ecting, pl'im to Closing, any
violations identified by Buyer on any such certifications. Notwithstanding the foregoing, if
Sellers' aggregate reasonable expenses associated with satisfying the requirements of this
Section 14.26 ate J'easonably expected to exceed Five Million Dollars ($5,000,000.00) (the
"Code Violation Cure Amount'), then Sellers shall provide written notice thereof, including a
description of such expenses, to Buyers and either Sellers or BuyeJ'S may terminate this
Agreement upon written notice to the other, which termination right must be exercised, if at all,
within ten (10) business days of Sellers' expense notice to Buyers, unless prior to the expiration
of such ten (10) business day period, Sellel'S •agree, by written notice to .Buyers, to assume
responsibility for payment of the Code Violation Cure Amount to satisfy the requirements of this
 Section 14.Z6, at which point Buyers shall no longer have a right to terminate this Agreement.

                                    [Signature page follows)




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     EXHIBIT C
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                                                                                   i
                                                                Page 1

   1                      IN THE MATTER OF THE ACQUISITION OF
   2

   3                        CROZER-KEYSTONE HEALTH SYSTEM
   4

                                           BY
   5

   6                        PROSPECT MEDICAL HOLDINGS, INC.
   7

   8

   9

                                Wednesday, May 4, 2016
  10

  11
  12
  13            Hearing, held pursuant to notice, at the James E.
  14      Clark Education Center Auditorium, Crozer-Keystone Health
  15      System, One Medical Center Boulevard, Upland, Pennsylvania
  16      19013, at 3:00 p.m. on the above date, before Charlotte F.
  17      Marshall, a Court Reporter and Notary Public, in and for
  18      the Commonwealth of Pennsylvania.
  19

  20

  21
  22

  23

  24

                                   Veritext Legal Solutions
       www.veritext.com                                             888-391-3376
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                                                                                Page2                                                          Page4
              I                                                                                      MS. FINGERHUT: Good &ftemoon. Tliank
              2
              3 APPEARANCES:                                                             2 you al\ for coming today. Thank you for taking the time
              4                                                                          3 to come provide testimony or to listen to the
              5       OFFICE OF ATTORNEY GENERAL OP PENNSYLVANlA
                      BY; PAMELA S, FINGERHUT, DEPUTY ATTORNEY GENERAL                   4 infomrntion being provided.
              6       Chnritable Trnsts & Orgnniti!.tkins Section                        5           The purpose of this hearing is to g[ve
                      21 S011th 12th Street, 3rd Floor
              7       Phllo.delphla, PA 19107                                            6 the citizens of Delaware County the chance to bring to
                      215.560.2757                                                       7 our attention any concerns they may have about the
              8       pfingerhut@aLtorneygenern!.gov
                      Representing the CotnmCJmvealth of Pemuy!vauia
                                                                                         8 sale of the healthcare assets ofCrozer-Keystone
              9                                                                           9 Health System. to Prospect Healthcare.
             lO
                                                                                         lO           Your input .fa important to us because
             1l       BUCHANAN INGERSOLL ROONEY, P.C.
                      .BY; CATHLIN E. SULLIVAN, ESQUlRE                                  11 it helps us represent the public's interests in the
             12       Two Liberty Plm:e
                                                                                         12 charitable assets held and represented by
                      50 South 16th Street, Suite 3200
             13       Philndelphin, PA 19102                                             13 Crozer~Keystone Health System,
                      215.665.5324                                                       14           My name is Pamela Fingerhut. I arn a
             14       cathlin.uullivm@bipc.cQm
                      Representing- Crozer-Keys!ont Health System                        15 deputy attorney general in. the Charitable Trusts &

             "
             16
             17       ST8VDNS & LEE
                                                                                         16 Organization Section of the Philadelphia Office of
                                                                                         17 Attorney General. r nm here today with Larry Barth,
                      BY: HARRIETFRANKLIN,ESQUIRE                                        18 who is a senior deputy attorney general, and senior
             18       620 Freedom Business Center, Suite 200
                      King of Prussia, PA 19406
                                                                                         19 deputy attorhey general Mary Penny, who is outside
             19       610.205,60!4                                                       20 with the sign-in sheets,
                      hf@steveuslee.com
                                                                                         21            If anyone would like to make a
             20       Representing Pro~pect Medical Holdings, Inc.
             21                                                                          22 statement who is not signed in yet, 1 would ask that
             22
                                                                                         23 you go back -- and we will be br1nging, o\so, the
             23
             24                                                                          24 sign--in sheets in, but if anybody wants to make a
                                                                                Page 3                                                             Pages
                  I                                                                       I statement, if they go back and sign in. Actually,
                  2                INDEX                                                  2 there's Mary Penny right there; she has the sign-in
                  3                                                                       3 sheets.
                  4 STATEMENT OF:                              PAGE                       4           The Office of Attorney General has
                  5 Pamela S. Fingerhut, Deputy Attorney General                          5 traditionally beell charged with the parens patl'iae
                    CJtatitable Trusts & Organizations Section                            6 responsibility for public charities in the State of
                  6                                                                       7 Pennsylvania. That means, the attorney general
                  7 Joan Richards, President and CEO, CKHS              8                 8 represents the public's interests in charitable
                  8 Thomas Reardon, President of Prospect East         t2
                                                                                          9 assets.
                  9 Mitchell Lew, M.D., Prospect Medical .Holdi.ngs, lnc. 50
                                                                                         10           Specifically, in cases such as this,
              10                ---                                                      11 where Crozer-Keystone Health Systemt a non-profit
              11 TESTIMONY OF:                                         PAGE
                                                                                         12 cha1itable healthcare corporation, sells its
              12 Dr, Christine Donohue-Henry                             21
                                                                                         13 healthcare assets to a for-profit corpOl'ation such as
              13 Dr. Kevin Caputo                                    23
                                                                                         14 Prospect, the Office of Attorney General must review
              14 Dr, Nathan Okech\lkwu                                  27
                                                                                         15 the sale of transactions to determine whether:
              15 Dr. Daniel DuPont                                   30
                                                                      33
                                                                                         16           Full and fair value is being paid by
              16 Les1ieHeygood,R..N.
              I? Kim Drounce, R.N.                                    35                 17 the pmchaser for the charitable assets represented by
              18 Amy Cullinan, R.N.                                   36                 18 the hospital.
              19 Gail M. Whitaker, Esquire                              39               19           Thehospital1s records of all their
              20 Mayor Thaddeus Kirkland                                   42            20 fiduciary responsibilities and exercise due diligence
              21 Mayor Michael Cia.ch                                  46                21 in reaching their decision to approve the sale of the
              22 Ms. Annette Pyatt                                   47                  22 hospital. This includes an assessment of the sale to
....I         23 Mr. Kenllelh Covert                                  48                 23 arm's length and free of self-dealing.
              24                                                                         24           The sale is free of private inurement.

                                                                                                                                    2 (Pages 2 - 5)
                                                                       Veritext Legat Solutions
             www. veritext.corn                                                                                                      888-391-3376
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                                                            Page6                                                         Page 8
       1 In other words, we must review the trunsaction and           l the transaction. Itmnedfote1y following the overview3
       2 ensure fb.e sale did not involve promises of private         2 we will call o,1r first public speaker.
       3 be11efits to employees or directors in exchange for          3            If there are no queslions, I will call
       4 their approval of the sale.                                  4 our first speaker, Joan RichardsJ President and CEO of
       5            Specifically, our revie,w will focus on           5 Crozer~ Keystone Health System.
       6 special opttons, perks, bonuses, contracts for wo1·k,        6            MS. RJCHARDS: Thartkyou. Good
       7 post~sale emptayment contracts, corporate loans,             7 afternoon, everyone, l'd like to begin by e}l..'"Pfessing
       8 golden parachutes, high salaries or severance                8 our thanks to the members of the Attorney General's
       9 packages, and other related party tmtJsactions.              9 Office and to members of the health system community and
      10            Also, we examine whethel' or not the             10 our community at large, who have shown their interest in
      11 sale negatively impacts the availability ofhcaltl1oare      11 the future ofCrozer-Keystone Health System by attending
      12 in the Delaware County area and the Phil.arlelphfa          12 today,
      13 region.                                                     13            Crozer--Keystone has been serving the
      14            We also review all restricted                    14 healthcare needs of the people ofDe!awru:e County for
      15 charitable funds so that they remain segregated and         15 more than a b\Jndred years. Our roots go back to
      16 dedicated to the resh'icted charitable -purposes,           16 Cl;ester Hospital, founded in 1893; Crozer Hospital,
      17            The law also requires that' the selling          17 fo1mded i:n 1902; and Delaware County Memorial
      18 nonprofit organization in this casG, Crozer~Keystone        18 Hospital, founded in 1927.
      19 Health System. petition the Orphads Comt Division of        19            Today we have grown into a system of
      20 the Delaware County Court of Comm.on Pleas and seek         20 four acute-care hospitals, multiple outpatient
      21 approval of the sale of its assets.                         21 centers, and a 1a.rge physician network. Not only are
      22            In such a proceeding before the                  22 we the lurgest healthcare provider in Delaware County,
      23 Orphan's Court, which will occur in the near future 1       23 we are the county's largest employer, providing good
      24 it will be the Court's duty to make sure that the           24 jobs for more than 6,000 area. residents.
                                                             Page?                                                         Page9
       l charitabfo assets will be used for healthcare purposes                    We are proud of our health system, its
       2 consistent with the purposes for which they were given        2 rich history, and its tradition of servlCe to the
       3 to the hospifal and are consistent with the prior             3 community. But,ve have also had to come to grips with
       4 hospital's charitable mission,                                4 the stark reality of today's healthcare environment,
       5           The Office of Attorney General, having              5           Healthcare is chartging rapidly and
       6 reviewed the transaction, will then advise the Court          6 radically, TI1e impact on not-for-profit health
       7 as to whether or not they object to the transaction.          7 systems like Crozer-Keystone has been profou11d.
       S           Does anybody in the audience have any               8 Costs, such as pharmaceuticals, have gone up; payment
       9 questions with regard to the role of the Office of            9 for services by insurance companies and government
      10 Attorney General or the purpose of this hearing prior       10 agencies ha.'i gone down. The use of emergency
      11 to the beginning of the testimony?                          11 depnrtme11ts has increased, while inpatient volumes
      12           All dght. If not, I'd like to                     12 have declined.
      13 .inh·oduce some of the parties that are present today.      13            Crozer-Keystone Health System, like
      14           Today we have~- thank you~ today we               14 othet hospitals and health systems across the UnHed
      15 have here from Crozer~Keystone Health System,               15 States, have been caught in a difficult squeeze. "\Ve
      16 President and CEO, Joan Richards; and on behalf of          16 :had to ask ourselves, could we continue to go it
      17 Prospect Healthcare, we have Dr. Mitchell Lew,              l 7 alone? Could we meet our commuuity1s health needs
      18 President of Prospect Medical Holdings, Inc.; Thomas        18 while we stmggled under severe financial pressure?
      19 Reardon, President of Prospect East; and Jonathon           19            In 2014 1 our board decided that it was
      20 Spees, Senior Vice President for Mergers and                20 time to search for a partner that would enable us to
      21 Acquisitions. We also have counsel for both parties         21 thrlve in the new 1,ealth care environment and deliver
      22 present here today.                                         22 on our promise to the people of Delaware County, We
      23           We are going to proceed by having the             23 established firm criteria for such a partnership. We
      24 parties provide an overview of the material terms of        24 simply would not consider a change unless we could be

                                                                                                              3 (Pages 6 - 9)
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                                                          Page lO                                                           Puge 12
      1 sure it would position us to meet our community's             1 see that mission thro-ugh with more resources, more
      2 healthcare needs.                                             2 wherewithal, aod justice in our commitment to the
      3            Our search was exliaustive, We looked              3 health of the people of Delaware County.
      4 at more than four dozen organizations. Our full board         4            In short, we believe that this
      5 met 15 times during this process, and our Board               5 fra11saction is the best thing that could happen fo.r
      6 Strategy Committee met 33 times before Cl'()zer~Keystone      6 our health system, our employees, our patients 1 and
      7 identified Prospect Medical Holdings as the dght              7 the Delaware County community. Thank you very much.
       8 partner for us,                                              8            MS. FINGERJ-ll)T: 111ank you, Ms. Richards.
      9            We are very excited abo,tt this                    9            Our next speaker is Tom Reardon, who is
     10 transaction, pati1y because of the number of things          10 President of Prospect East.
     11 that will not change as a result. None of the                11            l\1R. REARDON: Good nftemoon, everybody.
     12 hospitals will be closed or sold; the names of our           12 Again, I am Tom. Reardon. I'm the President of Prospect
     l 3 hospitals, outpatient centers, and the physician            13 East.
     14 nelwork will remain, Key service lines with the              14            rm actually from the Boston area. My
     15 rnles, services) obstetrics, neonatal intensive ca.re        15 colleague to the right, Mitchell Lew, is from Los
     16 services, behavioral health, pediatrics, trauma and          16 Angeles, as is John S_pees.
     17 burn, and emergency medicine will stay in place.             17             And I want to thank not only the
     l8            Our employees will keep their jobs at             l8 Attorney General 1s Office for all of the hard work
     19 the same salary they earn today. Our charity-care            19 they've done, but all of you for coming here today.
     20 policies, weliness, health education, community, and         20 We believe that all healthcare is local. And so as
     21 medfoa\ education µrogrnms will continue. We wiU             21 much as -we would like to be part of this community,
     22 continue to prov.Me key services to vub1erable               22 we'll never know the community as well as you do, and
     23 populations extending community benefits and                 23 so we value your input.
     24 supporting medical education.                                24             I am going to do something 1-- l don1t
                                                           Page 11                                                            rage 13
       1            We wiH have ft{lcess to a valueMbased1            1 nonnally do, whlc11 is I'm going to read a statement.
       2 accountable care -infrastmcture and capabilities that        2 This has to go on the record, so I apologize in
       3 will l1elp Crozer-Keystone fmther develop populatiol\        3 advance fo1• that.
       4 health munagemen1 capabilities.                              4             As you know, or as many of you know,
       5            There will be a meaningful role in                5 Prospect signed a definitive agreement with
       6 governance for local community representatives, At           6 Crozer-Keystone Health System ou Jrmuary 8th, 2016,
       7 the same time, the transaction with Prospect will            7 whereby t\1e Crozer~Keystone hospitals, physician
       8 bring important new benefits to the community.               8 network, and other facilities ru1d operations will
       9            Prospect wtll make at least a $200                9 beconie part of Prospect's healthcare network.
      10 million investment In capital over the next five            10             By way of background, Prospect was
      11 yeal's, allowing us to make needed facility and             11 est11.blisl1ed in 1996 and is a growing healthcare
      12 equipment improvements. Prospect will assume the            12 services company offering a unique and innovative
      13 liabilities) including ensuring that cunent and past        13 healthcare delivery model known as Coordinated
      14 employees get the foil benefit of their pension plan;       14 Regional Care, or CRC, which focuses on cool'dination
      15 growth and leadership opportunities for employees will      15 of care and population health management with a
      16 expandi and anew foundation, the Crozer~Keystone            16 specific emphasis on wellness and preventative care.
      I 7 Community Foundafion1 will receive the net proceeds of     17             The CRC model helps coordinate q_uality
      18 the sale with the mission to supp01t health, social,        IS personalized care for patients through integrated
      19 and educational needs of our community.                     19 netwo1'ks, primary and specialty physicians in
      20             Cl·ozer-Keystone exists to fulfill its          20 affiliation with hospitals, clinics, other
      21 mission to iinprove the health status of those we           21 community~based providers, and h~lth plans.
      22 serve, 111is transaction supports continued dedication      22             Above all, we at Prospect ure committed
      23 to that mission. Thtough our partnership with               23 to quality in all aspects of healthcare delive1y,
      24 Prospect Medical Holdings, we will be in a position to      24 including:

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                                                                 Page 14                                                        PfJge !6
                    S1riving for the best possible patient                 1 management, furthering cHoicul and economic alignment
       2 outcomes; maintaining the highest standards of patient            2 with physicians, and improvhtg physician access.
       3 safety; acting with integrity at nH times; promoting              3          6. Growing 11ealthcare service
       4 open c01nrn.utllcati011; and collaborating to better serve        4 offerings in the community.
       5 the l1eaJthcare needs of our communities.                         5           7. Furthering value-based1 accountable
       6            Prospect current!y owns and operates 14                  6 care infrastructure and capabilities -- that's the
       7 hospitals witt1 roughly 7500 licensed beds as well as               7 population management that we do so well.
       8 40 clinics atld outpatient centers. Prospect .also                  8           r think this is numb-er eight.
       9 manages a pmvision ofl1ealthcare services for over                  9            8. Recognizing tfo~ union relattonships
      10 300,000 members enrolled in its networks of over 8900             l 0 that exist with Crozer. We believe lrnving highly
      11 primary care and specialty physicians.                            1 ! skilled, satisfied, and motivated employees is a
      12            Our operations are located in diverse,                 12 cmcinl factor in the delivery of quality healthcare.
      13 high~density pop·ulaHon areas within five mal'kets 111            13 We wilt look forward 10 worldng together to achieve
      14 California., Texas, Rhode Island. and most recently in            14 mutual goals to that regard.
      15 New Jersey. In addition to our Crozer transaction,                15             And t!ten, a final goal) fa ensuring
      I (j Prospect has entered into agreements with two                   t 6 ongoing input from the community ~- and we mean that
      I 7 healthcare systems in Connecticut-· three hospitals              l 7 sincerely -- in the strategic direction of d~livering
      18 -- with nearly 600 acute-care and over 100                        18 hea1thc.are.
      19 subacute-care beds, and 11 total net revenue of over              19             In pursuit of such goals, Prospect is
      20 $600 million.                                                     20 committed to keep Crozer-Keystone's h1patJent
      21            In COrJ:itection with its ncquisitlons,                21 acute~care hospitals open, make capital jnvestments in
      22 Pwspect has targeted high-qUnlity hospitals -and                  22 the Crozer~Keystone system totaling at least $200
      23 health systems that can benefit from our cap-i1a!, our            23 mllllon over the next five years, dramatically
      24 operating expertise, and implementation of our CRC                24 increasing the ability of Crozer-Keystone faciltties
                                                             Page 15                                                            Page 17
       l model with the goal of ensuring that quality and high              1 to modernize, attract more patients, and expand
       2 value continues to be provided to the communities in               2 services in the comnuinity, as well as making a $100
        3 need.                                                             3 million contribution to the assets of Ctozet1s
        4           Accotdingly, "v:ifu respect to                          4 underfunded defined benefit pension plan.
        5 Crozer-Keystone, we will support a shared vision to               5           We have also committed to tenninate the
        6 deliver patient-centered quality care in an efficient,            6 plan within five years of our acquisition of
        7 cost-effective, <\nd caring ru.anner, meeting the health          7 Crozer-KeystoM and fully fund 100 percent of the
        8 needs of the communities historically served by                   8 benefits in accordance with applicable la\YS after the
        9 Crozer-Keyston~. Our goals include the following:                 9 termination~- normally within 12 to J8 months.
      10            1. Continuing the mission and                          10           We1ve also committed to the critical
      11 commitment of Crozer-Keystone by pmviding key                     11 service lines) such as etnergevcy department, trauma.
      12 services to vulnerable populations, extending                     12 behavioral health, maternity, and pediatrics who will
      13 community benefits., and supporting medical education.            13 remain in place or expand. We are an expansion
      14            2, Delivering high-value care to the                   14 company, not a contraction company,
      15 community through a commitment in practicing                      15           Moreover, Prospect wm adopt
      16 evidence-based medicine and protocols.                            16 Crozer-Keystone's charity policies for at least five
      17            3. Providing exceptional growth and                    17 years and fund wellness, health education, and other
      l 8 leadershlp opporhmities foJ" Crozer~ Keystone's                  18 community programs consistent with Crozer~Keystone's
      19 employees.                                                        19 past practices, Prospect will also maintain
      20            4, Supporting strategic needs and                      20 Crozer-Keystone's quality assurance a.nd perfonna.nce
      21 initiatives to ensure future grO\-vth and                         21 llllprovement programs, consistent with industry best
      22 sustainability.                                                   22 practices and with local board oversight.
      23            5. Continui1lg strong medical staff                    23           In addition., Prospect will offer
      24 relationships, b11proving physician practice                      24 employment for all Crozer-Keystone employees and

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                                                          Page 18                                                      Page 2.0
      1 management tn good standing, And what I mean by good          J minutes to state his or her comments or concerns witl
      2 standing1 l did come to 20 different employee fonuns          2 regard to the transaction.
      3 over two days -- a two-day µetiod, including in this          3           Only one person representing an
      4 auditorium, on several occasions.                             4 organization shall speak, and all speakers should try
      5            What we mean by good standing is., if              5 to avoid repeating what has already been said.
      6 you1re not on fhe CMS exclusion list•- tbr example,           6 However, if you're on the list and you1d like to come
      7 if you committed fraud or you've stolen drugs or              7 up and say that you1re in agreement or if there's
       8 something-- ifyou1re not on that list, you 1re in            8 something you would like to add, you can do that, bu
       9 good standing; you wl!l be offered employment. And           9 l would ask that the testimony not be repeti1ive. But
     10 there will be no changes in current medical staff            10 you can just join in somebody1s eadiet testimony to
     11 privileges or clinical appointments as a result of the       11 keep this moving along.
     I 2 transaction.                                                12           My office, also, will accept written
     l3            We ])ave committed to establish a local           13 testimony or any exhibits that allybody would like to
     14 advisot)' board -· and those local advisory boards are       14 send to us by May 11th. Our address •· you can look
     1S usually 50 percent community members and 50 percent          15 us up •· first of all, it's the Office of Attorney
     16 physicians-~ to ensure ongolng, meaningful input from        16 General •• Pennsylvania Office of Attorney General i
     17 local community and physician leaders on matters of          17 you want to find our address •· but our address is
     L8 hnpeirtance to the health system and its various             18 Charitable Trust aud Organizations Section, 21 South
     19 constituents, including, importantly, its patients,          19 12th Street, 3rd Floor, and that's in Philadelphia.
     20 physicians, and employees.                                   20 And the ZIP is 19107. And, ce1tainly, if you need ou
     21            We at Prospect look forvrard to                   21 address after the hearing, feel free -to come up to me,
     22 completing the regulato1y approval process \\nd              22 and I can give that out.
     23 consummating this affiliation with Crozer~Keystone.          23            And I'm going to apologize in advance
     24 Prospect seeks to build upon both Crozer~Keystone1s          24 jfl skewer any names or can't read them. So l1m
                                                           Page 19                                                      Page '2l
       l distinguished history of delivering high-quaHtyi              1 going to call our first speaker. Out' firSt speaker is
       2 compassionate care and the success of our Coordinated        2 Dr, Christine Donohue. Thank you.
       3 Regional Care model, which has transformed arrd              3           DR. DONOHUE-HENRY: Thank you. My name
       4 improved healthcare delivery in communities across the       4 is Christine Donohue~Henry. So that's D-o~n-o-h~u-e,
       5 country, We are thrilled to be here, Thank you.               S hyphen, H-e-lH~y. So thank you so much for having me
       6           MS. FINGERHUT: Thank you, Mr. Reardon.             6 here today, I am currently the physician leader for
       7           We are now going to hear from members              7 Primary Care Services here at Crozer-Keystone Health
       8 of the public. Once again, ifthere1s anybody who              8 System.
       9 would like to make a statement who !-tasn't signed up)        9           I1m a family medicine doctor, and l
      10 Ms. Penny1s in the back with another -· witll the           10 grew up in Delaware County. I came to Crozer in 2009
      11 sign-in sheet.                                              11 because [ wanted to care for patients In the community
      12           The ground rules for today\1 bearing              12 where l grew up and the community where 1 Jive with my
      l3 are as follows:                                             13 family.
      14            Speakers wm be first calJed from the             14            So Crozer employs over a hundred
      15 sign~up sheet in the order that they signed up, and         t 5 primary care physicians and advanced practice
      16 they should come up to the microphone right here to         16 clinicians. We also have a strong network of
      17 speak. When they come tip, if they could identify bim-      17 independent primai'Y cure physicians that rely on the
      18 or herself and idcntit)' any organization they              18 care that we provide in our acute-care hospitals and
      19 represent or are speaking for,                              19 outpatient facilities..
      20            When the speaker steps up to the                 20            We 1rnin -primary care pl.lysicians within
      2 l microphone) if you could please state your nrune and       21 our family medicine, intetttal medicine, and pediatric
      22 spell it. We ha-ve a stenographer here today that is        22 residency programs. Aud mally of our doctors in
      23 going to•· is providing a transcript of the lieadng.        23 trainjng come and establish thell' practices within our
      24            E-ach speaker will be given up to five           24 33 primary care office locations throughout the

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                                                          Pago22                                                         Page24
       l county.                                                   I the non-acute care l10spital in the health system. rm
      2             As afumi!y medicine doctor, I strongly        2 also the director of a specialty network -- the
      3 believe in the idea of wellness and disease               3 Speciatty Physician Network -- whi<::h includes women1s
       4 prevention. Our clinicians work hard to tly and           4 health, surgery, lhedical subspecialties, and behavioral
       5 prevent illness by counseling om patients to stop        5 health.
       6 smoking, to exercise, and to do required screenlngs       6           l've been here for 29 -- almost 30
       7 for cancer, and so on,                                   7 years, mid I came ot1 that train in Phi1adelphia
       8            We also believe in the concept of              8 because l thought that Crozel', in particular, was a
       9 population health, So it s not just important to care
                                    1
                                                                   9 place that took care of its community .ind would allow
     IO for the person in front of you in the office, but to     l 0 me to utilize my skills as a psychiatrist to help the
     11 care for the community at large.                         11 comq:mnity that we live (n, And 29 years later, that's
     12             We believe in setting up proper            . 12 been very, vety true.
     13 supports for our most critically ill and chronically     13            We1ve been able to treat a wide array
     l 4 ill patients that live in our community to have         14 ofpa.tients, and we've been able to expand our
     15 healthie1· Jives and stay ont of the hospital.           15 behavioral heo.1th services. So I spea.k on behalf of
     16             For an oftl1ese reasons, our Primary         16 the very vulnerable, fragile .IJOpulation that needs a.
     17 Care clinicians are excited about the care that can be   17  community steward; and Crozer has been that community
     18 delivered with Prospect. Prospect's model of             18 stewasd,
     19 Coordinated Regional Care is a healthcare innovation 19                The health center that we're ~- of
     20 that speaks to us and the values that we hold,           20 which we're an anchor µrovider, bas beeu around for
     21             Coordinated Regional Care is a support       21 over 50 years, and Crozer has been wlmt1s called a
     22 system for patients outside of the hospital setting      22 base service unit1 playing a very integral part in
     23 that includes practice-based nurse practitionerS,        23 treatment ofbehavioral health patients,
     24 health educators, local pharmacists, social workers, 24                We currently ha.ve partnerships with the
                                                          Pagi,23                                                        Page25
       1 and home-based care that give that extra level of           l Office of Behavioral Health and the county school
       2 support services that can't be accomplished within a        2 systems and other providers in the area 1o provide a
       3 15-min.ute office visit. We believe this model has the      3 rich network of behavioral health tTeatments for this
       4 potential to improve the health and well being of           4 vulnerable population.
       5 patients to a greater extent thnn 1raditional care.         5            In mental health, we have a variety of
       6           This is a pivotal time in healthcare in           6 differet1t services that we provide in both adult,
       7 our countfy us we work to be more fiscally responsible      7 child and adolescent, gerfatric, and psycho-social
       8 and give better care to our patients before they're         8 rehab, which is the most fragile of our patients,
       9 admitted with the heart attack or the stroke. While         9 patients that have been institutionalized and come out
      IO we will always need strong acute-care hospitals for        10 of the state hospitals,
      11 back up, Prospect1s model of Coordinated Regional Care     11            We also do school~based treatment and
      12 will provide more boots on the ground 10 care for our      12 have partnerships with the Chester-Upland School
      13 patients and keep them healthier.                          13 District and the Delaware County lntennediate Unit,
      14           As t11e clinical leader of Primary Care          14 and we see over 57,000 visits a year in the me11tal
      15 at Crozer, rm ex.cited to see the even greater -impact     15 health side,
      16 we will have on our community and the health of those      16            On the substance abuse side, we also
      17 around us. Thank you.                                      1? have an access cenier where we have patients that come
      18           MS, FINGERHUT: Thank you. Ournext                18 in for a level of care determinationt and we're able
      19 speaker is Dr. Kevin Caputo.                               19 to triage the pntieiit to the approprinte setting.
      20           DR. CAPUTO: My name is Dr. Kevin Caputo,         20 Sometimes the appropriate setting fo one of our
      21 C-a-µ-u-t-o, and I have a long history with                21 acute~care hospitals, and sometimes it's a.n outpatient
      22 Crozer-Keystone Health System. l currently am the          22 setting. We have a methadone program, and we have an
      23 clmimmn and vice president of Psychiatry and Behavioral    23 intensive- outpatient program for our very vulnerable
      24 Health. I am also the president of Community Hospital,     24 substance abuse patients.

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      l           We also have a unique program that is              1 goal of providil1g high-quality care and ensuring
      2 really the heart and soul of the community of                 2 patient safety, engaging Jn quality and improvetnent
      3 behavioral health, in which we l\ave intensive case           3 initiatives,
      4 managers that arc out in the streets taking care of           4            Additionally, we, the medical staff~
      5 these patients and linking them with medical,                 5 are an integral pattner in the provision of graduate
      6 psychiatric, and socia( services. And that is really          6 medical education. To accompllsl1 these roles, we have
      7 important that we maintain that level of cate for this        7 two categories, There 1s two issues that I want to
      8 fragile population,                                           8 talk about, which is, providing the high-quaHty care
      9            We have inpatient treatment, nnd we                9 and providing the graduate medical educa1ion,
     10 have crisis treatment, which is a psychiatric                10            Under o-ur patient safety quality
     11 emergency room) and we recent{y opened up Fair Acres         11  umbrella,   we1ve created a robust credential and
     12 Rejuvenations Program, which is on the grounds of a-~        12 ongoing platform that ensures that physicians that we
     13 of a local nursing home. We have 1:he geriatdc               13 have admitted into our ruedkal staff family right here
     14 psychiatry unit taking care of that population, That         14 are competent, capable, and qualified to provide
     15 was a partnership with the county I la which we were         15 high-quality care to our patients, rind we guard this
     16 able to take care of a population that1s underserved.        16 vezy jealously,
     17            We provide a lot of psychiatl'ic                  17            Within the first six months of an
     J8 services as well in tenns of psychotherapy services in       18 appointment, every physician is subjected to a Focused
     19 collaborations across the whole P11Ha.delphia area; but      19 Pt"ofessional Practice Evaluation that assesses in real
     20 our heart and soul is in the Chester -- the                  20 time the individual physician's ability to -provide the
     21 Crozer-Chester and Crozer-Keystone community.                21 care that he or she was credentialed to perform.
     22            We're excited about the advent of                 22            Additionally, after appointment, we
     23 working with Prospect because Prospect is aware that         23 have a process called the Ongoing Professional
     24 when you treat a patient, you1re not just treating the       24 Practice Evaluation -- or the OPPE --1hat ensures
                                                           Page 27                                                             Page29
      1 physical sytnptorosj you1re treating the patient as a         1 that we are following pre-identified a11d
      2 whole, and we're eager to collaborate with primary            2 specialty-specific quality at1d practice meMcs.
      3 care coUeagues in treating the patient and in the             3           Through our robust practfoe improvement
      4 Coordinated Regional Care model.                              4 committees, peer revJew is also performed, And all
      5           1 want to thank you today for aUowing               5 the peer review committees report up to our Medical
      6 me to speak on behalf of this vulnerable, fragile             6 Staff Quality Committee-~ a subcommittee oftl1e MEC,
      7 pafomt population and tell you abQut my excitement in         7 which I chair, which reviews ail the peer review cases
      8 joining the Prnspect Medical Holdings team. Thank             8 and ensures that all OPPEs and FPPEs are being
      9 you.                                                          9 performed accordingly.
     10           MS. FINGERHUT: Thank you. Om· next                 10           Physkiahs are also provided ongoing
     ll speaker is Dr, Nathan --                                     11 medical opportunlties by our CMEs, whi<:h are funded
     12           DR. OKECH\JKWU: Okechukwu.                         12 and supported jointly by the medical staff and the
     13           MS. FINGERHUT: TI1ank yotc                         13 institution at large. Under the project medical
     14           DR. OKECHUKWU: Hello. I am Dr. Natha11             14 education umbrella, we have a total often superb
     15 Okechukwu, O~k-e-c-h-u-k-wnu, ram the president of           15 residency/fellowship- training programs: .internal
     16 the medical staff of Crozer, Springfield, and Taylor,        16 medlcine, emergency medicine, pediatrics, family
     17 and the chair of medicine of lhe same institutions,          17 medicine, podiatry3 .GYN oncology-n OB/GYN obstetrics,
     18           In my position as the president of the             18 trausilion internal medicine, osteopathic program,
     19 medical staff; I chair tht: Medical Executive Council,       19 sports medicine fellowship, and through Temple
     20 which is a primary governance committee for the              20 University, we also provide a gerlatric fellowship
     21 medical staff. The MEC Medical Executive
                                  •n                                 21 program.
     22 Committee -- with input from the medical staff, makes        22           These prQgrams are not only vital for
     23 key leadership dedsions related to medical staff             23 the larger gual of providing training for our nation's
     24 policies, procedures, and mles, with the ultimate            24 physicians of tomorrow, but our immediate neighborhood

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                                                                                                                              Page 32
        I of1he Greater Philadelphia area also benefits                1 I was an inpatient here seven months ago at one of the
       2 immensely when their graduates who are often hired to         2 hospitals. I feel very comfortable Wlth the kind of
        3 practice in hospitals and prnctices around us.               3 care th:1! Crozer-Keystone Health System has provided
       4            For example, a number of our                       4 for not only our community, but for my family.
        5 hospitalists from our Internal Resi<lenoy Program come       5            Quality care -- and the word quallty
        6 from our Internal Residency -Program, and also some          6 has been brought up quite a bit is paramount. And
                                                                                                         w•



        7 physicians that have been admitted to our geriatrics         7 quality care is something that is being ohalleaged
        8 practice and Commonity Primary Care Network.                 8 constantly in our country, constantly in our .state,
        9           In summary, our expectation in the new             9 and constantly in our community and is being
      10 venture -- the new world that we're transilioning            10 questioned even within our health system as we move
      11 into -- based on my foternotions witl1 representatives       11 forward.
      12 from the Prospect company) we've been l'eassured an.d        l2            I feel very comforlable tl1atthe eare
      13 believe and expeot that aH these initiatives a.nd all        13 has been high quality, reliable, and state of the art,
      t 4 these mission -- door missions -- would continue and        14 to the 1,oint where, going forward, I will be very
      15 be immortalized moving forward. Thank you.                   15 comfortable with turning to the hospita1, l hope 1
      16            MS. FINGERHUT: Thankyuu. Next we have             16 don't have -to. 111:11 very comfortable having my family
      17 Dr. Daniel DuPout.                                           1? return to the hospital, and I hope to have some more
      18            DR. DuPONT: Hello. My name is Dan                 18 grandchil<lren, and I'd be very happy if they were born
      19 DuPont, DwuwP-own-t. I am the associate chair of             19 he-reaswell.
      20 Clinical Medicine for Taylor and Springfield Hospital        zo          So, with that, I would just simply
      21 and Crozer-Chester Medical Centel'. 1 help Dr.               21 continue to endorse what has been .ajoumey that I
      22 Okechukwu. I have practiced pulrrtonru.y and critical care   22 have taken with Mr. Reardon, with Dr. Lew, with
      23 medicine at two of the acute-care hospitals, Taylot          23 Ms. Richards, and with the board, They got us where
      24 Hospital cmd Springfield Hospital.                           24 we are today, and I feel very comfortable saying that


                    The first thing I want to do is tum                1 this will be the be.st path forward for 1he health
       2 and say hi to the audience, because I hate having my          2 system,
       3 back to anyone.                                               3            fo closing, Twill be happy to come
       4            lam also involved in the Caring Board              4 back to th]s micropl,one if anything comes up later in
       5 of Keystone Health System1 and I mn. also on tl1e             5 this session that will require some questions to be
       6 Strategy Committee that met 33 times since 2014 io an         6 answered for you. I thank you for your time.
       7 effort to get where we are today. r also am in the            7            MS. FINGERHUT: Thank you. Om next
       8 Quality and Patient Safety Depurtn:tent within the            8 speaker is Leslie Heygood.
       9 health system.                                                9            MS. HEYGOOD: Good afternoon., everyone,
      1O           So I have been here fo1' 33 years_ I               10 My name is LesHe Heygood, tlrnt's H-e-y-.g-oMo~d. And
      11 came here, Hke Dr. Donohue-Henry and Dr. Caputo,             11 I1m a resident of the city of Chester, and I'nt also a
      12 fresh out of my training fo Pl1Uudelphia, and Jive           12 27-year em-ployee of the Crozer-Keystone Health System.
      13 been here ever since, And our practice is a11                13 I currently work on the surgical trauma unit here at
      14 independent practice. So network physicians are-             14 Crozer, 1 am also the-president ofPASNAl\ the local
      1S independent physicians; we work 1ogether.                    15 nurses union here at Crozer.
      16           rm on the board, I re-present over 600             16            r fully understand that the acquisition
      17 physicians and their best interests, aud I1d like to         17 of the hospital must take place. I come to you with
      18 say that my comments in the next fow minutes will be         18 tmmy concerns, 1 would like to know, what is your
      19 representing those physicians.                               19 vision for thls health system and the many coCTlltlunities
      20           So I have five cJ1ildren; f have three             20 that it serves? We cannot afford to lose any of our
      21 grandchildren. Eve1y o,1e of my children has had care        21 services that. we provide for this comnumity.
      22 ot CJ·ozer~Keystone Health System Hospital one way or        22            While it is my understanding that
      23 another, A few ofmy grandchildren were bom in !hc-           23 Prospect plans to invest $200 million into this
      24 acute-care hospitals. I have had personal care here.         24 healthcare system, how tnuclt of that will be earmarked

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                                                            Page34                                                          Page36
      l for bodies more sadly at the bedside?                           1 grateful for it but the question is, how much of
                                                                                       w•



      2             What is your commibnent to safe                     2 that money will come here to Chester and not go out to
      3 staffing levels? What is yoUl' commitment to providing          3 Haverford and all of the places that are being
      4 supplies and safe working commihmmt for your staff'?            4 promoted for what Crnzer is to be BJ'intoil Lake and
                                                                                                           w•


      5 What is your commitment to keeµing alt of our                   5 those pJaces?
      6 hospitals open to serve their commm1ities with all               6           We are the biggest hospital, we provide
      7 services intact? How do yo-u how will you work with
                                         ~w                             7 the most specialized services, tllld yet it ls like
      8 tlle staff to move this hospital into a new direction           8 working on the battle.field wh.en you go to find
      9 where our ideals and opinions are valued?                        9 equipment; it is not there. We can call down, v.,e can
     l0             I understand that you ure a fullwµrofit            IO run arouod the hospital, but we cannot find what we
     11 organization, but we are here for our patients and             11 need.
     12 their families. They need and deserve to have their            12            And so, for me and my family} we will
     13 bospital to stay intact and improve on the services            l 3 be at Saint Francis or at Christiana llntil l feel that
     14 provided to them at affordable prices. We are not the          14 it is safer to be a patient here. l think I would get
     15 richest community, but that does not mean that they            15 care because I1m an employee:, as DI', DuPont was, but
     16 deserve less when it comes to their healthcat'e needs.         16 for the average patient, they're not getting the care
     17             We are the only trauma hospital io                 17 that could be provided by other hospitals around this
     18 Delaware County. ] cm1not emphasize to you the impact          18 locality. Thank you.
     19 these services have on our community of Chester and            19             MS. FINGERHUT: Thank you. Our next
     20 beyond our Delaware County border. Their remarkable            20 speaker is Amy Cullinan.
     21 woTk speaks for itself.                                        21             MS. COLLINAN: Good afternoon, My namc.1s
     22             So I ask for you to come, Dr. Lew and              22 Amy Cullinan. C-u-1-1-i~n-a-n. 1 arn a nurse on
     23 Mt. Reardon, come onto the floors and meet the stuff           23 maternity here at Crozer. I have been here for 30
     24 and meet the soul -~ the heart and soul ~ of the               24 years. I chose to come to this hospital because of its
                                                             {)age35                                                        Page 37
       1 Crozer community health system, all of the employees           1 reputation and lmw the community sees the hospital. I
       2 that work here. Thank you for your time.                       2 have remained here, and I plan to retire here.
       3            MS. FINGERHUT: Thank you.                           3             There al'e some issues. and I know
       4            The next speaker is Kim Brown. I                    4 staffing has come up. I would Hke to just discuss
       5 apologize, 1 probably Hw                                       5 that a little bit, and-~ rtll just going to l'ead,
       6            MS. BROUNCE: Close enough.                          6 if-~ if you1Uexcuse me for doing that
       7            MS. FINGERHUT: Okay.                                7             Appropriate mirse slaffing is critical
       8            MS. BROUNCE: Hi. My name is Kim                     8 for patient safoty and well befog. lnadequate
       9 Brounce, B+o-u-n-c-e. I have been a nurse here since           9 staffing is known to influence the outcomes of heart
      lO 1979. And while I share a lot of the same history as          10 attacks 1 falis, med errors, as well as overall
      11 Dr. DuPont, I am seeing it from a diffet'ent side. r,         11 mortality. TJiis 1S ~ fact and has been documented 1n
      12 too, was born here. I used to bring my family here.           12 1nuny studies for years.
      13 But I no longer do that.                                      13             Understanding -- understaffmg aJso
      t4            The efforts that go in to be able to               14 depletes morale leading to higher levels of
      15 provide good quality care at the bedside is l<l!Ung           lS absenteeism and staff turnover.
      16 the nurses that work within the system. We don1t get          t6             Many times on my unit, which is
      17 breaks; we don't get lunch; we work with substandard          17 m:iternity, we are left with barebones staffing, and
      18 equipment The monitol'S that J work with are the same         18 ratios of9 and 10 patients per nurse with no tech and
      19 monitors that were installed in the unit in 198 l. You        19 a secretary that we have to share with labor and
      20 can imagine that a lot has happened tcchnologywwise           20 delivery. This is not only dangerous and unsafe, but
      21 sine!;} those monjtors were attached to the walls of the      2 l unacceptable.
      22 trauma unit.                                                  22             There is not a one-size-fits-all
      23             So I, too, look at aU of the money                23 solution to nurse staffmg. There are many factors
      24 thaes gojng to be invested and we are very
                                    •w                                 24 involved that diffet' from institutim110 institution.

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       l CrozeTs budget~based staffing model is just not                  l services provided by Crozer Hospital.
        2 working.                                                        2           Through the years, I have been
        3            You must take into account such                      3 associated with th~ system through working with the
        4 variables as patient acuity and ancillary support,              4 Delaware County mental health and drug and alcohol
        5 both of which are igttored 011 a-daily basis at Crozer.         5 programs, through programs for infants and children,
        6 It ls more than a numbers game, We are continually              6 community health, an:d educ111lon programs, and for the
        7 left with skeleton staffing based on our numbers.               7 fast several years, as a member of the Crozer-Keystone
        8 Wheo advocating for tuore .~taff for safe patient care.,        S Health System Board of Directors rutd Health Services
        9 it fal1s on deafeai·s. We are then left with doing              9 Board.
      10 the best we can.                                                l0           I have come to learn how our system is
      t1             Jn .recent years, we hnve endured the               11. designed to operate to the benefit of our communities
      l 2 elimination of critical care team members, such as             12 and how it managed to meet the healthcare needs of1he
      13 admission nurses, ID team, phlebotomy, EKG                      13 communities that we serve.
      14 technicians, along with a serious decrease in                   14           The entire CKHS staff and the Board of
      15 respiratory thernpists, patient care techs, and                 1S Directors are committed to the CK.HS syatem. We are
      16 secretaries, This has had a direct impact on nursing            l6 aware of the communityts needs. The entire system lms
      17 and patient care. Nurses are now expected to carry              17 made ongoing effort, separate and unfted1 -tbr more
      18 out those duties.                                               18 than a hundred years, and 11as showed me that nonprofit
      19             Staffing conditions affect the quality              19 hospitals wlth dynamic leadership could provide
      20 of nursing care and Patient outcomes period, Working            20 high~quality m.edical care, healthcare education, and
      21 long hours with inadequate staffing affects nurses'             21 diverse community services, That is, such a system
      22 health and increases (he risk of injury. Moreover,              22 could have -- could do those things uutil unforeseen
      23 for every one additional patient added to a nurse's             23 changes impact the systems like ours to the point that
      24 workload, there is a 7 percent increase in hospital             24 we were fotced to realize that tf out communities were
                                                               Page:39                                                         Page41
        l mo1ta1ity.                                                      l to have ongoing healthcare, it would have to be
       2            The nurses at Crozer are hopeful that                 2 provided by something that I never thought I would
       3 Prospect Medical Holdings will listen to oUI plen for            3 welcome.to Delaware County, a private healthcare
       4 lmproved staffing and make a commihnent to 1he                   4 corporation.
       5 patients and nurses for safer staffing. We need a                5          rve looked at the agreement reached
       6 combination of staffing methods taHored to our                   6 for Prospect's purchase of our health .system. I see
       7 specific needs and patient base here at Crozet.                  7 that Prospect has agreed to continue our mission.
       8            The budget-based model we cu11·ently use              8 They have agreed to take on those obligations that we
       9 3s 11ot sufficient on its own. With improved staffing)           9 have incurred over the years for employee pension,
      10 our patients wilJ be assured that they will receive             10 continue the employment of our exceilent staff,
      11 the best care possible with positive patient outcomes.          11 continue the emphasis on our key service areast
      12 This will lead to improved -patient satisfaction at             12 continuance of our medical education programs, and
      13 Crozer and Ctozer-Keystone Health System as a whole.            13 continued use of the historic names of our acute~care
      14 Thankyou.                                                       14 hospitals. That Pmspect has also agreed to a
      15            MS.FINGERHUT: Thankyou. ldon'tknow                   15 continued role for local community representatives in
      16 if anybody would like to address anything? No? Okay;            16 their system of governance is further assurance that
      17 okoy.                                                           17 the needs of our communities will be met.
      18            So our next speaker is Gail Whitaker.                18           I believe firmly that healthcare is a
      19            MR. WIDTAKER: Good afternoon. My name                19 right. I believe even more fin11ly, however, that the
      20 is Gail Whitaker, W-h-i+a-k-e-.1_', I am ·currently the         20 people of our communities must have excellent
      21 clrn..irman of the Health Services Boat'd for                   21 healthcare in order to survjve. And because of the
      22 Crozer-Keystone Medical System.                                 22 hole into which nonprofit providers across the nation
      23            From that day in 1959 when my appendix               23 have been driven, if excellent healthcare· is to
      24 was removed, 1 have appreciated the healthcare                  24 continue to be provided to our communities here in

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      1 Delaware County, r guess we are fortl.mate to have                  1 that is an elderly community, a community that --
      2 found and to have joined with Prospect Medical                      2 well, there 1s some -- there's some health issues and
      3 Holdings. Thank you.                                                3 serious problems within our communities that whereby
      4           MS. FINGERHUT: Thank you. Our next                        4 we need the service of ambulances.
      5 speaker is Mayor Thadde\ls Kirkland.                                5          The hope is -- and I heard the other
      6         MAYOR KIRKLAND: Good afternoon, I'm                          6 things that were going to be stHl 1n place-~ flm
      7 Thaddeus, T-h-a-d-d-e-u-s, Kirkland, K+r-k+a-n-d.                    7 hoping that the ambulance service will still be in
      8 Good afternoon, and I guess rm addressing you as mayor               8 place; and, if not, you will give us e11ough time so
      9 and a state representative and also mostly as a pastor               9 that we might prepare ourseives as a city to provide
     10 as well, because I wanted to talk about wltaf the Bible             10 those services for the constituency. They desperntely
     11 says when it saysj "What you do for the feast of these,             ll need those services1 and there's no wa.y that we can
     12 you also do unto me. 11                                             12 !\elp them by -- by discottdnuing those services,
     13           And I want to welcome you. This ls a                      13            So if lhat is something that is not
     l4 bittersweet moment here in the community.                           14 going to be, ifwe have enough time to know so that we
     15 Bittersweet. Bitter because we will no longer be able               15 can --we can prepare as a community, it would be
     16 to see the signs of Crozer-Chester Medical Center that              16 greatly, greatly appreciated.
     17 have hung for so •· so many years and have done so                  17            Taxes. Thank you. (Laugher)
     18 much within our community. But sweet to understand                  18            Hallelujah. (Laugher)
     19 1hat there's a new development1 a new partnership, a                19            Thank you very much. And fookitig at
     20 new relationship coming to our community to provide                 20 this, it says, community, you have the distinction of
     21 services to all. And so, let me just start off by                   21 being in t\1/o communities. And so we -- we applaud
     22 saying -- saying, welcome.                                          22 you; we appreciate you; and 11,-e wait for your first tax
     23           We ·- I'm probably one of the persons                     23 µayment -- (laughter) -- with bated breath.
     24 -- l've had the pleasure of being an employee here at               24            So we•- we thank you, we thauk you in
                                                                  Page 4J                                                           Page 45
      l Crozer prior to me becoming an elected otlicial. I                    l advance in that area.
      2 worked in what we call the Family Planning Division of               2             Tllis is a great community to -- to be
      3 Crozer Hospital. Aud that division dealt with young                  3 in, no matter what fa said from the outside. They do
      4 mothers, mothers~to..be, and Xwas in outreach~ working               4 have hatd working people here, You1ve heard from the
      5 with HIV counseling -~ HIV and AIDS counseling,                      5 nurses and ihe doctors. They have dedicated their
      6            And so when I looked at the portion                       6 liv.es to this community and this hospitol. And there
      7 that says, 11key \ines of services including women's                 1 is no other place that i1d rather be than in this
      8 services 1 obstetrics ... 11 and so on and so fortbj it               8 community and representing this community. And you
      9 said five years-· for at least five years. "What you                  9 will find that if you open up your hearts and your
     10 do for the least of these, you do also 1111tQ 1ne." And             10 eyes and your ears to the comments and concen1s of
     ll so I'm hoping this is going to be a continued service               \ l each and every one that has come before you that you
     12 for so many needy persons in this -~ thls community                 12 will find a workforce second to none.
     13 and the surrounding, area.                                          13             r also wa11t lo recognize with me today
     14           rm also hoping -- because Theard you                      14 members of the Chester City Council, Cmmcilwoman
     15 say that you wanted input from thij community. One of               15 Elizabeth Williams and Councilman Ntfa Nichols. We
     16 the ways we can give that input is if there is another              16 want to say welcome, and we look forward to your tax
     17 forum -- another setting-- where we sit down and hear               17 doifors. (Laughter)
     18 from those folks that get off work at 5 0 1clock. And               18             MS. FINGERHUT: Okay. Thank you.
     19 have an opportunity for them to not only meet you and               19             That   concludes: iny list. Mary, is
     20 welcome you, but for you to have an opportunity to                  20 there -~ do we have any a<lditiomtl?
     21 explain to them wbat services and benefits will be                  21             MS. PENNY: If anybody WO\tld like also to
     22 coming their way, by way of Prosirect. That would be                22 speak today~ just come and see me, and Jill put yom
     23 greatly appreciated.                                                23 name on the list.
     24           The other thing {s, we have a community                   24             MS. FINGERHUT: I'd like to call up Mayor·

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      1 Michael-· is it Ciach?                                       t community partne1~hips and programs and services?
      2         MAYOR CIACH: Thank you. l will keep my               2            l'm also concerned, being a resident
      3 comments -- I appreciate --1 apologize in advance. I         3 here and having most of my family here~ of the quality
      4 had a little procedure today, But I just wanted to --        4 of care -- healthcru:e that wiH continue to take pface
      5            UNKNOWN MALE SPEAKER: Here?                       5 here at Croz;er, 1 got my mom still living, and I want
      6            MS. FINGERHUT: Would you mind·-                   6 to make sure she stays a long time. {Laughter)
      7            MAYOR CIACH: Yes. (Laughter)                      7            So my main -- and also, I just want to
      8            MS. FINGERHUT: -- could you spell your            8 make sure, we -- we partner with Crozer for a Jot of
      9 lastname?                                                    9 programs for our young folks, and 1 want to make sum
     10            MAYORCIACH: Yes, Ws C-i-a-c-11. I'm              10 that you guys sit down at some point in time ~- just
     l I the mayor of Upland, where Crozer actually does reside.    11 like the rnayor mentioned -- have some type offon,m
     12 And to my esteemed collea.gue 1 not too fast. I didn1t      12 fol' the community patiners -- our cmTeht community
     13 serve my final service. {Laughter)                          13 partners with Crozer -- so that you can present your
     14            While I wanted to actually convey 11m            14 plan to the community as to what, your-- you know,
     15 very anxious to seie you 1 and you cannot imagine ltow      15 our involvement will be in the futut'e.
     16 much a transaction like this will affect out small          16            And most of your things on this list
     17 Borough of Upland. We have 3300 resjdents~ and at any       17 have a five-yeru timeframe. What happens after that?
     18 given time, we double or triple that in -- in the day,      18 Thank you.
     19 depending on what's going 011 here at Crozer. So ~-         19            MS. FINGERHUT: Thank you.
     20 and obviously, that adds to our resources in Upland,        20             MR. COVERT: My name is on the list
     21            So we have been able to -· and I~- my            21            MS.  FINGERHUT: Okay,
     22 history with Crozer, at least \.Vi.thin the borough         22            MR. COVERT: Good afternoon. My name is
     23 government, has been for the last 25 years, and we've       23 Kenneth Covert. I1m an associnte comnmnity health
     24 always been able to maintain a very strong working          24 navigator for Keystone First.


       l relationship with Crozer, and I hope that would                          And you just got 11ere; but you1re going
       2 continue going fo:rwo.rd.                                   2 to know that it's a Jot of rumors that go around i.n
       3           So I am anxious to find out mol'e                 3 Che~1:er. One rumor I've been hearir1g is that of a
       4 details about the transaction and also sltare the           4 possible closing of Comm\mity Hospital, and that would
       5 sentiment ofmy esteemed colleague, the mayor, and I         5 be very~- H's w- you really can't do tliat
       6 look forward to more economy, Thank you,                    6           This fa one of our biggest departments.
       7           MS. F1NGERHUT: Tirnnk you, ls there               7 I cover Delaware County, Chester County, and soine of
       8 anyone else?                                                8 Philadelphia County, l have a thousand membe1.'s in the
       9           I want to say, I really appreciate oil            9 city of Chester, A lot of them go to Community
     10 ·tJte speakers~- oh,                                        10 Hospital. Like if that were to close down, they wmdd
     11            MS. PYATT: My name is on the list,               11 be in some -~ a real mess,
     12            MS. FJNGERHUT: I apologize if! missed            12            DR. DuPONT: Excuse me. Could you.just
     t 3 it on the Hst What is --                                   13 identify your organization?
     14            MS. PYATT: Annette Pyatt.                        14           MR. COVERT: Keystone First.
     15            MS. FINGERHUT: Yes, I'm sorry.                   15           So -- so what rm saying is that I
     16            MS, PYATT: That's okay.                          16 don't know what is going to go 011 with that, but ft
     17            Good afternoon. My uaruc js Annette              17 would be crippling to the -- to the community, And
     18 Pyatt,, spelled P-y-a+t. rm executive director for          18 like the Mayor Kirkland said, it would be great to g-et
     19 the Chesler Community Improvement Project.,. which is --    19 us all together -- all the community people -- because
     20 which is a community~based organization here in the         20 a lot of people ln this city care abollt this
     21 city ofChester1 and we have a long history and              21 community. And the people, we're golllg to help you os
     22 partnership with Crozcr-Keystoue.                           22 much as we can. Okay?
     23            And 1ny main concern or my question to           23           So ljust wanted to put that out. God
     24 you is, what are your plans to continue with those          24 bless and thank you.

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                THE REPORTER: Excuse tne, sit. Could you             1            And through our history, when we learn
     2 spell your last name?                                         2 and we merged wlth the physician group, U1at1s where
     3          lvffi. COVERT; C-o-v-e-r-t, Like covert              3 we leumed bow to deliver a diffe.rent model of care.
     4 operations. (Laughter)                                        4            And so when you hear this term,
       5           MS. FINGERHUT: Well, I -- I believe,              5 "Coordinated Regional Care, u that1s what we're
       6 unless there's anyone else that that ends the list.
                                     •ft                             6 referring to, lt's taking the hospital segment of
       7           And I wanted to thank everyone for                7 what we know how t() do on the hospital side, but also
       8 comlng1oday, especially coming up to testify. And I         8 working with physicians to really integrate the care
       9 appreciate bolh mayors coming; I appreciate the             9 and coordinate care with the goal of getting better
     l O nursing staff, the medical staff.                          10 outcomes and high q_uality, but not spending a lot of
     ll            1 know the nul'Sillg staff l'aised some          1l money in having to "~ to have duplication of services.
     12 concerns about quality of care, and rm sure they're         12            And so we took this model of care to
     13 aware that the Department of Health will talce those        13 different parts of California, and that's how we've
     [4 concerns regarding hospitllls1 and those concerns can       14 grown as a company, And ::lO we're very excited to be
     15 be raised with them.                                        15 here in Pennsylvania, here in Delaware County, and
     16            And at this time, I-· I don't know.              t6 certainly with this Crozer-,Keystone partneJ'ship.
     17            Mr. Reardon, do yolt still want to make          17            And I must td1 you, when we c1um:: to
     18 a wrap-up statement?                                        18 this -part ofthe country and we ,vere first meeting
     19            MR. REARDON: Dr. Lew does.                       19 with leadel'ship of Crozi:rRKeystone, it really had all
     20            MS. FINGERHUT: Oh, Dr. Lew.                      20 the componett.ts in one place of what we really fixed
     21            DR. LEW: Yes) thank you.                         21 with our our model. And thut is commm1ity
                                                                                ~M




     22            MS. FINGERHUT: Do you want to go ahead           22 hospitals with -physicians and employees that really
     23 and make the wrap-up?                                       23 care about their health system.
     24            DR. LEW: Yes.                                    24            Bnt also you have academics; you have a
                                                          Page 51                                                           Page 53
                  l want to, on behalf of Prospect                   l teaching hospital -- or a teaching program to -- to
      2 Medical, thank the Attorney Genel'al 1s Office. But          2 'teach the next generation of physicians. But you also
      3 more importantly, I want to thank the physicians and         3 provide tertiary cfil'e, This is really a full-service
      4 the employees, and the people of the community, Not          4 health system that we are very excited to bring our
      5 only for coming out and -- coming for this hearing,          5 model to.
      6 but for your words of supp01i, but also your words of        6            And just to share a quick story, I was
      7 concern.                                                     7 so anxious to hopefully be chosen and thank you to
                                                                                                          M-




      8            You know, l'm a physician. I've                   & the board for these 33 meetings that you held and that
      9 delivered babies for 10 yearsj nod I've worked in            9 we were chosen -- but, you !mow, l 1,romised Joan that
     10 hospitals, and I've worked in c01nmunWes, And I want        10 we would bring a chatnpionship to the Eagles, the
     11 to reassure you that commitment to healthoare, the          11 Phillies, lhe Sixers, or the Flyer:-;, and 1 failed this
     12 communities, physicians, and employees, that's --           12 year. But Villanova did win the championship. So 1
     13 that's part of my ONA, and thafs part of our                13 did deliver on that (Laughter)
     14 hospital's DNA. So that all resonates with me and           t4            But we're very excited to be here. And
     15 with our company.                                           15 I thi11k for(he commun1ty 1 I.really would want to
     16            What Ml'. Reardon shared about our               16 reassure you that access and qm\Hty is whatv,-e are
     17 company and the 14 hospitals in four states, I think        17 about. We are a gtowth model. We don1t s:hut things
     18 that just touches the surface of who we ate, Our            18 down. We want-to grow. And we are an opeu system.
     19 roots are in local cornmunity hospitals serving             19            For the physicians, flm excited to have
     20 underserved populations. Medicaid, primarily                20 the physicians. You've got a 400-physiclan group
     21 government aid, jn communities in East Los Angeles,         21 ready to plug into om model. How ideal could that
     22 in -- in places where patients come to us because .no       22 be? And and on the cutting edge of the behavioral
                                                                                  K~




     23 one else will take them. So -- so we ~· thnt is in          23 health side with Dr. Caputo.
     24 our DNA.                                                    24            And for the employees, l hope that you

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       1 see that tl1ere1s stability he~·e.                            1 hearing. Thank yo11 all for your attendance.
       2            And1 Ms. Heygood, I will come to the               2                      ---
       3 floor, I wattt to see what you do on the floor,               3          (Hearing concluded at 4:05 p.m.)
       4           MS. HEY GOOD: Thm1k you.                            4                      -- -
       5            DR. LEW: 'fllat's •· that's where I work,          5
       6 too,                                                          6
        7           So -- and, Mr. Mayor, Mayor Kirkland,              7
       8 we welcome dialogue. And we will be acquiring at· --          8
       9 bringing ambulance services into the -- into the              9
      10 trat1saction. But we Jook forward to a continuing            10
      11 dialogue of how we can best meet the needs of the            11
      12 community. We welcome that.                                  12
      I3            And -- tmd to the hospital, we look               13
      14 forward to the investment in the facilities. And Ms.         14
      15 Brounce brm1ght up about the equipment-- in updating         15
      16 the equipment; absolutely, we need to do that,               16
      17            So -~ and also for the state, what                17
      18 w1.Ne done in other states, recently Rhode .Island,          18
      I 9 we -- we actually launched a Medicaid pilot program to      19
      20 improve access and improve outcomes at a cost savings        20
      21 to the state. And what I envision here in Delaware           21
      22 County is to do something similar where we can be            22
      23 leaders in the healthcare delivery model for DelaWllre       23
      24 County and the State of Pennsylvania.                        24
                                                             Page55                                                             Page 57
       1              So we're vel'y excited, you know, I              1                 .. -
       2 Will'lt to thank everybody for thei.l.' time and. their       2            CERTIFICATE
       3 commitment. And I want you to know that 1 think that          3                 ""   -
       4 Prospect Medkal is the dght partner, and this is the          4
       5 right time. So thank you so much.                             5     l do hereby certify that I am a Notary .Public in good
       6             MS. FINGERHUT: Thank you very much.               6 standing; that the aforesaid proceeding was taken before
       7              At this time, l think that concludes             7 me, pursuant to notice, at the time and place indicaied;
                                                                       8 that the proceeding was co1Tectly recorded in machine
       8 the witnesses and speakers. Again, I want to thank
                                                                       9 shorthand by me and thereafter transcribed under my
       9 everyone who came here today, both those that
                                                                      10 supervision with computer~aided transcription; tliat the
      IO testified and those who came to hear the witnesses,
                                                                      11 transcrlpt is a tn1e t-ccord of said proceeding; aJ1d that I
      11 We apprecjate, on behalf of the Office of Attorney
                                                                      12 am neither of counsel nor kin to any party in said action,
      12 Genera{, everyone taking the time and making the
                                                                      13 nor interested in the outcome thereot
      l3 effort on pruticipating today,
                                                                      I4    WITNESS my hand and official seaI 1hls 15th day of
      14             And, as I said before, if anyone would
                                                                      15 May, 2016.
      15 like to submit any wtitten comments or provide
                                                                      I6
      16 exhibits, our address is 21 South 12th Street, Third
                                                                      17
      I7 Fioor,Philadelphia,PA 19107.                                 18
      18             And if anyone has any questfons about
      19 the hearing today or the Office of Attorney General,         19
      20 please feel free to come and speak with myself:              20
      21 Mr. Barth, or Ms. Penny at the conclusion of the             2]
      22 hearing.                                                     22
      23             lfthere is no one else who would like            23
      24 to testify at this time, 1 would Hke to conclude the         24

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               TIIIHl> AMENDMENT TO ASSET PI/RCIIASE AGIU:EMENT

          TlllS Tlll!W AM!li'iJ)/llENT TO ASSET l'\IHCHASE AGRlmMENT (the
 "Amendment") is made and entered into Hs of .lune 30, 2016, hy and among CROZER-
 KEYSTONE l!EALTII SYSTEM, a l'en11sylva11ia nonprofit corporatim, ("CrM.t't"), Oil bl'irnlf
 of itself and its heHlih system nmnbcts listed on )':xhi]llll\. or the l'urcltas<: Agreement ("Cro,.cr
 Mcmbcrs' with Croi'.cr and the Croz,,:.·r Members c:ulkctivdy referred to us "Selkrs' and with
           1                                                                                1


 each Crozct Mernbn and Cro,e, individually referred to as a ·'Seller"), PROSPECT
 MEJ>JCAL IIOLDINGS, JNC., n Delaware corporatim\ ("J>MI \"). and PROSPECT
 cno:z1m, I ,LC, a Pennsylvania limited lii1bili1y company ("Prnspect") Oil behalf or itself and
 its wholly-owned allilia(cs listed on lixhiqil B of the Purclrnsc Agrccnwnl ("Prospccl Members")
 (l'MH, Ptospccl, and 1'11,spccl Members nrc collectively referred lo as "Buyers" and individu,,Jly
 referred to as a "Buyer"). (Sellers and Buyers shall each be rcfoncd lo individ1wlly herein as n
 "Party' 1 and. collective!)\ as the 1'Purlies.")

                                             llECITALS:

                /\.     The Partfrs prcvim1sly entered into nnd executed the Asset l'u1d1asc
 Ag,cemenl ( "l'urclrnsc Agreement'') dalcJ January 8. 2016, as amended Oil /\pl'il 29, 201 (i and
 011 June 15, 2016. whereby, al Closing, Buyers shall acquir,· subsinnlially all of !he assets or
 Sellers.

                11.    The Parties recently concluckd ihal llnycrs will not be able lo acyulrc
 Sellers' interests in Cassatt (defined bdow) nnd desire to provide fot cc11ain terms and
 conditions regurding ho11 Sellers' interests in Cassatt will be handled pust-Closing.

               C.      The Panks desire l<l include ccnain dividends to be paid by Cassall
 (udi11cd below) 10 Crozer /Is par! of'thc Assets lo be 1ranslcned lo Buyers.

                  D.      The Parties /\11ihcr desire to clarify that Bnycrs will nnl assume or be
 responsible for C(;rtai11 prc~clu!-iog conlrnctual 1-iabilitics of Sellers nohvithswnding any language
 to the cn111rnry in the assignment documents pertaining !herc;to.

                 F      The Panics l'urthcr desire lo updnte 11,e Trnnsition Services Agrccmcnl to
 add C'ro1.cr ns a puny thcrc'tu and to reflect that certain l'tnpluyees will be lemporurily leased to
 1hc Foundnlion.

                  F.       The Parlies il!rthcr desire to n,c,nl(>rialize their un,kts\anding regarding
 t\1densio11 of the deadline for Buyers to 1crminatc the DB Pension Plan under certain conditions,

                (L     'J'lle Pw1ies desire lu set forth hcrdn llwir mutual un<ll'rstanding to amend
 nnd dari fr t:ennin terms und l'.onditions or the Purchase /\grccmrnt \lpon the terms m1d
 condilion8 hereof.
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           NOW, nrnHEFORE, in considcrntion of lhc premises and the agreements, covennnts,
  rcp1escntatio11s, and wam,nlies hc1·cinal'te1 sci forlh, um! imendi11~ to be lcg11l1_1 hound hereby,
  the Parlh·:,; Hgn.;e us follows:

                 L      C\1pi1ali1.cd T,rn1s, Capi1,dized k:nm used in this Amendment but 1101
  otherwise dci1ncd hcn,in slwll lwn, lill' mc1mi11gs sci forth in the Purchase J\grccmcnL

                  1,      lncludcd J\ssds

                   a,      Section L l(o) c,f the P111chusc i\grcrnrcnt is lw.wb,· cklctcd and rcplcKed
  in its cnti,ety hr n:ad as itJlltHVs:

          1111 of the stock, limited linhility company ("I.LC") membcrslrip, partnership 01
          other ownership, control or bcne!icial inletcsls held by one or more of the Sdkrs
          in certain specified fo1 pro lit A fl1lia1es of SL'ikro (as defined in Sectioo_l 4, !6
          below), ccn;1i11 specified wholly-01111cd I.L< 's, joint vc11turcs with third panics or
          other non wholly ownc,J alfiliatc,d orga11izatio11s all as specilkally listed on
          Schedule 1.1.(g), which shall not include any stock 1,r other rights or interests in
          Cassall lrm1rnncc Company, Ltd. und Cassatt Rl<G Holding Compnny
          (collectively ''Cassal\") except as sci forth in Seel inn l I .28:

                  b,      The "and" a\ the end of Section I, I (s) ol' the l'uJl'.lrnsc Agreement is
  hereby deleted and curTcnt Section l.l(t) of the Purchase J\grcc,ment is hereby rcmunbcrcd ,is
  Section I, l(u) of the Purchase Agreement.

                  c.      New 8cc1irn1 I, 1(t) of the Pc,rchnsc Atu-cement is hereby added In m,d ,rs
  follows:

          fonds in \he amounl of Three Million Five Hullllre.J Thousand Dollars
          (~3,500,0UO,OU) representing rh,· spctial dividrntl In be paid in hill by Cassa!\
          Insurance Compnny, Lld. lo Cw1,cr on 01 prioJ to the Closing Date CCassH1t     1



          Di vidcnct"); nnd

                  3,      Crozer For-Pro/ii J\l'liliatcs, Jqi_nt Ve.11t111Ts and !hher i\l'lilialcd
  Org,~nizatign,s. !;ifhcdulLLL(Q) of the Purchase Agrceincnl is hereby deleted in its cntil'•ty nnd
  replaced with the form attached hereto as $c_hc.<lulc lJ{Q),

                4.      l'.xrllHle_d 1\sscts. Sec1i,,n I ,2(a) ol the Purchase /\prcemcnt is hcrd,y
  dcktcd and replaced in its entirely lo rc1«l as follows:

          cash and investmi:nt assets) other than the medical stnlT fond bulnnees r~frrenccd
          in Seel ion I,) (d) und Ilic fonds associa1cd with the ( 'assail Dividend rckrcnccJ in
          Section Ll (t):

                  5.      Excluded l;\H1traslual Liabilities.

                    a.      Section l.3(a) ol' the Fcrrdrnsc A~rceoll'llt is hcrd,y dclc1cd an<l replaced
  in its entirety to rc;,d as {l.1!knvs:
                                                       ?.
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           (a) all obliga1io11s m·nuing, unsrng or to be p<'rforn,cd after tlw Effective
          Time with respt:{)1 iu the t'untrw.:h Hssigntd IP w1d assumed by Buyers, bm only
          to the extent such t 'tJ111>ac1s arc Iisled on Schedule I. I (1), and subj eel to
          Buyc-r.s rights II) havl' Sc-1\crs n.'.nsottt\bly amend. t<:rn1inatc or olhcrwist not
                  1



          ~ssign any such Cn11trnct prior to Closing, and notwithstanding anything to \he
          contrmy in any assig11111ent nnd asswnption .:ign:cmen!s or similar instruments
          entered into in c(rnncclion with nssigninB 1hc Contracts to Buyers hereunder,
          which instrullients 111igl,1 p]()vidc lh'11 one m more Buyers arc purtiull)', jointly
          and/or 1,cvc-rally liable for certain ohligations or !inhi!itks t1ccruing orislng or
                                                                                    1

          lo be pc1 fonncd on or prior to dw Effrctin: Time with rcspl'l'l to sul'h Contracts
          (0Prc-Closing Co111ractwil Liclbilitics' 1), \\'hirh ngrm:m1:nh and instruments shall
          not affcel lhe status or such !'re-Closing Co111rnctual Liahilities ,,, Excluded
          I .iabililics (as dcfmcd hclnw) for purpose, hereof;

                b,      The first parngrnph in Section I .4 of tlw i'urch11sc /\grccmcnl is hereby
  dclckd and replaced in i1s mtircty to react as follows:

          Excludc<l Liuhililit'S. hcep1 for the Assmncd I.iahili1ics, Buyers shall not
         assume and under no circumstances ~ha!i Buyers he obligat<::J to pay 01 nssume,
         and none or the assets of Buyers sh,,\! he or bc'comc liabk for or rnl1iccl 10 any
         liability, indebtcJn(~ss, conunitm<:nt, or oblig<1tiL)U of' Selk•rs~ whether known or
         unknown, fixed or rontingt'nl. rer.onlcd m tHHL'L'ordcd, l'Urrcntly existing m
         hcre11ftcr arising or o\hcrwisc (collectively, the '·l•:xcludcd Liabilities"), including
         1hc following Exchrdcd Liabilities, which si,r,11 1in1. in any ease, include any
         liahililics Iha! arc subject 10 ihe Nc1 Wmking Capital adjuslmcnl sci forth in
         Sci.:tion 2.2, and nolwithslanding nny1hi11g to the contrnry in any assignmenl un<l
         assumption tlgrccmrnt;; or ~imilar instnnrn:nts cnte1<:d into in connt:1..'!ion \Vith
         us-signing !hl.' Cnn1rac.ts l(i Buyers hereunder, v-:hich l11s1runwnls might provide
         that mil' nr m(1rc Buyers arc partially, jointly nnd/01 ~i::vcrn!ly liable for Pre-
         C!()Sing Contract uni Liabilitir~, ,vhich agreements and in~trurncnts shall not aftC'ct
         the w,tus of such Pre-Closing Cuntrnc\ual Liabilities a, L,dude<l Liabilities (as
         JclincJ below) for rurposes h,·.rt'of:

                  (1.    Apllov, r CQD\ri_P...!!..tiili~- Sr..·ction 1.3(g) (If tlw Purchase Agrccmenl is
                                 1


  hi.·rnby arncndcd by replacing the p!Hns~ :exdudi11g {1u1swn1.Hng loans'' with lhe phrnst'
                                                   1


  1
   ;induding tnitstanding loans,"

                 7,      Pq,sion Tcrrninnti_\J!). Section 2.4(c) of 1hc Purchase Agreement is hereby
  deleted and rcplnccd in its entirety to read as follows:

         (c) l'ost-Clusing Connnitmcn1. Within live (5) years ,rflcr the Effective Time
         and subjcL:t to applicabk filing and authrnfration by tlw applicnb!c Ciovcrnment
         Entity, Buyers shall mlopl a plan amcndmenl lo tcnninatc till' Ill! Pension Plan
         (the '·Plan Te1mina1ion Arnerrdnwnt") eflcctivc within such five (.\) year period
         and then·ai\cr, in accordance with applil.',rbk- law, shall liquidate, J\Jlly Ii.ind and
         satisl'y) and pay cdl benefits owed to participanL'- and bcndicimies o( the DB
         Ptnsion Plan hy providing for lump sum diMrihulilms to participnnts\ pun.:htn:ing
                                                  3
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             rnmuitilis for p3.rtii.:ipunt~ who do not ekct iJ Jump .sum distribution 0r 0thcrwhc in
             }ll,'.l'Drdam'.c with the ttrn1s) cm1di1ions a!Hl provi;-;ion~ of the DB Pension Plan ('1$
         in cffrct al the Hlcctivc lime) and with applicable law. Notwithstanding tlir
         fowgoing or anything to the contrary herein if. and only if. the monthly reprn1cd
         Scr:ond Segrnclll IRS Section ,t I 'l(e)(3 )(!)) Minimum Present Value Pl' A
         Monthly Rates with I 003/., Phase-in (Ow "ll(S Discount Rate") for the 111011th, of
         December 2020 and June 202 l arc holh lower than four and fwclvc hundredths
         percent (4.12%) (the "lRS lliscount Rate Thrcsl10ld"j, then the llu)'ers 111ay defer
         adoption of the Plan Tcnninatio11 A111e.ndmc111 for a period of one (I) ycnr. li'the
         !HS llisco\llll i(ate for the nwnths of De,:emher 202) and June 2022 arc bo1h
         lower tlm11 the IRS lliscounl !{ale Threshold, then Hu,·ers may dcfrr adoption of
         the Plan Tcnniniltion /1.111cndmcnt for an additional one (I) year period, hut in no
         cvcnl may the ndnption of tlw Plan Termination i\m('ndnw11t nnd its cffeclivc dale
         be dcf<'rrcd lrJ11gcr than the end of the ciglt1y-fom1!, (84 th ) full mnnth \hat l,,llows
         uf\er (and cotmting the monlh that includes) the Hfr:clivc Tim,·, and such
         adoption and terminalion ~hall Ix: approved then no malter what th<: IRS Discount
         l{uk· is a1 any time prior 1bcrdo.

                    8.      Cl ~J)cli vcr;ililcs.

                    a.      The "and" ht !he end of' Section 1.2(q) of the Purchase J\grccnwnt is
  hereby deleted and current Sccllon 3.2(r) or thi..• Pwch;-1se /\grl':cmcnt is hereby rcmnnbcrcd as
  Seclion 3.2(t) of the Purdrnsc /\grccnwnl.

                    b,       New Section 3.2(r) of tlw i'urchase Agreement is hereby added lo mid as


         i\n mnounl cqnal io Three Million Five llundrcd Thousand Dollars
         ($'.l,500.000.00) in in11ncdintel)' nw,ilnbk i'nnds rcp1csc111inf! the Cassa\! Dividend
         to an acc:ount (or .itcoun1s) Jesiµnated hy Buyers prinr to Closing;

                    c.       New Section ].2(s) of the l't1rchasc 1\grccmcnl is hcrd,y added lo n<ad as
  follows:

         i\ Limited l'owc1 of Attorney in wbslanlially Ilic form allached hereto as
         Exhihi.lM. (the ''Limited Power nf A11ontcy'\ foll)' executed by CroLer and as
         describc<l in Section J 1.28 hereof: and

                9.      Conditions to Clog.            New ~cnion 8.14 of the Pt11chase Agrcernrnl is
  hereby added lo read ns follows:

         Pnym<·nt of Cassatt f)i\'i,kud, l:assall lnsnnmcc Compnny, I td. shall hal'l' paid
         to C'rozl'L and Cm%,!!' shall have received, lh1.· l\dl ;.urn11mt cd' the Ca!'isa!t
         l)ividend.




                                                         ,j
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                  l 0.    Cassatt_J'nrnsililln.     Sc·clir,n 11.28 i, hereby added lo lhe Purchase
  AglTcmenl to rcr1d as follows:

         Cassatt Transition.

                (1t)   l'ollowing the Effective Time. Crozer shall promptly, bul by no
         bier !han thiny (30) days after !lie Etfrctivc Time, lake ;mv and nil actions
         necessary to sc!l its sharc8 i11 1 and wilhdrnw 1:.1s H slrnreholder of. Casslllt Insurance
         Company, Lid. ("CIC!.") oli acconnt of ceasing patlicipation in the Cassatt
         i1rn11rancc program, which sale and wiihdrnwal shall he effected by Crn1.c1 in strict
         compliance with applicable law and the terms and c,,ndilions r,f the CIC!. !lye,
         l.uws, dated Scplcmhcr 6, 20 l 2, 11, may b,· amended (the "C!CI. Bylaws"), and
         the CJCL Consolida1ed und Amended Shareholders' Aµrcc111cn1, dutcd l\ovcmhcr
         16, 201 l, as may be 1,mcndcd (the "CJCL SIJLtrcholdc1.s' Agreement" u11d.
         collectively wi1h !he CICL Byluws, the "CICJ. ()ovcrning Docunwnls"), und in a
         n1a11ner dun preserves Cro/.er's rights llK·ret1ndt.~r including, the right lo receive the
         l'aymclll (as Jcli11cct in Section I.C.4. l of the CK'/. Shareholders' Agrcrnw111 lo
         be the lower of the lnitinl Slrnrchol<lcr liquily llala11t·c· and th,· Final Sharcholdc,
         Equity Bnluncc, boih lenns being defined therein) in uccordancc with the terms
         n11d con<lilions of the C!CL Governing Documents ("CIC!. Buyout").

                   (h)    Following the Effcclive Time, ( '1m.ct shall promptly, bui hy 110
         later than thil'!y (30) duys aJh,r the, Eifoclivc Time, take any and all actions
         lll'l'Lssary to suncnder its shares in, and v'>'iihdnnv as n shareholder oC Cussatt
         I{ RG I lol<ling Compuny ("Cassatt llol<ling'') on ,wrnunl of ceasing purlicipation
         iu the Ci1ssa1t insurance progn,n1; which smrcnJC'r Hild withdrawul shall be
        effrc1c<l hy Crozcr in slricl compliance wilh applicable law and tlw 1crrns and
        conditions ol' Cassall llolding Bylaws, duied Sepll'mhcr 19, 2012, as may be
        amended (lhc "Cassatl Holding llylaws"), and the Cassatt llolding i\mcn,k<l an<l
        ll.esrntcd Sharchul,k.rs' Agreement. dated January 5, 2015, 1" lllU)' be arncndt'd
        (!he "Cassa\\ flolding Shareholders' i\grccmcnl" and. rollcclivcly with the
        Cassu(( !folding !I ylaws, the "Cuss,1tt llolding (inverning Documents'' which,
        colk<.Jtivcly with CJCL (3cwcrni11g l)oeumcnls, shall be rei<.'rred 10 as the "Cussatl
                                   1                                                     1
        Governing Do<:uments -'J, and in a manner thal preserves Crozer rights               :--;


         thcn.·t.mt.h.:r including the right   to   receive paymenl <if Cro1.e.(s cnpital and
         Dividends (as described and dc:ftncd in Ar1iclc VI of the Cassat( llolding
        Shurcholders' Agrcl~mcnt) in acc.1..ndani.:.c with tilt terms and ,ondilions of the
        Cassatl llolding Governing Dornmcnls ("Cassalt llolding Buyout" and,
        collectively wilh C!CL Buyout, 1hc "Cassatt Buyout'').

               (c)    C1mcr hereby: (l) rcprcscnls nnd wurrnnls lo Prospect that Cr,w.cr
        is and wus at al! 1imc.'> in complian~e \"'ilh its dutk·~ anJ obligations under th<'
        Cassatt Governing Documenls; nnd (2) covenants to Prospecl 1ha1 Crozer shall:
        (/\) continue to ht! in compliance with the Cassull Go,·crning Documents llntil
        such time as the Cn:sa11 l3uyoul lrns bc·cn completely paid to Crozcr; an<l (B) take
        aH acJjons and m~as1.ires necessary ur desirnb!c to p,cscrvc, ur lo not prejudice,
        Cn..izer's ri~hts (o and tlw vi.'\!uc uf the Cassatt Buyout, which aetions and
                                                      5
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        n1tm!'>1m·s shn!I inclu<l(;, \\'id1ou( !imitation, !-:ubrnitting prope1 and timely notices
        of tenninati0n/withdrawal, obtaining third p.irly coJJ>t·nts 1 ~onfirming Cussau
        Buyoot amounb and paynwnt/c,dcula!ion procedures with Cassatt reprcscntutivc.~~.
        providing wiring ins(ructions, nrnin!,iining !iles and re-cords and taking any other
        actions requested by Prospect.

                (tl)      Prnmplly up0n receipt 111' any Cussatt lluyo!ll funds, but by no later
       than two (2) business clays alk1 receipt thcrcol, Crozcr slwll lnr11sfe1 .such funds in
       full via \\')Jl· lrnnsfor nf imm\'.diatt'ly ltvaililble funds to an account designated by
       ProsperL No1wilhs1alllli1ig the.A frin·going, upon lht• n·asonahk request o(
       Prospect, Cro~er shall coopt'rntc ,-villi Prospccl lo es!ahli.sb an accmm1 10 reccivl'
       the Cassatt Buyou! funds and !u automMkally :-;weep or otherwise transfer such
       !t11lds lo an accounl dcsig1wlcd by J>rnspccl. 1Jpnn rcqucs\, Croz~r shall provide
       Prospect wilh a full accoonling of ,my Cassal\ Huyout f\mds rcccil'cd and
       Prospect shall be pc1rnit1ud to rcnsonubly audit any rdcv11nl files and records of
       Crm:cr 011 .i pl,;'riodic basis in twtkr 10 confirm proper payrnc:nt and tnmsfcr of such
       fonds, Crozcr shall prnmptly notil'y Prospect of any 11cwal or thrcatc!lcd breach or
       default by any party in connection with the C<.tssatt Governing Docwncnts,

                (r')    Cassnlt Cc11·u1dng Documents; C1mutt Buyout,

                        (i) /\s or the Lrkctiw Time, Crn?.er shall take any and all actions
       and measurL'S nc1:1.'s}mry or dl.:$irJ.blc or as otherwi~G requl:sted by Prns1n~ct in
       order to, to the maximum cxtc1l! lc);,111)' possible: (I) provide l'rospcc.t with any
       Hnd ull righls and bcncf11:-; under the Cu~sol! Holding Governing Doi.;umt..:nts 01·
       othcrwisi: in conm:ction with Crni',cr's intcrcsls in C:issatt Holding; (2) enopcrate
       in any reasonable.: and lmvful 1u·mngument 1.h:sign1,;d to prtn'idc sllch rights and
       b1..~nefits tu Prnspcct; and (3} c:nforcl' for the accnunl of Prospc·ct any rigbls uf
                                                                                  1

       CrnnJt undl~r the Cassatt J lo)Jing (Jovcrning Dncu111cnts or otherwise io
       cumwction with C'rnzer s inkn:.sts in Cassatt l folding. As of the EHCctive Tirnt\
                                 1


       without limiting the generality of the foregoing, Ciozcr shall grant Prospecl tht'
       exclusive right lo direct Crozcr's nc.:tions aud activitic$ v:ith rcspccl lo monitoring.
       enforcing nnd pur~uing any and all lcgtd and l.;'quitabk rights and Jcmcdics in
       connec.lion ,vith the Cassatt l lol<ling Buyout or olhcnvisc in conm~ctiun with {he
       Ca::-su\l I-folding Cloverning Don1ments includi11g, without limitaliun. s~nUing
                                                     1

       dernnnd kncrs, invcstig,aling poteniial brciH:hcshnunituting comp!innce 1 auditing
       Cassatt Holding Buyout payments, pmsuing 11rbitrntio11/n1cJiationldispute
       resolution and undcr!nking litigation, all or which autions und u<:tivitics shnll he al
       the expense of Prospect.

                       (ii) l::1frctivc, i( at all, upon the lutcr of the Effective ·1 ime and the
       Bl'-•!A J\pprnval Date (as defined bdow), Crozer shall take any and all actions and
       mcasun,'-S ncccx:-.ary nr dcsirnh!e or ns nlherwise reqllcswd hy Prospect in order to,
       lo the maxi1nwn extent kgallv possible: (I) provide Prospect with any und ull
       ri!>l1ts and bc1wf'tts under llre CICL Uovcrning 1J,,cun1c11ts or otherwise in
       connection with Crozer'$ intcr(·sts in ClCL; (2) cooperale in any reason..ibk• <Jnd
       Ju\\fUI m-rnngi:mrnl designed to provide sueh rights and bcncJits !o Prospect; and
                                                    6
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       (3) enforce for 1hc accow11 ol Prospect, any rights of Croz~r unJe, the CJCJ,
       Governing Documents or otln:.rwisl' in connc<.'.tion wiH1 Crozcr 1 s interests in
       l'JCL. Effective, if' at nil, upon Ille later of tlw El'li:clive Tillie and the ll\11\
       /\pprnvul Date, without limiting the gcnernlity nl'the foregoing, Crnzei shull grnnt
       Prospefl lhe exclusive right to direct Cro1l·r~s uction~ and activities with rcsped
       lo monitoting, enfordng and pmsuil1g n11y and all lcE,fll and equiiahle rights and
       remedies in con\\cction wii11 the CJCL lluyoul ur otherwise in connection with the
       CICL Governing Documents, including, williout limitntiun, sending demand
       lctlers, invcstigatiug potential hrencltcs/ monitoriu~, cornpllancc, audi1ing CICL
       Buyout paymc.nts 1 pursuing arbitration/ 1J1edin1ion/ dispute resolution and
       underiaking liligation, nil ol'whieh aclions and nctivirics shall be at the expense of
       l'rospecL

                        (iii) \Vithou1 limiting tht !'on.:-goin~, C'.rozct shall also execute and
       deliver lo lluyers the Limi1cd Pnwcr <11' Attorney in subs1,inlially \he form
       attached ht:reto as t~~bjbit 1\'l in t:onncction with t'nforcement of Crn1,cr's rights
       and tT.mcJies wii11 respcr\ to Cassnl\, which l.imitc-d Power o/' Attorney shull
       gcr1er:rl!)' be elfoctivc as of' \he Erfoc(ivc Tinie, except with respccl to the
       provisions lh('.rcof' as relate to cnfocccmcnt of Crozcr's rights and remedies related
       to CJCL, lite CIC!. l1ovcmir1g Docullienls and the CIC!, lluyout, whidr
       pr·ovisions shall only bcNnnc eflcc1ive, if Ht all, rrpo11 tltc Inter of tire Elfrctivc
       Time and rhc BM;\ Approval l.lnte (as dcfillcd bclo11').

                (f)     Crozer shull remain in existence ns           ti   Penn,~yJnmia nonprofll
       corpm·ution in good stnnding cUJJ ,1.1 " scparnle k,gal entity rmtil rc,•.cipl of" all
       Cassa!\ lluyoul funds (und trarislcr thereof \n Prospect_) and cessation of" uny other
       rights, bcnc-Hls and/or obligatiolls under the Cassatt (lovcrning Document5', unless
       npprovc<l by l'rospcct in writin~ as set forth below, and Crnzer shall not, wilhou\
       receiving prior \\Tilten approval from Pros_pcci: (1) unlkrtnkc any merger,
       division, !iquidn1ion 1 d)ss<Jl11\ion 1 ttrmination, c.011sulidi1!io11. <:onvcrsi<in 1 member
       ~ubstitution. salt: or l)thel' similar fi.mdamental corport1t<: tumsactio11; or (2) nssign
       either 1hc CICJ, Shnrchol<lcrs' Agrccmclll or the Cussall Holding Shmcholders'
       i\grcem,·11I or lmlh or any rights, rc111c:dics or bL·neLJts thereund<'r to any third
       par\y.

               (g)      Nolwi1hsIan<ling the f'ort=going, the Partks anticipali: that C'rnzcr
       mny, ut :-.nme point after th('. Effoctivc Time, merge with 11ntl into the Foundation,
       with the Foundation being the sufvivlng tntily, which merger 1rnnsnction or
       similar trnnstwtion mny he unJertaken by Crnz.er only upon rcc(..'idng the priM
       wrlttcn .:ipp1\1va\ of Prospt:'cl and provhkd tlwt, prior lo consurnllHllion !hereof,
       Crozcr tukes nil actions Hn<l t:tcp:-i rcqueskd by Prospect to preserve all of
       Prnspect1s und Crozer's rights, bciv..·lits, authority nn<l remedies described in thls
       Section J l ,28 1 whkh may im.:luLlt.\ witlwut limita1inn, ob11dning \\Tilkn
       consenlh,cknuwledgcment from f'JCJ, and/or Cns..sull l lol<ling (or ::;harcho!dcrs
       thcreol) us lo the lrnn,li:r or righ\s to the Cnssalt Huyout, obtaining approwil of


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~""~~~i!!((,,!Hi½Ci2?7:t,"7~--0~~1C~t:.$1'i;i$Q!f'~-}fif$J;j<~',•c,,n,,:~--V/2'"'0c$[}'Jfil'j,)8C;@"c)ii,?¥~,4\'.ik&!l'1SttJ'J!S:&M-1&%'/'~"!§l!i™3if!,WJ:J:!.'K!i!!!!/J;~~~   ~~-- - - -



                                                                                                                                                                                        v


                                  the Bermuda Monctnry Authority and entering into un agreement whereby the
                                  Foundation assumes Croze,'s obligations n11cl liabilities under this Section 11.28.

                                           (h)     Notwithstanding anything 10 the contrary herein, the provisions of
                                  Section l 1.28(c) above as rdutc \o CICL, .the C!CL lluyorn and/or the ClCL
                                  Governing Doeumcnts, including the provisions of the Limited Power of Attorney
                                  that relate (o such tnatlcrs (the "CICL Provisions"), nrc subject to, and shall only
                                  become. cffoctivc upon the Jule on which Prospect (and Cro2u, iC necessary)
                                  rcccive.s any neccssury consent, approval or order from the Ilermndn Monctiiry
                                  Authority (''llMA") approving such CJCL Provision.~ (the ''BMA Approval
                                  Date"), which Prospect (and Crozcr, if necessary) shall seek to obtain usin~, thcit
                                  reasonable best cfforls 11s promplly as possible, Jf' the Blv!A denies or refuses lo
                                  grant any necessary consents, approvuls or orders with respect to the CJCL
                                  Provisions, and, upon f\Jr(her appeal, us applicabk'i sud, decisioll bct·omcB final
                                  and non-appcalublc or tire Parlics mutrwlly agree not to purstrc firrthe.r appeal
                                  thncof, lhc CICL Provisions of Section I l .28(c) abovc und !Ire CICL Provisions
                                  of the Limitcd Powcr or Attorney shall not take effect and become null nnd void
                                  and lhc l'miies shall use their reasonable bes\ efforts to promptly amend or
                                  replace such Cl CL Provisions, vfo mnenc.lml'nt of 1hi~ Agreement or othcnvisc, in
                                  a manner 11pprovcd by the BMA, to the extent such approval is required, which
                                  provisions shall he designed lo protect Prospect's intcrcsl in and riglm with
                                  respect to CICL, lhc CICL Buyout and lhe CICL Covcrning Documents as set
                                  fotih in the CJCL Provisions lo the maximum ,·xt,·nt pcnnissihlc under applicable
                                  law, which proYisions might, among other things und to ihc extent legally
                                  permissible, compel Crozcr to promptly m1<l fully pursue any and all n·asonahlc
                                  legal and/or equitable claims or other actions against ClCL to the extent 1Ji,, ClCL
                                  Buyout thal CICL agrees \0 pay is less than the lower of the Initial Shareholder
                                  Equity Balance am! the Final Shareholder Equity Balance (as such lcrms arc
                                  defined in lhc CIC!. Gnvcrrring Documents).

                                     I l.    Address Change, In Scc1ion 14.11 of' the l'urclwsc Agreement, \he notice
                      address of" Buyers is hereby deleted and 1crl1wctl in ils cn1ir·c1y wi1h the following:



                                 l'rnspccl Mcdicul Holdings, lnc.
                                 34 I 5 Sorrlh Sepulveda Blvd, 91h Floor
                                 Los Angcks, California 90034
                                 Attention: Ellen J. Shin, Esquire
                                 Gencnd Counsel

                                  With u simultaneous copy lo:
                                                                                  Stevens & Lee, P.C.
                                                                                  620 Freedom Business ('enter Drive, Suite 200
                                                                                  King of' Prnssia, Pennsylvania l 9406
                                                                                  t\llcn\ion: Thomas M. Tarnmariy, Esquirt
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·-~.w.=.:·~!¥:+:WNVfr~O"l'¥{!~~1%,J&fl'dP$~&?FV%8%-"~-Jt"'"'7o/Q'o/~'   """° - - > ~ f ~ ' . ' ' G " " ' " ' ~ " r ~ ' ' . " . 1 ~ ~ ~ ; . . , - - ; , i . & ~ J : V ; ~ & i , J ) $ , : ' _ 0 ( ~ @ , • 0 Y. .C½,19i//.\/W.i$/i
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                                   ! 2.   /\mcnJeJ Trnmdtion _Sgyict•s Aµn.:l'.1ne11t. Tht 'l ran~iti(111 .Servh.:c.s
                  1\grec111rnt nt1ached as Exhjbit l uf the l'un:lrnst· /\grccmcllt is hereby deleted i11 its entirety and
                  replaced with the frnrn at111chcd hereto ns Exhibit I,

                                   13.      Purdrnse Aµ,rcc111cnt. ·1'his Amendment shall modify the terms or the
                  l'ull'ha,t• Agrccmcnl only to the cxlc11t csprcssly set forth hc1rin, /\II other terms and conditio11s
                  ~cl forth in the Purc!rnsc•, Agn..'.et11c11t shall otherwise rcnrnin in full force nnd cffCcl.

                                      14.      Oov,nllillilcillY, The l'urtics uisrcc tlwt this Amendment shilll be governed
                  hy a11J construed in uccor<lLJnee with lhc laws of thl..' (\1mmonweallh of Pennsylvania without
                  rcganJ to contlict orlaws plinciples,

                                  15.    Coumcrt\,\Ct!!. This Amcndme11t lllH)' be executed in multiple cotmtcrpmts,
                  cuch ol' which ,hall b¢ an original an<l all of which together shall ccmstitutc hu1 one and the sumc
                  in:nrumcnt and u signed copy of this AmtnJmL·nl dcliver('d by focsimik\ t•mkiil or other 111cans of
                  electronic transmission shall be dccnwd 10 ha\'c \he samt: kg.al effu\..'t as delivery of m1 originul
                  signed c.opy.

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             11' WITNE:SS WJIE:HEOJ/, int<nding to t1e legally houn d thereby. the l'arlics lu:1ctu
    hnvc caused thb Amendment to be ext.!cuti:d by their authori,~d offkt·rs, all cfkc1ivc as ol tlic
    date first nhtwe wriUe!l.


    cnozr,:i,.KF:\'STONE HEALTll SYSTl'M


    Hy:        -,:,.
            ~ - Richards
                        '~~~
            /'/tic:  P1·~shlen1 and ChicfExccuti\,c (>fficer



    l'[WSPECT cnozrm, Ll,C



            Name: Samuel S. Lee
            ·1 itlc: Chicffaccutivc Officer



    PIHlSl'ECT MEnJCAL HOLnINGS, INC.


    !:ly:
            Ni1mc: Samuel S, Lee
            Tide: Chief Fxccutivc Orliccr
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               IN WIT'll<:SS WflElllcOF. i111ending 1n ht legally boun ti therchy, 1he l'mlics htre!o
    lwvc C'<H1scd thi.i. Amcndmrnl to he cxccull'd hy thl'ir at1tllllri1\•,d officers, it/I cffl·clive ns of 1lic
    dale first abo\'c written.


    CIWlst:lt-KE\'STONE IIEAl.'J'II SYSTEM



         Name:        ,lonn K. Hirlrnrd::_..
         Title:       President um! Chief l:.xl·cu~ivc OHirt.·1




                                         /)
                                      ///
    PROSPECT MEDICAL !lOLDINCS, INC.


         -~~~··>//~
    lly: - -                L,.,,,
         NilllH': Srm1u~l S. Let·
         Tille:     ( 'liirf Executive Ollie er
                         I
           Case 2:24-cv-05853-JP Document 1-1 Filed 10/31/24 Page 178 of 246



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E/'$'4~4'%1¼;;0:;'¼&,;k?n\¼',-},O,;L¾¾,S(e;,R~;$'1:~,;0Wi-'.;:,$s._¼S..-T,zt?,.anr.,co,0.-=:uz--o~;~'1£~~~~~-¼~*~»~4·~~.•-~;~@~~t\UJB(~,¥4%#'~J1!i;~
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                   F,,,.. Profi1Affiliutcs 10thcr 1\ niliatcd_( >rgu11ir11tJ9u~.:

                        l. Prospect Provider Uroup PA, LLC

                   Joi 111. Vcntu.1.t•~:

                        I. llrinlnn I .ulcc Mnn"l/tll1C111 Cnmpan)', I .LC

                        2, l'ybc,1knifr Crn1cr ol' Philadelphia, l .I ,C

                        :i. Delaware V1illey Sleep Muuagcull'l\l Compun1', l .l .C

                        ,1. llel-Vnl Equipment I.casing Company, I,LC

                        .5. Dialysis Access C'cutcrs. LL('

                        6. <irnyhawk Home Care 1. Ll ,C

                        7, I lavcrford M,uwgwwnt Cnmpuny, LI.C

                        8. Tech !'ark l'rnpc1 tics, lnc,



                        10. DC'M 11 MOB Associates
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                                  EXIlllllT I

                        Trnnsition Sl·rvitt•s Agncmt·n1


  Sec attached.
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                                                                                                                          C




                                                         EXHIBIT M

                                           LIMl'/'En l'OWEH OF /l'JTOH\EY

                   KNOW ALL MEN IJY THESE l'Rl'.SliNTS, that CR0/.1'.R KFYSTONI•: IJl,;i\1.TI I
           SYSTEM {H~:_rs1i'9f'), tt nonprofit corporation duly 01 ganizcd. under the law.i. of the
           Commonwealth of l'enn,ylvania, cffectiyc as ol' .luly I_, 2016, hewby makes, constitutes aml
           appoints PROS!'ECT CR0/1:R, I,LC (''Prospect"), a Pennsyll'ania limi\cd lianilily company, as
           Cmzcr's true un<l lml'ful altonwy-in-foct, aulhorizeu (llul n"t required) as its agent w lake, from
           1ilm: to 1jml'.. nn<l at any and all times, any xnd ul! acliolLli which CrnLn il$L·lf cm1\<l takt., in
           Crozl'r\ name, pl1Kc and stesid 1 to !he maximum exll'n\ pc1 miHctI hy luv:, as follows:

                   I.      {,rant of Power.

                              a.        J,:m:.divc as of !he <lHtc tin;t wrillcn uboVt'., Cru:;.er hcrtby grants tn
           f'ro~pcct, as attorney-in-fa<:!, the power It): ti) take nil action) l'Xctutc all documents and inslitute
           and pwsecutc all prot:ecdingi; whic.h Prnspcct may dccrn propt::r in order tu monitor, nssert,
           collect; t'.nrorce or p~nsue any chdm, right, title or intl:n:\-;! rif any kin<l 1 whether at law or in
           equity, in conncclion with ihl' Cassa\! I Jolding Buyu11\ or the Cassa rt I lolding Governing
           Documents; (H) defend, rrnnpru1n!sl~ or scHlt any and all claims, actions, suits or procee.dings
           wilh respect lo the Cassatl llolding Buyo111 or the Cassatt Holding l,nverning Document,, and to
           do ul! acts un<l 1hing:-: in n·!flliun thcrdn as Pruspccl rnny deem aJvh;ahlc: Hnd (iii) htke all otJwr
           m:lion~ and pursue a!I other remedies \vhkh Prospcc! may reasonahly deem proper in on!t:r to
           obtain the benefits of the Cas.satl l lolding lluyou\ for the. [1(•(0\111\ of Prospect, inl'iuding hut no\
           limited to endorsing and depositing into Prospect's acc.nu11t any nnd ul/ ":hecks paynhlc lo Crozcr
           in connection with the Cussutt I loldin~ /luyou\, ,di ,,I' which al'lion, sliall be unJc.r\uken at the
           rxpcnse of Prospect Prm;pccl .shnll he c:ntit\cd tn retain for its own account any amowlls
           collected JHlr.':aJJJnl to tlw foregoing powl'rs, includin~ any ,;inwunh p::iyahlc as inlcrc;,;l in rl'spcct
           thereof'. Crozcr here.by rntilic, nnd conlirm, all tha1 l'rosp,·,·t ,hall lawltilly do or cuL1sc to he
           done by virtue of this ['rnnl or power. l'.roze, acknowledges tlrnt the l<negoin~ powers are
           coupled with an inlerest a11d shall he irrcvuL'nh!c.

                            b.      Hfretivc. ii' at all. up"n the later of' lhc date firs! wrillcn above ,m<l the
           dale of approval by the Bermuda !Vlvm.·tary Authority, Crni',cr he'rcby grnn(s to Prnspt:d) us
           a1torncy-in~fact the power to: (i) wk,~ all a~don. exc-cu1c all documents and institut<: and
                            1

           p10~1:cute till proceedings which Prospe<:t may deem propl'r in order to mo11i1or, assert, 1.;olkct,
           t.•nforcc or pursut• any clai111 right, lit!e nr inkrcs1 of uny kind, whcthl'r at law 01 in equity, in
                                           1

           councction ll'ith the CJCL !3ll)'Olll or the CICL Governing Ducnments; (ii) defend, compromise
           or settle nny and nil c.laim~, ac1inns, sui1::. or proceedings with respccl lo lht' ClCL Buyout or lhl'
           CICL Governing Voeww.:nts, anJ to do all nel.s and 1hings in relation th1.:rcto us Prosptct may
           deem advisable; rmd (iii) tnkc ul! olher actions am\ 1rnt:~ue oil othel' rlJme<lh.·.s which Prospc-n may
           rea~onably ckrrn proper in order to obtain the benefits of the CICL Buynut for the account of
           Prospeet, including hul not limited to c1H.lor~;ing and dc..:positi11g into Prospcct1s accmm1 any m1J
           1111 chc,·ks payable to Cru,.er in councetion with 11"- CIC!. lluyout, all of wluch actions shall be
           undenakc.n at the expens<.' nf l'mspccl. Pro:;;pcct !ihall be entitled to rt'lain for its owu account
           any amounts coHcclcd pursuam to the 101-cl~oing powers, including any w1w1mt:,; payahle as
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  interest in rsspccl thereof. Crozcr hereby rnlifies and conlinns all th,H Prospect shall lawfolly do
  or uwsc to bt: done hy virtue of this grunt of power, Crnzc1 acknowledges that the foregoing
  powers are coupled with an interest and shall be incvocablc.

           2.      LtmilptitnlJi. NotwhhBtam.ling nnything to the contrnry h~icin, the authority
  gl/Jnt,,d by Cro'/.el' in favor or Prnsiwet hereunder shall in no way he eonslrued 10 t~ivc Prospect
  the right or authority to:

                     (i)   /\mend ,11 otherwise alter the terms of 11,c Asset Purchase i\grccmenl, dutcd
                           January 8, 2016~ us umcndcd, by and among Cro;;-:r, its nlfi!ia!es) and
                                                                                  1
                           J>rospt·rt, ils affi!iat<:~ CPurcl11t~c.. /\_gn;fJ.iliJ.1\' ur till)' of the ngrecmen1.i.;
                                                                                      )

                           n:fr·1n:d lo thcicin: rn

                     (ii) Provide ,my c.nnscnt,; m app,oval,; required or penniltt·d under the l'tll'chasc
                          Agn.:<.·mclll or any of the ngrc~111ents relerre<l to therein.

           3.     l'f.11 i'laJu1c.. 'Jr, the ex lent the authority grnnicd O)' Cron'! ,,, fovor of' Prospect
  hereunder is deemed to be subject lo Sl'clion 5(i(I I fl seq. of Clrnpter 56 of Title 20 of !he
  PcnnsrlvM)ih Cnns.olidall'.d Slalutesi .:.is amended {the "POA Swlutc-n) 1 then t 'rozcr hereby
  irrevocably waives all duties sci forth in Seel ion Sf>OI .:1 of1b,· PO.>\ Stntutc thnl olhcrwisc apply
  to Prospect us ngcnt under sud, power of a(torncy to the e;,,;len1 sur.h dutie:-; ;,\re waivublc. Croi".er
  h~reby r,d:nowledges and agrec-s lhut in vic:w of thr comme,-cinl rn1turc nf the relationship
  between Crozcr and Prospect, there is no cxpccrntion that !'rospccl slrnll lrnvc a duty hereunder to
  acl in the bes( in(crcst of Crozcr, and ii is agreed that the, l'rospcd shall have no such duty. 11 is
  furihcr ngrced that !he oulhorily granted 10 Prospect hereuuuer shall be ,·xcrciscJ for the bcndit
  of Prospect nnd nol fDr the bcnclit of Crozcr and, in Ht.:ling hercumkr, Prn~pccl shall }rnve no
  fiduciary <luty lo Crozer.

           4.       (tov~.L!_ljng L~l_\\'. This instrument shHll bl' guvcrn\.".d hy and ror1strned in
  accnrdanc1.:.· with the laws of the Com111011wc:llth of P<..·nnsylnmir1 without rvgard tn conflict:-. of
  lmvs pii11ciples

        5.       /\nlcnsfill.f.UI. This insnumen( may not be revoked or t.:h,mged nn1ll) hut may ht>  1


  mnrnded or n:vis\..'.d in writing with prior wd1ten consent from Prospt'CL

          6.     Sncccssurs. This in.slrnmcn\ shall inure lo !lie ben~lil ol and be hinding upon
  Ci-ozcr, Pr0spect and (heir 1\.·spec!ivc legal representatives. S\Jcce:,;sors nnd ussigns.

          7.       /\ssiµ.nn1_ent. Prospect shall be pL'.rmittc-d lO t1ssig11 !his Limited Powt•r of Attorney
  to nny allili:ik, ~ui.:etssor or acquirer of ProsJWl:t wllhout the c..:onse11t or approval of Cro1.c1.

           8.      Capitalize.cl Tnms. C:rpitaliz.cd tcrn\s med herein but nol n1hcrwise defined
  lwrei11 shall l10ve 1be meanings srt forth in the Purchasl' Agreement.
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         IN WJT~ESS WI IFREOF, 1hc duly authoriZ<•d rcprt·scnlulivl' of Crozcr has signed this
  Limited Power of /\t(orney, intending to be IL'gnlly bnund hereby, on this 10 11 ' day or· June, 2016.

                                                 Cl!OZEH-KL)'S'J'(>,,-;i,: 111-:ALTH SYSTlsM



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                                                          Oi'ficer


  COMMONWl'i\L'l'll OF l'l:NNSYLV/\NI.I\:
                                                 ::-;~.
  l'UUNTY OF llEL/\ W/\IU-:


          BE IT KNOWN, that on the 30 11 ' day ol Jw,c in the yem 201 o bd'or,, me persomilly cu11w
  Patrick J. Oavi11 on behalf of Cro,.cr-Kcystonc Healih Systc·m as F.xccutive Vice !'resident &
  Chief Opcrnti11g Oi'frcc'r, and who executed the llircgoing i11strumcnt, and he acknowledged In
  me tlw1 ht exccu1rd th1..· same,




                                                 Notary Publk.
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     EXHIBIT E
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                                  STATE OF RHODE ISLAND

 PROVIDENCE, SC.

                                                 [FILED:     June 12, 2024]                            M


 PETER F. NERONHA, RHODE                                                                               N
 ISLAND ATTORNEY GENERAL,
                    Petitioner,

 v.

 PROSPECT MEDICAL HOLDINGS,
 INC.,
                    Respondent.

                                           DECISION

. STERN, J. Before the Court is Petitioner, Rhode Island Attorney General, Peter F. Neronha's

(Petitioner or RIAG) Motion for a Preliminary Injunction to prevent Respondent, Prospect Medical

Holdings, Inc. (Respondent or PMH) from continued violation of Petitioner's June 1, 2021

Decision regarding the sale of Ivy Holdings, Inc., Respondent's holding company that owns

Prospect CharterCARE, LLC, which in tum owns and operates Roger Williams Medical Center

(RWMC) and Our Lady of Fatima Hospital (OLF) (collectively, the Hospitals). Jurisdiction is

pursuant to Super. R. Civ. P. 65(a), and G.L. 1956 §§ 8-2-13 and 23-17.14-28.

                                                 I

                                         Facts and Travel

         On November 8, 2023, Petitioner filed an action against Respondent that included a request

to enjoin Respondent from failing to pay the Hospitals' supplies vendors, which caused its

accounts payable 1 days outstanding to exceed ninety days for multiple quarters. See Pet. Petitioner




1 According to  Black's Law Dictionary, "accounts payable" means "an account reflecting a
balance owed to a creditor." Black's Law Dictionary (11th ed. 2019).
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requests that the Court order Respondent to pay accounts payable more than ninety days

outstanding as of December 31, 2023 and continue quarterly compliance with its financial

obligations to keep accounts payable under ninety days. (Pet'r's Suppl. Mem. in Supp. of his Mot.

for lnj. (Pet'r's Suppl. Mem.) 10.)

       Petitioner is tasked with preserving and protecting public and charitable assets by

reviewing, monitoring, and enforcing hospital conversions pursuant to the Hospital Conversions

Act (HCA). See G.L. 1956 chapter 17.14 of title 23. Petitioner is authorized to seek immediate

reliefin the Superior Court to enforce any conditions of approval of a hospital conversion pursuant

to § 23-17.14-28.

       Respondent is a healthcare services company incorporated in Delaware with its principal

place of business in Los Angeles, California. (Pet'r's Ex. A., at 9.) Respondent owns and operates

hospitals and health care entities, along with managing the provision of health care services for

managed care enrollees through a network of specialists and primary care physicians. Id One of

the entities Respondent owns is PCC, a Rhode Island limited liability company that owns and

operates the Hospitals. Id

                                                A

                        History of the Hospitals and Prior Conversions

       OLF is a Rhode Island licensed 312-bed acute care hospital located in North Providence,

Rhode Island that has served the surrounding community since 1954. (Resp't's Ex. 11 (Liebman

Aff.) ~ 4.) RWMC is a Rhode Island licensed 220-bed acute care hospital located in Providence,

Rhode Island that has provided healthcare in Providence since 1922. Id. ~ 3. The Hospitals treat a

large number of individuals from low-income and underserved cornrnunities that rely significantly

on Medicaid and may not have the same options for healthcare as those from more affluent



                                                2
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communities. (Hr'g Tr. 19:14-20; see also Pet'r's Ex. K, (Harvey Aff.) at Ex. 2.)

       Petitioner and the Rhode Island Department of Health (RIDOH) are statutorily obligated

to review every hospital conversion proposal and approve, deny, or approve with conditions each

hospital conversion. Sections 23-17.14-3, 23-17.14-5, 23-17.14-5, 23-17.14-28(c). Prior to the

Decision at issue in the present case, Petitioner approved two previous hospital conversions of the

Hospitals. (Pet'r's Ex. A., at .16.) In 2009, Attorney General Patrick Lynch approved a conversion

with conditions where the Hospitals affiliated through CharterCARE Health Partners (CCHP), a

combined system created to stem losses suffered by both RWMC and OLF. Id.

       While the first conversion allowed for more efficiency in operating the Hospitals, the

system still struggled with "operating losses, aging plants, and capital needs." Id CCHP began

searching for a partner in 2011 and selected Respondent, proposing a joint venture with

Respondent holding 85% ownership and CCHP owning the remaining 15%. Id. The joint venture

also created a new governing structure, PCC, which was divided equally with half of the board

appointed by Respondent's ownership interest and the other half appointed by CCHP's ownership

interest. Id. The agreement required Respondent to directly fund a $50 million long-term capital

commitment and PCC to provide an annual $10 million commitment. Id. at 16-17. Attorney

General Peter F. Kilmartin approved the joint venture with conditions in 2014. Id.

       After the 2014 conversion approval, RIAG continued to monitor Petitioner's activity using

various consultants to ensure Respondent met its obligations. (Resp't's Ex. 1, at 3.) On December

23, 2020, a report by one such consultant, Affiliated Monitors Inc., stated:

               "In complying with the terms of the [2014] HCA Decision, as well
               as the related Asset Purchase Agreement, [Respondent] met its
               commitment to an important healthcare resource serving the Rhode
               Island community. They not only shored up aging buildings, they
               helped the hospitals sustain and grow their outreach services,
               attracted new physicians and established a business entity for the


                                                 3
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               physicians to negotiate with health insurance payors (including
               Medicare) thereby making the practices more accessible to local
               residents." (Resp't's Ex. 6 at 35.)

                                                   B

                                  The 2021 Hospital Convcr·sion

       The most recent hospital conversion was initiated on December 13, 2019, when

Respondent, along with Chamber Inc., Ivy Holdings Inc., Ivy Intermediate Holding Inc., Prospect

East Holdings, Inc., Prospect East Hospital Advisory Services, LLC, Prospect CharterCARE,

LLC, Prospect CharterCARE SJHSRI, LLC, and Prospect CharterCARE RWMC, LLC

(Transacting Parties) filed an initial application with Petitioner.2 (Pet'r's Ex. A., at 8.) Ivy Holdings

Inc. is the parent company of Respondent, and Respondent owns PCC, the entity that owns and

operates the Hospitals. Id. at 8-9. The application proposed a buy-out of Ivy Holdings Inc. Id. At

the time the application was filed, Samuel Lee (Lee), Respondent's Chief Executive Officer

(CEO), and David Topper (Topper), Respondent's Senior Vice President, collectively owned

approximately 40% oflvy Holdings, Inc. Id. Under the proposal, Lee and Topper would purchase

the remaining 60% of shares owned by Leonard Green & Partners (Leonard Green), a private

equity investor, and other minority shareholders. Id. at 9. As a result, Lee and Topper would

assume complete ownership of Ivy Holdings Inc. through a new entity called Chamber Inc. Id. at

8-9.

        Over the course of a year and a half, Petitioner conducted a review of the application and

an investigation of Respondent's owners at the time, including thousands of pages of documents,




2 The application was resubmitted on February 4, 2020, and Petitioner infonned the Transacting

Parties of deficiencies in the application on March 4, 2020, requesting additional information.
(Pet'r's Ex. A., at 20.) On March 25, 2020, Petitioner received a Jetter addressing the deficiencies,
and Petitioner and RIDOH subsequently began the review process. Id.
                                                   4
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hundreds of written questions, and multiple witness testimonies. See Pet.4-51 14; see also Pet'r's

Ex. A. On June I, 2021, Petitioner released his decision (Decision), approving the hospital

conversion proposal subject to a set of conditions (Conditions). 3 See Pet'r's Ex. A. In the Decision,

Petitioner stated that he found it appropriate to impose the Conditions because financial experts

for Petitioner and RIDOH detennined that Respondent's financial status and '"patterns in

operational performance and recapitalization'" show its "'somewhat limited ability, in the form of

current liquidity especially after recoupment ofMAAP 4 funds, to weather additional or continued

financial challenges.'" Id. at 6 (quoting Pet'r's Ex. A, App. D (PYA Expert Report) 16).

        Petitioner also cited the "concerning" decisions by relevant boards and directors of the

Transacting Parties, namely Respondent's boards, as a reason for imposing the Conditions. Id. at

6. Petitioner noted the boards also "employed no objective criteria, no outside or independent

consultants, and no discernible analyses in the process of deciding upon the transaction [Petitioner]

review[s]." Id. In one example, Petitioner averred that Respondent's Board of Directors assumed

$1.12 billion in debt obligations in the Fiscal Year 20 J8, and subsequently authorized $457 million

of the borrowed funds to be distributed as dividends. Id at 4-5. The primary beneficiaries of the

dividends were Leonard Green, Topper, and Lee. Id at 5. Petitioner's expert James P. Carris, CPA,

reported that '"the 2018 [dividend] transaction substantially weakened the balance sheet of




3 On the same day, RIDOH released its own decision approving the application subject to an

additional set of conditions. (Pet. at 5114.)
                4 "[Respondent] received approximately $276 million in federal

                funds under the CARES Act as advances on Medicare
                reimbursement, which will be recouped by the federal government
                from Medicare reimbursements due to the hospitals under . . .
                CMS's Accelerated and Advance Payment Program or Medicare
                Advance Payment Program (the 'MAAP Program') . . . $27.5
                million of these 'MAAP' funds are due to be recouped from the
                Rhode Island Hospitals." (Pet'r's Ex. A., at 5-6.)
                                                  5
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[Respondent], benefitting the shareholders while providing minimal or no funds to any of the local

operating entities.'" Id. (quoting Pet'r's Ex. A, App. C (Carris Report) 2-3).

       Petitioner stated that, based on his findings from documents, expert analysis, and financial

reports, as well as testimony from "people 'on the ground' at these hospitals," the

               "Transacting Parties['] financial decisions and choices remain a
               decisive factor, revealing as they do a focus on wealth that puts at
               risk the well-being of institutions and people who communities in
               five states rely upon for care, often (as is the case with healthcare)
               at the time of greatest need." Id. at 7.

Most notably, the Transacting Parties provided Respondent's audited financial statements from

fiscal years ending September 30, 2015 through fiscal years ending in September 30, 2020, which

revealed a trend of Respondent's growing liabilities. Id. at 4. In 2017, Respondent's assets

exceeded its liabilities by approximately $67 million. Id (citing PYA Expert Report at 12).

However, by 2020, Respondent's liabilities exceeded its assets by over $1 billion, with total assets

of$2,042,389,000 and total liabilities of$3,102,004,000. Id.

       Ultimately, Petitioner concluded that the Transacting Parties' application would be

approved subject to "conditions imposed to assure financially secure, continually operating, and

better governed healthcare institutions here in Rhode Island, subject to effective monitoring to the

full extent of the Attorney General's statutory authority." Id. at 7. The Conditions included

requirements that Respondent and Leonard Green:

               "( l) immediately set aside $80 million in either escrow or letter of
               credit for the sole benefit of the Rhode Island Hospitals, payable at
               closing, which ftmds can only be accessed if PMH fails to comply
               with Conditions requiring payment of operating losses and capital
               expenditures, or in the event of insolvency; (2) pay all operating
               losses over the next five (5) years; (3) invest $72 million in capital
               expenditures through the end of fiscal year 2026 based on the
               schedule set forth in the Conditions below (at a minimum of $10
               million each year); (4) forego any management fees; (5) amend the
               TRS Note to extend its maturity date and remove the sale/leaseback

                                                 6
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               option for the Rhode Island Hospitals during such an extension, and
               thereafter only with the approval of the Attorney General; (6)
               assume payment of the MMP and PACE liabilities of the Rhode
               Island Hospitals; (7) maintain essential health services throughout
               the PCC System; (8) take actions to refom1 Board practices and
               constitute the local Board with community members; and (9)
               provide monitoring and reporting to the Attorney General to ensure
               oversight and compliance with all Conditions." Id at 7-8.

The Conditions include a "Monitoring Period," requiring Respondent to act in accordance with the

Conditions through September 30, 2026 and allowing Petitioner to monitor Respondent during

that time period to ensure compliance. Id. at 72.

                                                    C

                             Events Following the 2021 Conversion

       Following the Decision, Respondent and Leonard Green complied with certain conditions

in the Decision and received distributions totaling $35,208,887 in escrow funds (including accrued

interest) from Petitioner as a result. 5 (Resp't's Ex. l, at 5-6.) However, by the end of 2022,

Respondent's unpaid bills to vendors began to pile up. According to days payable outstanding

(DPO) calculations, Respondent's DPO was 99.4 7 at the end of the quarter on December 30, 2022. 6

(Harvey Aff., Ex. 8.) This failure to pay vendors violated Condition 7.2 of the Decision, which

states: "PCC shall ensure its vendors are paid on a timely basis. In the event accounts payable days

outstanding is greater than 90 days, PMH shall provide funding to PCC so that accounts payable



5 Specifically, Petitioner has returned the entirety of the MMP Escrow, which required
$27,000,000 from Respondent that would be restored upon satisfaction of its MAAP obligations.
(Resp't's Ex. 12 (Sabillo Aff.) ,i 9; Pet'r's Ex. A, at 76.) Petitioner has also returned $8,000,000
from the CAPEX Escrow, which required $14,200,000 from Respondent to be reduced according
to compliance with certain conditions set forth in Section 6.4 of the Decision. (Resp't's Ex. 1, at
5; Pet'r's Ex. A, at 76.)
6 "DPO" is a term used in accounting and finance to represent the average number of days it takes

to pay vendors and suppliers from invoice receipt to payment issued. (Sabillo Aff. 1 15.) DPO is
calculated through dividing accounts payable by the cash operating expenses divided by the
number of days in the period. Id ,i 16.
                                                    7
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are less than 90 days at the next quatterly measurement." 7 (Pet'r's Ex. A, at 79.)

          By March 30, 2023, the end of the following quarter, Respondent's DPO was still in

violation of Condition 7.2 at l02.96. (Harvey Aff. Ex. 9.) Respondent managed to bring the DPO

into compliance at 89.06 on the following quarter, June 29, 2023. Id. at Ex. 10. Supplier Balance

Aging Reports (Supplier Reports) from June 29, 2023 show that RWMC owed vendors

approximately $1,990,773 three months overdue and $2,361,451 more than three months overdue.

(Pet'r's Ex. B) (emphasis added). On June 29, 2023, OLF owed vendors approximately $1,627,422

three months overdue and $2,786,156 more than three months overdue. (Pet'r's Ex. C) (emphasis

added).

          On August 1, 2023, Respondent's computer network, along with the networks of its

subsidiaries, suffered a cyber-attack that purportedly rendered it unable to bill payors for eight

weeks during August and September 2023. See Resp't's Ex. 9 (Kroll Report); see also Resp't's

Ex. 13 (Pillari Aff.) ,i 5. Respondent engaged numerous consultants, including Kroll, to remedy

the attack, but it could not bill for over $450 million of its revenues during that period. (Pillari Aff.

,i,i 5-6.) Respondent submitted a business interruption insurance claim for $48,647,630 and states

that it expects its insurer will pay the claim in April or May 2024. 8 Id. ,i,i 7-8; see also Resp't's



7 While both parties refer to a violation of Condition 7.2 as two consecutive quarters with accounts

payable exceeding ninety days, the Court notes that the language of Condition 7 .2 states "PCC
shall ensure its vendors are paid on a timely basis." (Pet'r's Ex. A, at 79) (emphasis added). The
use of "shall" indicates that any failure to pay vendors on a timely basis could be considered a
violation of Condition 7.2, whether it occurs over two consecutive quarters or not. See In re Estate
ofChelo, 209 A.3d 1181, l 184 (R.I. 2019) (quoting Castelli v. Carcieri, 961 A.2d 277, 284 (R.I.
2008)) ('" [T]he use of the word shall contemplates something mandatory or the imposition of a
duty."').
& During depositions, George Pillari, Respondent's Senior Vice President, Chief Perfonnance
Officer, clarified that at the time he completed the affidavit, April or May was "the best estimate
[Respondent] had" from its consultants and, as of the deposition on March 19, 2024, the insurer
had not responded other than to acknowledge receipt of the claims. (Pet'r's Ex. P (Pillari Dep.)


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Ex. l 0. As of March 19, 2024, Respondent has collected approximately $400 million out of the

estimated $450 million that it could not bill during the cyber-attack. (Pet'r's Ex. P (Pillari Dep.)

15:11-16.)

       Respondent's debts to vendors continued to grow in 2023. Respondent's DPO as of

September 30, 2023 was 118.34, placing it back in violation of Condition 7.2. (Harvey Aff. Ex.

11.) Supplier Reports from September 29, 2023 indicate that RWMC owed vendors approximately

$2,378,621 three months overdue and $7,236,583 exceeding three months overdue. (Pet'r's Ex.

D.) On September 29, 2023, OLF owed vendors $2,361,393 three months overdue and $6,997,877

exceeding three months overdue. (Pet'r's Ex. E.)

        In October 2023, RIDOH visited the Hospitals as agents of CMS to review the Hospitals'

compliance with the conditions of participation. (Hr'g Tr. 33:8-14.) Approximately 70% of the

Hospitals' funding is provided by the Center for Medicare and Medicaid Services (CMS), which

requires each hospital to remain in compliance with CMS's conditions of participation. Id. at 33:8-

25, 34: 1-10. The CMS survey was conducted in response to complaints received regarding

nineteen cancelled elective surgeries. 9 Id. at 34:11-17, 37:11-18; see also Pet'r's Ex. U. These

included cancelled surgeries at both hospitals for procedures like spinal, knee and eye surgeries,

as well as endoscopies and ENT (ear, nose, and throat) operations intended to correct sleep apnea.

See Pet'r's Ex. U.

        In its findings, CMS attributed the cancelled surgeries to a lack of supplies caused by credit

holds from vendors. Id. The survey first reviewed cancelled surgeries at RWMC, stating that the




20:8-11, 16:3-8.) At the hearing, Pillari further testified that he had not read the insurance carrier's
response to the insurance claim prior to the deposition or the hearing. (Hr'g Tr. 399:5-10.)
9 Eighteen of the surgeries have been rescheduled. One surgery was not rescheduled because the

patient did not attend their pre-operative visit. (Resp't's Ex. l l (Liebman Aff.) ,i 20.)
                                                   9
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Hospitals' CEO was unable to manage the hospital finances, "as evidenced by the number of

vendors placed on credit hold due to lack of payment resulting in the failure to obtain necessary

supplies/equipment necessary resulting in 6 surgical procedures being cancelled in October2023."

Id at 12. The survey review of OLF stated that "the hospital's parent company failed to provided

funding necessary for the Chief Executive Officer[,] who is responsible for managing the hospital,

to make sufficient payments to its vendors resulting in several unpaid vendor accounts. This failure

to pay these vendor accounts resulted in the cancellation of several scheduled surgeries." Id at

22-23.

         As corrective action, the Hospitals developed the "AP Task Force Group" ("AP Task

Force"), which is charged with the comprehensive review of supplies in relation to payables and

ensuring the "Supplies Status List" is constantly monitored to identify any possible interruption of

services due to lack of supplies or funds. Id at 3-4, 13-14. The AP Task Force consists ofleading

figures at PCC and the Hospitals, including the CEO, Chief Operating Officer (COO), Chief

Nursing Officer, Chief Financial Officer (CFO), Vice President of Quality, AP Director, Executive

Director of Surgery, Director of Pharmacy, Lab Director, and Director of Supply Chain. Id. at 4,

l 4. The AP Task Force is required to meet at leastthree times per week with mandatory attendance,

although meetings are reported to occur daily. Id. at 3, 14; see also Hr'g Tr. 58:13-21; Resp't's

Ex. 11 (Liebman Aff.) ~ 19.

         Still struggling to pay down its accumulating accounts payable outstanding, Respondent

sent a letter to Petitioner through counsel on November 3, 2023 requesting a waiver of Condition

7.2. See Pet' r's Ex. H. Specifically, Respondent sought an extension and waiver of compliance

with Condition 7.2 up to and including March 31, 2024. Id. Respondent stated that the cyber-attack

affected its ability to pay vendors, but assured Petitioner that it would be able to address accounts



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payable outstanding in the next three to four months and that its insurance claim regarding lost

revenue during the cyber-attack was "near completion." Id. Rather than agreeing to Respondent's

proposal, Petitioner chose to file an action in the Comt.

                                                 D

                                 Current Litigation and Events

       On November 8, 2023, Petitioner filed to enforce the Decision pursuant to the HCA. See

Petition. The Petition alleged that Respondent violated multiple Conditions under the Decision,

namely Conditions 5.2, 7.1, 7.2, 10, 13, 14, 15, 16.2, 21, 23, and 33. (Petition 1 55.) Petitioner

requested that the Court enter an injunctive order requiring Respondent to comply with all the

Conditions; order Respondent to comply with all operating covenants under the Decision; and

order Respondent to pay a penalty of up to two million dollars per violation of the HCA pursuant

to§ 23-17.14.30. Id. at 14-151~ 1-4. Petitioner contemporaneously filed a Motion fora Temporary

Restraining Order (TRO) and Preliminary Injunction. See Pet'r's Mot. for Temporary Restraining

Order and Preliminary Injunction. On February 2, 2024, Petitioner submitted a supplemental

memorandum withdrawing the request for a TRO and instead focusing the motion on injunctive

relief for Respondent's alleged violations of Condition 7.2. See Pet'r's Suppl. Mem.

        Since the beginning of the cun·ent action, further incidences of noncompliance with both

the Conditions of the Decision and requirements from other agencies have been recorded at the

Hospitals. On November 1-7, 2023, the Occupational Safety and Health Administration (OSHA)

sent a letter to OLF reporting that it had received notice of alleged hazards at OLF, including mold;

bedbug infestations; cockroaches unaddressed by a pest control service; mice in various areas; a

lack of functioning buttons to monitor radiation exposure; and leaking ceilings and pipes causing

slip and fall hazards. (Pet'r's Ex. U, at 27.) OSHA declined to investigate and instead required



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OLF to investigate and report their findings before November 27, 2023. 10 Id. at 28.

       Despite ongoing litigation regarding its failure to comply with Conditions, Respondent still

failed to fund the payment of sums owed to vendors for another consecutive quarter. Respondent's

DPO was higher than ever on December 30, 2023 at 127.51. (Harvey Aff. Ex. 12.) On December

30, 2023, "Supplier Reports" show RWMC owed vendors approximately $2,205,202 tlu-ee months

overdue and $8,339,791 more than three months overdue. (Pet'r's Ex. F.) On December 30, 2023,

OLF owed vendors approximately $2,491,035 three months overdue and $8,439,663 more than

three months overdue. (Pet'r's Ex. G.)

       The Joint Commission (JC) completed accreditation reports for OLF on February 8, 2024

and RWMC on March 14, 2024. (Harvey Aff. Ex. K at Exs. 5, 6.) Each hospital received

"Requirements for Improvement" following instances of noncompliance recorded at both

facilities. Id. The JC's reports include rankings for the likelihood of an observed condition causing

harm to a patient, visitor, or staff. Id. The report for RWMC featured two recorded conditions with

a high likelihood to cause harm, while the report on OLF featured ten recorded conditions with a

high likelihood to cause harm. Id.

       Examples of incidents recorded by the JC at OLF included employees failing to follow

proper risk assessments before and during operations; a lack of documentation of devices and

inventory; expired filters on osmosis devices; water damage on walls and ceilings; a lack of

competency assessments for nurses administering sedation and performing blood-glucose testing;

improper sterilization techniques; unsecured supplies and medications that could be taken by

unauthorized individuals; expired medications; improper sedation of patients; failure to record




10 While these issues have been addressed by OSHA, there is no evidence before the Cowt that

these alleged hazards have been remedied.
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vital signs during blood transfusions; and a lack of proper inspection for AED devices. Id at Ex.

5.

        Examples of incidents recorded by the JC at R WMC included brown water flowing from

an eye wash device; empty oxygen cylinders mixed in with full oxygen cylinders; failure to inspect

and evaluate devices; black substances observed on walls; improper sterilization; failure to wear

personal protective equipment for hazardous medications like chemotherapy; lack of education or

evaluation regarding procedures for anesthesia staff; failure to record vital signs following blood

transfusions; discharge instructions issued to patients in the wrong language; a lack of process for

ensuring suppliers of implantation tissues are registered with the FDA; and failure to create and

implement infection prevention and control. Id. at Ex. 6.

        Following the JC reports, OLF was required to submit evidence of standards compliance

within sixty calendar days from the final posted report date, and an unannounced Medicare

Deficiency Survey would be conducted within 45 calendar days from the last day of the JC survey.

Id at 278. RWMC received the same requirements as a follow-up activity to resolve

noncompliance for its hospital program. Id. at 316. RWMC was also required to submit evidence

of standards compliance for its home care program within sixty calendar days from the final posted

report date. Id.

        On March 29, 2024, as the hearing for this motion was ongoing, RIDOH conducted a

complaint investigation survey ofRWMC and determined that the condition of the hospital posed

an "Immediate Jeopardy" to the health and safety of patients based on the rep01t. (Pet'r's Ex. CC,

at 1-2.) RIDOH later verified that the condition that created the "Immediate Jeopardy"-water

leaking through the ceiling and into a light fixture with live electrical wires-was removed, but

substantial noncompliance with CMS conditions remained. Id Examples of noncompliance



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included failure to maintain emergency lighting systems; failure to maintain fire suppression

systems in the hospital's kitchen; and extensive water leaks in multiple areas of the hospital. Id.

The report stated that "the hospital failed to maintain the condition of the physical (building] and

overall hospital environment in a manner to ensure the safety and well-being of patients." Id. at

13.

         In the instant motion, Petitioner requests a preliminary injunction ordering Respondent to

immediately fund the payment of the 90-day or more accounts payable of the Hospitals amounting

to $21,475,691 as of December 30, 2023 and requiring Respondent's continued quarterly

compliance to fund the accounts payable pursuant to Condition 7.2 of the Decision. (Pet'r's Suppl.

Mem. 9-10.) On March 26 and April 3, 4, and 5, the Court held a hearing where both parties

presented and examined witnesses and evidence. See Hr'g Tr. Closing arguments were heard on

April 30, 2024. See Closing Arg. Hr'g Tr.

                                                  II

                                        Standard of Review

         "'[T]he decision to grant a preliminary injunction rests within the sound discretion of the

hearingjustice(.]'" Vasquez v. Sportsman's Inn, Inc., 57 A.3d 313,318 (R.I. 2012) (quoting Town

ofCoventry v. Baird Properties, LLC, 13 A.3d 614,620 (R.I. 2011)).

                "Before granting a preliminary injunction, a trial justice must
                consider whether the party seeking an injunction: (1) has a
                reasonable likelihood of success on the underlying merits of its
                claim; (2) will suffer irreparable harm if the court refuses to grant
                the injunctive relief; (3) has the balance of equities, which includes
                an analysis of the possible hardships to each party and the public
                interest; and (4) has demonstrated that a preliminary injunction will
                preserve the status quo." Griggs & Browne Pest Control Co., Inc. v.
                Walls, 305 A.3d 1256, 1260 (R.I. 2024).

The hearing justice may grant a preliminary injunction if the moving party has "'established a



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prima facie case warranting preliminary injunctive relief[.]"' Finn/more & Fisher Inc. v. Town of

New Shoreham, 291 A.3d 977,983 (R.I. 2023) (quoting Gia11francesco v. A.R. Bilodeau, Inc., 112

A.3d 703, 708 (R.I. 2015)). "When a preliminary injunction is mandatory in nature in-that it

commands action from a party rather than preventing action-a stricter rule applies and such

injunctions should be issued only upon a showing of very clear right and great urgency." King v.

Grand Chapter of Rhode Island Order of Eastern Star, 919 A.2d 991, 995 (R.I. 2007) (citing

Giacomini v. Bevilacqua, 118 R.I. 63, 65,372 A.2d 66, 67 (1977).

                                                III

                                             Analysis

                                Mandatory Preliminary Injunction

       A preliminary injunction is mandatory when "it commands action from a party rather than

preventing action." King, 919 A.2d at 995. "'[W]hen an injunction mandatory in its nature is asked

for, a stricter rule obtains. Owing to the extraordinary character of the remedy[,] it should be

granted on preliminary application only in cases of great urgency and when the right of the

complainant is very clear."' Giacomini, 118 R.l. at 65, 372 A.2d at 67 (quoting Smart v. Boston

Wire Stitcher Co., 50 R.l. 409,415, 148 A. 803, 805 (1930)). The Rhode Island Supreme Court

discussed the standard for mandatory preliminary injunctions in King:

              "The trial justice properly articulated the onerous standard for
              granting a preliminary injunction that is mandatory in nature:
              'Parties seeking such relief must establish first that there is a
              likelihood of success on the merits of the underlying complaint;
              second, that irreparable harm will result if injunctive relief is not
              granted; third, that the balance of the equities in the public interest
              is served by injunctive relief; and, fourth, ihai the status quo between
              the parties will most likely be maintained by the injunctive relief
              sought ... When an injunction mandatory in its nature is asked for,
              a stricter rule obtains ihan when an injunction that preserves the
              status quo is sought. Owing to the extraordinary character of the
              remedy, it should be granted on preliminary application only in

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               cases of great urgency, and when the right of the complainant is very
               clear[.]'" King, 919 A.2d at 1000.

       The Court finds that Petitioner's injunctive request is mandatory in nature. While Petitioner

seeks to prevent Respondent from violating Condition 7.2, Respondent would be required to pay

down the outstanding accounts payable through an affirmative act. Because this is a request for a

mandatory preliminary injunction, the Court considers the four elements of a preliminary

injunction-likelihood of success on the merits, irreparable harm, balance of the equities, and

status quo-and the two additional elements required for mandatory preliminary injunctions, very

clear right and great urgency. See Faraone v. Wood, C.A. No. 84-3716, 1985 WL 663387 (R.I.

Super. Feb. 1, 1985) (evaluating a request for a mandatory preliminary injunction using the four

elements of a preliminary injunction first before applying the two elements of a mandatory

injunction).

                                                A

                              Elements of Preliminary Injunction

                                                 1

                                     Reasonable Likelihood

       Courts "do not require a certainty of success" to grant a preliminary injunction. Fund for

Community Progress v. United Way ofSoutheastern New England, 695 A.2d 517, 521 (R.I. 1997).

Rather, the moving party is only required to "'make out a prima facie case."' DiDonato v. Kennedy,

822 A.2d 179, I 81 (R.I. 2003) (quoting Fund for Community Progress, 695 A.2d at 521).

       Petitioner argues he has a substantial likelihood of success given his requirement as the

Attorney General to enforce the HCA and the Decision, and Respondent's repeated violations of

Condition 7.2 of the Decision. (Pet'r's Suppl. Mem. 2-5.) Petitioner asserts that Respondent

neglected to pay its accounts payable consecutively, with the September 29, 2023 quarter showing

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a failure to pay since June 30, 2023, and the December 30, 2023 quazter showing a failure to pay

since September 29, 2023. Id. at 6. Respondent argues that Petitioner has not demonstrated that he

has a substantial likelihood of success on the merits because Respondent has claimed a defense of

impracticability and Petitioner has not successfully rebutted the claim. (Resp't's Post-Hr'g Mero.

15-16.)

          Before evaluating the reasonable likelihood of success prong, the Court will address the

parties' disagreement regarding the method that should be used to determine whether Condition

7.2 was violated, as well as the amount of money required to bring accounts payable outstanding

into compliance. To determine whether Condition 7.2 was violated, Petitioner references the

quarterly Supplier Reports, which feature a chart with entries for money owed to vendors with

separate columns for "3 Months Overdue" and "Over 3 Months Overdue." See Pet'r's Exs. B-G.

Petitioner asserts that Condition 7.2 does not contain language requiring a DPO calculation, but

rather notes that the Respondent shall provide funding so that accounts payable are less than ninety

days at the next quarterly installment. (Closing Arg. Tr. 10:1-9.) Using Petitioner's method,

Respondent must pay $21,475,691 in order to render accounts payable less than ninety days as of

December 30, 2023. (Pet'r's Post-Hr'g Mero. 15.)

          Respondent argues that Petitioner's method of computing accounts payable is incorrect

because the plain language of Condition 7.2, specifically the term "accounts payable days

outstanding," indicates that the number of days must be below ninety. (Resp't's Mem. 26.)

Respondent asserts that "accounts payable days outstanding" is a recognized accounting term

where the average number of days it takes a business to pay its bills is determined by an accounting

formula. Id. at 25. Respondent avers that Petitioner does not assert that Respondent's accounts

payable days outstanding exceeded ninety days, but rather alleges that Respondent had certain



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accounts payable that exceeded ninety days outstanding at various quarters. Id. at 25-26.

Respondent uses DPO calculations instead of the Supplier Reports to assess its compliance under

Condition 7.2. Id. at 8 ("[A]t the next quarterly measurement, June 30, 2023, Prospect

CharterCARE's DPO was 89.06."). Using Respondent's DPO calculations, Respondent would

need to pay $17,326,526 in order to render accounts payable Jess than ninety days as of December

30, 2023. (Harvey Aff. at 5.)

       For the purposes of deciding this motion, the Court will apply the DPO calculations as

suggested by Respondent to determine whether Condition 7.2 was violated. The Court will

definitively decide whether DPO calculations or another method should be used to calculate

accounts payable days outstanding at the time of the hearing. If the Court finds that the factors for

a mandatory preliminary injunction are met, Respondent will be required to pay $17,326,526,

which is the amount necessary to bring accounts payable below ninety days as of December 30,

2023. Id.

        Considering the evidence presented by Petitioner, there is more than a reasonable

likelihood that Petitioner will succeed on the merits. Petitioner produced various documents

showing that Respondent violated Condition 7.2 because its accounts payable exceeded ninety

days multiple times, and, in at least two instances, for consecutive quarters. (Harvey Aff. Exs. 8-

12.) Respondent's DPO calculations, which were completed for the end of each quarter, show it

was out of compliance with Condition 7.2 on December 30, 2022; March 30, 2023; September 30,

2023; and December 30, 2023. Id at Bxs. 8, 9, 11, 12. Petitioner also produced Respondent's

Supplier Reports-likewise issued on a quarterly basis-from June 30, 2023; September 29, 2023;

and December 30, 2023 that document the increasing millions of dollars owed to vendors quarter

after quarter. (Pet'r's Exs. B-G.)



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       Moreover, counsel for Respondent sent a Jetter to Petitioner on November 3, 2023

admitting that the accounts payable days outstanding exceeded ninety days on September 30,

2023-purportedly due to the cyber-attack, although the accounts payable outstanding already

exceeded ninety days for quarters ending on December 30, 2022 and March 30, 2023. In the letter,

it was noted that accounts payable must be less than ninety days at the next quarterly measurement

on December 31, 2023, but Respondent failed to pay down the accounts payable outstanding by

that date. Id. at Ex. 12. Respondent's own admissions and DPO calculations show its repeated

violations of Condition 7.2 and confirm Petitioner's likelihood of success on the merits at trial.

                                                  2

                                        Irreparable Harm

       "' A party seeking injunctive relief must demonstrate that it stands to suffer some

irreparable harm that is presently threatened or imminent and for which no adequate legal remedy

exists to restore that plaintiff to its rightful position." Nye v. Brousseau, 992 A.2d 1002, 1010 (R.L

2010) (quoting National Lumber & Building Materials Co. v. Langevin, 798 A.2d 429, 434 (R.L

2002)). "Such irreparable injury must be either presently threatened or imminent. Injuries which

are prospective in nature, or which m1ght not occur, cannot form the basis for injunctive relief." In

re State Employees' Unions, 587 A.2d 919, 925 (R.L 1991). "The moving party seeking a

preliminary iajunction must demonstrate that it stands to suffer some irreparable harm that is

presently threatened or imminent and for which no adequate legal remedy exists to restore that

plaintiff to its rightful position." Fundfor Community Progress, 695 A.2d at 521.




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                                                  i.

                              The HCA and the Attorney General

        Pursuant to§ 23-17.14-3, the HCA's purpose is, inter alia, to "assure the viability of a safe,

accessible and affordable healthcare system that is available to all of the citizens of the state" and

"to assure that standards for community benefits continue to be met ...." Section 23-17.14-3.

Importantly, after the attorney general reviews and approves a conversion, the conversion "shall

remain subject to the authority of the attorney general pursuant to§ 23-17.14-21 hereof." Section

23-17.14-5. Moreover,

               "If any person knowingly violates or fails to comply with any
               provision of this chapter or willingly or knowingly gives false or
               incorrect information:
                       "(l) The director or attorney general may, after notice and
               opportunity for a prompt and fair hearing to one or more transacting
               parties, deny, suspend, or revoke a license, or in lieu of suspension
               or revocation of the license, may order the license to admit no
               additional persons to the facility, to provide health services to no
               additional persons through the facility, or to take any corrective
               action necessary to secure compliance under this chapter, and
               impose a final of not more than two million dollars ($2,000,000)."
               Section 23-17.14-30 (emphasis added).
         In R.I Turnpike & Bridge Authority v. <;ohen, our Supreme Court proffered that "[i]n

limited instances, courts have recognized that, by statute, the Legislature may abrogate the

irreparable-harm requirement." R.l Turnpike & Bridge Authority v. Cohen, 433 A.2d 179, 182 n.

5 (R.I. 1981) (citing Fleming v. Salem Box Co., 38 F. Supp. 997, 998-99 (D. Or. 1940); Arizona

State Board of Dental Examiners v. Hyder, 562 P.2d 717, 719 (Ariz. 1977)). Here, Petitioner

argues "the General Assembly ... has effectively abrogated the requirement of irreparable harm

in seeking injunctive relief" (Pet'r's Mem. 14 (citing § 23-17.14-28(d)(4)). According to

Petitioner, immediate injunctive relief is the only means to enforce his decision under the HCA.

Id.


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       The Court finds Petitioner's argument as to irreparable harm and his citation to R.l.

Turnpike & Bridge persuasive. In a recently decided case, the Rhode Island Superior Court

surveyed neighboring states and their disposal of the proof of irreparable harm requirement during

injunctive proceedings. State v. BTTR, LLC, No. PC-2022-04492, 2023 WL 3183738, at *3 (R.L

Super. Apr. 24, 2023) (McHugh, J.) The BTTR, LLC Court-albeit in the context of a different

statute-stated that other courts have held "that their legislatures presumed irreparable harm by

authorizing their attorney[s] general[] to seek injunctions for violations of the statute. Id. (citing

Commonwealth v. Massachusetts CRINC, 466 N .E.2d 792, 798-99 (Mass. 1984) ("The Attorney

General is not required to demonstrate irreparable harm ... the judge who decides whether an

injunction should issue needs to consider specifically whether there is a likelihood of statutory

violations and how such statutory violations affect the public interest."); Department of

Transportation v. Pacitti, 682 A.2d 136, 139 (Conn. App. Ct. 1996) ("Irreparable ha.an need not

be shown in a statutory interpretation injunction case ... enactment of the statute by implication

assures that no adequate alternative remedy exists and that the injury was irreparable[.]")

        Beyond the cases addressed by BTTR, LLC, there is other caselaw in which the irreparable

harm requirement for a preliminary injunction was waived in actions brought under statute by a

state's attorney general. See e.g., City ofNew York v. Golden Feather Smoke Shop, Inc., 597 F.3d

115, 120 (2nd Cir. 2010) ("In certain circumstances, generally when the party seeks a statutory

injunction, [the Second Circuit has] dispensed with the requirement of showing irreparable harm,

and instead employ[s] a presumption of irreparable hann based on a statutory violation");

Department a/Financial Institutions v. Mega Net Services, 833 N.E.2d 477, 485-86 (Ind. Ct. App.

2005) ("When the per se rule is invoked, the trial court has determined that the defendant's actions

have violated a statute, and, thus, that the public interest is so great that the injunction should issue



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regardless of whether the plaintiff has actually incurred irreparable harm ....")

       While the HCA does not expressly allow for the issuance of injunctive relief for violation

of the statute, it provides that Petitioner is authorized "to take any corrective action necessary to

secure compliance under this chapter[,]" and "the attorney general may seek immediate relief in

the superior court to enforce any conditions of approval of a conversion[.]" Section 23-l 7.14-

28(d)(4) (emphasis added). The Court finds that the language of the statute is sufficiently broad to

encompass injunctive relief as one of the remedies available to Petitioner to ensure compliance

with the HCA. See id Accordingly, Petitioner need not prove that irreparable harm was caused by

Respondent. Notwithstanding this, Petitioner has made a sufficient irreparable hann showing.

                                                 ii.

                                 Evidence of Irreparable Harm

                                                 a.

                                Petitioner's Statutory Authority

       Petitioner asserts that the high amount of outstanding accounts payable has not

meaningfully improved since the Hospitals incurred the supply shortages and that vendors faced

with unpaid bills cannot be expected to indefinitely supply the Hospitals while they are in arrears.

(Pet'r' s Suppl. Mem. 8.) Petitioner argues that irreparable harm is shown by the nineteen cancelled

surgeries that occurred in October 2023 and the reported deficiencies discovered by the

Department of Health and Human Services Centers for Medicare and Medicaid in November 2023.

Id. at 7. Respondent argues that there is no risk of irreparable harm because Respondent and the

Hospitals are constantly managing the supplies to ensure continued safe clinical care. (Resp't's

Mem. in Supp. of its Obj. to Pet'r's Mot. for Inj. (Resp't's Mem.) 17.) Respondent also asserts that

Petitioner can access the escrows and use the funds to pay down the accounts payable outstanding



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if Respondent violates certain conditions. Id. at 19.

           "In Rhode Island, the attorney general is vested with all the powers that that office

possessed at common law. State v. Lead Industries Association, Inc., 951 A.2d 428,471 (R.l. 2008)

(citing Suitor v. Nugent, 98 R.I. 56, 58, 199 A.2d 722, 723 (1964)). "Indeed, the Rhode Island

constitution recognizes the Office of the Attorney General and provides for its continued existence

with all the powers inherent at common law; it also provides that the General Assembly may imbue

the Attorney General with powers in addition to those common law powers." Lead Industries

Association, Inc., 951 A.2d at 471 (citing Suitor, 98 R.l. at 58, I 99 A.2d at 723)).

           "Unlike other attorneys who are engaged in the practice oflaw, the Attorney General 'has

a common law duty to represent the public interest."' Id. (quoting Newport Realty, Inc. v. Lynch,

878 A.2d 1021, 1032 (R.l. 2005)). "The Attorney General of the State of Rhode Island holds a

constitutional office with specific and significant responsibilities to the people of Rhode Island."

Mottola v. Cirella, 789 A.2d 421, 424 (R.I. 2002) (citing State v. Peters, 82 R.I. 292,297, 107

A.2d 428,431 (1954) ("[The Attorney General] is in effect the representative of the people and

not an advocate in the ordinary meaning of that term .... He represents all the people of the [state]

.... ").
           "It is the duty of the Attorney General to see to it 'that justice shall be done' ... while he

or she carries out all the functions of that high office-including engagement in litigation in the civil

arena." Lead Industries Association, Inc., 951 A.2d at 473 (citing Berger v. United States, 295

U.S. 78, 88 (1935)). "Accordingly, the Attorney General in Rhode Island has broad powers and

responsibilities pursuant to the Rhode Island Constitution, several Rhode Island statutes, and the

common law. Id. "In view of the Attorney General's position as a constitutional officer and in

view of his or her considerable discretionary powers, [our Supreme Court] has historically tended,



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whenever appropriate, to give deference to the strategic and tactical decisions made by those who

hold that high office." Id. at 474 (citing Mottola, 789 A.2d at 425).

       An examination of the Decision supports the Court's conclusion that Respondent is not in

compliance with Condition 7.2, hindering Petitioner's statutory enforcement power. Specifically,

Petitioner emphasized the necessity of the financial conditions in the Decision, stating "[w]hether

PMH will continue to subsidize PCC and its Rhode Island Hospitals is a major concern." (Pet'r's

Ex. A, at 28.) The Decision also provided that Petitioner was apprehensive about the difference in

the Hospitals' revenue and expenses in 2021, given that RWMC and OLF experienced $16.6

million and $8.7 million in losses, respectively. Id. at 27. Auditors for the Hospitals, and PCC

categorized the entities as "'financially dependent on [their] parent company."' Id. Petitioner's

grim prediction that Respondent may be without a long-term strategy when "the light starts (or

continues) flickering in Rhode Island[]" seems to have come to fruition. Id. at 29.

       The Court finds that Petitioner's regulatory enforcement power as a government agent has

been irreparably harmed by Respondent's repeated failure to adhere to Condition 7.2 in the

Decision. See generally Pet'r's Ex. A. In accordance with§ 23-l 7.14-28(d), the acquiror under the

HCA must comply with the conditions set by the Attorney General for five years following the

conversion. Petitioner carefully crafted various conditions to protect the Hospitals as invaluable

sources of healthcare for Rhode Island's vulnerable populations. Petitioner credibly established

that Respondent failed to uphold Condition 7 .2 of the Decision on multiple instances, undermining

Petitioner's regulatory authority and causing Petitioner hann. 11



11 The Court's finding of irreparable harm based on hindrance of the Attorney General's statutory
enforcement power finds support in other jurisdictions. The Court believes this conclusion is akin
to an attorney general not needing to prove irreparable harm because the harm is presumed. See
Commonwealth, 466 N.E.2d at 799; State ex rel. Office ofAttorney General, Bureau ofConsumer


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                                                  b.

                             Respondent's Use of Accounts Payable

       Beyond its defiance of the Petitioner's regulatory regime pursuant to the HCA, Respondent

is effectively using the Hospitals' accounts payable as a line of credit to pay the bills for its other

hospitals around the country. In the Decision, Petitioner warned that "Rhode Islanders can ill

afford their healthcare infrastructure serving as a private bank for private investors." (Pet'r's Ex.

A, at 50.) Petitioner's trepidation in approving Respondent's purchase of the Hospitals has proven

to be well-placed as Respondent benefits from the Hospitals' government assistance while refusing

to pay the Hospitals' expenses. 12

       The Hospitals' AP Director, Steve Salisbury, requests funding weekly from Respondent,

but the amount received in return is constantly lower than the amount necessary to keep the

Hospitals well-stocked and in good standing with suppliers. (Pet'r's Ex. S, at 6 ("Steve Salisbury

discussed uncertainty of the amount of money he will receive for this week. Last week $730,000

was released[,] but some payment agreement plans were not paid."); 7 ("There have only been

[two] payment plans paid both last week and none were the large surgical vendors. [Salisbury]

continued to be concerned with the uncertainty of the amount of money he will receive for this




Protection v. NOS Communications, Inc., 84 P.3d 1052, 1054 (Nev. 2004); United States v.
Barnes, 912 F. Supp. 1187, 1195-96 (N.D. Iowa).
14
   Petitioner noted in the Decision that Respondent benefitted from federal and state aid provided
to the Hospitals, especially during the COVID-19 pandemic. (Pet'r's Ex. A, at 33, 38.) Petitioner
quoted Leonard Green Partner John Baumer's own description of Respondent's pattern of
acquiring hospitals that are'" often losing money and going out of business"' and "load[ing) [them]
up with debt." Id. at 38 ("PMH and its subsidiaries received hundreds of millions of dollars in
financial aid from federal and state governments in 2020, and are hoping for more.")
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week. Last week ... he asked how the hospital can get more money."); 10 ("We currently owe

[$]42 million, of that, [$]22 million are over 90 days and [$]8 million is over 120 days. [Two]

weeks ago[,] we only received $730,000 and last week $990,000 for bills."); 23 ("There was no

money received yesterday. Today's ask was $1.6 million, and Steve does not think it will be

received. Many non-surgical vendors as well as physicians are in need of payment."); 25 ("The

hospital owes $43 million to 726 vendors. $1.2 million is over 365 days, $9.4 million is over 210

days. $24.4 million is over 90 days.").)

       While its Rhode Island ventures strnggle, Respondent prioritizes its California investments.

Respondent states that, in order to meet regulatory requirements for licensing by the California

Department of Managed Healthcare, it must have over $130 million in cash or cash equivalents

available. (Hr'g. Tr. 364:l 1-14.) Specifically, Alfredo Sabillo (Sabillo), CFO of PMH, testified

that "in the last year our regulator, the California regulators and the Department of Managed

Healthcare and our lenders have required us to replace our collateral into cash for what is being

needed to meet [California Department of Managed Healthcare] requirements." Id at 364:22-25.

When asked whether Respondent could use any of the $13 8 million in cash to pay the accounts

payable, Sabillo responded "[u]nfortunately, no. We cannot." Id at 364:7-9.

       Although the Court understands Respondent's position that it must stay in compliance with

California's regulations to keep its operations in Rhode Island ongoing, the Court is troubled at

Respondent's prioritization ofits entities in one state over another, particularly to Rhode Islanders'

detriment. Respondent agreed to certain financial conditions to take ownership of the Hospitals in

2021. Respondent's obligation to comply with regulatory requirements imposed upon it by Rhode

Island is no less important or stringent than its obligation to comply with California requirements.

       The Hospitals are not the only medical facilities that have been neglected under



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Respondent's ownership. On March 12, 2024, the Delaware County Court of Common Pleas

ordered Respondent to provide adequate security-$20 million in escrow-for the rent, taxes, and

other costs associated with hospitals Respondent owns in Springfield, Pennsylvania through its

subsidiary, Crozer Health. (Pet'r's Ex. BB, at 3.) The Foundation for Delaware County brought a

motion requesting the order because Respondent owed $490,000 in back rent and fees as well as

$1.6 million in taxes for its Springfield campus properties as of November 2023. Jd.

       Respondent's actions in Pennsylvania match its pattern of noncompliance and financial

maneuvering in Rhode Island. In 2022, Respondent attempted to close Delaware County Memorial

Hospital to convert it to a behavioral health hospital in violation of the conditions of its purchase

agreement of Crozer Health, which required that Crozer hospitals be kept open as acute care

hospitals until 2026. Id In another parallel between its Pennsylvania and Rhode Island entities,

Respondent is both seeking a buyer for Crozer Health in Pennsylvania and waiting on a pending

HCA application to sell PCC and the Hospitals to the Centurion Foundation, Inc. in Rhode Island.

See id.; Harvey Aff. at Ex. 7.

       Respondent's use of the Hospitals as a private bank and treatment of accounts payable as

a credit facility loan in violation of the Conditions and the HCA constitutes irreparable harm.

Petitioner imposed financial conditions on Respondent because he noted Respondent's history of

using safety-net hospitals to avoid taxes, benefit from government subsidiaries, and provide debt-

financed dividends to private investors. (Pet'r's Ex. A, at 38, 49.) Petitioner decided financial

conditions were "necessary to protect the State and its citizens from the fallout of such previous

practices and from the practices themselves going forward." Id at 50. Respondent cannot be

permitted to dig the Hospitals into deeper debt and pocket profits created through operating crucial

healthcare facilities with bare minimum funding.



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       Moreover, Respondent claims that funding the Hospitals' debts would induce its

bankruptcy, despite the fact that its 2023 liability figures indicate that it is already operating with

a $2 billion deficit See Hr'g Tr. 376: 15-19, 377: 1-17 (Sabillo discussing Respondent's total assets

of$2 billion and total liabilities of$4 billion). Requiring Respondent to fulfill financial conditions

by paying the Hospitals' debts to vendors in the amount of $17 million would be negligible in

comparison. It is difficult to categorize compliance with Condition 7.2 as the proverbial straw

breaking the camel's back when Respondent is already operating in debt and recently received a

court order for payment of a similar amount to its Pennsylvania entities. See Ex. CC.

                                                  c.

                                   The Hospitals' Supply Issues

        Finally, the lack of reliable supplies at the Hospitals is causing irreparable harm through

inte1TUpting important services; threatening the Hospitals' licensing and accreditation; diverting

resources to manage supplies and payments to vendors; and ruining the Hospitals' reputation with

suppliers. The consequences of Respondent's debts to vendors manifested in October 2023 when

nineteen surgeries were cancelled due to lack of supplies. (Pet'r's Ex. U (Spooner Aff.) 6-19.)

During an investigation by CMS, the Director of Supply Chain was interviewed:

               "[T]he last 4-6 weeks they have had an increase in the number of
               vendors on credit holds. He stated that there were currently 251
               vendors who had placed the hospital on credit holds due to unpaid
               accounts. He stated that there have been credit holds on accounts for
               approximately the past 13-14 months. He stated that some of the
               vendors will release some supplies, some will send a portion of the
               requested orders, and some will not send any more until the past due
               accounts are paid. He stated that it changes weekly depending on
               what companies are paid." Id. at 8-9.

        On October 30, 2023, CMS investigators interviewed the CEO of the Hospitals, Dr.

Liebman:



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               "[H]e revealed that he was unaware that surgical cases were
               cancelled due to credit holds. He further revealed that the hospital
               receives an 'allowance' every week and he doesn't know how much
               money that will be from week to week, and that he can request a
               certain amount of money but may only receive half of that amount.
               He indicated that he does not have enough money in the 'allowance'
               to pay all the vendors that are owed money." Id. at 25.

         On November 1, 2023, Dr. Liebman was interviewed a second time:

               "[H]e stated that he was unaware of the endoscopy cases cancelled.
               He was also unaware that the cases were cancelled due to a credit
               hold on the company Boston Scientific which provides the supplies
               necessary to complete the procedures. Additionally, he reports he
               has daily meetings relative to the finances and that the hospital is on
               credit holds with some vendors as the hospital does not receive
               enough money from 'California' to cover all the expenses." Id. at 9.

         At the hearings, Dr. Liebman was asked if the surgeries were cancelled because the

Hospitals did not pay vendors to release the supplies. (Hr'g Tr. at 43:6-10.) Dr. Liebman was

reluctant to admit that the lack of supplies was caused by unpaid vendors withholding service: "I

don't know that for a fact. So[,} there are times we have delays in supply delivery, for example.

All I know is that the supplies weren't there." Id. at 43:11-13. Regardless of Dr. Liebman's

hesitancy to discuss the credit holds during his testimony, it appears the statements he made to

CMS in 2023 that "California" (Respondent) does not send enough money to cover the Hospitals'

expenses are still pertinent, as evidenced by Steve Salisbury's repeated reports in AP Task Force

meeting minutes through 2024 that Respondent does not provide requested funding. See Pet'r's

Ex. S.

         The AP Task Force was formed to address supply shortages that caused surgery

cancellations in October 2023. However, rather than creating a reliable stock of supplies at the

Hospitals, the AP Task Force seems to divert resources away from patient care or staffing

management and towards balancing the ever-growing list of accounts on hold due to outstanding



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debt, mitigating supply shortages by chasing down supplies from other hospitals, and pleading for

funding from Respondent, who rarely provides the money requested. See Pet'r's Ex. S, at 27

("There is constant balancing to try to pay surgical needs as well as keeping other disciplines up

and running smoothly."). The AP Task Force requires significant time and energy from some of

the Hospitals' most important figures: the Hospitals' CEO, CFO, COO, Chief Nursing Officer,

Vice President of Quality, AP Director, Executive Director ofSurgety, Director of Pharmacy, Lab

Director, and Director of Supply Chain. See Pet'r's Ex. 0.

        AP Task Force meeting minutes repeatedly show that there are critically low supplies or

no supplies at all at both Hospitals. (Pet'r's Ex. S, at 5 ("Critical: Arthrex continues on credit hold,

risk of inability to book ACL."); 6 ("Critical: Arthrex continues on credit hold at both sites. They

are on list for payment this week;" "MTF - Order not released and currently on credit hold."); 7

("Lynn Leahey shared with the group that if Arthrex is not paid by next Monday, 2 cases of Dr.

Mirrer's, both shoulder, may need to be cancelled."); 23 ("Stryker and Globus are major concerns.

Both are continuing to support cases but are requesting large payments per payment plan. There is

no supply on shelves as these supplies are ordered as cases are booked."); 28 ("Implant vendors []

are a major concern requiring large payment because these are not stocked items and the hospital

will have no advance notice if on credit hold until the companies do not deliver.")).

       Each week, the AP Task Force reviews spreadsheets compiled by hospital employees, like

the Supply Chain Manager or Surgical Service Director, documenting the status of surgical, lab,

and medsurge 13 supplies at the Hospitals. See Pet'r's Ex T; Hr'g Tr. 63:6-11. Spreadsheets from



13 "Medsurge supplies" refers to medical surgical supplies used to support patients before and after

surgery. See Hr'g Tr. 16:23-24 ("[The supplies] support a number of different departments in the
hospital, and that's the same for MedSurge, what happens after you get out of surgery[.]); id. at
87: 18-20 ("[Med surge] means that anywhere that we might have a medical surgical type of patient
in the entire breadth of service.").
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November 2023 through February 2024 show multiple instances of "red" urgent matters claiming

supplies have ran critically low or are completely out of stock at the Hospitals. 14 See Pet'r's Ex. T.

The spreadsheets are rife with phrases like "none on hand," "cannot outsource," "cannot pull

records till paid," "orders on hold," and "need payment to release orders." Id at 8, 9, 15, 20, 104,

120. In every spreadsheet, the column for the total amount owed to vendors ranges from $5,000 or

less to over $350,000, with "$0" appearing as a rarity. See Pet'r's Ex. T.

       Some spreadsheet entries are particularly disturbing, like the red cells documenting the

status of vendor BioCare on the Lab Supply Review spreadsheet for December 12, 2023: "stains

and antibody tests for patient diagnosis ... will tum away cancer patients 12/15/2023 ... Orders

are not being released; the entire balance needs to be paid to release orders." Id. at 96. Another

alarming entry from a February 28, 2024 spreadsheet shows a "Run Out Date" of supplies from

vendor Immucor on ';1/19/2024," stating "[c]an't give out blood or perform surgeries without this

vendor ... NEED TO RECEIVE CHECK BEFORE ORDERS ARE RELEASED." Id. at 182.

        As Petitioner stated during the hearing, these supply spreadsheets show that "[the AP Task

Force] ha[s] rung the urgency bell more than 300 times in three months[.)" (Closing Arg. Tr. 18:23-

25.) Respondent argued that the spreadsheets "aren't accurate," were created by "someone in

accounts payable" who was "overzealous maybe in some of their entries," and included "repeat[s]

of the same entry." (Closing Arg. Tr. 45:6-8, 45:22-25, 46:7-13.) Assuming Respondent's

assertions are true, the Court finds it troubling that a task force created to address deficiencies

discovered by CMS and meet conditions of participation for Medicare and Medicaid services is




14 The spreadsheets are color-coded: entries in red cells indicate the need for supplies to ensure

procedures are completed as scheduled is "urgent," yellow cells convey a "warning" that the
demand for supplies on schedule may be greater than what the Hospitals have in stock; and green
cells mean there are no issues looking forward. (Hr'g Tr. 64:10-14, 64:23-25, 65:1-7.)
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frequently meeting to review inaccurate spreadsheets and produce meeting minutes repmting the

same inaccurate information contained in the spreadsheets.

       Respondent claims that there is no threat of irreparable harm because the escrow funds

"would cover the alleged accounts payable" and promotes the use of the escrow as a solution to

pay down its debts to vendors. (Resp't's Mem. 19.) Section 6.4(b) of the Decision provides:

               "The funds in the Escrows shall, at the written direction of the
               Attorney General, be distributed to the Agent/Trustee, if, as
               determined by the Attorney General (l) Prospect fails to comply
               with its obligations under II. Financial Conditions (Conditions 5-11)
               or Condition 22 (Continuity of Services), and/or (ii) an Insolvency
               Event occurs." (Pet'r's Ex. A, at 77.) (emphasis added).

The language of Section 6.S(a) places the discretion in Petitioner's hands regarding disbursal of

the escrow funds in the event of noncompliance or insolvency. Id. In this case, Petitioner has

determined that "[t]his $45 million [in escrow funds] is to keep these hospitals afloat." (Hr'g Tr.

36:8-9.)

       Furthennore, Petitioner stated in the Decision that the escrow funds served a two-fold

pnrpose: (l) to protect hospital operations in the case of an insolvency event and (2) to prevent

Respondent from using the Hospitals "like it has those in other states: as assets available for

encumbrance by (Respondent] in order to forestall a liquidity crunch or insolvency crisis brought

on by a business model that has prioritized returns on investment over the needs of safety-net

hospitals." Id. at 50. If escrow funds were used to pay debts Respondent accrued in violation of

Condition 7.2, it would reward Respondent for the very conduct that the escrow was designed to

prevent.




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                                                 3

                                     Balance of the Equities

        In balancing the equities, "the relief which is sought must be weighed against the hmm

which would be visited upon the other party if an injunction were to be granted ... In connection

with any such balancing equation, the comt is obliged to consider, as an integral factor, the public

interest." In re State Employees' Unions, 587 A.2d at 925. The Rhode Island Supreme Court has

stated that:

               "'in considering the equities, the hearing justice should bear in mind
               that 'the office of a preliminary injunction is not ordinarily to
               achieve a final and fonnal determination of the rights of the parties
               or of the merits of the controversy, but is merely to hold matters
               approximately in status quo, and in the meantime to prevent the
               doing of any acts whereby the rights in question may be irreparably
               injured or endangered."' Fund for Community Progress, 695 A.2d
               at 521 (quoting Coolbeth v. Berberian, 112 R.l. 558, 564, 313 A.2d
               656,659 (1974)).

        Petitioner argues an injunction will advance the public interest of Rhode Islanders and

safeguard the quality of medical care provided by the hospitals to the public and patients. (Pet'r's

Suppl. Mem. 8.) Petitioner asserts that Respondent would suffer no meaningful harm if it were

compelled to maintain compliance with its obligations under Condition 7.2. Id. Respondent asserts

that the balance of equities tips in its favor because a preliminary iajunction requiring Respondent

to pay outstanding accounts payable could result in Respondent's bankruptcy and the subsequent

closure of the Hospitals. (Resp't's Mem. 26.) Respondent argues that granting the injunction would

result in a loss of faith in Respondent and the Hospitals, meaning medical staff would leave,

academic affiliations would end, patients would choose not to visit, and vendors would no longer

provide supplies. Id. at 27.

        In 2021, Respondent assumed full ownership of the Hospitals with the understanding that



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the transaction was subject to the Conditions established by Petitioner under the HCA. The Rhode

Island legislature promulgated the HCA "because hospitals in Rhode Island that have provided

and continue to provide important services to communities (] submit[ted] that their survival may

depend on the ability to enter into agreements that result in the investment of private capital and

their conversion to for-profit status" and the Rhode Island General Assembly had "concerns that

hospital networks may engage in practices that affect the quality medical services in the

community as a whole and for more vulnerable members of society in particular." Section 23-

17.14-2(6)-(8). The purpose of the HCA is "to protect public health and welfare and public and

charitable assets" through establishing the necessary "standards and procedures for hospital

conversions." Section 23-17.14-2(9).

       Petitioner is positioned to enact and enforce conditions to protect the public interest:

               "(a]ny approval of a conversion involving a for-profit corporation
               as an acquiror shall be subject to any conditions as determined by
               the attorney general, provided those conditions relate to the purpose
               of this chapter. The conditions may include, but not be limited to,
               the acquiror's adherence to a minimum investment to protect the
               assets, financial health, and well-being of the new hospital and for
               community benefit." Section 23-17.14-28(c).

Petitioner is also charged with protecting the public interest under the HCA and brought the current

action against Respondent to enforce the Conditions he established to maintain accessible and

quality care for the communities that benefit from the Hospitals. Id. It is clear to the Court that

Petitioner has proved that Respondent failed to adhere to its obligations as set forth in the

Conditions multiple times. See Harvey Aff. Exs. 8-12. Respondent's multitude of explanations

purportedly justifying these failures are unavailing.

       To this point, Respondent's insistence that paying down its debts would result in a loss of

faith in the Hospitals is difficult to believe. Evidence provided, including Respondent's own



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records, shows that vendors are refusing to provide supplies until Respondent funds the Hospitals'

unpaid bills. See Pet'r's Exs. S, T. In one example, AP Task Force supply sheets from the week of

November 27, 2023 reported that Respondent owed $272,000 to Access RN, a vendor that provides

nurse staffing, and that Access RN would stop services on the same day due to Respondent's debt.

(Pet'r's Ex. T, at 39; Hr'g Tr. 192:4-25; 193:1.) The most recent supply sheet available to the

Court, dated February 29, 2024, shows that Respondent finally paid $53,700 to Access RN on

January 15, 2024, but still owed $214,250 to Access RN as of February 29, 2024, $102,925 of

which was owed past sixty days. (Pet'r's Ex. T, at 244.) Moreover, at several AP Task Force

meetings the minutes relay that "physicians are in need of payment" and "[p]ayments are being

made to physicians who complain along with payment plan which are overpromising some

physicians but not others." (Pet'r's Ex. S, at 23, 32.)

        It does not logically follow that paying vendors for outstanding debts would result in the

same vendors refusing to provide supplies, or that employees would abandon the Hospitals if

payments were issued resulting in access to supplies and staffing. To the contrary, it seems more

likely that medical staff, patients, and vendors would recover confidence lost in the Hospitals if

Respondent paid its debts. During the CMS investigation in October 2023, a surgeon was

interviewed about the cancellation of two surgeries for his patients and stated, "it is embarrassing

to tell patients that their surgery is being cancelled because the hospital is not paying the

supplier." 15 (Spooner Aff. Ex. 1, at 19.) He also said that "one of the [cancelled] cases has multiple

health issues and that the patient's Primary Care Physician, Cardiologist, and family are anxious

for the patient to have the procedure." Id. Respondent's inability to timely pay its debts appears to




15 The surgeon also reported that he had spoken with other surgeons that were impacted by vendors

placing the hospital on credit holds. (Spooner Aff. 20.)
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negatively affect both medical staff and patients.

       The Court does not consider requiring Respondent's compliance with Conditions that it is

already obliged to follow as a significant hardship on Respondent. In comparison, if Respondent

does not pay its debts and an insolvency event or an unforeseen circumstance occurs, Petitioner

would likely suffer hardship in finding the funds to settle Respondent's debts while keeping the

Hospitals open and functioning. With Respondent's accounts payable outstanding alone

amounting to approximately half of the remaining escrow funds, such an event, compounded by

additional debt, would leave the Hospitals in jeopardy. Finally, the "integral factor" of public

interest weighs in favor of the Petitioner by nature of the HCA and its compelling mission to

protect Rhode Island communities that rely on the Hospitals.

                                                  4

                                             Status quo

       In a preliminary injunction, courts determine the status quo and subsequently weigh

whether granting the requested relief will preserve that status quo. See Fund for Community

Progress, 695 A.2d at 521 (quoting Coolbeth, 112 R.I. at 564, 313 A.2d at 659) ('"the office of a

preliminary injunction is not ordinarily to achieve a final and formal determination of the rights of

the parties or of the merits of the controversy, but is merely to hold matters approximately in status

quo[.]"'). However, in this case, where the Court finds that Petitioner is entitled to a mandatory

preliminary injunction, the status quo is the least important factor to be weighed. See King, 919

A.2d at 995 (explaining that a preliminary injunction becomes mandatory when _it "commands

action from a party rather than preventing action[.}"). Accordingly, this Court moves forward to

assess the elements of a mandatory preliminary injunction.




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                                                 B

                        Elements of Mandatory Preliminary Injunction

                                                 1

                                        Very Clear Right

       Petitioner argues his right is very clear in this case because he is required to enforce the

Conditions set forth in the Decision that Respondent has subsequently violated. (Pet'r's Suppl.

Mem. 7.) Petitioner asserts that it is undisputed Respondent failed to fulfill its obligations under

the Decision. Id. at 5. Respondent argues Petitioner does not have a right to relief because the

doctrine of impracticability excuses Respondent's alleged inability to perform under the

conditions; Petitioner failed to follow the enforcement provision set forth in the Conditions that it

seeks to enforce; Petitioner failed to accurately allege damages; and there is no irreparable harm.

(Resp't's Mem. 12.) Respondent asserts that the Hospitals are successfully monitoring and

securing necessary supplies and have not canceled any surgeries for a lack of supplies or inability

to perform such procedures since the referenced procedures in October 2023. Id Respondent also

notes that the Petitioner holds escrow funds that exceed the amount at issue. Id.

       The HCA was intended to address concerns about the exact situation before the Court

today: a hospital network "engage in practices that affect the quality medical services in the

community as a whole and for more vulnerable members of society in particular." Section 23-

17.14-2(8).

       The Petitioner is expected to use the HCA to protect communities during a hospital

conversion from non-profit to for-profit, and enforce the HCA when noncompliance occurs in

order to promote the public interest. Id. These Hospitals serve socioeconomically disadvantaged,

vulnerable, and underserved communities, with 70- 75% of the patients at both hospitals relying



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on Medicare and Medicaid. (Hr'g Tr. 52:3-14; see also Harvey Aff. at Ex. 2.) CMS, which

approves and accredits hospitals for Medicare and Medicaid, found significant noncompliance

with its conditions for participation in Medicare and Medicaid programs during both the October

2023 and April 2024 surveys at the Hospitals. See Pet'r's Ex. CC; Spooner Aff. 6-19.

        It is undisputed that Respondent violated Condition 7 .2 t!n·ough its failure to pay vendors

resulting in accounts payable outstanding exceeding ninety days for consecutive quarters in

September and December 2023. See Harvey Aff. Exs. 11-12. Condition 7.2 of the Decision

unambiguously states Respondent: "shall ensure its vendors are paid on a timely basis. In the event

accounts payable days outstanding is greater than 90 days, PMH shall provide funding to

[Respondent] so that accounts payable are less than 90 days at the next quarterly measurement."

(Pet'r's Ex. A, at 79.) Given Respondent's concession that it allowed its accounts payable to

exceed ninety days outstanding in violation of Condition 7.2, it follows that Petitioner has satisfied

the "very clear right" element required to issue a mandatory injunction. See King, 919 A.2d at

1001.

                                                  2

                                          Great urgency

        Petitioner argues that great urgency exists because the patients of the hospitals suffer

irreparable harm due to Respondent's continued noncompliance with Condition 7.2. (Pet'r's

Suppl. Mem. 8.) Petitioner asserts that the unpaid vendors cannot be expected to indefinitely

supply hospitals that continue to be in arrears. Id Petitioner notes that the General Assembly has

conferred upon him statutory authorization to seek immediate relief from the Court to maintain

compliance with hospital conversion conditions. Id at 7. Respondent contends there is no great

urgency because the hospitals have continued to successfully operate and provide quality care and



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have performed 5,624 inpatient and outpatient surgeries and procedures since November 1, 2023

through February 29, 2024 without a single cancellation for lack of supplies or equipment.

(Resp't's Mem. 12.) Respondent asserts that Petitioner can access escrow funds in excess of the

amount at issue, indicating there is no great urgency. Id.

        One indicator of the great urgency in this case is the continuous claims that the Hospitals

are relying on borrowing supplies from other hospitals. See Hr'g Tr. 73:22-25, 74: 1 ("We trade

supplies in between hospitals especially in the city, the greater city of Providence all the time. We

trade lab supplies. We trade surgical supplies with other institutions."). In the November 2023

CMS Report, the Operating Director and the Administrator of Surgical Services discussed

borrowing supplies: "[She] indicated that the hospital can obtain some supplies and equipment

from other facilities and from other hospitals that they have working relationships with.

Additionally, she indicated that the hospital is also trying to obtain the necessary equipment from

other vendors who have similar products." (Pet'r's Ex. U, at 21.)

        The November 2023 CMS Report also emphasized that the Hospitals' Governing Body

meeting minutes failed to include information relative to the hospital[s] borrowing supplies and

equipment from other facilities to perform certain procedures and surgeries. Id. at 4. Despite the

adoption of the AP Task Force to address supply sho1tages, it appears there are no methods in

place to track whether the Hospitals have borrowed supplies from other facilities. See Hr' g Tr.

212:7-8 ("It says that we didn't have any inventory on hand, but it doesn't say whether or not we

were borrowing from others.") (referring to the supply spreadsheets). 16 Moreover, some supply



16 It should be noted that many of the supplies that are purportedly "borrowed" are single-use

products, like COVID-19 tests. See Hr'g Tr. 117:24-25; 118:1-4 (Q: "Is this line telling us that
[RWMC] and [OLP] had no COVID tests as of January 5, 2024 ?" A: "No, I think what it's telling
you that we may not have our own, but we could have borrowed it and continued testing that


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spreadsheets reviewed by the AP Task Force mention an inability to outsource or borrow certain

supplies: "they will not ship the part until past due balances are paid and we cannot outsource this

testing, out of stock." (Pet'r's Ex. T, at 9.)

        Dr. Liebman testified during the hearing that he was unaware of cancelled surgeries and

critical failures in the supply chain in October 2023. (Hr'g Tr. 35:8-11, 59:22-25, 60:1-2.) The

corrective plan mandated by the November 2023 CMS Report does not seem to have increased

Dr. Liebman's awareness of the supply chain, despite his mandated attendance of AP Task Force

meetings and review of supply spreadsheets. Dr. Liebman repeatedly stated that he "didn't recall"

particular solutions for urgent supply issues where spreadsheets reported that the items would run

out in a few days or had already run out, and resorted to assuming "[w)e probably borrowed[.)"

(Hr'g Tr. 74:14-19, 161 :2-10; 79:7-11.) Dr. Liebman admitted that no documents actually indicate

supplies were on hand and being used at times where the supply spreadsheets reported they had

run out, but stated that he "know[s] services continued" and the Hospitals must have obtained the

supplies, because the labs, services, and Hospitals did not "shut down." Id. at 141:17-25, 142:1-

13, 215:6-10; see also id. at 79:16-19 ("It means the hospital borrowed supplies because we're

continuing to do the testing. Obviously, they didn't have supplies on hand so they went and they

found supplies from some place else.").)

        While Dr. Liebman claimed that no interruptions have occurred because any supply or

services issue "should have been reported" and if a critical item was not supplied he "would have



way.") By the nature of these supplies, they cannot be borrowed because they are not returned after
use. The Court finds this "borrowing" concerning, as Respondent is taking single-use supplies
from other Rhode Island hospitals, like Miriam Hospital in Providence. Id. at 118:23-25. ("I could
have borrowed supplies from Miriam Hospital, for example, who is given the same [COVIDJ
tests[.)") Such frequent "borrowing" places the burden on other hospitals in Rhode Island to fill
the gaps created by Respondent's debts and threatens to deplete the supplies of facilities that
actually pay their vendors in a timely manner.                     •
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known because that would have impacted the whole hospital," there appears to be no confirmation

available to prove that numerous documented urgent supply matters were resolved. Id at 79:7-9,

84:1-4.) With many vendors on credit hold due to outstanding accounts payable and services

relying on an untraceable system of borrowing to fill widening gaps in supplies, it appears that the

Hospitals are operating under a state of "great urgency" around the clock.

       Beyond supply issues, the conditions in the Hospitals themselves have been labeled as

urgent by government agencies and reflect a lack of funding from Respondent. On April 2, 2024,

while hearings were ongoing for this action, CMS inspected the Hospitals and determined that the

conditions at RWMC posed an "Immediate Jeopardy" to the health and safety of patients. (Pet'r's

Ex. CC, at I.) The condition identified as causing "Immediate Jeopardy" was a recessed light

fixture which was surrounded by wet ceiling titles and accumulating leaking water. Id at 13. The

condition was fixed after the survey was conducted, but CMS stated that "substantial

noncompliance" remained, which could result in the termination of the facility from the Medicare

Program if not addressed through a plan of correction and subsequent remedial actions. See Pet'r's

Ex.CC,at 1-3.

       Aside from the light fixture, CMS observed that the RWMC generators were not properly

maintained for emergency power; emergency lighting was not in compliance; fire suppression

systems in the kitchens were non-compliance; electrical wiring was not up to code; and there were

multiple areas of leaking water, often accompanied by a waste basket collecting water, blankets

sopping with water, or covered barrels collecting water through hoses. Id. at 4-21. According to

one Operating Room ("OR") Nurse Manager, barrels collecting water that were found in operating

room suites had been there since July 2023-prior to the August cyber-attack. See id. at 19

("During surveyor interview with the OR Nurse Manager, at the time of the observation, she



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informed the surveyor that the barrels have been in the OR since she started to work at the hospital

in July of 2023. She states that the maintenance depa1tment takes care of emptying the barrels

when needed.") (emphasis added).

       Combined with the defiance of Petitioner's financial conditions and its use of accounts

payable as a bank mentioned as part of irreparable harm, Respondent has created a situation of

great urgency at the Hospitals by refusing to provide proper funding quarter after quarter. Not only

are the Hospitals scrambling to obtain supplies day to day, but other areas of the Hospitals are

falling into disrepair. Both employees of the Hospitals themselves and outside agencies

investigating the Hospitals have attested to the urgent situation caused by Respondent. This Court

finds that great urgency exists that requires Respondent to fund outstanding accounts payable to

mitigate the risk of losing the Hospitals as reliable healthcare facilities for Rhode Islanders.

                                                  C

                                          Impracticability

       "A party's performance under a contract is rendered impracticable upon the occurrence of

an event or a manifestation of a circumstance the nonoccurrence of which was a basic assumption

on which the contract was made." Iannucci/lo v. Material Sand & Stone Corporation, 713 A.2d

1234, 1238 (R.I. 1998) (citing to 2 Restatement (Second) Contracts § 261 (1981)) (emphasis

added). "A valid contract requires competent parties, subject matter, a legal consideration,

mutuality of agreement, and mutuality of obligation." DeAngelis v. DeAngelis, 923 A.2d 1274,

1279 (R.l. 2007). "When evaluating the sufficiency of contractual consideration, [the Rhode Island

Supreme Court] employ[s] the bargained-for exchange test." Andoscia v. Town of North

Smithfield, 159 A.3d 79, 82 (R.I. 2017) (quoting Deluca v. City of Cranston, 22 A.3d 382, 384

(R.I.2011)).



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       Respondent argues that the doctrine of impracticability excuses it from any alleged

inability to perfonn under Condition 7.2 of the Decision. (Resp't's Post-Hr'g Mem. 16.)

Respondent asserts that it was the subject of a massive and unexpected cyber-attack in August

2023 that prevented Respondent from accessing electronic medical records and billing systems for

forty-five days. Id. at 17. Respondent states that more than $450 million of its revenues could not

be billed over an eight-week period in August and September due to the cyber-attack. Id.

Respondent contends that it was temporarily impractical to perform under Condition 7.2. Id. at 18.

       Petitioner did not address the cyber-attack in his Post-Hearing Memorandum, but did state

in closing arguments that impracticability is a contract-based defense and this case involves

compliance with an enforcement order of an agency of a court. (Closing Arg. Hr'g Tr. 10:16-25,

11:1-3.) Petitioner argues that Respondent attempts to invoke a temporary impracticability

defense, which has never been adopted as a defense in Rhode Island. Id. at 11 :4-23. Petitioner

asserts that this cyber-attack is foreseeable and requires a system in place for prevention, meaning

that Respondent must show the standard practice for safeguarding a hospital system against a

cyber-attack in 2023 and must show they acted pursuant to the standard practice to display they

were without fault for the cyber-attack. Id. at 12:5-20. Petitioner also states that Respondent does

have the funding to pay the outstanding accounts payable, but chooses not to as a priority

preference rather than an impracticability. Id. at 16:9-17.

       Respondent provides no legal support for its conclusion that the contractual defense of

impracticability applies when no contract exists. (Resp't's Mem. 16-18.) In fact, Respondent's

plethora of case citations discuss impracticability in the context of a breach of contract action. Id.

(citing United States v. Winstar Corporation, 518 U.S. 839,904 (1996) (analyzing impracticability

on contractual grounds); Iannucci/lo, 713 A.2d at 123 8 (discussing impracticability in a breach of



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contract action); Opera Co. ofBoston, Inc. v. Wolf Trap Foundation for Performing Arts, 817 F.2d

1094, 1100 (4 th Cir. 1987) (addressing impracticability in contractual dispute); International

Minerals and Chemical Corp. v. Llano, Inc., 770 F.2d 879, 886 (10 th Cir. 1985) (examining

impracticability in a breach action)).

       The elements of a contract cannot be met by the Decision. The HCA provides for review

and approval of hospital conversions by Petitioner and RIDOH, and allows Petitioner to impose

conditions where he deems them necessa1y. Sections 23-17.14-5, 23-17.14-7. There is no

mutuality of obligation or bargained-for exchange between Respondent and Petitioner.

Respondent was an applicant in a hospital conversion and Petitioner reviewed and approved the

application with conditions as directed by statute. Based on the HCA and the law of contracts, the

Decision does not function as a contract between Petitioner and Respondent, but rather an

application approval and enforcement order from a state legal agency.

       Assuming arguendo that the impracticability defense is available to Respondent and the

cyber-attack excused Respondent's DPO of 118.34 on September 30, 2023, Respondent was

already out of compliance months before the incident occurred. Id at Exs. 8, 9 (showing DPO of

99.47 on December 30, 2022 and 102.96 on March 30, 2023). Moreover, the cyber-attack against

Respondent occmred on August 1, 2023, rendering Respondent unable to bill $450 million in

revenue for an eight-week period. (Resp't's Ex. 12 (Sabillo Aff.) ~ 19.) As of March 19, 2024,

Respondent recovered $400 million of the $450 million through delayed billing. (Hr'g Tr. 18: 1-5;

Pet'r's Ex. P (Pillari Dep.) 14:8-21.)

       Despite recovering from the cyber-attack, Respondent was still in violation of Condition

7.2 on December 30, 2023, with a DPO ofl27.51. (Harvey Aff. Ex. 12.) Minutes from an AP Task

Force meeting on December 4, 2023 reveal the Hospitals' worsening arrears and Respondent's



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reluctance to provide necessary funds: "[w]e currently owe 42 million, of that, 22 million are over

90 days and 8 million is over 120 days. 2 weeks ago we only received 730,000 and last week

990,000 for bills. We are currently spending 1.6-1.7 million per week which is adding to the

deficit." (Pet'r's Ex. S, at 10.) Accordingly, the Court rejects Respondent's argument that the

cyber-attack made performance of the accounts payable condition in the Decision impracticable

because there is no contract between the parties, Respondent was in violation of Condition 7.2

prior to the cyber-attack, and Respondent has almost fully recovered from the cyber-attack.

                                                IV

                                           Conclusion

       For the reasons outlined herein, Petitioner's Motion for a Preliminary Injunction is

GRANTED. Respondent is ordered to pay the accounts payable equal to or exceeding ninety (90)

days for the Hospitals as of December 30, 2023, amounting to $17,326,526, within ten (10) days

of this Decision. In addition, the Respondent shall comply with Section 7.2 through trial. Counsel

shall prepare the appropriate order.




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About the Hospital
Springfield Hospital is centrally located in Delaware County between the Springfield Mall
and Springfield Country Club, attracting patients from across the county and the Main
Line.

Please note that, as of January 14, 2022, Crozer Health has temporarily suspended all
hospital-based services at the Springfield Hospital.
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Outpatient services located in the Healthplex Pavilion office building adjacent to
Springfield Hospital - including Physical Medicine & Rehabilitation, wound care, cardiac
rehab services, and physician offices - will remain open and operational.



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                                           Be Well. Do Good
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                      CROZER HEALTH
              Stabilization / Transformation Plan




CROZERl-iEALTH~                                                                       ◄
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       Burning Platform
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      • Hospitals are experiencing the worst margins of the pandemic
          • Over half of all hospitals are operating in the red in 2022
      • Labor Expense - aggressive hiring; however high demand has resulted in record
        costs
      • Behavior Health Crisis - not enough resources to meet the need; exacerbated by
        the Covid-19 Pandemic
      • Record Inflation for Supplies and Pharmaceuticals
      • Accelerated Paradigm shift of care from Hospital Based to Outpatient/Ambulatory
        Based
      • No Payer recognition of above pressures in the way of increased reimbursements
      • Public Health Emergency Timeline - October 31, 2022?
      • Strategic Planning cannot be lost or curtailed despite the urgency of day-to-day
        operations

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 Industry Update: Kaufman Hall August 2022 Report
                                                                                              Kaufman Hall Operating Margin Index" YTD by Month
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           HAP: Addressing Behavioral Health Crisis


                                       Pennsylvania hospitals know
           ,~,,
                                       that access to behavioral
                                       health services is at a
                                             , exacerbated by
           Behavioral
                Health                 workforce shortages and the
                                       pandemic.            Andy Carter
                                                                              HAP President and CEO



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        Crozer Hea.lth - Future State
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        • Crozer Health:
                 • Not-For Profit Conversion - submit application by 12/1; 9 to 12 month timeline
        • Springfield Hospital Campus:
                  • Convert to ASC License and Re-open as a Comprehensive Outpatient Complex with an Urgent Care Center,
                    Medical Offices, Ancillary Services and Ambulatory Surgery Center in the current OR suites in collaboration
                    with Premier Orthopedics. Timing: 6-months; w/Urgent Care target 1/1/23
        • Delaware County Memorial Hospital Campus:
                  • Convert from Acute Care Hospital to Behavioral Health Hospital include Adult Inpatient Geropysch Inpatient,
                    Acute Detox/Rehab, and Crisis unit. Crozer health will consolidate and expand all Behavioral Services with the
                    exception of the Crozer Chester Crisis unit which will remain on that campus. Timk1_¥· _M_arch _2023
        • Taylor Hospital
                  • Remain as an acute care hospital and continue to serve the community and deliver care with excellent patient
                    outcomes with services inclusive of ICU level of care through the continuum up to and including
                    Rehabilitation.
        • Crozer-Chester Medical Center
                  • Remain as our tertiary medical center j:Jrovidirig such high-end clinical services such as our Burn Program,
                    Trauma, Comprehensive Stroke Care, Neurosciences Institute and more.


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        Crozer Health - Pre-Pandemic
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     • 4 Acute Care Hospitals                                                                                               • Medical Group - Employed multi,-
             • Tertiary Facility
                        •    Crozer Chester Medical Center (CCMC)
                                                                                                                              specialty physicians
             • Community Hospitals
                        • Delaware County Memorial Hospital (DCMH)
                                                                                                                            • GME Residents - Teaching the next
                        • Taylor Hospital                                                                                     generation of physicians
                        • Springfield Hospital
     • 4 Hospital Outpatient Centers
              • Brinton Lake -Surgery Center, Outpatient Diagnostic
                Testing, Physician Offices
              • Haverford Surgery Center, Physician Offices
              • BroomaH Outpatient Diagnostic Testing/Physician
                Offices
              • Media Medical Plaza -Outpatient Diagnostic
                Testing/Physician Offices/Premier PT/Urgent Care




CROZERHEA 1TH.,.,-                                                                                                                                                                  ◄
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       Crozer Health - Future State Summary
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            • 2 Acute Care Hospitals                                                                     • 4 Hospital Outpatient Centers
                                                                                                                   • Brinton Lake - Surgery Center, Outpatient
                 • Tertiary Facility                                                                                 Diagnostic Testing, Physicians Offices
                           • Crozer Chester Medical Center                                                         • Haverford Surgery Center. Physician Offices
                             (CCMC)                                                                                • Broomall Outpatient Diagnostic
                                                                                                                     Testing/Physicians
                 • Community Hospital                                                                              • Media Medical Plaza -Outpatient
                                                                                                                     Diagnostic Testing/Physician
                           • Taylor Hospital                                                                         Offices/Premier PT/Urgent Care
            • 1 Behavioral Health Hospital
                 • 100 Beds with a 2nd Crisis Center                                                     • Medical Group - Employed multispecialty
            • 1 Comprehensive Outpatient                                                                   physicians
              Center {Springfield Campus)                                                                • GME Residents - Psych Residency
                                                                                                           Program started 7/1/22



CROZERHEALTH...,,                                                                                                                                                                                       ◄
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       Next Steps ...... Partnership
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       • Merge DCMH and CCMC Licenses
               • DOH Notification completed
               • CHOW/855 Notification 9/21
       • DCMH Reconfiguration
               • County Notification 9/20; DOH 9/21.
               • Employee Notification 9/21
               • Requesting County Support for capital fit-out and annual support for Acute Detox and
                 Crisis.
               • Requesting waiver of 180-day notification due to staffing, patient safety, and start of
                 construction.
       • Springfield
               • County Notification 9/20; DOH 9/21
               • Township Notification TBD

CROZERflEJ\      T   ;_   H....,,                                                                                                                                                                                    ◄
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Medicare Open Enrollment

Click Here



Crozer-Chester Medical Center Named Among                                  Crozer Health Requests Community ,
Top in Pennsylvania for Serving the                                        Legislative Support
Community                                                                  Crozer Health placed a full page ad- a letter to the community- in the
Hospital among best in nation for community investment, according to       September 8th Issue of the Delaware County Dolly Times, requesting
healthcare thlnk tonk                                                      that residents ask their local leg!slators ta support the vital services the
                                                                           health system provides every day. Read the letter here:
Crozer-Chester Medlcal Center has been recognized by the Lown
Institute for Its generous contributions to community health and well-
belng, receiving an "A" grade in community benefit on the 2024-25
Lown Institute Hospitals Index for Social Responsibility. The hospital
achieved this honor due to strong performance on financial assistance
spending, service of Medicaid patients, and investing in community
health needs, out of more than 3,500 hospitals nationwide.




Letter of Intent Between Prospect Medical and                              CROZER.liEALTH_,,i/1
CHA Partners, LLC
Prospect Medical Holdings, lnc. and CHA Partners, LLC (CHA) have
signed a letter of Intent for CHA to acquire Crozer Hedlth. This
acquisition wlll Involve transitioning Crozer Health's hospitals back to
not-for-profit status, This action formally begins the process necessary
to complete a definitive agreement for the acquisition of Crozer Health.
In this endeavor, CHA will be working closely with Healthcare Preferred
Partners {HCPP), a firm with which it has a long-standing relationship.




                                                                           Crozer-Chester Medical Center is nationally
                                                                           recognized for its commitment to providing
                                                                           high-quality stroke care·
                                                                           Crozer~Chester Medical Center has received the American Heart
                                                                           Association's Get With The Guidelines® - Stroke GoldPlus quality
                                                                           achievement award for its col!lmitment to ensuring stroke patients
                                                                           receive the most appropriate treatment according to notionally
                                                                           recognized, research-based guidelines, ultimately !ead!ng to more llveS.
                                                                           saved dnd reduced disability.




                                           Read more Crozer Health news and updates.
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CROZERl-lE.ALT~I _..,.,
                     Please Encourage Your Legislators to Support
                      Vital Healthcare Services in Your Community

Dear C0fnmunity members,

Crozer Health plays a crit!cal role ln meetln~ the healthcare needs of our community, and we need your help to encourage your local leg!slators
to support the vital healthcare services we prov!de e\/ery day,


Crozer Health operates two lnpatlent acute· care hospitals, Crozer-Chester Medical Center tn Upland and Taylor Hospltal In Ridley Park, both
with 24-hour Emerg1=ncy Departn:,ent services. We also have outpatient/surgery centers In Glen Mills (Brinton Lake), Haverford, Broom all,
Springfield, and Media, as well as 37 primary and speclalty care locat!ons througho.ut Delaware County.


In addition, we h9ve the only Level. II Trauma Center, Regional Burn Center, and mental health Crisis Center in the county, and our EMS-team
provfdes lifesavlng services daily for nearly aU of Delaware County, Our. facilities provide essential medical care that can mean th~ .difference
between Ufe and death.


Crozer Health employs thousands of dedicated healthcare professionals and i;;upport service staff who depend on 1.,1s•for their livelihood. We are
a medlca\ training s\te for loca\ universlt\es, providing education.and training for the next generation of medical students, residents, and f e\\ows.


It ls imperative that We protect acces? to quality healthcare for all residents of Delaware County and the surrounding communities, but we
can't do it alone, We need you to contact your local elected offlcials to encourage them to preserve these crit!cal healthcare services
In your communfty. Find your local legislator here: https:j/www.!egls.state.pa.us/cfdocs/legls/home/ffndyour!egislator/


We thank you In advance for your support and look forward to caring for our community members well !nto tl)e future.


Cordially,


Crozer Health Leadership
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       EXHIBIT J
